                             Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 1 of 356




                DEY'S AMENDED TRIAL EXHIBIT LIST (MEDICARE & MEDICAID)

Trial Ex.      Date                     Description                    Previously Marked       Bates Range        Intent to   Objection
  No.                                                                   Deposition/Trial/                           Offer
                                                                         Motion Ex. No.
  6000                 INTENTIONALLY LEFT BLANK
  6001      12/1968    U.S. Department of Health, Education, and      Previously disclosed                       May
                       Welfare Report - “Task Force on Prescription   with Expert Report of
                       Drugs Background Papers: The Drug Makers       Stiroh
                       and the Drug Distributors”

  6002      2/7/1969   Excerpts from a memorandum from Philip Lee, Lockwood, 4/24/09, Ex. PRD0009.0001-10        May
                       Assistant Secretary for Health and Scientific   Ery 12
                       Affairs to The Secretary, Department of Health,
                       Education, and Welfare, regarding the Final
                       Report of the Task Force on Prescription Drugs

  6003      2/7/1969   Department of Health, Education, and Welfare - Previously disclosed    HHD179-0047-0154   May
                       Task Force on Prescription Drugs Final Report with Expert Report of
                                                                      Bradford
  6004      11/15/1974 Maximum Allowable Cost for Drugs - Notice AL, Trial, DTX 681                              May
                       of Proposed Rulemaking (39 Fed. Reg. 40302 -
                       05)
  6005      11/27/1974 Federal Register Volume 39, Number 230,        R. Morris, 8/29/07, Ex.                    May
                       Page 41,480                                    267
  6006      1/1/1975   American Druggist News, "HEW Orders All        WI, Defs' S.J. Joint    GDOCS 001102-      May
                       States to Switch to Cost-PIus-Fee for Medicaid Resp., 1/15/08, Ex. 98 001105
                       Rxs"
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 2 of 356




6007   7/31/1975   Department of Health Education and Welfare - Dey S.J., 6/26/09, Ex.                      May
                   Office of the Secretary - Limitations on        199
                   Payment or Reimbursement for Drugs (40 Fed.
                   Reg 32283-32303)
6008   12/1975     Prescott, Edward C., “Efficiency of the Natural Previously disclosed                     May
                   Rate,” The Journal of Political Economy,        with Expert Report of
                   Volume 83, Number 6, pp. 1229-1236              Bradford

6009   12/19/1975 Letter from Wisconsin Lt. Gov. Martin           WI, Defs' S.J. Joint     GDOCS 001106-    May
                  Schreiber to Members of the Task Force on       Resp., 1/15/08, Ex. 99   001108
                  Medicaid Pharmacy Reimbursement
6010   1/16/1976 Draft Medicaid Pharmacy Task Force Report        WI, Trial, DX-0932       GDOCS 001177-1182 May

6011   3/15/1976   Letter from United States Department of                           Archives 0838-0839     May
                   Health, Education, and Welfare to Mississippi
                   Medicaid regarding implementation of MAC
                   Regulations
6012   4/1976      Final Report, A Contract to Conduct a Survey MO, McCann, 10/3/07, MO 011662-773          May
                   Designed to Determine the Professional Service Ex. 4
                   Reimbursement Fee for Pharmaceutical Service
                   Providers, prepared for The Missouri
                   Department of Social Services, prepared by the
                   St. Louis College of Pharmacy

6013   8/26/1976   Tennessee Medicaid State Plan Amendment 76-                         HHD113-0064          May
                   9
6014   9/1/1976    Georgia Medicaid State Plan Amendment 76-                           HHC008-0054-55       May
                   12
6015   2/5/1977    Excerpt from California Administrative      Gorospe, 3/19/08, Ex. 3                      May
                   Register 77, No. 6-B
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 3 of 356




6016   5/9/1977    Final Report Survey to Measure the Cost of     Farrand, 10/28/08, Ex.                          May
                   Dispensing a Prescription in New Hampshire     92

6017   7/22/1977   Mississippi Medicaid Commission                                           Archives 1046-1047   May
                   Memorandum regarding Estimated Acquisition
                   Cost
6018   11/1977 -   Article from Harvard Business Review titled       CA, M. Perri, 9/30/09,                       May
       12/1977     "From sales obsession to marketing                Ex. 8
                   effectiveness" by Philip Kotler
6019   1978        Memo from E. J. Ehrlich, Nebraska Director of Cheloha, 12/2/08, Ex. NEB2075                    May
                   Public Welfare, to All Nebraska Medicaid          905
                   Retail Pharmacy Providers
6020               INTENTIONALLY LEFT BLANK
6021               INTENTIONALLY LEFT BLANK
6022   6/23/1978   Affidavit in Support of Motion to Enforce         NY, Lasky, 4/23/08, Ex. A146-240             May
                   Judgment in Pharm. Soc. Of the State of New 2
                   York, Inc., et al. v. Carry, et al., Index No. 76
                   Civ. 5080
6023   9/29/1978   Excerpt from the Federal Register, Vol. 43,       M. Davis, 12/3/08,                           May
                   No. 190, p. 45257-58                              Roxane-WA Ex. 23
6024               INTENTIONALLY LEFT BLANK
6025   12/1979     Nebraska Department of Public Welfare             Cheloha, 12/2/08, Dey NEB1943-1946           May
                   Pharmacy Survey                                   Ex. 918
6026   2/27/1979   From the Hawaii State Archives, a letter from HI, Watson S.J.,                                 May
                   Michael Murray at the Department of Health, 8/25/09, Ex. 31
                   Education, and Welfare to Hawaii Governor
                   George Ariyoshi regarding the State
                   Assessment of the Medicaid Program
6027   3/15/1979   Washington Medicaid Drug Formulary and         Hautea-Wimpee,         WA-00000532-589          May
                   Therapeutic Index                              11/24/08, Roxane Ex. 3
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 4 of 356




6028   4/16/1979   Letter from Martin Stanton, Regional Medicaid WI, Defs' S.J. Joint    WI-Prod-AWP-022077-May
                   Director, to Donald Percy, DHSS and response Response, 1/15/08, Ex.   022080
                   letter, dated 5/17/1979, from D. Percy to M.  87
                   Stanton
6029   4/19/1979   Correspondence and associated documents                               Archives1063-77   May
                   concerning Mississippi drug reimbursement
6030   8/5/1979    Mississippi Pharmacists Association Meeting                           MPhA 000065-67    May
                   Minutes

6031   9/21/1979   State Plan Amendment No. 79-0032             WI, Defs' S.J. Joint   WI-Prod-AWP-022145-May
                                                                Response, 1/15/08, Ex. 022151
                                                                67
6032   11/9/1979 Medical Assistance Provider Bulletin, Cost of WI, Defs' S.J. Joint    WI-Prod-AWP 030353- May
                  Dispensing Study                              Response, 1/15/08, Ex. 030425
                                                                86
6033   12/31/1980 GAO Report - Programs to Control Prescription Lockwood, 4/24/09, Ex.                     May
                  Drug Costs Under Medicaid and Medicare        Ery 013
                  Could be Strengthened
6034   1981       Nebraska Department of Public Welfare         Cheloha, 12/2/08, Dey NEB0623-648          May
                  Instructions to Pharmacists                   Ex. 903
6035              INTENTIONALLY LEFT BLANK
6036              INTENTIONALLY LEFT BLANK
6037   1/1/1981   Colorado Medicaid State Plan Amendment 81-                           HHC013-1281-82      May
                  1
6038   7/1/1981   Tennessee Medicaid State Plan Amendment 81-                          HHD113-0063         May
                  15
6039              INTENTIONALLY LEFT BLANK
6040              INTENTIONALLY LEFT BLANK
6041              INTENTIONALLY LEFT BLANK
6042   1982       New Mexico State Plan Amendment 82-10         R. Stevens, 12/15/08, NMAG00003815-3818 May
                                                                Ex. 1
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 5 of 356




6043   2/1/1982    Washington Medicaid Estimated Acquisition   Hautea-Wimpee,          HHC020-1777        May
                   Cost                                        11/24/08, Roxane Ex.
                                                               002
6044   1983        New Mexico State Plan Amendment 83-9        R. Stevens, 12/15/08,   NMAG00003820-3822 May
                                                               Ex. 2
6045   8/1/1983    Pharmacy Information Release PH83-6                                 ID01186 - 80       May
                   regarding new drug claim form billing
                   instructions
6046   1984        Medicaid Action Transmittal from HCFA to    Cheloha, 12/2/08, Ex.   NEB1545-1582       May
                   State Medicaid Agencies                     920
6047   1984        New Mexico State Plan Amendment 84-6        R. Stevens, 12/15/08,   NMAG00003824-3827 May
                                                               Ex. 3
6048               INTENTIONALLY LEFT BLANK
6049   7/1/1984    Colorado Medicaid State Plan Amendment 84-                              HHC013-1278     May
                   4
6050               INTENTIONALLY LEFT BLANK
6051   6/1984      OIG Office of Audit Report - Changes to the     Chesser, 6/24/08,       HHD021-0076-114 Expect
                   Medicaid Prescription Drug Program Could        Roxane Ex. 78
                   Save Millions (A-06-94-00070)
6052   9/14/1984   Memo from Tom R. Dolan, Nebraska                Cheloha, 12/2/08, Ex.                   May
                   Medicaid, to All Retail Pharmaceutical          919
                   Providers
6053   9/24/1984   Drug Price Competition and Patent Term          Dey S.J., 6/26/09, Ex.                  May
                   Restoration Act of 1984, Pub. L. No. 98-417, 17
                   98 Stat. 1585 (1984)
6054               INTENTIONALLY LEFT BLANK
6055   1985        EAC Worksheet for HCFA survey of Hawaii Hiramatsu, 5/1/08, Ex. HI_HI 000014798-807 May
                   pharmacies                                      18
6056   1985        Compilation of letters between HCFA and         AL, Finch, 5/23/07, Ex.                 May
                   State Medicaid officials, various dates in 1985 157
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 6 of 356




6057   12/17/1985 Compilation of letters regarding DHHS's         AL, Finch, 5/23/07, Ex.                 May
                  initiative to review Medicaid prescription drug 159
                  reimbursement policy
6058   2/7/1985   HCFA letter to New Mexico DHS regarding         R. Stevens, 12/15/08, NMAG00002722-2725 May
                  reimbursement                                   Ex. 528
6059   5/23/1985 Letter from HCFA to Franklin Sunn, Director, Hiramatsu, 5/1/08, Ex. HI_HI 000014713-14 May
                  Hawaii Department of Social Services &          13
                  Housing
6060   6/10/1985 Letter from Linda Reivitz, Secretary, DHSS, to WI, Defs' S.J. Joint      GDOCS 001124-   May
                  Barbara Gagel, HCFA Regional Administrator Response, 1/15/08, Ex. 00125
                                                                  95
6061   6/18/1985 Letter from HCFA to Kentucky Medicaid            KY, Defs' Joint S.J.,   KY_DMS_173080-  May
                                                                  10/15/08, Ex. 32        173081
6062   6/18/1985 Letter from Richard Morris to B.F. Simmons at Morris, 8/29/07, Abbott ABT-DOJ 0300434-36 May
                  Mississippi Medicaid                            Ex. 266
6063   6/18/1985 Letter from Richard Morris, HCFA Associate Morris, 8/29/07, Abbott ABT-DOJ 0300421-22 May
                  Regional Administrator, to Faye Baggiano,       Ex. 265
                  Commissioner of Alabama Medicaid Agency

6064               INTENTIONALLY LEFT BLANK
6065   6/26/1985   Letter from Faye Baggiano at Alabama          Morris, 8/29/07, Abbott ABT-DOJ 0300420    May
                   Medicaid to Richard Morris at HCFA            Ex. 270
6066   6/28/1985   Letter from Kentucky Medicaid to HCFA         KY, Defs' Joint S.J.,   KY_DMS_173078-     May
                   regarding Kentucky drug reimbursement         10/15/08, Ex. 33        173079
6067   7/3/1985    Letter from B.F. Simmons at Mississippi       Morris, 8/29/07, Abbott ABT-DOJ 0300431-33 May
                   Medicaid to Richard Morris at HCFA            Ex. 279
6068   8/8/1985    Letter from Richard Morris to B.F. Simmons at Morris, 8/29/07, Abbott ABT-DOJ 0300429-30 May
                   Mississippi Medicaid                          Ex. 280
6069               INTENTIONALLY LEFT BLANK
6070   8/9/1985    FY 85 HCFA Region IX; EAC Survey Report; Gorospe, 5/6/09, Ex. 37 HHC016-0100-11          May
                   California Medi-Cal Program; EAC Patrol
                   Initiative
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 7 of 356




6071   8/29/1985   Minutes of the Mississippi Division of       Morris, 8/29/07, Abbott ABT-DOJ 0300427-28 May
                   Medicaid Technical Drug Advisory Committee Ex. 282
                   Meeting
6072   9/6/1985    Alabama Medicaid Agency Provider Notice 85- Morris, 8/29/07, Abbott ABT-DOJ 0300419     May
                   18, to all participating providers regarding Ex. 271
                   change in EAC methodology
6073   9/12/1985   Letter from B.F. Simmons at Mississippi      Morris, 8/29/07, Abbott ABT-DOJ 0300425-26 May
                   Medicaid to Richard Morris at HCFA           Ex. 281
6074   9/16/1985   Letter from Northern Medicaid Pharmacy       Vaccaro, 12/2/08, Ex.                      May
                   Administrators to HCFA                       15
6075   9/17/1985   Letter from HCFA to Franklin Sunn, Director, Hiramatsu, 5/1/08, Ex. HI_HI 000014715-16 May
                   Hawaii Department of Social Services &       12
                   Housing
6076   9/17/1985   Letter from Richard Morris to Faye Baggiano Morris, 8/29/07, Abbott ABT-DOJ 0300417-18 May
                   at Alabama Medicaid                          Ex. 272
6077   9/17/1985   Letter from HCFA to Mississippi Medicaid                             Archives 0142-0143 May
                   regarding drug reimbursement
6078   9/19/1985   Letter from Kentucky Medicaid to HCFA        KY, Defs' Joint S.J.,   KY_DMS_173074-     May
                   regarding Kentucky reimbursement formula     10/15/08, Ex. 34        173075
6079   9/27/1985   News Release from American Pharmaceutical Vaccaro, 12/2/08, Ex.                         May
                   Association                                  17
6080   9/30/1985   Letter from Hawaii Medicaid to HCFA          Hiramatsu, 5/1/08, Ex. HI_HI 000014817-19 May
                   regarding pharmacy audits                    14
6081   10/1985     Letters from Bowie (Bowie Discount                                   AL-ARCH 0001081 - May
                   Pharmacy) to Governor Wallace and                                    0001084
                   Commissioner Baggiano re: reimbursement
                   policy (and attachments)
6082   10/2/1985   Letter from HCFA to Kentucky Medicaid        KY, Defs' Joint S.J.,   KY_DMS_l73 072-    May
                   regarding Kentucky drug reimbursement        10/15/08, Ex. 035       173073
                   formula
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 8 of 356




6083   10/21/1985 Letters from Stanley Reeves and Jim Seaborn                         AL-ARCH 0001092 - May
                  to Governor Wallace re: reimbursement policy                        0001093

6084   10/21/1985 Letter from Larry Hood RPh to Governor                              AL-ARCH 0001054     May
                  Wallace re: reimbursement policy
6085   10/29/1985 Letter from William Larson to Marc Moulton   Campana, 8/19/08, Ex. AWP-AK-00000656- May
                                                               2                       57
6086   11/5/1985 Minutes of the Meeting of the Title XIX       AL, Finch, 5/23/07, Ex.                    May
                  Medical Care Advisory Committee              158
6087   11/21/1985 Handwritten notes from Hawaii's meeting with Hiramatsu, 5/1/08, Ex. HI_HI 000014808-812 May
                  HCFA AWP Survey Team Exit Interview          17

6088   11/22/1985 Letter from Faye Baggiano at Alabama          Morris, 8/29/07, Abbott ABT-DOJ 0300416   May
                  Medicaid to Richard Morris at HCFA            Ex. 275
6089   11/26/1985 Letter from Richard Morris to Faye Baggiano Morris, 8/29/07, Abbott ABT-DOJ 0300415     May
                  at Alabama Medicaid                           Ex. 276
6090   12/17/1985 Letter from Governor Wallace to Councilman                            AL-ARCH 997       May
                  James Hindman re: reimbursement for
                  prescription drugs under the Alabama Medicaid
                  Program
6091   5/12/1986 Letter from Gina C. Dunning, Director          Cheloha, 12/2/08, Ex. NEB1728-1733        May
                  Nebraska Medicaid, to Dean R. Mordy, HCFA 913

6092   1986       Medicaid Drug Reimbursement chart showing Rugg, 12/15/08, Ex. 9                         May
                  rates for 50 states
6093   1986       Report Nebraska Pharmacies' Acquisition Cost Joyce, 12/12/08, Ex.                       May
                  for Mediciations Covered by Nebraska         719
                  Medicaid Program
6094              INTENTIONALLY LEFT BLANK
6095   1986       Consolidated Omnibus Budget Reconciliation                                              May
                  Act of 1985 (COBRA), Pub. L. 99-272, 100
                  Stat. 82 (1986)
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 9 of 356




6096   1/1/1986    Excerpt from Washington Medicaid Pharmacy Defs' Common S.J.       JDWA001570-87         May
                   Manual                                    Resp., 8/28/09, Ex. 152

6097   3/13/1986   Letter from Lambert (Walker Drug) to Young                       ALMED 855361           May
                   re: prices for Schedule II Control Drugs

6098   3/13/1986   Durr-Fillauer Letter from Thompson to Young                      ALMED 855360           May
                   re: pricing policy on schedule II drugs

6099   3/21/1986   Letter from HCFA to Hawaii Medicaid          Hiramatsu, 5/1/08, Ex. HI_HI 000014710,    May
                   enclosing EAC Survey Report of Hawaii        19                      HI_HI 000014775-
                   Medicaid Program                                                     14784
6100   3/26/1986   Letter from Faye Baggiano at Alabama         Morris, 8/29/07, Abbott ABT-DOJ 0300414    May
                   Medicaid to Richard Morris                   Ex. 277
6101   4/11/1986   Letter from Richard Morris to Faye Baggiano Morris, 8/29/07, Abbott ABT-DOJ 0300413     May
                   at Alabama Medicaid                          Ex. 278
6102   4/18/1986   Letter from Nevada Medicaid to HCFA          NV, K. MacDonald,       NV 008532-33       May
                   regarding EAC Survey Report                  3/24/06, Ex. 1
6103   5/1/1986    Letter from Gov. Wallace to Victor Musso                             AL-ARCH 0001029    May
                   (Musso’s Crestwood Pharmacy) re: response to
                   April 1 letter
6104   5/1986      Blank Provider Agreement with the            KY, Bahr, 1/30/08, Ex. KYDMSPL 40396-97    May
                   Commonwealth of Kentucky, Cabinet for        65
                   Human Resources Department for Medicaid
                   Services
6105   6/02/1986   Information Memo to Walter Cohen                                     PA 064971-81       May
                   (Pennsylvania Secretary of Public Welfare)
                   from Radke regarding preliminary information
                   obtained through the MA Pharmacy Audits
                   conducted by Heritage Information Systems
                   Inc.
6106               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 10 of 356




6107   8/11/1986   51 Fed. Reg. 28710                                                                    May
6108   8/19/1986   Federal Register, Vol. 51 No. 160, Tuesday, AL, Helms, 1/4/08, Ex.                    May
                   August 19, 1986, 29560-29574                6
6109               INTENTIONALLY LEFT BLANK
6110   9/5/1986    Letter from Douglas Morgan, State of        Fine, 12/9/08, Abbott ABT-PUB CMT         May
                   Maryland DHMH, to HCFA                      Maryland 4             00949-52
6111   9/9/1986    Notification from Iowa Medicaid to All Iowa                        HHC003-0045        May
                   Pharmacies regarding change in Medicaid
                   reimbursement policy
6112   9/10/1986   42 U.S.C. § 1395u                                                                     May
6113   9/15/1986   Letter from Kentucky Medicaid Commissioner KY, Defs' Joint MSJ,                       May
                   to HCFA regarding Maximum Allowable Cost 10/15/08, Ex. 46

6114   9/18/1986  DHS Memorandum from Health Care                Defs' Common S.J.                       May
                  Financing Administration Region VI - Dallas to Resp., 8/28/09, Ex. 42
                  Director of Bureau of Eligibility,
                  Reimbursement and Coverage
6115   9/24/1986 Letter from New Jersey Pharmaceutical           Vaccaro, 12/2/08, Ex.                   May
                  Association to HCFA                            16
6116   10/3/1986 Letter from Cesar Perales, New York State       Butt, 1/26/10, Ex. 3                    May
                  Department of Social Services Commissioner,
                  to HCFA
6117   10/15/1986 Letter from Vermont Medicaid to HCFA           Rugg, 12/15/08, Ex. 10                  May
                  regarding reimbursement
6118   10/15/1986 Letter from Nevada Medicaid to HCFA            NV, Defs' Joint S.J.,  D.54-55          May
                                                                 2/8/07, Ex. 77
6119   11/10/1986 Letter from Iowa Pharmacists Association to                           HHC003-0046-47   May
                  All Iowa Pharmacies regarding Medicaid
                  developments
6120              INTENTIONALLY LEFT BLANK
6121   11/20/1986 Letter from Iowa Pharmacy to United States                            HHC003-0042-43   May
                  HHS regarding reimbursement
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 11 of 356




6122   1987        42 C.F.R. §§ 447.331-33 (1987)               Dey S.J., 6/26/09, Ex.                       Expect
                                                                200
6123   1987        Federal Register, 52 Fed. Reg. 28657         Cheloha, 12/3/08, Ex. 1                      May

6124   1987        Memo from Robert Seiffert, Administrator     Cheloha, 12/2/08, Ex.     NEB0201            Expect
                   Medical Services Division, to All Nebraska   907
                   Medicaid Pharmacy Providers
6125   1987        New Jersey State Plan Amendment 87-20B       Vaccaro, 12/2/08, Ex. 4 HHD037-0129-0134     May

6126   10/29/1987 New Mexico State Plan Amendment 87-20         R. Stevens, 12/15/08,     NMAG00003829-3830 May
                                                                Ex. 4
6127   1987       State Plan Amendment MS-87-18 and related     Cheloha, 12/2/08, Ex.                        May
                  materials                                     912
6128   12/22/1987 Omnibus Budget Reconciliation Act of 1987,                                                 May
                  Pub. L. 100-203, 101 Stat 1330 (1987)
6129   1987       42 C.F.R. §447.301 (1987)                                                                  May
6130   1/25/1987 Standard Agreement Form                        Campana, 8/19/08, Ex.     AWP-AK-00000778-   May
                                                                21                        785
6131   1/1987-     Medicaid Pharmacy Bulletin                   Buto, 9/12/07, Abbott     HHC002-0388-0399   May
       2/1987                                                   Ex. 292
6132   2/1987      Myers & Stauffer Survey of Costs of          Previously disclosed      CT0038222-346      May
                   Dispensing Prescriptions and Estimated       with Expert Reports of
                   Acquisition Cost in the State of Connecticut Bradford and Stiroh
6133   2/24/1987   Fact Sheet Prescription Drug Payments Under                            HHC026-0200        May
                   Medicaid
6134   3/19/1987   Letter from Joyce Somsak at HCFA to Carol    Somsak, 9/19/07,                             Expect
                   Hermann at HCFA regarding Initiative on      Abbott Ex. 317
                   Lowering Drug Acquisition Cost and the State
                   of Alabama
6135               INTENTIONALLY LEFT BLANK
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 12 of 356




6136   4/1/1987    Transmittal and Notice of Approval of State                             HHC014-1125-1130   May
                   Plan Material for Utah State Plan Amendment
                   DOH-HCF-22-87 and related materials

6137   4/9/1987    Letter from Steve Cowpar, Governor to Senator Campana, 8/19/08, Ex.                        May
                   Jan Faiks                                       3
6138   4/9/1987    State of Alaska 1987 Legislative Session Fiscal Campana, 8/19/08, Ex.                      May
                   Note                                            4
6139   6/2/1987    Testimony of Michael Zimmerman before the Roxane S.J., 6/26/09,                            May
                   Subcommittee on Health, Committee on Ways Ex. 72
                   and Means, House of Representatives,
                   regarding "Issues Related to Possible Coverage
                   of Outpatient Prescription Drugs Under
                   Medicare" (GAO/T-HRD-87-15)

6140   7/1/1987    Transmittal and Notice of Approval of State                             HHC014-1093-1124   May
                   Plan Material for Utah State Plan Amendment
                   DOH-HCF-37-87 and related materials

6141   7/31/1987   52 Fed. Reg. 28647-28658 - HCFA Final Rules Dey S.J., 6/26/09, Ex.                         Expect
                   regarding Medicare and Medicaid Programs;   194
                   Limits on Payments for Drugs
6142               INTENTIONALLY LEFT BLANK
6143               INTENTIONALLY LEFT BLANK
6144   7/31/1987   HHS News Release                            Kimberly Howell,            HHC002-0524-25     Expect
                                                               4/22/08, Abbott Ex.
                                                               1067
6145   8/1987      Article by Don M. Newman for Drug Topics    Defs' Common S.J.           HHC902-1062-67     May
                                                               Resp., 8/28/09, Ex. 73
6146   8/1987      Document entitled "Questions for HCFA on    Defs' Common S.J.           HHC002-0515-22     Expect
                   Medicaid Limits on Payments for Drugs       Resp., 8/28/09, Ex. 62
                   (August 1987)"
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 13 of 356




6147   8/1987      State Plan Amendment excerpt (NY)                                       HHC002-574-75       May
6148   8/14/1987   Memo from Washington Medicaid regarding          Hautea-Wimpee,         WA-00001250-1251    May
                   New HCFA Regulations for Drug                    11/24/08, Roxane Ex. 5
                   Reimbursements
6149   9/1/1987    Letter from William L. Roper, HCFA               Dey S.J., 6/26/09, Ex. HHC002-0564 -       Expect
                   Administrator, to John F. Schlegel, President of 187                    HHC002-0565
                   American Pharmaceutical Association

6150               INTENTIONALLY LEFT BLANK
6151   9/20/1987   Mississippi Pharmacists Association Meeting                              MPhA 000246        May
                   Minutes
6152   9/28/1987   Draft Report by Robert Helms, DHS Assistant Defs' Common S.J.            HHC902-1078-89     May
                   Secretary for Planning and Evaluation, entitled Resp., 8/28/09, Ex. 76
                   "The Complicated History of Medicaid
                   Regulations on Drug Reimbursement"

6153   10/1/1987  Rhode Island Medicaid State Plan Amendment                                HHC006-0410        May
                  87-15
6154   10/28/1987 Letter from Donald Blinzinger to William    M. Sharp, 3/28/08,            HHC002-0548-0550   May
                  Roper, Administrator, Health Care Financing Abbott 950
                  Administration
6155   10/29/1987 Idaho Medicaid State Medicaid State Plan                                  HHC011-0496        May
                  Amendment 87-11
6156   10/29/1987 North Dakota Medicaid State Plan Amendment                                HHC013-0363-64     May
                  88-01
6157   11/1/1987 Tennessee Medicaid State Plan Amendment 87-                                HHD113-0060-62     May
                  42
6158   11/6/1987 Policy and Methods for Establishing Payment Dubberly, 12/15/08,                               May
                  Rates for Other Types of Care or Services   Ex. 3
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 14 of 356




6159   11/13/1987 Letter from D. Newman to C. West, Executive Previously disclosed    HHC011-0872        May
                  Vice President of National Association of    with Expert Report of
                  Retail Druggists                             Helms
6160   11/13/1987 Letter from Pharmaceutical Society of New    NY, Lasky, 4/23/08,    PSSNY 000536-37    May
                  York to Members                              Ex. 3
6161   12/14/1987 Hawaii Department of Human Services Internal Hiramatsu, 5/1/08, Ex. HI_HI 000003117    May
                  Communication Form regarding Pharmacy        20
                  Prescription Dispensing Fee Study

6162   12/24/1987 Hawaii Medicaid Internal Communications      Hiramatsu, 5/1/08, Ex. HI_HI 000003116    May
                  Form regarding dispensing fee study          21
6163   1988       Draft Letter from Don Hearn to Kenny         Booth, 4/23/07, Abbott HHC902-1094 -      May
                  Whitlock regarding Arkansas Medicaid State   Ex. 117                HHC902-1096
                  Plan Transmittal No. 88-05
6164   1988       Excerpt from 1988 Senate Journal            Campana , 8/19/08, Ex.                     May
                                                              11
6165   1988       Hawaii Administrative Rules on payment for Hiramatsu, 5/1/08, Ex.                      May
                  drugs                                       48
6166   1988       Letter from Illinois Medicaid to HFCA       Parker, 11/18/08, US   AWP-IL-00002351 -   May
                  regarding State Plan Amendment 88-13        Ex. 4                  2357
6167   1988       Document from Alaska Medicaid files         Campana, 8/19/08, Ex. AWP-AK-00000129      May
                                                              6
6168   1988       South Dakota State Plan Amendment           Iverson, 12/15/08, Ex. HHC014-1560-1563    May
                                                              908
6169   1/1/1988   Colorado Medicaid State Plan Amendment 88-                         HHC013-1256-58      May
                  10
6170   2/2/1988   SB 255 - "An Act relating to pharmaceutical Campana, 8/19/08, Ex.                      May
                  medical assistance for needy persons; and   5
                  providing for an effective date."
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 15 of 356




6171   2/18/1988   Department: Department of Health Services,   Gorospe, 3/19/08, Ex. 8 CAAG/DHS0067253 - May
                   Medi-Cal Restructuring, Other Components                             0067257

6172   2/18/1988   Memorandum to S. Spencer from D. Jacobs, re: MA, Shapiro, 10/3/07,   MA011591-92      May
                   Drug Ingredient Pricing Issues                  Ex. 4
6173   2/29/1988   SDNY Order, Pharm. Soc. Of the State of New                          A-329-31         May
                   York, Inc. et al. v. Carey et al. Feb. 29, 2988

6174   3/10/1988   Letter from Don Hearn to Office of the         Bridges, 12/11/08,    HHC902-1091-93     May
                   Director, Bureau of Eligibility, Reimbursement Roxane 19
                   and Coverage
6175   3/14/1988   Illinois Medicaid interoffice memo regarding Parker, 11/18/08,       AWP-IL-00002381-   May
                   state plan amendment and prescribed drug rate Roxane IL Ex. 4        384
                   methodology
6176   3/16/1988   Letter from HCFA to Wyoming Medicaid           Homar, 12/2/08, Ex.   HHC013-1456        May
                   regarding Myers & Stauffer reimbursement       902
                   study
6177   3/23/1988   Letter to The Honorable Newton Russell from Gorospe, 3/19/08, Ex. 7 CAAG/DHS0067324 - May
                   Robert Johnson                                                       0067325
6178   3/25/1988   Memorandum from Maureen Weeks, Senate          Campana, 8/19/08, Ex.                    May
                   Advisory Council to Senator Faiks, Alaska      8
                   State Senate
6179   3/29/1988   Massachusetts Medicaid memo regarding Drug MA, Jacobs, 8/13/07, MA011593                May
                   Ingredient Pricing                             Ex. 2
6180   4/12/1988   Transmittal and Notice of Approval of State    WI, Trial, DX-0109    WI-Prod-AWP-016417-May
                   Plan Amendment No. 88-0003                                           23
6181   4/25/1988   Letter from Chris Coursey, President of AK     Campana, 8/19/08, Ex.                    May
                   Pharmaceutical Assoc. to AK State Senator      10

6182   5/1/1988    Montana Medicaid State Plan Amendment 88-                            HHC013-0426      May
                   02
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 16 of 356




6183   5/12/1988   Letter and attachment from William Roper to    Buto, 9/17/07, Ex. 287 HHC002-0540-0544    May
                   Marjorie T. Stewart
6184               INTENTIONALLY LEFT BLANK
6185   5/20/1988   Memorandum from Leah W. Sprague to Paul        MA, Defs' Joint S.J.,   DHCF001196-99      May
                   O’Connor                                       2/28/08, Ex. 18
6186   6/1/1988    Memo from Illinois Medicaid to Participating   Parker, 11/18/08,       AWP-IL-00000344-   May
                   Pharmacies regarding changes in                Roxane IL Ex. 1         345
                   reimbursement policy
6187   6/1988      Memorandum from Acting Director of HCFA        Booth, 4/23/07, Abbott HHC902-1097 -       May
                   Bureau of Eligibility, Reimbursement and       Ex. 116                HHC902-1104
                   Coverage to Administrator regarding
                   Oklahoma's State Plan Amendment,
                   Transmittal No. 87-18
6188   6/7/1988    Alabama Medicaid Internal Memorandum No. WI, Trial, DTX 44             ALMED-841041-42    May
                   1301 regarding Estimated Acquisition Cost
                   Determination
6189   6/8/1988    Letter from Kathleen Buto to the Administrator DeParle, 12/5/07,       HHC011-0897-99     May
                   through Associate Administrator for Program Roxane Ex. 4
                   Development regarding State of Oklahoma's
                   Plan Amendment, Transmittal No. 87-18

6190   6/13/1988   Massachusetts Medicaid memo regarding          MA, Jacobs, 8/13/07,    MA011594           May
                   changes to Pharmacy Regulations                Ex. 3
6191   6/20/1988   Remarks, Alabama Pharmaceutical                                        AL-ARCH 0000531 - May
                   Association, June 20, 1988                                             0000533
6192               INTENTIONALLY LEFT BLANK
6193   6/22/1988   Letter from Kenny Whitlock, Director at        Bridges, 12/11/08,      HHC011-2260-68     May
                   Arkansas Department of Human Services, to      Roxane 20
                   Don Hearn at HCFA
6194   6/28/1988   Mississippi Pharmacists Association Annual                             MPhA 000320-330    May
                   Membership Business Meeting Minutes
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 17 of 356




6195   7/1/1988    Medical Assistance Provider Bulletin re: Policy WI, Trial, DX-0136      WI-Prod-AWP-031331-May
                   and Reimbursement Changes                                               65
6196   7/1/1988    42 U.S.C. § 1395m                                                                          May
6197   7/1/1988    Tennessee Medicaid State Plan Amendment 88-                             HHD113-0082-83     May
                   11
6198   7/15/1988   Memorandum from Diane Jacobs to Susan           MA, Defs' Joint S.J.,   MA011595-600       May
                   Spencer                                         2/28/08, Ex. 21
6199   7/17/1988   Excerpt from the Medicare Catastrophic          Buto, 9/12/07, Abbott                      May
                   Coverage Act of 1988 (PL 100-360)               Ex. 290
6200   7/22/1988   Letter and attachment from Congressman          Buto, 9/12/07, Abbott   HHD096-0003-0009   May
                   Richard Baker to J.D. Sconce, HCFA              Ex. 289
6201   7/29/1988   Message Slip from Barbara England to Tom                                AWP IL 00002368-   May
                   Toberman asking for review of corrections to                            2374
                   Illinois State Plan Amendment (Attachment
                   4.19B)
6202   8/4/1988    Department of Health and Human Services,        Previously disclosed                       May
                   Health Care Financing Administration,           with Expert Report of
                   “Reconsideration of Disapproval of a Louisiana Bradford
                   State Plan Amendment,” 53 FR 29381-01

6203   8/12/1988   Letter to the Honorable Dale Bumpers, United Bridges, 12/11/08,         HHC011-2189-2190   May
                   States Senate, from J.D. Sconce, Regional      Roxane 23
                   Administrator at HCFA
6204   8/18/1988   IDPA Inter Office Memo re State Plan and                                AWP IL 00002348-   May
                   Amendment 88 13 and letter from Illinois to                             2357
                   HCFA with proposed State Plan Amendment
                   (Attachment 4.19B)
6205   8/29/1988   Letter from Kathleen Buto to the Administrator DeParle, 12/5/07,        HHC011-2181-83     May
                   through Associate Administrator for Program Roxane Ex. 5
                   Development regarding State of Arkansas' Plan
                   Amendment, Transmittal No. 88-05
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 18 of 356




6206   9/15/1988   Public Hearing Statement 114.3 CMR 31:00:     MA, Defs' Joint S.J.,   MA011709-18        May
                   Prescribed Drugs, Presented By Diane Jacobs   2/28/08, Ex. 20

6207   9/15/1988   Memo from Diane Jacobs, Mass. Medicaid, to MA, Jacobs, 8/13/07,       MA011610           May
                   Commissioners regarding prescribed drugs      Ex. 5
                   public hearing
6208   9/16/1988   Urgent Notice to All Alaskan Pharmacies from Campana, 8/19/08, Ex.    AWP-AK-00000242    May
                   Eric Hansen, Dep't of Health and Social       14
                   Services
6209   9/19/1988   Plan Approval letter from Judith D. Stec,                             AWP IL 00002358    May
                   Associate Regional Administrator, Division of
                   Program Operations, Department of Health and
                   Human Services
6210   9/20/1988   Letter from William Roper, DHS, to Kenny      DeParle, 12/5/07,       HHC011-2187-88     May
                   Whitlock, Arkansas Department of Human        Roxane Ex. 6
                   Services
6211   10/4/1988   Department of Health and Human Services,      Previously disclosed                       May
                   Health Care Financing Administration,“        with Expert Report of
                   Reconsideration of Disapproval of an          Bradford
                   Oklahoma State Plan Amendment,” 53 FR
                   38979-01
6212   10/7/1988  Massachusetts State Pharmaceutical            MA, Jacobs, 8/13/07,     MA011735-737       May
                  Association statement on proposed Medicaid Ex. 22
                  reimbursement change
6213   10/24/1988 Letter from Kathleen Buto to Associate        Buto, 9/13/07, Roxane    HHC016-0732-0733   May
                  Regional Administrator for Region IX Division Ex. 7
                  of Program Operations regarding California
                  State Plan Amendment, Transmittal No. 88-22

6214   10/24/1988 Memorandum from Paul O’Connor to Velvet        MA, Defs' Joint S.J.,   MA011752-57        May
                  Miller                                         2/28/08, Ex. 16
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 19 of 356




6215   11/1988    Alabama Pharmacy Program, Health Support                               AL-ARCH 618-619    May
                  Services Division, Pharmacy Program memo
                  re: Concerns
6216   11/10/1988 Department of Health and Human Services,       Previously disclosed                       May
                  Health Care Financing Administration,          with Expert Report of
                  “Reconsideration of Disapproval of an          Bradford
                  Arkansas State Plan Amendment,” 53 FR
                  45587-03
6217   11/18/1988 Memorandum from Christine Nye, Director,       WI, Nye, 11/18/08, Ex. WI-ARCH-000746-     Expect
                  BHCF to George MacKenzie, Administrator,       13                     747
                  Division of Health
6218   11/22/1988 Memorandum from Christine Nye, Director,       WI, Nye, 11/18/08, Ex. WI-ARCH-000748-     May
                  Bureau of Health Care Financing to Roberta     14                     751
                  Kostrow, Director, Bureau of Budget

6219   11/23/1988 Memo from Bert Parish to Eric Hansen, Chief Campana, 8/19/08, Ex. AWP-AK-00001097-        May
                  Medical Assistance                             15                     1102
6220   12/1988    Myers & Stauffer report: Report on the Cost of Campana, 8/19/08, Ex.                      May
                  Dispensing Pharmaceutical Prescriptions in the 18
                  State of Alaska
6221   12/10/1988 Letter from pharmacy to Mississippi governor                          Archives0260        May
                  regarding dispensing fee
6222   12/16/1988 HCFA letter regarding Annual Assurance for Hautea-Wimpee,             HHC019-0087         May
                  Multiple Source Drugs                          11/24/08, Roxane Ex. 7

6223   12/29/1988 Letter from Mississippi Governor to pharmacy                           Archives0261-268   May
                  regarding dispensing fee
6224   1989       FY 89 Annual Report of the Division of         Campana, 8/19/08, Ex.                      May
                  Medical Assistance                             42
6225   1989       HCFA State Drug Reimbursement Survey           Nesser, 12/12/08,     HHD 084-0006-0021    May
                  completed by Oklahoma                          Roxane-OK Ex. 8
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 20 of 356




6226   1989        New Mexico Human Services Register            R. Stevens, 12/15/08, NMAG00003785-3786 May
                                                                 Ex. 5
6227   1989        North Dakota Medicaid Bulletin                B. Joyce, 12/12/08, Ex.                 May
                                                                 716
6228   8/1989      State Medicaid Manual, Part 6 – Payment for                           HHD093-0009-79  May
                   Services, HCFA Pub. 45-6 through Rev. 13

6229   1989        Article from the Journal of Research in       Schondelmeyer,                            May
                   Pharmaceutical Economics, Volume 1, No. 3,    2/27/09, Ex. Roxane
                   1989, by Stephen W. Schondelmeyer, entitled   Schondelmeyer 5
                   "Impact of Alternative Reimbursement Limits
                   for Coverage of Multisource Prescriptions
                   Under Medicare"
6230               INTENTIONALLY LEFT BLANK
6231   1989        SRS Glossary                                                        KHPA019365/9366     May

6232               INTENTIONALLY LEFT BLANK
6233   1/1/1989    Excerpt from the Florida Medicaid Provider                          VAC MDL 68125-196 May
                   Handbook for Pharmacy Services
6234   1/1/1989    Transmittal and Notice of Approval of State                         HHC014-1086-092     May
                   Plan Material for Utah State Plan Amendment
                   DOH-HCF-02-89 and related materials

6235   1/16/1989   January 1989 Report of the Pharmacy Program Campana, 8/19/08, Ex.                       May
                   Steering Committee                             19
6236   1/19/1989   Letter from L. Darrell Stauffer to Eric Hansen Campana, 8/19/08, Ex. AWP-AK-00000790-   May
                                                                  20                     791
6237   1/20/1989   Pharmaceutical Society of New York             NY, Lasky 4/23/08, Ex. PSSNY 000666-67   May
                   confidential memo to negotiating team          4
6238   1/24/1989   Article of Adoption of Emergency Regulation Campana, 8/19/08, Ex.                       May
                                                                  23
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 21 of 356




6239   1/24/1989   Memo from Eric Hansen to Myra Munson       Campana , 8/19/08, Ex. AWP-AK-00000789        May
                   through Kim Busch                          22
6240   1/24/1989   Memorandum from Mike Falzano to Katie Lab Butt, 2/8/10, Ex. 14    NYSHD-FOIL 1217        May
                   (cc: M. Brankman, M. Butt) re: Alternate
                   Pricing of Drugs Survey Project
6241   1/26/1989   Massachusetts Medicaid memo regarding EAC MA, Jacobs, 8/13/07, MA001319-330              May
                   survey and recommendations, and associated Ex. 9
                   documents
6242   1/27/1989   Letter from Kim Busch to facility          Campana, 8/19/08, Ex. AWP-AK-00000220-        May
                   Administrator                              24                     21
6243   1/31/1989   HCFA Program Issuance Transmittal Notice   L. Reed, 10/22/08,     HHD 086-1095           May
                   Region IV regarding "Use of Nondiscounted  Roxane Ex. 121
                   Average Wholesale Price (AWP) as Estimated
                   Acquisition Cost (EAC) in Medicaid Drug
                   Reimbursement
6244   2/1/1989    Alaska State Plan Amendment, Transmittal No. Campana, 8/21/08,        HHC020-1265 - 69   May
                   89-2                                          Exhibit Abbott 1122
6245   2/1/1989    Authority to Seek Professional Services Form Campana, 8/19/08, Ex.    AWP-AK-00000789    May
                                                                 26
6246   2/1989      National Association of Chain Drug Stores 3rd HI, Watson S.J.,        HI_HI 000002859-864 May
                   Party Bulletin, Volume 11, Number 1           8/25/09, Ex. 33
6247   2/12/1989   Article from Philadelphia Inquirer entitled   Roxane S.J., 6/26/09,                      May
                   "When Drugstores Tell You No"                 Ex. 74
6248   2/15/1989   Letter from Leslie Grosz to Eric Hansen       Campana, 8/19/08, Ex.   AWP-AK-00011149    May
                                                                 27
6249   2/16/1989   Alabama Medicaid Agency - 2/16/89 Executive                           AL-ARCH 0001196-   May
                   Staff Meeting Minutes                                                 1201
6250   2/24/1989   Article from Newsday (New York) entitled “No Roxane S.J., 6/26/09,                       May
                   Rx for Plans; Drug Plans Draw Pharmacists’    Ex. 75
                   Ire”
6251   2/25/1989   Letter from Richard Verme Associates to Eric Campana, 8/19/08, Ex.    AWP-AK-00000115-   May
                   Hansen                                        28                      117
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 22 of 356




6252   3/1989      March 1989 Pharmacy Program Data               Campana, 8/19/08, Ex.   AWP-AK-00000144-   May
                                                                  30                      145
6253   3/1989      March 1989 Pharmacy Program Data               Campana, 8/19/08, Ex.                      May
                                                                  31
6254   3/1989      HCFA Region IX Letter and attachments to J. CA, Gorospe, 12/3/08,      CAAG/DHS 0013323- May
                   Rodriguez                                      CA-Gorospe 13           3332
6255   3/3/1989    Letter and attachment from HCFA to C. Canino Previously disclosed      MA050769-85       May
                                                                  with Expert Report of
                                                                  Bradford
6256   3/10/1989   Letter from Bunnee Butterfield to Eric Hansen Campana, 8/19/08, Ex.    AWP-AK-00000136    May
                                                                  33
6257   3/15/1989   Letters to David Moore, Harry Race Pharmacy, Campana, 8/19/08, Ex.                        May
                   and Dirk White, White Pharmacy, from Myra 34
                   Munson
6258   3/15/1989   Report: Alaska's Pharmacy Medicaid Program; Campana, 8/19/08, Ex.                         May
                   The Serious Current Problem and A Proposed 35
                   Solution
6259   3/21/1989   Memo from Henry Azarioon, RA, Division of Campana, 8/19/08, Ex.        AWP-AK-00000219    May
                   Medical Assistance, to Eric Hansen             36
6260   3/22/1989   State of New York Department of Social         Butt, 1/26/10, Ex. 4    NYSHD-FOIL 03373 May
                   Services Memorandum from Mark Butt to
                   Mike Falzano
6261   3/22/1989   Memo and attachment from HCFA to All                                   CT0006912-26       May
                   Medicaid State Agencies regarding Prescription
                   Drugs, Assurances and Findings, State Use of
                   AWP Pricing
6262   3/23/1989   Article from Arkansas Democrat-Gazette         Roxane S.J., 6/26/09,                      May
                   entitled “Pharmacists Face Big Losses Under Ex. 76
                   Proposal, Official Says”
6263   3/23/1989   HCFA State Drug Reimbursement Survey           R. Stevens, 12/15/08,   HHD084-006-021     May
                   completed by New Mexico                        Ex. 529
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 23 of 356




6264   3/25/1989   Verme Associates EAC drug survey              Campana, 8/19/08, Ex.   AWP-AK-00000091-       May
                                                                 37                      105
6265   3/25/1989   Verme Associates EAC drug survey appendix     Campana, 8/19/08, Ex.   AWP-AK-00000764-       May
                   C                                             38                      770
6266   3/31/1989   Letter from Eric Hansen to Ruth Alton         Campana, 8/19/08, Ex.   AWP-AK-00000038        May
                                                                 39
6267               INTENTIONALLY LEFT BLANK
6268   4/1989      Open Letter on the Medicaid Pharmacy          Campana, 8/19/08, Ex. AWP-AK-00000237-         May
                   Program from Eric Hansen                      40                    239
6269   4/12/1989   Letter from Winona Rubin at Hawaii DHS to     HI, Watson S.J.,      HI_HI 000002792-99       May
                   HCFA                                          8/25/09, Ex. 61
6270   4/14/1989   Article from The Washington Post entitled                                                    May
                   “Prescription Drug Plans Face Threat;
                   Pharmacy Chains Dropping Programs”
6271   4/18/1989   HCFA chart of state reimbursement rates in    Rugg, 12/15/08, Ex. 11 HHC010-1060             May
                   Region 1
6272   4/27/1989   Order Adopting, Amending, and Repealing       Campana, 8/21/08, Ex. AWP-AK-00000152-         May
                   Regulations of the Department of Health and   DC US 1               62
                   Social Services
6273   5/1/1989    Article from Drug Store News entitled "AWPs   Roxane S.J., 6/26/09,                          May
                   Are a Joke, But No One Is Laughing"           Ex. 78

6274   5/22/1989   Letter from HCFA to Hawaii Medicaid              Hiramatsu, 5/1/08, Ex. HI_HI 000014794-95   May
                   regarding dispensing fee                         22
6275   5/25/1989   Affidavit of E. Lasky; Pharm. Soc. Of the State NY, Lasky, 4/23/08, Ex. A931-947, 1548-      May
                   of New York, Inc., et al. v. Cuomo et al., Index 5                      A1745
                   No. 76-CIV-5080 with attachments

6276   5/26/1989   Memorandum from Omel Turk, Pharmacy           Hiramatsu, 6/11/09, Ex. HI_HI 000002800        May
                   Consultant, to Earl Motooka, Health Care      85
                   Administrator, regarding Implementation of
                   Pharmacy Dispensing Fee Increase
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 24 of 356




6277   6/1989      A Survey of costs of Dispensing Prescriptions Bridges, 12/10/08,        ARK00007310-439      May
                   And Estimated Acquisition Cost in the State of Roxane 10
                   Arkansas
6278               INTENTIONALLY LEFT BLANK
6279               INTENTIONALLY LEFT BLANK
6280   6/15/1989   Hawaii Medicaid Policy Directive regarding     Hiramatsu, 5/1/08, Ex.   HI_HI 000002832      May
                   dispensing fee increase                        24
6281   6/20/1989   Letter from HCFA to J. Costantino, Deputy      Butt, 1/26/10, Ex. 5     LASKY 00110-11       May
                   Commissioner of New York State Department
                   of Social Services
6282   6/26/1989   Memorandum from Christine Nye, Director,       WI, Nye, 11/18/08, Ex.   WI-ARCH-000787-      May
                   BHCF to George MacKenzie, Administrator, 16                             788
                   Division of Health
6283   7/13/1989   Hawaii Medicaid memo regarding system          Hiramatsu, 5/1/08, Ex.   HI_HI 000014764-65   May
                   change for the reduction of AWP for drugs      11
6284   7/18/1989   Excerpts from the Hearing before the United    Roxane S.J., 6/26/09,                         May
                   States Senate Special Committee on Aging on Ex. 79; Abbott Ex. 154
                   "Are We Getting Our Money's Worth?"

6285   7/21/1989   Letter from Arkansas Department of Human                                HHC010-0997-998      May
                   Services to J. Merryman
6286               INTENTIONALLY LEFT BLANK
6287   7/24/1989   Article from The Pink Sheet entitled "V-A    Roxane S.J., 6/26/09,                           May
                   Obtains Rx Drug Price Discounts of 41% for   Ex. 80
                   Single Source, 67% for Multisource Drugs not
                   Distributed by Department, Pryor Drug Price
                   Hearing Told"
6288   7/28/1989   Hawaii Medicaid Policy Directive regarding    Hiramatsu, 5/1/08, Ex. HI_HI 000002788         May
                   reduction of AWP                              25
6289   8/1989      State Medicaid Manual, Part 6 - Payment for   KY, Defs' Joint S.J.,  KY_DMSS_ 12292-         May
                   Services, Transmittal No. 14                  10/15/08, Ex. 38       12295
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 25 of 356




6290   8/1989      Majority Staff Report of the United States    Defs' Common S.J.                            May
                   Senate Special Committee on Aging entitled    Resp., 8/28/09, Ex. 43;
                   "Prescription Drug Prices: Are We Getting Our Abbott Ex. 81
                   Money's Worth?" (Serial No. 101-D)
6291   8/1989      State Medicaid Manual Part 6 - Payment for                            HHD093-0080-87       May
                   Services, Transmittal No. 14
6292               INTENTIONALLY LEFT BLANK
6293   8/1/1989    Arkansas Medicaid State Plan Amendment 89-                            HHC010-0790-91       May
                   24
6294   8/7/1989    Memo from HCFA to Associate Regional          Dubberly, 12/15/08,     HHC010-1007-1008     May
                   Administrator regarding Arkansas State Plan   Georgia 36
                   Amendment, Transmittal Number 89-24

6295   8/10/1989   Letter to Walk Patterson, Director of Dep't of   Bridges, 12/11/08,     HHD084-0411-20,    May
                   Human Services from J.D. Sconce, Regional        Roxane 25              HHC010-1005-1006
                   Administrator at HCFA
6296   8/25/1989   Letter from Gary Stangler at Missouri DSS to     MO, McCann, 10/3/07, MO 000568-71         May
                   William Blake at HCFA, with attachment           Ex. 8
6297               INTENTIONALLY LEFT BLANK
6298   9/19/1989   Memo from Diane Jacobs, Mass. Medicaid, to       MA, Jacobs, 8/13/07,   MA012164-166       May
                   Commissioners regarding prescribed drugs         Ex. 11
                   public hearing
6299   9/26/1989   Editor's Message entitled "Earned Discounts      Booth, 4/23/07, Abbott HHC003-0034 -      May
                   Are a Sham Only to Those Who Don't Earn          Ex. 115                HHC003-0035
                   Them"
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 26 of 356




6300   9/29/1989   Memorandum from R. Kusserow, Inspector      Vito, 2/6/08, Dey Ex.                          May
                   General, to L. Hays, HCFA Acting            46
                   Administrator, attaching the OIG Management
                   Advisory Report - The Use of Average
                   Wholesale Prices in Reimbursing Pharmacies
                   Participating in Medicaid and the Medicare
                   Catastrophic Coverage Act Prescription Drug
                   Program (A-06-89-00037)


6301   10/1/1989  California Department of Health Services’   Dey S.J. Ex., 6/26/09,       HHC016-0712 -      May
                  State Plan Amendment, Transmittal No. 89-08 Ex. 244; Dey S.J.,           HHC016-0717
                                                              6/26/09, Ex. 249
6302   10/16/1989 Oregon Medicaid State Plan Amendment 89-26                               HHC020-1699-1700   May

6303   10/1989     OIG Management Advisory Report - The Use       Booth, 4/23/07, Abbott                      May
                   of Average Wholesale Prices in Reimbursing     Ex. 113
                   Pharmacies Participating in Medicaid and the
                   Medicare Catastrophic Coverage Act
                   Prescription Drug Program (A-06-89-00037)

6304   10/1989     Draft OIG Management Advisory Report - Use Vavra, 9/26/07, Vavra                           May
                   of Average Wholesale Prices in Reimbursing Designee 45
                   Pharmacies Participating in Medicaid and the
                   Medicare Prescription Drug Program (A-06-89-
                   00037)
6305   10/5/1989  Letter that was sent to Kenny Whitlock, Deputy Bridges, 12/11/08,        HHC010-0969-70     May
                  Director of the Division of Economic and       Roxane 026
                  Medical Services for Arkansas Department of
                  Human Services
6306   10/19/1989 Memo from HCFA to Connecticut Department                                 CT0006872-73       May
                  of Income Maintenance regarding required
                  assurances and findings
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 27 of 356




6307   10/26/1989 Letter from Associate Regional Administrator                       HHC016-0873-77       May
                  for Region IX Division of Medicaid to
                  Kathleen Buto re: California's Method for
                  Establishing the EAC
6308   11/1/1989 Letter from Mississippi Pharmacists                                 MPhA 000712          May
                  Association to Mississippi
                  Congressional Delegation

6309   11/11/1989 State of New York Department of Social          Butt, 1/26/10, Butt Ex. NYSHD-FOIL 01544- May
                  Services Memorandum from Mark Butt to           6                       47
                  Mike Falzano
6310   11/21/1989 HCFA Status of States Using Non-Discounted                              HHC016-0878-80    May
                  Average Wholesale Price For Single Source
                  Drugs
6311   11/28/1989 Affidavit of E. Lasky; Pharm. Soc. Of the State NY, Lasky, 4/23/08, Ex. A-1504-36         May
                  of New York, Inc., et al. v. Cuomo et al. with 6
                  attachments
6312              INTENTIONALLY LEFT BLANK
6313   12/21/1989 Letter from Myra Munson to Albert Benz,         Campana, 8/19/08, Ex. AWP-AK-00000068- May
                  HCFA                                            41                      75
6314   1990       Annual Report Washington State Medical          Hautea-Wimpee,          WA-00000450-491   May
                  Assistance Fiscal Year 1990                     11/24/08, Ex. 3
6315              INTENTIONALLY LEFT BLANK
6316   1990       New Hampshire Medical Assistance                Farrand, 10/28/08, Dey NH04052 to 4060    May
                  Regulation for Pharmaceutical Services          Ex. 72
6317   1990       New Hampshire State Plan Amendment 90-22 Farrand, 10/28/08, Ex. HHC006-0400-0401 May
                                                                  004
6318   10/1/1990 North Carolina Department of Health and          Weeks, 10/21/08, Ex. HHD137-0243,         May
                  Human Services’ State Plan Amendment,           11                      HHD137-0248
                  Transmittal No. 89-09
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 28 of 356




6319   1990        Report of the Joint Subcommittee Studying      Paccione, 3/28/08,                          May
                   Pharmaceutical Costs in the Virginia Medical   Abbott Ex. 901
                   Assistance Program Pursuant to HJR 403

6320   1990        South Dakota State Plan Amendment 90-11        Iverson, 12/15/08, Ex.   HHC014-1555        May
                                                                  005
6321               INTENTIONALLY LEFT BLANK
6322   1990        National Pharmaceutical Council,            Previously disclosed                           May
                   Pharmaceutical Benefits under State Medical with Expert Report of
                   Assistance Programs                         Bradford
6323   1990        42 U.S.C. § 1395l                                                                          May
6324   1995        42 C.F.R. §§ 405.500 et seq                                                                May
6325   1990        42 C.F.R. § 405.502                                                                        May
6326   1/1990      Memorandum from Kathleen Buto, Director of Buto, 9/13/07, Dey Ex. HHD048-0288-0289         Expect
                   Bureau of Policy Development to Regional    101
                   Administrator RO VI regarding Medicaid
                   Prescription Drug Dispensing Fees

6327   1/1/1990    New Hampshire Division of Human Services’      Dey S.J., 6/26/09, Ex.   HHD040-0164-67     May
                   State Plan Amendment, Transmittal No. 90-2     247

6328   1/1/1990    Mississippi Pharmacists Association Newsgram                            MPhA 001730-1735   May

6329   1/12/1990   Brief for Respondent filed in State of Louisiana Booth, 4/23/07, Abbott                    May
                   v. U.S. Department of Health and Human           Ex. 118
                   Services
6330   1/12/1990   Memorandum from Christine Nye, Director,         WI, Defs' Joint S.J.    WI-Prod-AWP-      Expect
                   BHCF, to George F. MacKenzie,                    Resp., 1/15/08, Ex. 105 097965-097982
                   Administrator, Division of Health
6331   1/14/1990   Excerpt from Mississippi Pharmacists                                     MPhA 001117       Expect
                   Association Board of Directors Meeting
                   Minutes
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 29 of 356




6332   1/1990 -    Medicaid Pharmacy Bulletin, Volume 4, No.1    Previously disclosed    HHC002-0423-30    May
       2/1990                                                    with Expert Report of
                                                                 Helms
6333   2/15/1990   Connecticut Medicaid Pharmacy Program         CT, Warrick S.J.,       CT0023588-96      May
                   Report to the General Assembly                6/1/06, Ex. 65
6334   3/30/1990   Mississippi Pharmacists Association memo                              MPhA 000795       May
                   regarding update on HB 1467 and request for
                   action
6335   4/3/1990    NACDS Issues Profile: Medicaid            AL, Finch, 5/23/07,  HHC010-0913-24     May
                   Reimbursement Formulas Changing           Defendant's Ex. 183
6336   4/9/1990    Letter from Gene Hyde at HCFA to Gary     MO, McCann, 10/3/07, MO 000554-55       May
                   Stangler at Missouri DSS                  Ex. 12
6337   4/17/1990   State Plan Amendment No. 90-0006          WI , Trial, DX-0028  WI-Prod-AWP-011364-May
                                                                                  011369
6338   4/17/1990   Memo from Omel Turk, Pharmacy Consultant, HI, Watson S.J.,     HI_HI 000003299-   May
                   to Winnie Odo, Acting Health Care         8/25/09, Ex. 59      3302
                   Administrator, regarding Completion of
                   Pharmacy Dispensing Fee Study and
                   Recommended Increase
6339   4/20/1990   Facts: July 1, 1990 WMAP Modified Pharmacy WI, Nye, 11/18/08, Ex. WI-ARCH-001024-29 Expect
                   Reimbursement Plan at 1                        28
                   (attached to Letter from Christine Nye, BHCF,
                   to James C. Olson, R.Ph.)
6340   4/29/1990   Mississippi Pharmacists Association Grassroots                    MPhA 006194       Expect
                   Committee Meeting Minutes

6341   4/30/1990   Hawaii Medicaid memo regarding pharmacy       Hiramatsu, 5/1/08, Ex. HI_HI 000002758,   May
                   dispensing fee                                26                     HI_HI 000003225-
                                                                                        3228
6342               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 30 of 356




6343   5/1990      An Assessment of Chain Pharmacies' Costs of   FL, Crayton, 5/15/06,   FL 00003029-198   May
                   Dispensing a Third Party Prescription         Ex. 283A

6344   5/1990      Seidmann, Daniel J., “Transactions/List      Previously disclosed                       May
                   Pricing,” Econometrica, Volume 58, Number 3, with Expert Report of
                   pp. 621-636                                  Bradford
6345   5/1/1990    Letter and attachment from Arkansas          Previously disclosed     HHD283-0001-06    May
                   Department of Human Services to J.D. Sconce with Expert Report of
                   re: Arkansas State Plan Transmittal 89-24    Bradford

6346   5/2/1990    Letter from J.D. Sconce, Regional             Bridges, 12/11/08,      HHC024-0672-74    May
                   Administrator at Dep't Health and Human       Abbott-ARK 002
                   Services to Dr. Terry Yamauchi, Director of
                   Arkansas Dep't of Human Resources
6347   5/16/1990   Hawaii Medicaid Policy Directive No. 90-02    Hiramatsu, 5/1/08, Ex. HI_HI 000002759    May
                   regarding pharmacy dispensing fee increase    27

6348               INTENTIONALLY LEFT BLANK
6349   5/11/1990   Letter to Gary Wilks, Associate Regional        Chapman, 12/15/08,     HHC013-1137-39     May
                   Administrator, Division of Medicaid from Irene Exhibit Dey 354
                   Ibarra
6350               INTENTIONALLY LEFT BLANK
6351   6/4/1990    Letter and attachment from Irene Ibarra to Gary Chapman, 12/15/08, Ex. HHD038-1106,       May
                   Wilks                                           5                      HHD038-1103
6352   6/12/1990   Email from HCFA Administrator                   Hautea-Wimpee,         HHD084-0337-341    May
                                                                   11/24/08, Roxane-WA
                                                                   Ex. 4
6353   6/12/1990   Projecting a 1990 Cost of Dispensing a          WI, Defs' Joint Resp., WI-Prod-AWP-097965-May
                   Prescription Drug                               1/15/08, Ex. 84        097982
6354   6/12/1990   Title XIX of the Social Security Act; Division Chapman, 12/15/08, Ex. HHC013-1134-35      May
                   of Medical Assistance; State of Colorado        Dey 355
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 31 of 356




6355   7/1/1990    Transmittal and Notice of Approval of State                        HHC014-1080-083        May
                   Plan Material for Utah State Plan Amendment
                   DOH-HCF-28-90 and related materials

6356   7/1/1990    Colorado Medicaid State Plan Amendment 90-                             HHC013-1134-35     May
                   03
6357   7/1/1990    North Dakota Medicaid State Plan Amendment                             HHC013-0351-52     May
                   90-06
6358   7/1/1990    Wisconsin Medicaid State Plan Amendment 90-                            HHC009-0931-32     May
                   016
6359   7/3/1990    Memorandum from HCFA Dallas Texas -             Buto, 9/12/07, Abbott HHC906-0093-0098    May
                   Region VI to Kathleen Buto regarding            Ex. 294
                   Medicare Drug Pricing
6360   7/6/1990    Letter from acting director of Medicaid Bureau, Bridges, 12/11/08,     HHC010-0775-76     May
                   the Department of Health and Human Services, Roxane 28
                   to the Regional Administrator in Region 6,
                   Dallas
6361   7/6/1990    Official Notice of the Arkansas Department of Bridges, 12/10/08, Ex. 4 ARK00004141        May
                   Human Services
6362   7/12/1990   Letter from J. Reed to T. Yamauchi              Previously disclosed   HHC010-0777        May
                                                                   with Expert Report of
                                                                   Bradford
6363   7/13/1990   Fifth Circuit opinion in State of Louisiana v.  AL, Rector, 8/29/07,   NCPA 001331-337    May
                   U.S. Dept. of Health and Human Services, NO. Ex. NCPA 13
                   89-1566
6364   7/31/1990   Letter from lawyers for Hawaii Pharmaceutical Hiramatsu, 5/1/08, Ex. HI_HI 000002754-59   Expect
                   Association regarding increase in dispensing    28
                   fee
6365   8/13/1990   National Symposium for Medicaid Pharmacy Hiramatsu, 5/1/08, Ex. HI_HI 000002806-31        May
                   Administrators Report                           29
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 32 of 356




6366   8/20/1990   Letter from Lloyd Bentsen, Texas Senator, to   Somsak, 9/19/07,         HHC003-0013-14    May
                   Gail Wilensky, Administrator at HCFA,          Abbott Ex. 318
                   regarding pharmacy concerns about
                   reimbursement, attaching letter from True
                   Quality Pharmacies, Inc.
6367   9/21/1990   Letter from Alabama Medicaid Agency to          AL, Steckel, 3/28/07,                     May
                   Senator Pryor                                   Ex. Steckel 010
6368   9/26/1990   Letter from Gail Wilensky, Administrator at     Somsak, 9/19/07,        HHC003-0017-19    May
                   HCFA, to Honorable Lloyd Bentsen, Texas         Abbott Ex. 319
                   Senator
6369   10/1990     A Survey of Costs of Dispensing Prescriptions Homar, 12/3/08,                             May
                   and Estimated Acquisition Costs in the State of Roxane Ex. 020
                   Wyoming, prepared by Myers & Stauffer

6370   10/1/1990   Excerpt from the Massachusetts Medical         Duzor, 3/26/08, Dey      MA006117 -        May
                   Assistance Program Pharmacy Manual             Ex. 171                  MA006141
6371               INTENTIONALLY LEFT BLANK
6372   10/1/1990   Tennessee Medicaid’s State Plan Amendment,     Dey S.J., 6/26/09, Ex.   HHC008-0083       May
                   Transmittal No. 90-32                          251
6373   10/1/1990   Maine Medicaid State Plan Amendment 90-21                               HHD040-0118-120   May

6374   10/1/1990   Tennessee Medicaid State Plan Amendment 90-                           HHD113-0078-79     May
                   32
6375   10/2/1990   Letter from Arthur J. O'Leary, HCFA Associate Gaston, 1/24/08, Abbott NYSHD-FOIL 01682 - May
                   Regional Administrator for Division of        Ex. 464                 NYSHD-FOIL 01683
                   Mediaid, to State Agencies Administering the
                   Medicaid Program regarding Medicaid
                   Prescription Drug Upper Limits

6376   10/11/1990 AMA Letter from Carol Herrmann to                                        AL-ARCH 0000280 - May
                  Representative Callahan re: efforts to amend                             0000288
                  Title XIX of Social Security Act
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 33 of 356




6377   10/16/1990 House Report No. 101-881, reprinted in 1990    Roxane S.J., 6/26/09,                        May
                                                                 Ex. 144
6378   10/25/1990 Kentucky Medicaid Staff Report, Change in      KY, Defs' Joint S.J.,     KY_DMSS_ 12155-    Expect
                  EAC Determination Methodology                  1015/08, Ex. 037          12157
6379   10/25/1990 Staff Report, Subject: Change in EAC           Previously disclosed      KYDMSPL1012218-    May
                  Determination Methodology                      with Expert Report of     20
                                                                 Bradford
6380              INTENTIONALLY LEFT BLANK
6381   11/1/1990  Medical Assistance Provider Bulletin, re:      WI, Trial, DX-0946        WI-Prod-AWP-       May
                  Pharmacy Policy and Billing Information                                  0031141-1165
6382   11/1/1990 NARD Newsletter article entitled "Congress      Rector, 7/28/09, Ex. 15   NCPA 002851        May
                  Approves Medicaid Equal Access
                  Language…and a Moratorium on Pharmacy
                  Reimbursement Cuts"
6383   11/5/1990 Omnibus Budget Reconciliation Act of 1990, Dey S.J., 6/26/09, Ex.                            Expect
                  Pub. L. No. 101-508, § 4401, 104 Stat. 1388    31
                  (1990)
6384              INTENTIONALLY LEFT BLANK
6385   11/27-     Certification of Edwin C. Bridges and attached Gorospe, 12/3/08, Ex.                        Expect
       28/1990    Pharmacy Reform TAG Meeting Minutes            CA-Gorospe 008
                  (Baltimore, MD)
6386   12/28/1990 Brief of the State of Oklahoma Department of Nesser, 12/12/08,           HHD048-0139-0295   May
                  Human Services in Appeal of Disallowance of Roxane-OK Ex. 3
                  Funds Under the Social Security Act, before
                  the United States DHHS Appeals Board

6387   12/28/1990 Kentucky Administrative Regulation 907 KAR KY, Defs' Joint S.J.,         KYLEG05138-05147 May
                  1:020E                                      10/15/08, Ex. 40
6388   1991       Brief of HCFA in Support of Disallowance of Nesser, 12/12/08,            HHD 048-0057- 0126 May
                  Funds Under the Social Security Act, before Roxane-OK Ex. 10
                  the United States DHHS Appeals Board
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 34 of 356




6389   1991       HCFA approval letter and Washington State       Hautea-Wimpee,           WA-00000076-78     May
                  Plan Amendment 91-6                             11/24/08, Ex. 006
6390   1991       Letter from New Mexico Human Services           R. Stevens, 12/15/08,    NMAG00001665-1673 May
                  Department to HCFA with attached New            Abbott Ex. 003
                  Mexico State Plan Amendment 91-06
6391   Multiple   Collection of New Mexico State Plan             R. Stevens, 12/15/08,    HHD076-0066-74     May
       Dates      Amendments                                      Ex. 006
6392   1991       Newsletter from New Jersey Health Services      Vaccaro, 12/2/08, Ex.    NJ-AWP-00000743-   May
                  Program to Providers of Pharmaceutical          019                      744
                  Services
6393   8/1991     OIG Report - Comparison of Reimbursement        Tawes, 4/24/07, Abbott                      May
                  Prices for Multiple-Source Prescription Drugs   Ex. 129
                  in the United States and Canada (OEI 03-91-
                  00470)
6394   1991       Oklahoma State Plan Amendment 90-4         Nesser, 12/12/08,             HHC010-0685        May
                                                             Roxane-OK Ex. 4
6395   1991       Oregon Medicaid State Plan Amendment 91-8 Ketchum, 12/15/08,             ORHC159-168        May
                  and related materials                      Roxane Ex. 3
6396   1991       Richard Caves, Michael Whinston, and Mark AL, Trial, DTX 6393                               May
                  Hurwitz, Patent Expiration, Entry, and
                  Competition in the U.S. Pharmaceutical
                  Industry, Brookings Papers: Microeconomics
                  1991
6397   1991       South Dakota State Plan Amendment               Iverson, 12/15/08, Dey HHC014-1518-1526     May
                                                                  Ex. 909
6398              INTENTIONALLY LEFT BLANK
6399   1991       Virginia State Plan Amendment 91-30             Tomlinson, 11/3/08,                         May
                                                                  USA Ex. 5
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 35 of 356




6400   1991        Article from the Journal of Research in        WI, Kreling, 12/4/08,                      May
                   Pharmaceutical Economics titled "A             Ex. 2
                   Comparison of Pharmacists' Acquisition Costs
                   and Potential Medicaid Prescription Ingredient
                   Cost Reimbursement in Wisconsin" by David
                   Kreling
6401               INTENTIONALLY LEFT BLANK
6402   1991        The Alabama Medicaid Agency - 1991 Annual                              AL-ARCH 0000031-   May
                   Report                                                                 55
6403   1991        Caves, Richard, Michael Whinston, and Mark Previously disclosed                           May
                   Hurwitz, “Patent Expiration, Entry, and    with Expert Report of
                   Competition in the U.S. Pharmaceutical     Bradford
                   Industry,” Brookings Papers on Economic
                   Activity, Microeconomics

6404   1991        National Pharmaceutical Council,               Previously disclosed                       May
                   Pharmaceutical Benefits under State Medical    with Expert Report of
                   Assistance Programs                            Bradford
6405   1991        56 Fed. Reg. 8832, Medicare and Medicaid                                                  May
                   Programs; OBRA ’87 Conforming
                   Amendments (1991)
6406   1991        Draft Affidavit of Carol A. Herrmann           AL, Steckel, 3/28/07,                      May
                                                                  Ex. Steckel 005
6407               INTENTIONALLY LEFT BLANK
6408   1/1/1991    Letter from HCFA to Washington Medicaid     Hautea-Wimpee,             WA-00000076-0078   May
                   regarding State Plan Amendment 91-6         11/24/08, Ex. 6
6409   2/21/2009   42 U.S.C. § 1396r-8 printed from Social     Schondelmeyer,                                May
                   Security Online, Compilation of the Social  2/27/09, Ex. Roxane
                   Security Laws                               Schondelmeyer 6
6410   1/1/1991    Wisconsin Medicaid State Plan Amendment 91-                            HHC009-0941        May
                   0003
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 36 of 356




6411   1/1991      Transmittal Letter PHM-27 and attached                               MA006108 to 006160   May
                   Pharmacy Manual
6412   1/24/1991   Letter from Oklahoma Medicaid to HCFA          Nesser, 12/12/08,     HHC 010-0687-0688    May
                   regarding State Plan Amendment 90-04           Roxane-OK Ex. 5
6413   2/14/1991   Letter from HCFA to Manufacturer enclosing Marrs, 7/10/08, Ex. 27 DL-TX000914-932         Expect
                   Rebate Agreement between Secretary of HHS
                   and Manufacturer
6414   2/17/1991   Rebate agreement between Dey and the Dep't Dubberly, 12/15/08, Ex.                        Expect
                   of Health and Human Services                   Georgia 30
6415   2/25/1991   Pharmacy (EAC) Regulations file with letter    Fine, 12/9/08, Ex.    MD0013140-52         May
                   and attachments                                Abbott Maryland 10
6416   2/26/1991   Letter from Gary Stangler at Missouri DSS to MO, McCann, 10/3/07, MO 000562               May
                   Richard Brummel at HCFA                        Ex. 13
6417   2/28/1991   Cover note and a Rebate Agreement between Dey S.J., 6/26/09, Ex.                          Expect
                   the Secretary of Health and Human Services     34
                   and Dey
6418   3/1991      Article from The Consultant Pharmacist, Vol. Perri, 2/20/09, Ex. Dey                      May
                   3, No. 6, titled "Pricing Policies Under a     Perri 21
                   Competitive Pricing Strategy"
6419   3/1991      Final Report, Reimbursement for                MO, McCann, 10/3/07, MO.051800-927         May
                   Pharmaceutical Services in Missouri, submitted Ex. 14
                   to the Missouri Department of Social Service,
                   prepared by the University of Missouri School
                   of Pharmacy
6420   3/6/1991    Cover Letter from P. Marrs to HCFA with an                            DEY-BO-0226957-79 Expect
                   attached Rebate Agreement Between the
                   Secretary of Health and Human Services and
                   Dey
6421   3/26/1991   Dey Laboratories, Inc., A Report on the       FL, Selenati, 5/5/05,   DL 62774-780,       May
                   Medicaid Program as Part of the U.S. Health   Ex. Selenati 50         DL-TX0105365-371
                   Insurance System
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 37 of 356




6422   4/1/1991    Kentucky Medicaid State Plan Amendment 91-                            HHD284-0108-109   May
                   01
6423   4/1/1991    Maryland Medicaid State Plan Amendment 91-                            HHD039-0198-210   May
                   21
6424   4/10/1991   Muris, Timothy J., “Developments in         Previously disclosed                        May
                   Consumer Protection: Economics and          with Expert Report of
                   Consumer Protection,” Antitrust Law Journal Bradford

6425   5/13/1991   Excerpt from Tennessee's State Plan            Gaston, 1/24/08, Abbott HHD008-0083      May
                   Attachment 4.19B                               Ex. 457
6426   5/15/1991   Alabama Medicaid document entitled             AL, Finch, 5/24/07,     ALMED-375307-320 May
                   "Determination of Costs of Dispensing a        Defendant's Ex. 188
                   Prescription"
6427   5/20/1991   A Report on the Pharmacy Survey and            Terrebonne, 11/7/08,    ARK00007152-7277 May
                   Determination of Dispensing Costs in the State Abbott Ex. 1164
                   of Louisiana, prepared for the State of
                   Louisiana Department of Health and Hospitals

6428   6/1991      A Proposal for the Exclusive Sponsorship of   WV, Trial, Ex. 135      FDB-AWP 028287-   May
                   PriceAlert by First DataBank                                          028297
6429   6/5/1991    56 Fed. Reg. 25800-01, 25860                  D. Thompson, 3/28/08,                     May
                                                                 Abbott Ex. 1021

6430   6/5/1991    Excerpt from HCFA Proposed Rules regarding Booth, 4/23/07, Abbott                       Expect
                   the Medicare Program and the Fee Schedule for Ex. 120
                   Physicians' Services (56 Fed. Reg. 25792)

6431   6/13/1991   Letter from Kathleen Buto to Associate        Niemann, 9/14/07,       HHC906-0166-71    May
                   Regional Administrator for Medicare, New      Abbott Ex. 295
                   York, regarding Request for Guidance on
                   Limiting the Charge for Drugs/Biologicals
                   Provided by Physicians
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 38 of 356




6432   6/17/1991   Memorandum from Kathleen Buto, Director of Buto, 9/12/07, Abbott       HHC906-0090-0098      May
                   Bureau of Policy Development to Associate     Ex. 297
                   Regional Administrator for Dallas Division of
                   Medicare regarding Medicare Drug Pricing

6433   6/19/1991   Kentucky Interim Joint Committee on Health KY, Defs' Joint S.J.,          KYLEG03150-03158   May
                   and Welfare, Minutes of the Thirteenth           10/15/08, Ex. 039
                   Meeting
6434   7/1/1991    Kentucky Administrative Regulation 907 KAR KY, Defs' Joint S.J.,          KYLEG05421-05427   May
                   1:021E                                           10/15/08, Ex. 045
6435   7/1/1991    State Plan Under Title 19 of the Social Security Bridges, 12/10/08, Ex. 5 HHC902-0726        May
                   Act Medical Assistance Program, State of
                   Arkansas
6436   7/1/1991    South Dakota Medicaid State Plan Amendment                                HHD311-0311        May
                   2000-3
6437   7/31/1991   Letter from American Society of Clinical         Buto, 9/12/07, Abbott                       May
                   Oncology to Gail Wilensky, HCFA                  Ex. 300
6438   8/1/1991    Minnesota Department of Human Services’          Dey S.J., 6/26/09, Ex. HHD075-0339 -        May
                   State Plan Amendment, Transmittal No. 91-21 243                           HHD075-0358

6439   8/1991      Report by the Auditor General of California;   Gorospe, 3/19/08, Ex.   CAAG/DHS0071157 - May
                   How Medi-Cal and Other Health Care             Gorospe 016             0071224
                   Providers Manage Their Pharmaceutical
                   Expenditures
6440   8/1/1991    State regulations on paying for drugs          Fine, 12/9/08, Ex.      EXP USABT-DUG         May
                                                                  Abbott Maryland 009     069106-09
6441   8/1/1991    Connecticut Medicaid State Plan Amendment                              HHD168-0015-20        May
                   91-8
6442   8/2/1991    Letter from Edward Berger, National Medical    Niemann, 9/14/07,                             May
                   Care, Inc., to HCFA                            Abbott Ex. 299
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 39 of 356




6443   8/9/1991    Letter from HCFA to Participating Drug                              MO 001964-968       May
                   Manufacturers regarding Medicaid Drug
                   Rebate Program
6444   8/13/1991   United States DHHS Appeals Board decision in Nesser, 12/12/08,      HHD 048-0005-0016   May
                   Oklahoma Medicaid Appeal of Disallowance of Roxane-OK Ex. 9
                   Funds Under the Social Security Act

6445               INTENTIONALLY LEFT BLANK
6446               INTENTIONALLY LEFT BLANK
6447   8/22/1991   DHS Departmental Appeals Board Decision    Booth, 4/23/07, Abbott HHC011-1805-17        May
                   regarding Arkansas Department of Human     Ex. 119
                   Services (Decision No. 1273)
6448   10/1/1991   Nevada Medicaid State Plan Amendment 91-21                        HHD041-0248           May

6449   10/2/1991  Public Hearing - 114.3 CMR 31.00: Prescribed MA, Shapiro, 10/3/07, MA007726-7731         May
                  Drugs, Presented by: D. Jacobs, Policy Analyst, Ex. 9
                  Bureau of Ambulatory Care
6450   10/25/1991 DHS Memorandum from Bryan Mitchell,             Defs' Common S.J.       HHD816-0025-27   May
                  Principal Deputy Inspector General, to          Resp., 8/28/09, Ex. 165
                  Executive Secretariat regarding Draft Final
                  Fule: Fee Schedule for Physicians' Services
6451   11/1991    Title 42, § 405.517, Revised November 1991 Disclosed with Expert                         May
                                                                  Reports of Stiroh and
                                                                  Bradford
6452   11/4/1991 Memo from HCFA to Regional HCFA                                          HHC026-0183-88   May
                  regarding Pennsylvania Drug Reimbursement

6453   11/14/1991 Affidavit of Carol A. Herrmann, dated                                AL-ARCH 60-84       May
                  November 14, 1991
6454              INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 40 of 356




6455   11/25/1991 HCFA Final Rule for Medicare Program Fee                                                  May
                  Schedule for Physicians' Services (56 Fed. Reg.
                  59502)
6456              INTENTIONALLY LEFT BLANK
6457   12/23/1991 Rebate Agreement Between the Secretary of                            DEY-BO-0226944-56    Expect
                  Health and Human Services and Dey
6458   12/26/1991 Document titled: Legislature to Vote on Cuts NY, Lasky, 4/23/08, Ex. PSSNY 001046-47      May
                  in Medicaid                                     7
6459   1992       42 C.F.R. § 405.517 (1992)                      Niemann, 9/14/07,    HHD008-0008-09       May
                                                                  Abbott Ex. 38
6460   1992       Hawaii Administrative Rules on payment for Hiramatsu, 5/1/08, Ex. HI_HI 000005839-41      May
                  drugs                                           49
6461   1992       North Carolina State Plan Amendment 92-24 Weeks, 10/21/08, Ex.                            May
                                                                  12
6462   1992       Article Analysis of the Cost of Dispensing      Sullivan, 3/12/08,                        May
                  Third-Party Prescriptions in Chain Pharmacies Abbott Ex. 580

6463   1992       South Dakota State Plan Amendment 91-16          Iverson, 12/15/08, Ex. 3 HHD038-0422     May

6464   1992       State of New Mexico Medical Assistance           Abbott Ex. 002           NMAG00003336-346 May
                  Program Manual
6465              INTENTIONALLY LEFT BLANK
6466   1992       The Alabama Medicaid Agency - FY 1992                                     ALMED-821204-250 May
                  Annual Report
6467   1992       Horowitz, Joel L., “The Role of the List Price   Previously disclosed                     May
                  in Housing Markets: Theory and an                with Expert Report of
                  Econometric Model,” Journal of Applied           Bradford
                  Econometrics, Volume 7, pp. 115-129
6468   3/1992     Myers & Stauffer Report - A Survey of Costs      Previously disclosed                     May
                  of Dispensing Prescriptions in the State of      with Expert Reports of
                  Kansas                                           Bradford and Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 41 of 356




6469   1992        National Pharmaceutical Council,              Previously disclosed                          May
                   Pharmaceutical Benefits under State Medical   with Expert Reports of
                   Assistance Programs                           Bradford and Stiroh
6470               INTENTIONALLY LEFT BLANK
6471   1992        42 U.S.C. § 256b                                                                     May
6472   1/1/1992    Title 22 CCR file                             Gorospe, 12/3/08,     CAAG/DHS0031598- May
                                                                 Exhibit CA-Gorospe 17 637

6473   1/17/1992   Memo from Director Medicaid Bureau HCFA                                HHC902-0744-45       May
                   to Regional HCFA regarding Pennsylvania
                   Drug Reimbursement
6474   2/16/1992   McFadden, Robert D., "Cuomo puts off          Previously disclosed                          May
                   Medicaid Cut after Pleas from Pharmacists,"   with Expert Report of
                   New York Times                                Stiroh
6475   2/26/1992   Letter and attachment from Carol Herrmann,                             AL-ARCH 453-459      May
                   Alabama Medicaid Commissioner, to William
                   Lyons at HCFA
6476   3/1992      Revision to Indiana State Plan                Sharp, 3/28/08, Ex.     JDIND00016-27         May
                                                                 Abbott 952
6477   3/1992      Program for "Maximizing Medicaid              NY, Lasky, 4/23/08, Ex. Lasky 00002 - 00144   May
                   Prescription Drug Benefit"                    8
6478   3/18/1992   DHS Departmental Appeals Board Decision       Tomlinson, 11/4/08,                           Expect
                   regarding Pennsylvania Department of Public   Abbott Ex. 1153
                   Welfare (DAB No. 1315)

6479   4/14/1992   Connecticut Medicaid Pharmacy Report to the CT, Warrick S.J.,        CT0023653-702          May
                   Appropriations Committee of the General     6/1/06, Ex. 31
                   Assembly
6480   5/1/1992    Pharmacy Update Transmittal No. 19          Bridges, 12/10/08, Ex. 6 ARK00003540-3671       May

6481   5/13/1992   Letter from Hawaii Medicaid to HCFA           Hiramatsu, 5/1/08, Ex. HHC016-0586-87         May
                   regarding federal rebate program              68
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 42 of 356




6482   5/13/1992   Letter from Kenny Whitlock, Arkansas       Bridges, 12/11/08,           HHC902-711-13    May
                   Department of Human Services, to HCFA's    Roxane 29
                   Regional Office 6
6483   6/1/1992    Alabama Medicaid State Plan Amendment 92-7                              HHD087-0853      May

6484   6/1/1992    Alabama Medicaid State Plan Amendment 98-                               HHC008-0010-11   May
                   05
6485   7/2/1992    State Plan Under Title XIX of the Social        Terrebonne, 3/31/08,    JD-SUB-LA-001522- May
                   Security Act                                    Ex. Abbott 1050         32
6486   7/3/1992    HCFA Memorandum from Director of                Sullivan, 3/12/08,      HHC902-0657-65    May
                   Medicaid Bureau to Associate Regional           Abbott Ex. 579
                   Administrator, Division of Medicaid, Atlanta,
                   re: Request for Policy Clarification on
                   Tennessee's Interpretation of Usual and
                   Customary Charges as Applied to Outpatient
                   Drug Reimbursement
6487   7/31/1992   Hearing before the Subcommittee on Health   Lockwood, 4/24/09, Ex.                       May
                   and the Environment of the Committee on     Lockwood Ery 016
                   Energy and Commerce of the House of
                   Representatives
6488   8/7/1992    HCFA Approval Letter and Hawaii State Plan Hiramatsu, 5/1/08, Ex. HHC016-0573-81         May
                   Amendment 92-08                             45
6489   8/7/1992    Florida Medicaid State Plan Amendment 92-08                        HHC008-0014-16        May

6490   10/1992     OIG Report - Cost of Dialysis-Related Drugs     Niemann, 9/14/07,                        May
                   (A-01-91-00526)                                 Abbott Ex. 82
6491   10/1992     Henry Grabowski and John Vernon, “Brand         Previously disclosed                     May
                   Loyalty, Entry, and Price Competition in        with Expert Report of
                   Pharmaceuticals after the 1984 Drug Act,”       Bradford
                   Journal of Law and Economics, pp. 331-50
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 43 of 356




6492   10/26/1992 Letter from to M. Falzano to P. Mascarelli       Butt, 2/8/10, Ex. 15    NYCO AWP NYDOH May
                                                                                           20320 - 0321

6493   11/1992     OIG Report - Physicians' Costs for              Vito, 12/5/08, Abbott   HHD009-0322-46     May
                   Chemotherapy Drugs (A-02-91-01049)              Ex. 100
6494   11/6/1992   Appendix II to OIG Report titled "Physicians'   Vito, 2/5/08, Dey Ex.   HHD060-0245        May
                   Costs for Chemotherapy Drugs"                   40

6495   11/10/1992 Illinois Medicaid interoffice memo regarding     Parker, 11/18/08,       AWP-IL-00016119-   May
                  legislation                                      Roxane IL Ex. 2         124
6496   11/17/1992 Contact Report Prepared by Jimmy Sigmund         Buto, 9/13/07, Abbott   HHC010-0184-0185   May
                                                                   Ex. 303
6497   11/30/1992 Memorandum from Sandy Kramer, State of           Kramer, 3/25/08,                           May
                  Michigan Department of Social Services, to       Abbott Ex. 656
                  Vern Smith regarding Elimination of Actual
                  Acquisition Cost Reimbursement
6498   1993       HCFA Medicaid Drug Rebate Program Release Farrand, 10/28/08, Dey         KYDMSPL0055138-    May
                  No. 7                                        Ex. 94                      0055145
6499   1993       Virginia State Plan Amendment 93-14          Hayashi, 12/4/08,           000001035 - 1044   May
                                                               Abbott Ex. 3
6500   1993       Wyoming Medicaid Pharmacy Billing Manual Homar, 12/2/08,                 WY00001136-1241    May
                                                               Roxane Ex. 2
6501   1993       Alabama Medicaid Agency, FY 1993 Annual Toney, 6/6/07,                   ALMED 831994 -     May
                  Report                                       Defendant's Ex. 272         832042
6502   1993       Medicaid Budget Shortfall FY ‘93 - Items For                             ALMED-374240 -     May
                  Consideration                                                            374250
6503   10/1993    Myers & Stauffer Report - A Survey of Costs Previously disclosed                            May
                  of Dispensing Prescriptions in the State of  with Expert Reports of
                  Kansas                                       Bradford and Stiroh
6504   1993       National Pharmaceutical Council,             Previously disclosed                           May
                  Pharmaceutical Benefits under State Medical with Expert Reports of
                  Assistance Programs                          Bradford and Stiroh
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 44 of 356




6505   1/1/1993    Massachusetts Medicaid State Plan                                         HHD040-0029-30     May
                   Amendment 93-03
6506   1/1/1993    HCFA 179 form for District of Columbia SPA,                               HHC007-0847        May
                   Transmittal No. 93-05
6507   1/13/1993   NY EPIC Program Manufacturer Drug Rebate                                  DEY-BO-0227158 -   May
                   Agreement                                                                 DEY-BO-0227187
6508   1/19/1993   Memo from Dan Snodgrass, Nebraska           Cheloha, 12/2/08, Dey         NEB0167            May
                   Medicaid, to All Participating Pharmacy     Ex. 914
                   Providers
6509   1/26/1993   58 Fed. Reg. 6095 (Jan. 26, 1993)                                                            May
6510   2/18/1993   Provider Notice 93-6 re: Reduction in                                     ALMED-374249 -     May
                   Payments Due to Budgetary Shortfall                                       ALMED-374250
6511   2/19/1993   Note from Larry T. to Henry attaching                                     AL-ARCH 802-804    May
                   Alabama Pharmaceutical Association Memo

6512   2/24/1993   Letter from Timothy Burelle to Brian Moore                                AL-ARCH 548        May

6513   3/1993      GAO Report - Medicaid: Outpatient Drug          Gaston, 1/24/08, Abbott                      May
                   Costs and Reimbursements for Selected           Ex. 458
                   Pharmacies in Illinois and Maryland
6514   3/6/1993    Letter from Stanley Smith (Mattox Drug                                    AL-ARCH 0000557 - May
                   Company) to Brian Moore re: Medicaid                                      0000558
                   reimbursement
6515   3/18/1993   Report of the Medicaid Legislative Committee                              AL-ARCH 478-516    May
                   Created Pursuant to Joint Resolution 41, 1993
                   Regular Session
6516   3/31/1993   Letter from Brian Moore to Stanley Smith                                  AL-ARCH 555-558    May
                   (Mattox Drug Company)
6517   4/15/1993   Letter and enclosed 1993 Q1 AMPs from Dey                                 DL-BO-163158-63    May
                   to PACE Program
6518   5/1/1993    Part II Policies and Procedures for Pharmacy    Dubberly, 12/15/08, Ex.                      May
                   Services, Revised: May 1, 1993                  Georgia 005
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 45 of 356




6519   5/20/1993   Health Insurance Claim Form (HCFA 1500)      M. Jones, 3/18/08,    VAC MDL 43813         May
                                                                Abbott Ex. 701
6520   5/20/1993   Health Insurance Claim Form (HCFA 1500)      M. Jones, 3/18/08,    VAC MDL 43812         May
                                                                Abbott Ex. 702
6521   5/20/1993   California State Plan Amendment 93-05,       Gorospe, 12/3/08,     CAAG/DHS 0022483- May
                   Attachment 4.19-B                            Exhibit CA-Gorospe    88
                                                                015
6522   6/16/1993   State Information Survey; National Symposium Chapman, 12/15/08,    HHD050-0852-57        May
                   for Medicaid Pharmacy Administrators         Dey Ex. 356

6523   6/28/1993   Cover letter for District of Columbia state plan                         HHC007-0848       May
                   material, Transmittal No. 93-05.
6524   7/1/1993    North Dakota Medicaid State Plan Amendment                               HHC013-0213-15    May
                   93-15
6525   7/5/1993    Excerpt from the Pharmacy Manual, Basic          Kramer, 3/25/08, Ex.                      May
                   Pharmacy Information, Reimbursement              Abbott 659
6526   8/1993      Kentucky Administrative Regulations Service Bahr, 1/29/08, Ex. Bahr KY_DMS_000000001 May
                   Volume 8                                         18                      24044-49
6527   8/2/1993    The New York State Elderly Pharmaceutical                                DEY-LABS-0356210- May
                   Insurance Coverage Program (EPIC) Rebate                                 40
                   Agreement
6528   9/1/1993    Amount, Duration and Scope of Medical and                                HHD037-0010-18    May
                   Remedial Care and Services Provided to the
                   Categorically Needy
6529   9/15/1993   CPN/PPO Inc. Group Purchasing Contract           M. Jones, 12/8/08, Dey R1-022843-44       May
                                                                    Ex. 304
6530   9/15/1993   Letter from Bruce Valdeck to M. West,            Gaston, 1/24/08, Abbott HHC902-0856 -     May
                   Executive Vice President of National             Ex. 461                 HHC902-0858
                   Association of Retail Druggists
6531   9/24/1993   Medicaid Rebate Invoice                          Walsh, 3/18/08, Ex.                       May
                                                                    Dey 051
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 46 of 356




6532   10/1/1993  Contract Proposal to Community Pharmacy          Dey S.J., 6/26/09, Ex. DL0506              May
                  Network/PPN                                      105
6533   10/1/1993 Florida Agency for Health Care                    Dey S.J., 6/26/09, Ex. HHC008-0029         May
                  Administration’s State Plan Amendment,           245
                  Transmittal No. 93-56
6534   10/1/1993 List of Dey Laboratories, Inc. Sales Districts by Marrs, 5/15/08, Ex. 4 DL-TX-0100266        May
                  State
6535   10/1993    Vermont Medicaid Pharmacy Manual                 Rugg, 12/15/08, Dey                        May
                                                                   Ex. 4
6536   10/1/1993 Washington State Plan Amendment 93-037            Hautea-Wimpee,          WA-00000061-0067   May
                                                                   11/24/08, Ex. 7
6537   10/14/1993 Connecticut Medicaid State Plan Amendment                                HHC006-0359        May
                  93-016
6538   10/15/1993 Letter and enclosed 1993 Q23 AMPs from Dey                               DEY-BO0019447      May
                  to NYS EPIC Program
6539   11/30/1993 Letter from Eugene A. Grasser to Russell B.      Dubberly, 12/15/08, Ex.                    May
                  Toal                                             Georgia 034
6540   1994       Excerpt of Public Act 291 of 1994                Kramer, 3/25/08, Ex.                       May
                  (Appropriation Act)                              Abbott 662
6541   1994       Medicaid Drug Reimbursement chart showing Nesser, 12/12/08,              HHC 010-0678       May
                  rates for seven states                           Roxane-OK Ex. 017
6542   1994       New Hampshire Medicaid Billing Manual            Farrand, 10/28/08, Dey NH04622 to 4817     May
                                                                   Ex. 74
6543   1994       New Hampshire Medicaid Notice regarding Co- Farrand, 10/28/08, Dey NH05169-05170            May
                  Pay and Dispensing Fee Changes                   Ex. 75
6544   1994       Ohio State Plan Amendment                        R. Reid, 12/15/08,      OH033409-412       May
                                                                   Abbott-Reid Ex. 8
6545   1994       Oregon Response to Ven-A-Care State              J. Anderson, 12/16/08, VACMDL75375[D]      May
                  Medicaid Reimbursement Survey                    Abbott Ex. 3
6546   1994       Report to Congress entitled "Pharmacy            Vladeck, 6/21/07, BMS                      Expect
                  Reimbursement Rates: Their Adequacy and          Ex. 6
                  Impact on Medicaid Beneficiaries"
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 47 of 356




6547   1994        Washington Medicaid Prescription Drug         Hautea-Wimpee,            WA-00001279-1327   May
                   Program Provider Manual                       11/24/08, Ex. 11
6548   1994        Alabama Medicaid Agency, FY 1994 Annual       AL, Toney, 6/6/07,        ALMED 821298 -     May
                   Report                                        Defendant's Ex. 273       821347
6549               INTENTIONALLY LEFT BLANK
6550   1994        National Pharmaceutical Council,              Disclosed with Expert                        May
                   Pharmaceutical Benefits under State Medical   Reports of Bradford and
                   Assistance Programs                           Stiroh
6551               INTENTIONALLY LEFT BLANK
6552   1994        42 U.S.C. § 1395m (1994)                                                                   May
6553   8/9/1991    HCFA Medicaid Drug Rebate Program State                                 HHC016-0067-71,    May
                   Release No. 2                                                           HHD026-0561-65
6554   1/1994      1994 January Cromolyn Sodium Nebulizer                                  DL-TX 0075992-     May
                   Solution Training Manual                                                76081
6555   1/1/1994    Contract Award to Greater New York Hosp    Dey S.J., 6/26/09, Ex.       DL0260             May
                   Assoc/Alternate Care                       104
6556   1/1994      Dey Monthly Sales Report                   Dey S.J. Opp., 8/28/09, DL-TX-84723-84731       May
                                                              Ex. 312
6557   1/1994      GAO Report - Prescription Drugs: Companies Roxane S.J., 6/26/09,                           Expect
                   Typically Charge More in the United States Ex. 88
                   Than in the United Kingdom
6558   1/1/1994    Massachusetts Medicaid State Plan                                  HHD168-0102-104         May
                   Amendment 94-03
6559   1/10/1994   State Plan Amendment                       Shirley, 12/2/08, Ex.   IN-00000045-61          May
                                                              Dey 506
6560   1/12/1994   HCFA approval letter and Washington State  Hautea-Wimpee,          US v. Abbott WA-        May
                   Plan Amendment 93-037                      11/24/08, Ex. 7         00000061-67
6561   1/13/1994   Medicaid Rebate Invoice                    Walsh, 3/18/08, Ex.                             May
                                                              Dey 52
6562   2/1994      Dey Monthly Sales Report                   Previously disclosed    DL-TX 84733-84743       May
                                                              with Expert Report of
                                                              Stiroh
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 48 of 356




6563   2/1/1994    Letter and attachments from National Supplier R. Stone, 2/28/08,       VAC MDL 61806-14 May
                   Clearinghouse to Ven-A-Care of the Florida    Abbott Ex. 525
                   Keys
6564   2/14/1994   Burden Rate Study                             NY, Burridge, 4/22/08,   PSSNY 003335 - 50   May
                                                                 Ex. 6
6565   3/1994      Dey Monthly Sales Report                      Previously disclosed     DL-TX 84744-84754   May
                                                                 with Expert Report of
                                                                 Stiroh
6566   3/1994      Michigan Department of Social Services        Kramer, 3/25/08,         MSA 29-40           Expect
                   Report - Medicaid Pharmacy Payments: Actual Abbott Ex. 657
                   Acquisition Cost & Estimated Acquisition Cost

6567   3/15/1994   Excerpt from the Virginia Department of       Dey S.J., 6/26/09, Ex.                       May
                   Medical Assistance Services’ provider manual, 229
                   dated March 15, 1994, available at
                   http://websrvr.dmas.virginia.gov/ProviderManu
                   als/ManualChapters/General/appendixa_gen.pd
                   f
6568   3/15/1994   Memorandum from Charles Booth to All          Booth, 4/23/07, Abbott HHC903-0913 -         May
                   Associate Regional Administrators for         Ex. 114                HHC903-0916
                   Medicare regarding the Determination of
                   Acquistion Cost of Drugs
6569   3/22/1994   HCFA Memorandum and attachment from Joe       Buto, 9/13/07, Abbott    AWP041-0823-0827    May
                   Mirabal to All Region II HCFA Medicare        Ex. 304
                   Carriers regarding Determination of
                   Acquisition Cost of Drugs--Action
6570               INTENTIONALLY LEFT BLANK
6571   4/1994      Dey Monthly Sales Report                      Previously disclosed     DL-TX 84755-84769   May
                                                                 with Expert Report of
                                                                 Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 49 of 356




6572   4/1/2004    Montana Draft Recommendation for               MT, Dey S.J., 2/8/07,     MT 027791-MT      May
                   Containing the Cost of Medicaid Prescription   Ex. O                     027797
                   Drugs
6573   4/1994      Part II Policies and Procedures for Pharmacy   Dubberly, 12/15/08, Ex.                     May
                   Services, Revised: April 1994                  Georgia 6
6574   4/1994      OIG Report - Follow-Up Review of the                                     HHD141-0563-609   May
                   Pennsylvania Department of Public Welfare's
                   Compliance with the Federal Aggregate Upper
                   Payment Limit Requirements For Prescription
                   Drugs (A-03-92-00602)

6575   4/15/1994   Memo from OIG to HCFA regarding audit of                            HHD141-0561-62         May
                   Pennsylvania Medicaid
6576   4/25/1994   Draft Memorandum from Director of Office of Booth, 10/29/07, Abbott HHC903-0931 -          May
                   Payment Policy to All Associate Regional    Ex. 362                 HHC903-0933
                   Administrators for Medicare regarding the
                   Determination of Acquisition Cost of Drugs

6577   4/25/1994   Memorandum from Rozann Abato, HCFA            Chesser, 6/24/08,          HHD021-0059-61    May
                   Deputy Director, Medicaid Bureau, to John     Roxane Ex. 76
                   Hapchuk, Director of Programs and Operations
                   Audits, regarding OIG Suggested Audit Subject
                   Matter for OIG Fiscal Year 1995 Workplan

6578   5/1994      Myers & Stauffer Report - A Survey of Costs    Bridges, 12/10/08,        ARK00007688-806   May
                   of Dispensing Prescriptions in the State of    Roxane 11
                   Arkansas
6579   5/1/1994    Dey Average Wholesale Price List               Dey S.J. Opp., 8/28/09, DL-BO-114574        May
                                                                  Ex. 379
6580   5/1994      Dey Monthly Sales Report                       Previously disclosed    DL-TX 84770-84783   May
                                                                  with Expert Report of
                                                                  Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 50 of 356




6581   5/1/1994    Document entitled Dey Laboratories Wholesale Dey S.J., 6/26/09, Ex. DL040                 May
                   Price List                                    101
6582   5/18/1994   Minutes from the Medical Care Advisory        AL, Trial, DTX 91       AL-ARCH 0000883-    May
                   Committee Meeting, Alabama Medicaid                                   895
                   Agency
6583   5/18/1994   Memorandum from R. Lasky, Capital Public      NY, Burridge, 4/22/08, PSSNY001915-19       May
                   Affairs to E. Considine, PSSNY                Ex. 5
6584   5/20/1994   Transmittal and Notice of Approval of State   Shirley, 12/2/08, Ex.   IN-00000082-99,     May
                   Plan Material                                 Dey 507                 JDIND00062-68
6585   5/24/1994   Memorandum from Charles Booth to All          Booth, 10/29/07, Abbott HHC902-0142 -       May
                   Associate Regional Administrators for         Ex. 363                 HHC902-0145
                   Medicare regarding the Determination of
                   Acquisition Cost of Drugs
6586   6/1994      Dey Monthly Sales Report                      Previously disclosed    DL-TX 84784-84798   May
                                                                 with Expert Report of
                                                                 Stiroh
6587   6/1994      Excerpt from DMERC Medicare Advisory          Eiler, 8/28/08, Abbott AWP035-1118          May
                   titled "1994 HCPCS Pricing List for Drug      Ex. 1128
                   Codes"
6588   6/1/1994    Michigan Medicaid State Plan Amendment 94-                            HHC009-0007         May
                   17
6589   6/6/1994    Letter and fax from Rena Clark at WPS to      R. Clark, 2/8/08, Dey AWP010-1631-33        May
                   Alice Wiley at HCFA responding to Drug        Ex. 111
                   Acquisition Cost audit
6590   6/8/1994    HCFA Regional Carrier Letter No. 94-19        R. Stone, 2/29/08,      AWQ025-0215-32      May
                                                                 Roxane Ex. 44
6591   6/8/1994    Memorandum and attached documents from        Booth, 10/29/07, Dey HHC010-0111 -          May
                   Associate Regional Administrator for Medicare Ex. 103                 HHC010-0128
                   to Charles Booth regarding Carrier Drug
                   Pricing Variables
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 51 of 356




6592   7/1994      Dey Monthly Sales Report                       Previously disclosed    DL-TX 84799-84809   May
                                                                  with Expert Report of
                                                                  Stiroh
6593   7/1994      First DataBank's National Drug Data File       MA, P. Morgan,         FDB-AWP 05345-       May
                   (NDDF) User Manual                             11/30/07, Ex. 2        06015
6594   7/1994      OIG Report "Medicaid Program Savings                                                       May
                   Through the Use of Therapeutically Equivalent
                   Generic Drugs" (A-06-93-00008)
6595   7/11/1994   1994 Portion of 1993-94 Regular Session,      Gorospe, 12/3/08, Ex.                        May
                   Chapter 147 A.B. No. 2377 (1994)              CA-Gorospe 019
6596   7/26/1994   Memorandum and attached documents from        Booth, 10/29/07, Abbott HHD063-0037 -        May
                   Peter Hickman to Chuck Booth regarding Ways Ex. 366                   HHD063-0053
                   and Means Committee Bill on Coverage of
                   Outpatient Prescription Drugs and Home
                   Infusion Drug Therapy
6597   8/1994      Dey Monthly Sales Report                       Previously disclosed    DL-TX 84810-84820   May
                                                                  with Expert Report of
                                                                  Stiroh
6598   8/1994      Cigna pricing array for Cromolyn                                       AWQ021-0094-96      May
6599   8/3/1994    Letter from George Reeb, Assistant Inspector L. Reed, 9/27/07,         HHD032-0040         May
                   General for Health Care Financing Audits, to Abbott Ex. 324
                   Jeffrey Ireland at Montana Medicaid requesting
                   Montana's participation in OIG's review of
                   pharmacy acquisition costs

6600   8/3/1994    Letter from George Reeb, Assistant Inspector                           HHD144-0326         May
                   General for Health Care Financing Audits, to
                   Benny Ridout
6601   8/3/1994    Letter from George Reeb at OIG to Susan        MO, McCann, 10/3/07, MO.025591              May
                   McCann at Missouri DSS                         Ex. 24
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 52 of 356




6602   8/8/1994    Memorandum from Charles Booth to All          Booth, 10/29/07, Abbott HHC902-0173    Expect
                   Associate Regional Administrators for         Ex. 365
                   Medicare regarding Estimated Acquisition Cost
                   Drug Survey
6603   8/11/1994   Letter from Luis Cobo, Ven-A-Care President, Richter, 12/7/07, Dey VAC MDL 43026-040 May
                   to Work Team C, regarding Partial Refunds of Ex. 32
                   Reimbursement for Parenteral Nutrition
                   Solution Lipids 10% & 20% CPT-4 Codes
                   B4184 and B4186, attaching South Carolina
                   Provider Remittance forms, Overcharge Work
                   Sheets, and check from Ven-A-Care to
                   Palmetto Government Business Admin for
                   "Refund"


6604               INTENTIONALLY LEFT BLANK
6605   8/12/1994   Dey Laboratories memorandum from C.            FL, Wells, 5/25/04, Ex. DL 001-03          May
                   Jackson to M. Carrell, A. Hoyo and R. Uhl (cc: 63
                   H. Burnham, B. Mozak) re: State of Florida
                   Medicaid Program
6606   8/24/1994   Letter from HCFA to South Carolina approving                           HHD090-3134-76     May
                   State Plan Amendment 94-12
6607   8/30/1994   "Record of Discussion" from the OIG National Sullivan, 3/12/08,        HHC022-0201-03     Expect
                   Wholesale Price Review Conference              Abbott Ex. 581
                   (Richmond, VA)
6608   9/1994      Billing Instructions for the Washington        Hautea-Wimpee,          WA-00001279 - WA- May
                   Department of Social and Health Services       11/24/08, Ex. 11        00001327
6609   9/1994      Dey Monthly Sales Report                       Previously disclosed    DL-TX 84821-84831 May
                                                                  with Expert Report of
                                                                  Stiroh
6610   9/10/1994   Illinois Department of Public Aid's            Parker, 11/18/08,       AWP-IL-00016131-38 May
                   "Description of Proposed FY'96 Budget          Roxane IL Ex. 5
                   Initiatives"
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 53 of 356




6611   9/13/1994   Dey Laboratories Contract Procedures         TX, Rice, 3/24/03, Ex. DL-TX-0090881 - 889 May
                                                                573
6612   9/19/1994  Letter from R. Cook, Deputy Secretary to the  Butt, 2/12/10, Ex. 45  PSSNY002277 -78     May
                  Governor for Human Services to J. Westerman,
                  President PSSNY
6613              INTENTIONALLY LEFT BLANK
6614   9/19/1994 Letter from Luis Cobo to Palmetto GBA-C Re: Cobo, 3/4/08, Abbott        VAC MDL 43041-46 May
                  Partial Refunds of Reimbursement For          Ex. 541
                  Parenteral Nutrition Solution Lipids 20% CPT-
                  4 Code B4186, with attachments
6615              INTENTIONALLY LEFT BLANK
6616   10/1994    Dey Monthly Sales Report                      Previously disclosed     DL-TX 84832-84842   May
                                                                with Expert Report of
                                                                Stiroh
6617              INTENTIONALLY LEFT BLANK
6618   10/1/1994 Montana Medicaid State Plan Amendment 95-                               HHC013-0422         May
                  01
6619   10/6/1994 Reimbursement for Services Provided by         Sharp, 3/28/08, Ex.                          May
                  Physicians, LLPs, and Non-Physician           Abbott 956
                  Practitioners
6620   10/19/1994 Fax from Palmetto Government Benefits         Stone, 2/28/08, Abbott   HHD008-0282 -       May
                  Administrators to Bob Vito                    Ex. 524                  HHD008-0287
6621   10/21/1994 Fax from E. Considine to C. Burridge                                   PSSNY001928-31      May
6622              INTENTIONALLY LEFT BLANK
6623              INTENTIONALLY LEFT BLANK
6624              INTENTIONALLY LEFT BLANK
6625              INTENTIONALLY LEFT BLANK
6626              INTENTIONALLY LEFT BLANK
6627              INTENTIONALLY LEFT BLANK
6628              INTENTIONALLY LEFT BLANK
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 54 of 356




6629   10/26/1994 Dey Laboratories Memorandum from E.              FL, Tipton, 3/21/06, Ex. DEY-FLA-0030318-   May
                  Fagrell to L. Bariccelli, J. Bucaric, H.         281                      575
                  Burnham, D. Codute, C. Daulong, R. Ellis, T.
                  Galles, P. Marrs, G. Michaud, B. Mozak, C.
                  Rice, S. Schnars, J. Siebert, B. Tipton, R. Uhl,
                  R. Upp Re: IMS Report-2nd Quarter 1994

6630   10/27/1994 Letter and enclosed 1994 Q3 AMPs from Dey                               DL-BO-163333-34      May
                  to NYS EPIC Program
6631              INTENTIONALLY LEFT BLANK
6632   11/1994    Dey Monthly Sales Report                        Previously disclosed    DL-TX 84843-84852    May
                                                                  with expert Report of
                                                                  Stiroh
6633               INTENTIONALLY LEFT BLANK
6634               INTENTIONALLY LEFT BLANK
6635   11/8/1994   Letter from George Reeb, Assistant Inspector Denemark, 12/9/2008,      HHD-144-0179-187     May
                   General for Health Care Financing Audits, to Ex. Dey 610
                   Philip Soule, Medicaid Director, Department of
                   Health and Human Services

6636              INTENTIONALLY LEFT BLANK
6637              INTENTIONALLY LEFT BLANK
6638              INTENTIONALLY LEFT BLANK
6639   11/29/1994 Fax from Robert Zone, CGLIC Medicare            Vito, 6/19/07, Abbott   HHD042-0275 - 0277 May
                  Admin, to Robert Vito, HHS OIG                  Ex. 236
6640   11/29/1994 Memo from Diane Jacobs, Mass. Medicaid, to      MA, Jacobs, 8/13/07,    MA012218-222         May
                  Commissioners regarding proposed                Ex. 016
                  amendments
6641   11/30/1994 Letter from G. Reeb to B. Matula, Director of   Ridout, 12/5/2008,      HHD144-0141 - 50     May
                  Division of Medical Assistance                  Abbott Ex. 7
6642   11/30/1994 Letter from Montana State Pharmaceutical        MT, Ireland, 4/10/06,   MT 023091            May
                  Association to Montana Medicaid                 Ex. 013
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 55 of 356




6643   12/1994      Dey Monthly Sales Report                       Previously disclosed    DL-TX 84712-84720 May
                                                                   with expert Report of
                                                                   Stiroh
6644   12/9/1994    Letter from North Carolina Medicaid to         Weeks, 10/21/08, Dey HHD015-1203           May
                    Memorial Hospital Pharmacy                     Ex. 62
6645   12/20, 27,   Estimated Acquisition Cost Study summaries Kramer, 3/25/2008, Ex.                         May
       28/1994                                                     Abbott 664
6646   1995         Attendees by State - 1995, Nat'l Symposium for Shirley, 12/3/2008, Ex. HHD050-0824-30     May
                    Medicaid Pharmacy Administrators               Abbott 005
6647   1995         Drug Cost Survey 1995                          Chesser, 10/28/08,      TX D&W 056923-930, May
                                                                   Abbott Ex. 1140         TABBH 17414-418,
                                                                                           TX D&W 056765, TX
                                                                                           D&W 057484, TX
                                                                                           D&W 057512, TX
                                                                                           D&W 056795, TX
                                                                                           D&W 057412, TX
                                                                                           D&W 056620, TX
                                                                                           D&W 057268, TX
                                                                                           D&W 057358, TX
                                                                                           D&W 057004, TX
                                                                                           D&W 057012, TX
                                                                                           D&W 057167


6648   1995         Fax from Illinois Medicaid to North Dakota   Reid, 12/15/08, Abbott- AWP-IL-10038-10042 May
                    Medicaid, received by Ohio Medicaid          Reid Ex. 2

6649   1995         First DataBank PC Programmer's Guide        AL/MA, Chadwick,                            May
                                                                10/23/07, Ex. 13
6650   1995         Illinois Medicaid Budget/System Impact-FY95 Parker, 11/18/08,       AWP-IL-00016734-    May
                                                                Roxane IL Ex. 6         755
6651   1995         Illinois State Plan Amendment 95-16         Parker, 11/18/08, Ex. 5 HHD075-0089-090     May
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 56 of 356




6652   1995     New Hampshire Medicaid Bulletin           Farrand, 10/28/08, Dey NH 03366 to 3381            May
                                                          Ex. 76
6653   1995     New Hampshire Medicaid Regulation         Farrand, 10/28/08, Dey                             May
                                                          Ex. 77
6654   1995     OIG State Medicaid Pharmacy Reimbursement Haase, 12/10/08, Dey HHD050-0472-0474              May
                Survey completed by North Dakota          Ex. 701

6655   1995     Oklahoma State Plan Amendment 95-19                Nesser, 12/12/08,      HHC 010-0674       May
                                                                   Roxane-OK Ex. 6
6656   1995     Rhode Island State Plan Amendment 95-005           Young, 12/3/08,        HHD040-0060-0061   May
                                                                   Roxane Ex. 5
6657   1995     Virginia State Plan Amendment 95-07                Tomlinson, 11/3/08,    HHC007-0912-0935   May
                                                                   USA Ex. 9
6658   1995     Nevada memos regarding reimbursement rates NV, Defs' Joint S.J.,          NV00080-81         May
                in other states and for other in-state third party 2/8/07, Ex. 36
                payors
6659   1995     The Alabama Medicaid Agency - FY 1995                                     ALMED-831894-943 May
                Annual Report
6660   8/1995   Myers & Stauffer Report - A Survey of              Previously disclosed                      May
                Prescription Dispensing Prices In the State of with expert Reports of
                Wyoming                                            Bradford and Stiroh
6661   1995     National Pharmaceutical Council,                   Previously disclosed                      May
                Pharmaceutical Benefits under State Medical with expert Reports of
                Assistance Programs                                Bradford and Stiroh
6662   1995     Blue Book for Windows listing of Dey                                      HHD013-0341-48     May
                Albuterol prices
6663   1995     Red Book for Windows listing of Dey                                       HHD013-0350-54     May
                Albuterol prices
6664   1/1995   AdminaStar pricing array for J7620 (Albuterol) Eiler, 8/26/08, Ex. 4      AWP035-1401        May

6665   1/1995   Dey Monthly Sales Report                        Dey S.J. Opp. 8/28/09, DL-TX-84344-84372     May
                                                                Ex. 313
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 57 of 356




6666   1/1995      AdminaStar pricing array for Albuterol                                AWP035-1430         May
6667   1/1/1995    Nevada Medicaid State Plan Amendment 95-01                            HHD041-0247         May

6668   1/10/1995   Public Hearing Statement 114.3 CMR 31:00:     MA, Defs' Joint S.J.,   DHCF000785-93       Expect
                   Prescribed Drugs, Presented By Diane Jacobs   2/28/08, Ex. 22

6669   1/12/1995   Memo from Alabama Medicaid to                                   ALMED 375486 -            May
                   Commissioner Gwendolyn Williams regarding                       375510
                   State Plan Change, attaching supporting
                   documents
6670   1/30/1995   HCFA Memorandum from Director of Office Sernyak, 3/6/07, Abbott HHD013-0205 - 06          May
                   of Physician and Ambulatory Care Policy and Ex. 53
                   Director of Office of Programs Operations
                   Procedures to All Regional Administrators

6671   1/31/1995   Internal South Carolina memo regarding Final                          SCSHP0022690-93     May
                   Notes on Pharmacy Program Initiation and
                   associated documents
6672   2/1995      Dey Monthly Sales Report                     Previously disclosed     DL-TX 84373-84416   May
                                                                with expert Report of
                                                                Stiroh
6673   2/1/1995    Letter from Michael Piazza to John Rodriguez Gorospe, 12/3/08, Ex.    CAAG/DHS 0022500- May
                                                                CA-Gorospe 16            10
6674   2/1/1995    Email and attachments from D. Jacobs to      Previously disclosed     MA012283-94       May
                   Commissioners re: Summary of Public Hearing with expert Report of
                   and Recommendations Regarding 114.3 CMR Bradford
                   31.00: Prescribed Drugs
6675   2/2/1995    Suggestion #P-4d: “Decrease $5.40 Drug                                ALMED 289445 -      May
                   Dispensing Fee” (and associated documents)                            289447

6676   2/6/1995    Document entitled "Medicaid Rx                Vladeck, 6/21/07, Dey   HHD013-1304         May
                   Reimbursement Report"                         Ex. 22
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 58 of 356




6677   2/13/1995   Fax from Robert Zone, CGLIC Medicare       Helton, 3/13/08,        HHD011-0209-11       May
                   Admin, to Robert Katz, OIG                 Roxane Ex. 53
6678   2/13/1995   Fax from Robert Zone, CGLIC Medicare       Vito, 2/6/08, Dey Ex. HHD 011-0311-31        Expect
                   Admin, to Robert Vito, HHS OIG             47
6679   2/16/1995   60 Fed. Reg. 8953                          Defs' Common S.J.                            Expect
                                                              Resp., 8/28/09, Ex. 208

6680   3/1995      Dey Monthly Sales Report                   Previously disclosed     DL-TX 84417-84445   May
                                                              with expert Report of
                                                              Stiroh
6681   3/1995      Medicare Supplier Bulletin Region B DMERC, C. Eiler, 8/26/08, Eiler AWQ058-0947-66      May
                   DMEPOS Bulletin 95-04                      Ex. 6
6682   3/9/1995    Letter from Robert Vito to Susan McCann    MO, McCann, 11/7/07, MO025398-99             May
                                                              Missouri 196
6683   3/16/1995   OAI Work Paper File System Table of        Sernyak, 3/6/07, Abbott HHD008-0245-48       May
                   Contents (OEI-03-94-00393)                 Ex. 31
6684   3/17/1995   Approval Notification for SPA, Transmittal Sharp, 3/28/2008, Ex. JDIND00062-68          May
                   #94-031                                    Abbott 954
6685   3/23/1995   Letter from Robert Zone to Connie Conrad,  Helton, 3/13/08,         HHD011-0308-09      May
                   HCFA BPD                                   Roxane Ex. 54
6686   3/24/1995   Pharmaceutical Society of New York memo    NY, Burridge, 4/22/08, PSSNY 00693- 694      May
                   regarding Medicaid co-payments             Ex. 7
6687   3/29/1995   1995 version of Idaho Code 56-209(g)       ID, Duerr, 12/3/09, Ex.                      May
                                                              Duerr 3
6688   4/1995      Dey Monthly Sales Report                   Previously disclosed     DL-TX 84446-84473   May
                                                              with Expert Report of
                                                              Stiroh
6689   4/1995      North Dakota Medicaid Management           Haase, 12/10/08, Dey                         May
                   Information System Provider Manual for     Ex. 705
                   Pharmacies
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 59 of 356




6690   4/1995      Twenty-Five Years of Service to Alabama - A AL, Toney, 6/6/07, Def. ALMED-831857 -         May
                   Historical Overview of the Alabama Medicaid Ex. 274                     831893
                   Agency, 1970- 1995 (April 1995)
6691   4/1995       Government Accountability Office, “Spending Previously disclosed                          May
                   Pressures Drive States Toward Program           with expert Report of
                   Reinvention,” April 1995                        Bradford
6692   4/6/1995    Letter from Beverly Pfohl at Red Book to Jesse TX, Lockwood, 9/4/09, WATMA005202           Expect
                   Childs III at Watson Laboratories seeking       Lockwood 26
                   WAC prices
6693               INTENTIONALLY LEFT BLANK
6694   4/25/1995   Letter and enclosed 1995 Q1 AMPs from Dey                               DL-BO-162734-37    May
                   to NYS EPIC Program
6695   5/1995      Dey Monthly Sales Report                        Previously disclosed    DL-TX 84474-84502 May
                                                                   with expert Report of
                                                                   Stiroh
6696   5/1/1995    Illinois Department of Public Aid Inter-Office Parker, 11/18/08, Ex. 14 AWP-IL-00016260-66 May
                   Memorandum from A. George Hovanec to
                   Robert W. Wright regarding Briefing on
                   IRMA/IPhA Budget Proposal
6697   5/15/1995   Collection of documents: OIG spreadsheet;       Chesser, 6/24/08,       HHD019-1922-935    May
                   letter from the State of Maryland to pharmacies Roxane Ex. 82
                   requesting invoice data; and invoices from
                   EdgeHill Pharmacy in Snow Hill, Maryland

6698   5/15/1995   Virginia Register of Regulations             Tomlinson, 11/3/08,                          May
                                                                USA Ex. 004
6699   5/17/1995   Letter and attachment from Palmetto          Stone, 2/28/08, Dey Ex. HHD011-0488-513      May
                   Government Benefits Administrators to Bob    114
                   Katz, OIG
6700   5/23/1995   Legislative Fiscal Bureau, Joint Committee on WI, Defs' Joint S.J.    WI-Prod-AWP-        May
                   Finance, Best Price Requirement (H&SS -       Resp., 1/15/08, Ex. 107 105400-105407
                   Medical Assistance), Paper #403
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 60 of 356




6701   4/1995-     South Carolina letters regarding pharmacy                                SCSHP0024398-402    May
       5/1995      reimbursement
6702   5/29/1995   Virginia Register of Regulations                 Tomlinson, 11/3/08,                         May
                                                                    USA Ex. 007
6703   06/1995     Dey Monthly Sales Report                         Previously disclosed    DL-TX 84503-84532   May
                                                                    with Expert Report of
                                                                    Stiroh
6704   6/1/1995    DHFS Memorandum from K.B. Piper to All           WI, Trial, DX-0950      WI-Prod-AWP-035558-May
                   Pharmacies, Dispensing Physicians and Blood                              606
                   Banks, re: Replacement Pages for Part J of the
                   Provider Handbook (Transmittal J-9)

6705               INTENTIONALLY LEFT BLANK
6706               INTENTIONALLY LEFT BLANK
6707   6/30/1995   West Virginia Medicaid Cost-Containment          WV, Trial, DTX 9        WVDHHRAWP13094- May
                   Project Final Report, submitted by West                                  13249
                   Virginia University School of Pharmacy
6708   07/1995     Dey Monthly Sales Report                         Previously disclosed    DL-TX 84533-84560   May
                                                                    with Expert Report of
                                                                    Stiroh
6709   7/1/1995    Rhode Island Medicaid State Plan Amendment                             HHC006-0412      May
                   95-017
6710   7/5/1995    DHSS, Office of Policy and Budget, Analysis WI, Defs' Joint S.J.       GDOCS 001160-    May
                   of Legislative Action 1995-97 Biennial Budget- Resp., 1/15/08, Ex. 108 001164
                   Best Price Proposal
6711   7/5/1995    Letter from Zachary Bentley to Palmetto GBA- Cobo, 3/4/08, Abbott      VAC MDL 43047-55 May
                   C Re: Partial Refunds of Reimbursement For Ex. 542
                   Parenteral Nutrition Solutions CPT-4 Code
                   4197, with attachments

6712   7/6/1995    Enrolled Senate Bill No. 300                     Kramer, 3/25/08, Ex.                        May
                                                                    Abbott 667
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 61 of 356




6713               INTENTIONALLY LEFT BLANK
6714   7/19/1995   State Information Survey                       Walsh, 3/18/08, Ex.      HHD050-0893-98      May
                                                                  Dey 054
6715   7/28/1995   Wisconsin Department of Agriculture, Trade     WI, Trial, DX-0069       WI-Prod-AWP -       May
                   and Consumer Protection, Wholesale Pricing of                           106223-106297
                   Prescription Drugs in Wisconsin
6716   8/1/1995    August 1, 1995 Bulletin; Michigan Dep't of      Kramer, 3/25/08, Ex.                        May
                   Social Services to Pharmacy 95-01               Abbott 665
6717   08/1995     Dey Monthly Sales Report                        Previously disclosed    DL-TX 84561-84589   May
                                                                   with Expert Report of
                                                                   Stiroh
6718   8/1/1995    Michigan Medicaid State Plan Amendment 95-                              HHC009-0105         May
                   11
6719   8/14/1995   Letter from Amy Shapiro to Ben Jackson          Jackson, 12/12/08,      HHD 142-0309        May
                   inviting attendance at Eastern Medicaid         Roxane Ex. 217
                   Pharmacy Administrators Association 19th
                   annual conference
6720   8/16/1995   Document entitled "Medicaid Drug Rebate         Gaston, 3/19/08,                            May
                   Program Release No. 18"                         Aventis Ex. 1
6721   8/16/1995   Fax from CIGNA DMERC to Rob Vito                Roxane S.J. Ex. 177;    HHD011-0221 - 24    May
                   regarding Nebulizer Medications                 Dey Ex. 126
6722   8/16/1995   Fax from Rob Vito to Pam Kelly, subject         Walker, 3/12/08,        HHD011-0225-28      May
                   "Policy of AWP," attaching Regional Medicare Roxane Ex. 49
                   Letter dated 5/25/94, subject "Determination of
                   Acquisition Costs of Drugs--POLICY
                   CLARIFICATION"
6723   8/16/1995   License agreement between First DataBank and KY, Defs' Joint S.J.,      FDB/Kentucky 81-87 May
                   Unisys for drug data file for Kentucky       10/15/08, Ex. 67
                   Medicaid
6724   8/23/1995   West Virginia Medicaid Drug Use Review       WV, Trial, DTX 11          WVDHHRAWP10441- May
                   Board Meeting Minutes                                                   10447
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 62 of 356




6725   8/25/1995   Fax from Pulmodose Carefree Solutions in        Jones, 12/8/08, Dey Ex. VAC MDL 48643-44 May
                   Kentucky to Zach Bentley attaching prices for   303
                   inhalant drugs and some of the services
                   available through Pulmidose
6726   8/30/1995   Handwritten Notes entitled "Record of           Thompson, 9/30/08,      HHD012-0225         May
                   Discussion"                                     Thompson Ex. 16
6727   8/31/1995   Contact Report                                  Thompson, 9/30/08,      HHD012-0248         May
                                                                   Thompson Ex. 17
6728   09/1995     Dey Monthly Sales Report                        Previously disclosed    DL-TX 84590-84618   May
                                                                   with expert Report of
                                                                   Stiroh
6729               INTENTIONALLY LEFT BLANK
6730   9/1/1995    Michigan Medicaid Switch from AAC to EAC; Kramer, 3/25/08, Ex.                              May
                   August 1, 1995 Bulletin                         Abbott 663
6731   9/5/1995    Contact Report                                  Thompson, 9/30/08,     HHD012-0238          May
                                                                   Thompson Ex. 18
6732   9/12/1995   Account Call Record, Territory 8                FL, Selenati, 5/5/05,  DEY FLA-0039599      May
                                                                   Ex. 339
6733   9/13/1995   Minutes of the Medical Care Advisory                                                        May
                   Committee
6734               INTENTIONALLY LEFT BLANK
6735   9/14/1995   Document entitled "Presentation Privilege Log, Gaston, 1/24/08, Abbott VAC MDL 86162 -      May
                   Volume 5 No:1"                                  Ex. 453                VAC MDL 86175
6736               INTENTIONALLY LEFT BLANK
6737   9/18/1995   Document entitled "MDRI, Browse Quarterly Vito, 2/6/08, Roxane         HHD062-0798-801      May
                   Price Information, FDA Assigned Labeler Code Ex. 23
                   00300 (NDC1)"
6738   9/19/1995   Excerpt from the Federal Register, Vol. 60, No. Duzor, 3/26/08, Dey                         Expect
                   181, Proposed Rules, p.48442-48480              Ex. 172
6739   9/22/1995   Memorandum from Rick Speno to Lou               FL, Selenati, 5/5/05,  DEY-FLA-0144171      May
                   Barricelli regarding Medicaid Update            Ex. 340
6740               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 63 of 356




6741   9/27/1995   Handwritten notes, "Record of Discussion-       Chesser, 6/24/08,        HHD021-0120-22      Expect
                   Results Conference" with typed "Record of       Roxane Ex. 87
                   Discussion" attached
6742   10/1995     Dey Monthly Sales Report                        Previously disclosed     DL-TX 84619-84647   May
                                                                   with expert Report of
                                                                   Stiroh
6743   10/1/1995   Letter from HCFA to South Carolina approving                             HHD090-3263-75      May
                   State Plan Amendment 95-13
6744   10/1/1995   Pennsylvania State Plan Amendment 95-22                                  HHD159-0031-33      May
                   relating to reimbursement, approved by HCFA

6745   10/1/1995   Connecticut Medicaid State Plan Amendment                                HHC006-0341         May
                   95-018
6746   10/4/1995   Fax from Marvin L. Hazelwood, Illinois          Defs' Common S.J.        AWP-IL-00010038-42 Expect
                   Department of Public Aid, to Robert Coolidge,   Resp., 8/28/09, Ex. 15
                   South Dakota Medicaid
6747   10/5/1995   Interoffice Memorandum from Terry Krantz to     MT, Dey S.J., 2/8/07,    MT 019199-MT        May
                   Nancy Ellery regarding OIG Audit                Ex. K                    019205

6748   10/12/1995 Letter from B. Jackson and G. Sato, Audit     Ridout, 12/5/08, Abbott HHD144-0121             May
                  Managers to B. Ridout, Pharmacist Consultant, Ridout 010
                  Division of Medical Assistance
6749   10/20/1995 Notes from Bob Katz re: Contact with Barbara Sernyak, 3/6/07, Abbott HHD-011-0914-29          May
                  Tedesco and attached documents                Ex. 39
6750   10/20/1995 West Virginia Medical Services Fund Advisory WV, Trial, Ex. 12        WVDHHR 0002679-         May
                  Council Meeting Minutes                                               2681
6751   10/25/1995 Letter and attachments from T. Galles, Dey    TX, Galles, 2/6/03,     DL-TX-010325 - 334      May
                  Laboratories, to L. Nannas, RedBook           Galles 467
6752   10/25/1995 West Virginia Medicaid Drug Use Review        WV, Trial, Ex. 13       WVDHHRAWP               May
                  Board Meeting Minutes                                                 10423-10440
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 64 of 356




6753   11/1995     Dey Monthly Sales Report                       Previously disclosed     DL-TX 84648-84676   May
                                                                  with expert Report of
                                                                  Stiroh
6754   11/1995    Marketing Launch Plan for Albuterol             TX, Hill, 11/11/08, Hill DL-TX-0093357-387   May
                  Inhalation Aerosol, 17g (MDI)                   17
6755   11/1/1995 Telephone Contact Report - Prescription Drug Ragone, 4/18/07, Dey HHD007-0217                 May
                  Inspection (OEI-03-95-00420)                    Ex. 7
6756   11/8/1995 Memorandum from “Karen” to “Rob,” “Bob,” Dey S.J. Ex. 57; Dey             HHD011-0915-29      Expect
                  and “Amy"                                       Ex. 17
6757   11/9/1995 Draft Memorandum from A. Sernyak to L.           Vito, 12/2/08, Dey Ex. HHD917-0001-0003      May
                  Foley, L. Hilliard, L. Morris, T. Tantillo, R.  1103
                  Vito
6758   11/13/1995 Excerpt of Michigan State Plan re: establishing Kramer, 3/25/08, Ex.                         May
                  payment rates                                   Abbott 661
6759              INTENTIONALLY LEFT BLANK
6760   11/13/1995 Letter with attachments from Taylor Home        Vito, 6/20/07, Abbott HHD011-0934 - 0936     May
                  Health Pharmacy to Robert Vito re:              Ex. 238
                  Invoices/Costs of Respiratory Medications and
                  Nebulizer
6761   11/27/1995 Virginia Register of Regulations                Tomlinson, 11/3/08,                          May
                                                                  USA Ex. 8
6762   11/28/1995 Two copies of an Alabama Medicaid Agency AL, Trial, DTX 108              ALMED-375234-239    May
                  Memorandum from Mary Hayes Finch to W.
                  Dale Walley, Director, Medical Services
                  Division, Thru Joe Hicks, Associate Director,
                  Re: Suggested Cost Containment Measures

6763   11/28/1995 Fax from Zach Bentley to Mark Lavine and      Jones, 10/8/02, Jones    R1-024059-060         May
                  Sally Straus at DOJ                           Ex. 294
6764   11/28/1995 Pharmaceutical Buyers, Inc. Catalog, dated    Dey S.J., 6/26/09, Ex.   HHD194-1158-85        May
                  November 28, 1995                             63
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 65 of 356




6765   11/30/1995 Fax from Kansas Medicaid to OIG with state                             HHD050-0403-06        May
                  reimbursement information
6766   12/1995    Dey Monthly Sales Report                         Previously disclosed    DL-TX 84677-84709   May
                                                                   with expert Report of
                                                                   Stiroh
6767   12/1/1995   Dey’s Average Wholesale Price List              Dey S.J. Opp., 8/28/09, DL-TX-0093381       May
                                                                   Ex. 377
6768   12/1/1995  Memo from West Virginia Medicaid to All          WV, Trial, Ex. 14       WVDHHRAWP           May
                  Pharmacy Providers regarding reimbursement                               14073
                  formula
6769   12/4/1995 Fax Cover Page and attached documents from TX, Mozak, 11/6/02,          DL-TX-0090591-96      May
                  Dey Laboratories to First DataBank             Mozak Ex. 342
6770   12/4/1995 Fax from Mississippi Medicaid to OIG                                    HHD050-0436-39        May
                  regarding reimbursement
6771   12/6/1995 Fax Coversheet from Utah Division of Health                             HHD050-0513-516       May
                  Care Financing to DHHS attaching Utah's
                  survey response
6772              INTENTIONALLY LEFT BLANK
6773              INTENTIONALLY LEFT BLANK
6774   12/19/1995 Division of Medical Programs, Administrator’s                          AWP IL 00002525 to May
                  Correspondence Control Form Assigned to                                AWP IL 00002528
                  Roberta Hardy; Letter from Frank Valentino,
                  Medicaid Operations Specialist, HCFA, Region
                  V to Robert W. Wright, IDPA Director, re State
                  Plan Amendment 95 016

6775   12/19/1995 American HealthLine APN News Briefing                                  BCB 061373-382        May
                  received by South Carolina regarding a number
                  of independent pharmacies who refused to
                  participate in the state employee’s drug plan,
                  managed by Medco
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 66 of 356




6776   12/21/1995 Memorandum from Scott Allen MacDonald to      Farrand 10/28/08, USA NH00861               May
                  Tony S. Catalfano regarding pharmacy          Ex. 8
                  reimbursement changes
6777   1996       1996 Attendees of the Nat'l Symposium for    Shirley, 12/3/08, Ex.   HHD0052-0135-36      May
                  Medicaid Pharmacy Administrators             Abbott Shirley 6
6778   1996       CFR 447.204                                  Farrand, 10/28/08, Dey                       Expect
                                                               Ex. 81
6779   1996       Fax from OIG to Ohio Medicaid referencing    Reid, 12/15/08, Abbott- HHD059-0014-0029     May
                  Barron's Articles                            Reid Ex. 006
6780   1996       List of Attendees at 1996 National Symposium Chesser, 10/28/08,      HHD142-0279-83       May
                  For Medicaid Pharmacy Administrators         Roxane Ex. 146

6781   1996       New Hampshire State Plan Amendment 96-        Farrand, 10/28/08, Dey NH00019-00029        May
                  0001 and related materials                    Ex. 80
6782   1996       The Alabama Medicaid Agency - FY 1996                                ALMED-831807-56      May
                  Annual Report
6783   1996       National Pharmaceutical Council,              Previously disclosed                        May
                  Pharmaceutical Benefits under State Medical   with expert Reports of
                  Assistance Programs                           Bradford and Stiroh
6784   1996       Cigna pricing array for Ipratropium Bromide                            AWQ 021-0097       May
6785   1996       Blue Book for Windows listing of Dey                                   HHD013-0355-61     May
                  Albuterol prices
6786   1/1996     CBO Report - How the Medicaid Rebate on       Duzor, 3/26/08, Dey                         May
                  Prescription Drugs Affects Pricing in the     Ex. 173A
                  Pharmaceutical Industry
6787   1/1996     Dey Laboratories Monthly Net Sales            Dey S.J. Opp. Ex. 383    DL-TX-0083840      May

6788   1/1996     Dey letter to Edward Vaccaro, New Jersey      Vaccaro, 12/2/08, USA VAC MDL 44864         May
                  Medicaid regarding addition of Albuterol      Ex. 7
6789   1/1996     Dey Monthly Sales Report                      Dey S.J. Opp., 8/28/09, DL-TX-83831-83866   May
                                                                Ex. 314
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 67 of 356




6790   1/1/1996    Georgia Department of Community Health,       Roxane S.J., 6/26/09,                         May
                   Division of Medical Assistance, Part II,      Ex. 211
                   Policies and Procedures for Pharmacy Services

6791   1/1996      Letter from R. Mozak to Chain Drug Store        Marrs, 5/15/08, Marrs DL-TX-0093370         May
                   introducing new generic                         10
6792   1/1/1996    Part II Policies and Procedures for Pharmacy    Dubberly, 12/15/08, Ex.                     May
                   Services, Revised: January 1, 1996              Georgia 7

6793   1/1/1996    Contract documents relating to Nevada PBM       NV, Defs' Joint S.J.,   NV019543-48         May
                   Medco services for Committee on Benefits        2/8/07, Ex. 49

6794   1/1/1996    Texas Medicaid State Plan Amendment 95-20                               HHC010-0649-59      May

6795   1/1/1996    West Virginia Medicaid State Plan Amendment                          HHC007-0824-26         May
                   96-08
6796   1/17/1996   Dey Laboratories Memorandum from             TX, Bronstein, 3/11/03, DL-TX-0092596          May
                   Margarita Flores to Todd Galles and Ed Hugo Bronstein 545
                   (cc: Debbie Bronstein) re: Medicaid/Medicare
                   Mailing Albuterol MDI/Dey Care™ Products

6797   1/17/1996   Fax from R. Vito to D. Dovell, Phramacist                               HHD050-0371-73      May
                   Consultant with District of Columbia Medicaid

6798   2/1/1996    Attachment 4.19-B to state plan amendment       Roxane S.J., 6/26/09, HHD041-0076-0079      May
                                                                   Ex. 193
6799   2/1996      Dey Laboratories Monthly Net Sales              Dey S.J. Opp., 8/28/09, DL-TX-0083876       May
                                                                   Ex. 384
6800   02/1996     Dey Monthly Sales Report                        Previously disclosed    DL-TX 83867-83905   May
                                                                   with expert Report of
                                                                   Stiroh
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 68 of 356




6801   2/1996      OIG Report - Medicare Payments for Nebulizer Dey S.J., 6/26/09, Ex.                        Expect
                   Drugs (OEI-03-94-00390)                      47
6802   2/3/1996    Letter from Richard Chambers to John         Gorospe, 12/3/08, Ex.     CAAG/DHS 0026347- May
                   Rodriguez approving CA SPA 95-002            CA-Gorospe 20             48, HHD041-0175-76

6803   2/13/1996   Email from Amy Sernyak to Barbara Tedesco     Sernyak, 3/6/07, Dey     HHD011-0092 - 0097 May
                                                                 Ex. 1
6804   2/13/1996   Excerpt from a fax from Dr. Robert M. Zone to Dey S.J., 6/26/09, Ex.   HHD011-0270         May
                   Robert Vito                                   62
6805   2/15/1996   Alabama Medicaid Agency Memo from Loretta                              ALMED 683322 -      May
                   Martin to Joe Hicks re: Reimbursement below                            683327
                   NDC Cost (with supporting documentation)

6806   2/20/1996   Letter and enclosed 1995 Q4 AMPs from Dey                            DL-BO-162834-38       May
                   to NYS EPIC Program
6807   2/28/1996   Letter from Gwendolyn Williams to Eugene                             ALMED 375370 -        May
                   Grasser re: Alabama State Plan Amendment                             375372
                   (AL-96-03) (and related notes)
6808   2/29/1996   Email from Robert Vito to Robert Katz, Linda Sernyak, 3/6/07, Abbott HHD-008-441           May
                   Ragone, Thomas Robertson and David J. Graf Ex. 42

6809   3/1996      Dey Laboratories Monthly Net Sales            Dey S.J. Opp. , 8/28/09, DL-TX-0083915       May
                                                                 Ex. 385
6810   03/1996     Dey Monthly Sales Report                      Previously disclosed     DL-TX 83906-83945   May
                                                                 with expert Report of
                                                                 Stiroh
6811   3/1/1996    Dey’s Average Wholesale Price List            Dey S.J. Opp., 8/28/09, DL-TX-0105334        May
                                                                 Ex. 378
6812   3/1996      Letter from R. Mozak to Dey Customer          Marrs, 5/15/08, Marrs DL-TX-0076258          May
                   introducing new generic                       12
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 69 of 356




6813   3/6/1996    Email from Robert Vito to Robert Katz, Amy    Vito, 2/6/08, Roxane     HHD 042-0014      May
                   Sernyak, Karen Folk and Linda Ragone          Ex. 32

6814   3/15/1996   Letter from Hawaii Med-QUEST Division to HI, Watson S.J.,              HHC016-0631-640   May
                   HCFA regarding State Plan Amendment TN        8/25/09, Ex. 43
                   No. 96-002
6815   3/18/1996   Letter from Mary Beth Clarke, OIG, to Shana Vito, 6/19/07, Abbott      HHD042-0018 - 0020 May
                   Olshan, HCFA re: Drug Reimbursement           Ex. 232
                   Information
6816   3/18/1996   Draft OIG report entitled Review of Pharmacy McCann, 10/3/07,          MO.025451-448     May
                   Acquisition Costs for Drugs Reimbursed Under McCann 34
                   the Medicaid Prescription Drug Program of the
                   Missouri Department of Social Services (A-06-
                   95-00067)

6817   3/19/1996   Fax from Zach Bentley to Robert Vito, dated   Dey S.J., 6/26/09, Ex.   R1-019102-109     May
                   March 19, 1996                                68
6818   3/19/1996   OIG letter to Montana Medicaid regarding      MT, Defs' Joint S.J.,    MT019208-019211   May
                   pharmacy acquisition costs survey             2/8/07, Ex. 35
6819               INTENTIONALLY LEFT BLANK
6820               INTENTIONALLY LEFT BLANK
6821   3/28/1996   Cigna pricing array for Albuterol                                  AWQ021-0092           May
6822   4/1996      Dey Laboratories Monthly Net Sales         Dey S.J. Opp., 8/28/09, DL-TX-0083955         May
                                                              Ex. 386
6823   04/1996     Dey Monthly Sales Report                   Previously disclosed    DL-TX 83946-83991     May
                                                              with expert Report of
                                                              Stiroh
6824   4/1996      AdminaStar pricing array for Albuterol                             AWP035-1429           May
6825   4/1/1996    Maine Medicaid State Plan Amendment 96-008                         HHC006-0253           May

6826   4/11/1996   Alabama Medicaid Agency Pharmacy                                       ALMED 385879 -    May
                   Subcommittee Meeting Minutes                                           385880
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 70 of 356




6827   4/12/1996   Letter from A. Shapiro, Pharmacy Program                              MA050825-30          May
                   Manager, to R. Preston, Associate Regional
                   Administrator Re: Findings and Assurances for
                   the Pricing of Drugs
6828   4/18/1996   Document entitled "Medicare Professional      Roxane S.J., 6/26/09,   AWQ025-0722 - 24     May
                   Reimbursement Desk Procedure"                 Ex. 167
6829   4/19/1996   Letter from Searle to OIG regarding National Sullivan, 3/12/08,       HHD 142-0268-283     May
                   Symposium for Medicaid Pharmacy               Abbott Ex. 574
                   Administrators with agenda
6830   4/22/1996   Note and attached document from Bernadette Niemann, 9/14/07,          HHC026-0240-42       May
                   Schumaker to Jan Seabolt regarding Corrective Abbott Ex. 311
                   Action Plan for OIG Report OEI 03-94-00390

6831               INTENTIONALLY LEFT BLANK
6832               INTENTIONALLY LEFT BLANK
6833   4/24/1996   Interoffice memorandum from Cynthia          HI, Donovan, 4/29/08,    HHC016-0619          May
                   Williams to Rosada Gonzales regarding Hawaii Donovan 8
                   SPA # 96-002
6834   4/30/1996   Letter from David DuPre, Associate Regional                           AWP IL 00002504 -05 May
                   Administrator (HCFA) Region V to Mary Ann
                   Langston, Administrator, Division of Policy
                   (IDPA) approving State Plan Amendment 95
                   016
6835   4/30/1996   Transmittal and Notice of Approval of State                           HHD075-0088 -90      May
                   Plan Material regarding State Plan Amendment
                   95-016; Attachment 4.19B, pages 2-3

6836   5/1996      Dey Laboratories Monthly Net Sales             Dey S.J. Opp., 8/28/09, DL-TX-0083999       May
                                                                  Ex. 387
6837   05/1996     Dey Monthly Sales Report                       Previously disclosed    DL-TX 83992-84030   May
                                                                  with expert Report of
                                                                  Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 71 of 356




6838   5/1996      OIG Report - Appropriateness of Medicare     Roxane S.J., 6/26/09,                       May
                   Prescription Drug Allowances (OEI-03-95-     Ex. 94
                   00420)
6839   5/1996      OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.         HHD014-0544-62     May
                   Costs for Drugs Reimbursed Under the         Resp., 8/28/09, Ex. 123;
                   Medicaid Prescription Drug Program of the    Abbott Ex. 325
                   California Department of Health Services (A-
                   06-95-00062)
6840   5/1/1996    Vermont Medicaid State Plan Amendment 96-6                         HHD040-0197-98        May

6841   5/6/1996    Letter and attached documents from Cheryl    Niemann, 10/11/07,      HHD063-0379-85      May
                   King to Senator Strom Thurmond               Abbott Ex. 334
6842   5/7/1996    Part of the Commonwealth of Pennsylvania's Reed, 9/26/07, Abbott HHC007-0979-80          May
                   State Plan                                   Ex. 322
6843   5/7/1996    Pharmacy Trends: Miscellaneous Observations Kramer, 3/25/08, Ex.                         May
                                                                Abbott 666
6844   5/24/1996   Fax from Bill Alpert to Robert Vitto re: My  Sernyak, 3/6/07, Abbott HHD008-0469 - 473   May
                   AWP sheet                                    Ex. 45
6845               INTENTIONALLY LEFT BLANK
6846   5/31/1996   Memos from June Gibbs Brown, Inspector       Chesser, 10/28/08,                          May
                   General to Bruce Vladeck, HCFA               Roxane Ex. 142
                   Administrator and Kimberly Belshe, Medi-Cal
                   Director, regarding OIG report "Review of
                   Pharmacy Acquisition Costs for Drugs
                   Reimbursed Under the Medicaid Prescription
                   Drug Program of the California Department of
                   Health Services"
6847   6/1996      Dey Laboratories Monthly Net Sales           Dey S.J. Opp., 8/28/09, DL-TX-0084042       May
                                                                Ex. 388
6848   06/1996     Dey Monthly Sales Report                     Previously disclosed    DL-TX 84031-84101   May
                                                                with expert Report of
                                                                Stiroh
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 72 of 356




6849   6/1996      OIG report - A Comparison of Albuterol        Dey S.J., 6/26/09, Ex.                    Expect
                   Sulfate Prices (OEI 03-94-00392)              48; Abbott Ex. 60
6850   6/1996      OIG report - Suppliers’ Acquisition Costs for Dey S.J., 6/26/09, Ex.                    Expect
                   Albuterol Sulfate (OEI-03-94-00393)           49; Abbott Ex. 30
6851   6/1/1996    Wisconsin Medicaid State Plan Amendment 96-                           HHC009-0928       May
                   012
6852               INTENTIONALLY LEFT BLANK
6853   6/7/1996    Email from Robert Vito to Linda Ragone and Vito, 6/20/07, Abbott HHD042-0066 - 0068     May
                   Robert Katz                                   Ex. 241
6854   6/10/1996   Article from Barron's - “Hooked on Drugs"     Bentley, 7/25/02,                         May
                                                                 Bentley 281, previously
                                                                 disclosed with Expert
                                                                 Report of Stiroh

6855   6/26/1996   Letter to Peggy Bartels, Director, Bureau of  WI, Trial, DX-0118   WI-Prod-AWP-024569-May
                   Health Care Financing, from David DuPre,                           73
                   Associate Regional Administrator, Division of
                   Medicaid & Managed Care Programs, with
                   Enclosure
6856   7/1996      Dey Laboratories Monthly Net Sales          Dey S.J. Opp., 8/28/09, DL-TX-0084113       May
                                                               Ex. 389
6857   07/1996     Dey Monthly Sales Report                    Previously disclosed    DL-TX 84102-84138   May
                                                               with Expert Report of
                                                               Stiroh
6858   7/1996      OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.       HHD014-0657-74      May
                   Costs for Drugs Reimbursed Under the        Resp., 8/28/09, Ex. 121
                   Medicaid Prescription Drug Program of the
                   Montana Department of Public Health and
                   Human Services (A-06-95 -00068)

6859   7/1996      AdminaStar pricing array for Albuterol                             AWP036-0404          May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 73 of 356




6860   7/1/1996    Georgia Medicaid State Plan Amendment 96-                           HHD087-3344-45        May
                   007
6861   7/1/1996    Oregon Medicaid State Plan Amendment 96-11                          HHD312-0310-312       May

6862               INTENTIONALLY LEFT BLANK
6863   7/8/1996    Connecticut Medicaid memo regarding           CT, Warrick S.J., Ex. CT0027418-21          May
                   pharmacy savings options                      079
6864   7/11/1996   Email from George Grob to Robert Vito         Vito, 6/20/07, Abbott HHD050-1262           May
                                                                 Ex. 245
6865   7/12/1996   Letter from Paul Metzger to Tom Tantillo      Stone, 2/29/08, Dey Ex. HHD011-1076-89      May
                                                                 117, 931
6866   7/25/1996   Email from Mary Beth Clark to George Grob,    Stone, 2/29/08, Dey Ex. HHD011-1094         May
                   Robert Brown, Robert Vito and Stuart Wright   118

6867   7/25/1996   Letter from Darlene Debus, Manager of        Niemann, 9/14/07,      HHD063-0377 - 0378 May
                   Colorado State Team, HCFA, to Grant Steffen, Abbott Ex. 309
                   Blue Cross Blue Shield of North Dakota

6868   7/29/1996   Email from Thomas Tantillo to Robert Vito and Stone, 2/29/08, Dey Ex. HHD011-1097         May
                   Ben Jackson                                   119
6869   8/1/1996    Contract award between Dey Laboratories and Dey S.J., 6/26/09, Ex. HHD194-1256            May
                   Gerimed, effective August 1, 1996             64
6870   8/1996      Dey Laboratories Monthly Net Sales            Dey S.J. Opp., 8/28/09, DL-TX-0084148       May
                                                                 Ex. 390
6871   8/1996      Dey Monthly Sales Report                      Previously disclosed    DL-TX 84139-84180   May
                                                                 with Expert Report of
                                                                 Helms
6872   8/1996      OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.                             May
                   Costs for Drugs Reimbursed Under the          Resp., 8/28/09, Ex. 51
                   Medicaid Prescription Drug Program of the
                   Florida Agency for Health Care Administration
                   (A-06-95 -00065)
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 74 of 356




6873   8/1996      Cigna pricing array for Cromolyn                                      AWQ046-0018       May
6874   8/5/1996    Letter from Grant Steffen, Blue Cross Blue    Niemann, 9/14/07,       HHC014-0172-89    May
                   Shield of North Dakota, to Jill Merrill,      Abbott Ex. 310
                   Medicare Program, HCFA
6875   8/8/1996    Ven-A-Care Medicaid claim for Albuterol       Bentley, 11/6/08, Dey   VAC MDL 43968-73 May
                                                                 216
6876   8/1996      Letter to Kury Sjoberg, State Auditor, from   Gorospe, 12/3/08, Ex.   CAAG/DHS0072974- May
                   Kimberly Belshé                               CA-Gorospe 004          90
6877   8/26/1996   Ipratropium Bromide Launch Manual Fall 1996                           DL-TX-0076144-202 May

6878               INTENTIONALLY LEFT BLANK
6879   9/1996      Alternative Pharmacy Reimbursement Methods Kramer, 3/25/08, Ex.                         May
                   Report                                      Abbott 668
6880   9/1996      Dey Laboratories Monthly Net Sales          Dey S.J. Opp., 8/28/09, DL-TX-0084190       May
                                                               Ex. 391
6881   9/1996      Dey Monthly Sales Report                    Previously disclosed    DL-TX 84181-84221   May
                                                               with Expert Report of
                                                               Stiroh
6882   9/1996      OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.       HHD141-0277-93      May
                   Costs for Drugs Reimbursed Under the        Resp., 8/28/09, Ex. 23
                   Medicaid Prescription Drug Program of the
                   Delaware Department of Health and Social
                   Services (A-06-95-00063)

6883   9/1996      OIG Report - Review of Pharmacy Acquisition Weeks, 10/21/08, USA HHD141-0350 - 0367 May
                   Costs for Drugs Reimbursed Under the        Ex. 019
                   Medicaid Prescription Drug Program of the
                   North Carolina Department of Human Services
                   (A-06-05-00071)
6884   9/17/1996   Dey’s Average Wholesale Price List            Dey S.J. Opp., 8/28/09, DL-TX-0091799     May
                                                                 Ex. 376
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 75 of 356




6885   9/24/1996   Connecticut Medicaid notes summarizing       CT, Warrick S.J., Ex. CT0027836-44           May
                   meeting with Pharmacy TAG group              67
6886   9/30/1996   OIG Semiannual Report (20th Anniversary)     Ragone, 4/17/07,                             May
                                                                Abbott Ex. 83
6887   10/1996     Dey Laboratories Monthly Net Sales           Dey S.J. Opp., 8/28/09, DL-TX-0084231        May
                                                                Ex. 392
6888   10/1996     Dey Monthly Sales Report                     Previously disclosed    DL-TX 84222-84260    May
                                                                with Expert Report of
                                                                Stiroh
6889   10/2/1996   Letter and attached documents from Zachary   Vladeck, 5/4/07, Abbott R2-039406-40545      May
                   Bentley and T. Mark Jones, Ven-A-Care of the Ex. 160
                   Florida Keys, Inc., to Bruce Vladeck,
                   Administrator of HCFA, regarding Excessive
                   Reimbursements for Certain Pharmaceuticals
                   by the Medicare and Medicaid Programs

6890   10/11/1996 Letter from Connecticut Medicaid to            CT, Warrick S.J., Ex. CT0048284-87          May
                  Governor's office                              085
6891   10/22/1996 Letter from Gary Stangler at Missouri DSS to   MO, McCann, 10/3/07, MO.051786-87           May
                  June Gibbs Brown                               McCann 38
6892   10/25/1996 Dey Laboratories Memorandum regarding          Dey S.J., 6/26/09, Ex. DL0224               May
                  Contract Modification                          103
6893              INTENTIONALLY LEFT BLANK
6894   11/1996    Dey Laboratories Monthly Net Sales             Dey S.J. Opp., 8/28/09, DL-TX-0084270       May
                                                                 Ex. 393
6895   11/1996     Dey Monthly Sales Report                      Previously disclosed    DL-TX 84261-84298   May
                                                                 with Expert Report of
                                                                 Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 76 of 356




6896   11/1996     OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.                          May
                   Costs for Drugs Reimbursed Under the        Resp., 8/28/09, Ex. 119
                   Medicaid Prescription Drug Program of the
                   Virginia Department of Medical Assistance
                   Services (A-06-95-00072)

6897   11/1996     Alabama Medicaid Agency Pharmacy Claims                               ALMED 386080 -   May
                   Task Force Agenda and Personnel List                                  386081

6898   11/1996    AdminaStar pricing array for Albuterol                                AWP036-0335       May
6899   11/15/1996 Dey’s Average Wholesale Price List            Dey S.J. Opp., 8/28/09, DL-TX-0096238     May
                                                                Ex. 375
6900   11/20/1996 AIDA Letter from Taylor to Finch re:                                  ALMED 386084      May
                  Pharmacy Claims Task Force
6901   12/1996    Dey Laboratories Monthly Net Sales            Dey S.J. Opp., 8/28/09, DL-TX-0084306     May
                                                                Ex. 394
6902   12/1996     Dey Monthly Sales Report                     Previously disclosed    DL-TX 84299-84342 May
                                                                with Expert Report of
                                                                Stiroh
6903   12/1996     DMERC Region D Supplier Manual (Revision Helton, 3/13/08, Dey                          May
                   No. 96-5)                                    Ex. 128
6904   12/1/1996   Handwritten Note and Attachments from        Sernyak, 3/6/07, Abbott HHD008-0480 - 489 May
                   George Grob to Mary Beth Clarke, Stuart      Ex. 47
                   Wright, Rob Vito, Mark Yessian
6905   12/1996     Medi-Cal Checkup; A Review of Progress by Gorospe, 3/19/08, Ex. CAAG/DHS0073141 - May
                   the Dep't of Health Services in Implementing Gorospe 029             0073156
                   Cost Saving Measures in the Medi-Cal Program
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 77 of 356




6906   12/1996     OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.          HHD014-0478-93     May
                   Cost for Drugs Reimbursed Under the           Resp., 8/28/09, Ex. 29
                   Medicaid Prescription Drug Program of the
                   Nebraska Department of Social Services (A-06-
                   95-00069)
6907   12/1996     Report of the governor's Medicaid Reform    ID, Leary, 12/1/2009, ID037144 - 7234         May
                   Advisory Council                            Ex. Leary 16
6908   12/3/1996   Fax from Zachary Bentley and Mark Jones to Vladeck, 5/4/07, Abbott HHC003-0471-75         May
                   Thomas Hoyer at HCFA                        Ex. 161
6909   12/1996     OIG Report - Review of Pharmacy Acquisition Vaccaro, 12/2/08,                             May
                   Cost for Drugs Reimbursed Under the         Vaccaro Ex. 6
                   Medicaid Prescription Drug Program of the
                   New Jersey Department of Human Services (A-
                   06-95-00070)
6910              INTENTIONALLY LEFT BLANK
6911              INTENTIONALLY LEFT BLANK
6912   12/12/1996 Letter and attachment from HCFA to J.        Howell, 4/22/08, Abbott HHC 007-1023-27    May
                  Millstone                                    Ex. 1065
6913   12/15/1996 DHFS Memorandum from Peggy Bartels to All WI, Trial, DTX 949         WI-Prod-AWP-035178-May
                  Pharmacies, Dispensing Physicians, and Blood                         236
                  Banks, re: Replacement Pages for Part J,
                  Wisconsin Medicaid Provider Handbook
                  (Transmittal J-15)
6914              INTENTIONALLY LEFT BLANK
6915   12/17/1996 Letters and attachments from Kathleen Buto to Buto, 9/13/07, Abbott     HHC003-0477-0484   May
                  T. Mark Jones and Zachary Bentley             Ex. 306

6916   12/20/1996 Wholesaler Acquisition Cost Pricing (WAC);      Gorospe, 9/22/08, Ex.   CAAG/DHS 0086981- May
                  What is needed to make it happen?               Gorospe 038             86
6917   12/30/1996 Memo to Pharmacy TAG members, including         CT, Warrick S.J.,       CT0028283-84      May
                  CT official, regarding drug acquisition costs   6/1/06, Ex. 66
                   Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 78 of 356




6918   1997   1997 Health and Social Services regulation   Campana, 8/19/08, Ex. AWP-AK-00000187-         May
                                                           Campana 44            188
6919   1997   Document entitled "Approved Drug Products    Gaston, 3/19/08, NY                            May
              with Therapeutic Equivalence Evaluations,    Counties Defs Ex. 16
              17th Edition"
6920   1997   Excerpt from Eli's Home Health Care Report      Vito, 2/5/08, Abbott Ex. HHD 062-0078-88    May
              entitled "Federal Developments"                 470
6921   1997   Excerpts of the Balanced Budget Act of 1997, Dey S.J., 6/26/09, Ex.                         May
              Pub. L. No. 105-33, § 4556, 111 Stat. 251, 462- 161
              63 (1997)
6922   1997   Inspection Schedule for OIG report "Excessive Hansford, 3/14/07, Dey HHD009-0007-20         May
              Medicare Reimbursement for Prescription         Ex. 3
              Drugs" (OEI-03-97-00290)
6923   1997   Ohio State Plan Amendment                       Reid, 12/15/08, Abbott- OH033290-297        May
                                                              Reid Ex. 9
6924   1997   Provider Bulletin from Gary Cheloha,            Cheloha, 12/2/08, Dey NEB0285-286           May
              Pharmaceutical Consultant Medicaid Division, Ex. 906
              to All Participating Pharmacies
6925   1997   Virginia State Plan Amendment 97-01             Tomlinson, 11/3/08,                         May
                                                              USA Ex. 11
6926   1997   Washington Medicaid Fiscal Year 1997 Annual Hautea-Wimpee,               WA-00000959-1033   May
              Report                                          11/24/08, USA Ex. 4
6927   1997   Washington Medicaid proposal to reduce          Hautea-Wimpee,           WA-0001621         May
              reimbursement                                   11/24/08, Roxane Ex.
                                                              10
6928   1997   Correspondence between South Carolina and                                SCSHP0024822       May
              pharmacist
6929   1997   Washington State Medical Assistance             Hautea-Wimpee,           WA-00000959-1033   May
              Administration Annual Report                    11/24/08, Ex. 4
6930   1997   The Alabama Medicaid Agency - FY 1997                                    ALMED-831751-806   May
              Annual Report
6931   1997   1997 DMERC Nebulizer pricing documents                                   AWQ057-0348-82     May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 79 of 356




6932   1997       Schweitzer, Stuart O., Pharmaceutical           Previously disclosed                        May
                  Economics and Policy, Oxford: 1997              with Expert Reports of
                                                                  Bradford and Stiroh
6933   5/1997     Myers & Stauffer Report - Survey of Costs of Previously disclosed                           May
                  Dispensing Prescriptions in the State of Kansas with Expert Reports of
                                                                  Bradford and Stiroh
6934   1997       National Pharmaceutical Council,                Previously disclosed                        May
                  Pharmaceutical Benefits under State Medical with Expert Reports of
                  Assistance Programs                             Bradford and Stiroh
6935   1997       Balanced Budget Act of 1997 (BBA), Pub. L.                                                  May
                  105-33, 111 Stat. 464-463 (1997)
6936   1997       42 U.S.C. § 1395l                                                                           May
6937   1997       42 U.S.C. § 1395m (1997)                                                                    May
6938   1997       Collection of claims submitted by Ven-A-Care Bentley, 3/5/08, Bentley VAC MDL 43937-67      May
                                                                  Ex. 553
6939   1/1997     Dey Monthly Sales Report                        Dey S.J. Opp., 8/28/09, DL-TX-83379-83406   May
                                                                  Ex. 315,
6940   1/1/1997   Georgia Department of Community Health,         Dubberly, 12/15/08, Ex.                     May
                  Division of Medical Assistance, Part II,        Georgia 8
                  Policies and Procedures for Pharmacy Services

6941   1/1997     OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.                               May
                  Costs for Drugs Reimbursed Under the          Resp., 8/28/09, Ex. 122
                  Medicaid Prescription Drug Program of the
                  Missouri Department of Social Services (A-06-
                  95-00067)
6942   1/1997     OIG Report - Review of Pharmacy Acquisition FL, Wells, 5/26/05,                             May
                  Costs for Drugs Reimbursed Under the        Wells Ex. 98
                  Medicaid Prescription Drug Program of the
                  District of Columbia Department of Human
                  Services (A-06-95-00064)
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 80 of 356




6943   1/1997      AdminaStar pricing array for Albuterol                                    AWP036-0407      May
6944   1/2/1997    Article from The Washington Post entitled         Vito, 6/20/07, Abbott   HHD062-0642      May
                   "Battling the High Prices Medicare Pays for       Ex. 239
                   Drugs" with handwritten annotations
6945   1/8/1997    Fax from Linda Ragone to Teresa Revanna  Ragone, 4/18/07, Dey             HHD009-0232-35   May
                                                            Ex. 10
6946   1/17/1997   Alabama Medicaid Agency Memorandum from AL, Trial, DTX 142                ALMED-390633-636 May
                   Mary Finch to Commissioner Gwendolyn
                   Williams Thru John Searcy and W. Dale
                   Walley Re: Implementation of a state MAC
                   Program
6947   1/18/1997   Claim #7018801115801-Albuterol Sulfate            Campana, 8/21/08, Ex.                    May
                   Inhalation Solution, 0.083%, 3ML NDC              Campana 61
                   #49502069703
6948   1/20/1997   Article from Drug Topics entitled "More I.G.      Sernyak, 3/6/07, Abbott HHD013 - 0231    May
                   reports cite Rx discounts by retail pharmacies"   Ex. 50

6949   02/1997     Dey Monthly Sales Report                    Previously disclosed    DL-TX 83407-83434      May
                                                               with Expert Report of
                                                               Stiroh
6950   2/1997      OIG Report - Review of Pharmacy Acquisition Defs' Common S.J.       HHD014-0620-38         May
                   Costs for Drugs Reimbursed Under the        Resp., 8/28/09, Ex. 117
                   Medicaid Prescription Drug Program of the
                   Maryland Department of Health and Mental
                   Hygiene (A-06-95-00066)

6951   2/1997      President's FY 1998 Budget: Medicare Savings                        HHD013-0235-37   May
                   and Investment Proposals Background
                   Materials
6952   2/4/1997    Fax from Mark Jones to Rob Vito attaching    M. Jones, 12/8/08, Dey VAC MDL 43554-56 May
                   Dey Labs prices for Ven-A-Care               Ex. 307
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 81 of 356




6953   2/13/1997   Excerpt from Hearings before the United States Vladeck, 5/4/07, Abbott                       May
                   Senate Committee on Finance regarding the      Ex. 155
                   President's Fiscal Year 1998 Budget Proposal
                   for Medicare, Medicaid, and Welfare

6954   2/13/1997   Letter from Benny Ridout to George Grob,      Vito, 6/20/07, Abbott HHD061-0977 - 0981 May
                   Deputy Inspector General at DHS               Ex. 253
6955   2/14/1997   DMA Pharmacy Letter #97-002                   Campana, 8/19/08, Ex. AWP-AK-00000348- May
                                                                 Campana 43            350
6956   2/21/1997   GAO Report "Pharmacy Benefit Managers:                              SCSHP0023906-21    May
                   FEHBP Plans Satisfied with Savings and
                   Services, But Retail Pharmacies Have
                   Concerns"
6957   2/25/1997   Letter from Ohio Medicaid to Ohio             Reid, 12/15/08, Abbott-                        May
                   Pharmacists Association regarding             Reid Ex. 4
                   reimbursement
6958   03/1997     Dey Monthly Sales Report                      Previously disclosed       DL-TX 83435-83464   May
                                                                 with Expert Report of
                                                                 Stiroh
6959   3/1997      OIG Report - Questionable Practices Involving Ragone, 4/18/07,                               May
                   Nebulizer Drug Therapy (OEI-03-94-00391)      Abbott Ex. 104

6960   3/1997      AdminaStar pricing array for Ipratropium                                 AWP036-0347         May
                   Bromide
6961   3/13/1997   Letter from Lyle Fibranz to Nancy Weller      Campana, 8/19/08, Ex.      AWP-AK-00000617-    May
                                                                 Campana 45                 619
6962   3/17/1997   Fax from K. Lawton to T. Galles re:           TX, Gmeiner 1/20/03,       DL 010 - 022        May
                   AWP/WAC Pricing                               Gmeiner 623
6963   3/19/1997   Cigna Memorandum from Barbara Douglas to      Helton, 3/13/08, Dey       AWQ046-0063-72      May
                   "DMD's & CO"                                  Ex. 134
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 82 of 356




6964   3/20/1997   Texas Pharmacy Association v. Texas                                                       Expect
                   Department of Health, No. 96-02266, 1997 WL
                   34703580 (Tex. Dist. Travis County March 20,
                   1997)
6965   3/24/1997   Claim #7083800919001-Albuterol Sulfate         Campana, 8/21/08, Ex.                      May
                   Inhalation Solution, 0.083%, 3ML NDC           Campana 62
                   #49502069703
6966   3/27/1997   Document titled "Inhalation Solution Pricing - Stone, 2/29/08, Roxane AWQ022-0001-89      May
                   Summary of Methodology"                        Ex. 46
6967   3/27/1997   Email from Adrian Oleck to Cheryl Eiler and Eiler, 8/26/08, Eiler Ex. AWQ065-0145-46      May
                   Alice Mekkelson                                7
6968   3/27/1997   Fax from AdminaStar Federal to Paul Hughes, Eiler, 8/26/08, Eiler Ex. AWQ037-0095-99      May
                   Paul Metzger, Robert Zone, Michael Nelson      8

6969   3/30/1997   Letter from Barry Christensen, Legislative    Campana, 8/19/08, Ex. AWP-AK-00000614-      May
                   Chair, to Nancy Weller, Division of Medical   Campana 46            616
                   Assistance, Alaska Dep't of Health & Social
                   Services
6970   04/1997     Dey Monthly Sales Report                      Previously disclosed    DL-TX 83465-83497   May
                                                                 with Expert Report of
                                                                 Stiroh
6971   4/1/1997    Excerpt from Washington State Plan            Defs' Common S.J.       HHC018-0045-50      May
                   Amendment                                     Resp., 8/28/09, Ex. 153

6972   4/1997      OIG Report - Medicaid Pharmacy: Actual         Vladeck, 6/21/07, BMS                      May
                   Acquisition Cost of Prescription Drug Products Ex. 7
                   for Brand Name Drugs (A-06-96-00030)

6973   4/1/1997    Washington State Plan Amendment 97-04         Hautea-Wimpee,           WA-00000069-0075   May
                                                                 11/24/08, Ex. 008
6974   4/1/1997    Cigna pricing array for Ipratropium Bromide                            AWQ 021-0219       May
6975   4/1997      Cigna pricing array for Cromolyn                                       AWQ021-0206-08     May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 83 of 356




6976   4/1997      Cigna pricing array for Cromolyn                                      AWQ046-0040       May
6977   4/1997      Cigna pricing array for Cromolyn                                      AWQ046-0089       May
6978   4/1997      Cigna pricing array for Cromolyn                                      AWQ046-0125       May
6979   4/1/1997    Washington Medicaid State Plan Amendment                              HHC018-0104-107   May
                   97-04
6980   4/1/1997    Excerpt of District of Columbia SPA regarding                         HHC007-0833       May
                   its dispensing fee
6981   4/4/1997    Fax from Zach Bentley and Mark Jones to Rob M. Jones, 12/8/08, Dey    VAC MDL 43585-86 May
                   Vito at OIG Re: Current Albuterol Prices      Ex. 308

6982   4/8/1997    Faxes from MediSpan to E. Gmeiner           TX, Gmeiner, 1/20/03, DL 024 - 025; DL 043 - May
                                                               Ex. 618               046
6983   4/15/1997   Recommendation of the Subcommittee on Drug                        ALMED                  May
                   Utilization to the Governor’s Task Force on                       330622330626
                   Medicaid to Address the Increasing
                   Expenditures Associated with Pharmacy
                   Benefits
6984   4/22/1997   Letter from Williams to Pharmacy Benefit                              ALMED 355241 -    May
                   Managers re: Request for Information (with                            355242
                   attachment)
6985   4/22/1997   ARA Letters re: Recommendation for PBMs                               ALMED 355394 -    May
                                                                                         355395
6986   4/23/1997   Letter from Taylor to Evans re: establishing                          AUBURN -0002900   May
                   Special Pharmacy Task Force
6987   4/24/1997   Letter from EDS, Connecticut claims            CT, Warrick S.J.,      CT0031398-426     May
                   processor, to state enclosing report on cost   6/1/06, Ex. 71
                   containment strategy
6988               INTENTIONALLY LEFT BLANK
6989   4/27/1997   Letter from Tom Huff, Washington State         Hautea-Wimpee,         WA-00001820       May
                   Representative, to Jane Beyer, Assistant       11/24/08, Roxane Ex.
                   Secretary of Washington Department of Social   11
                   and Health Services
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 84 of 356




6990   05/1997     Dey Monthly Sales Report                         Previously disclosed    DL-TX 83498-83529   May
                                                                    with Expert Report of
                                                                    Stiroh
6991   5/2/1997    Provider Notice 97-10 from Williams re:                                  ALMED 355223 -      May
                   Maximum Allowable Cost (MAC) Program                                     355224
6992   5/9/1997    Letter from Finch to Zeaker (Franklin                                    ALMED 333914        May
                   Memorial Clinic) re: Veteran’s Health Care Act

6993   5/22/1997   Handwritten Notes                                Defs' Common S.J.       JDWA-000144         May
                                                                    Resp., 8/28/09, Ex. 126

6994   5/22/1997   HCFA approval letter and Washington State     Hautea-Wimpee,             WA-00000069-75      May
                   Plan Amendment 97-04                          11/24/08, Ex. 8
6995   5/22/1997   Minutes of the Alabama Medicaid Senior Staff                             AL-ARCH 0000848 - May
                   Meeting                                                                  0000850
6996   5/26/1997   VAC Presentation to the Alabama Attorney      M. Jones, 3/18/08,         1400069-236       May
                   General's Medicaid Fraud Prosecution          Abbott Ex. 706
                   Officials, Copy 1 of 5 copies
6997   5/28/1997   Email from "STE900.CONF.ROOM" to Robin R. Stone, 2/28/08,                AWQ025-0300         May
                   Stone re: Drug Pricing Reminder               Abbott Ex. 528
6998   06/1997     Dey Monthly Sales Report                      Previously disclosed       DL-TX 83530-83561   May
                                                                 with Expert Report of
                                                                 Stiroh
6999   6/3/1997    Chart entitled "Excessive Medicare            Ragone, 4/18/07,           HHD009-0977-81      May
                   Reimbursement for Prescription Drugs (OEI-03- Roxane Ex. 2
                   97-00290) - Information Compiled From
                   VenACare Exhibits"
7000   6/5/1997    Document entitled "Medicaid Drug Rebate       Gaston, 3/19/08,                               May
                   Program Release No. 29"                       Aventis Ex. 3
7001   6/11/1997   Minutes of the Medical Care Advisory                                     AL-ARCH 86-90       May
                   Committee Meeting
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 85 of 356




7002   6/12/1997   Fax from Ven-A-Care of the Florida Keys, Inc. Vito, 6/20/07, Abbott   HHD052-2058 - 2061 May
                   to Rob Vito                                   Ex. 256
7003   6/12/1997   Letter from Zachary Bentley and Mark Jones to TX, Bentley, 7/25/02,   R1-019327-29       May
                   Bruce Vladeck at HCFA, dated 6/12/97,         Ex. 280
                   regarding "The Health Care Financing
                   Administration's Knowing Squandering of
                   More Than One Billion Dollars of Medicare
                   Funds for Parenteral Nutrition"

7004   6/16/1997   Letter from Bob Labbe to Medicaid Provider      Campana, 8/19/08, Ex. AWP-AK-00000185-   May
                                                                   47                      186
7005   6/16/1997   Letter from Williams to Grasser re: PBM                                 ALMED 370946 -   May
                   Programs (with enclosure)                                               370957
7006   6/17/1997   Meeting Notes from 1997-99 Biennium             Defs' Common S.J.       JDWA-000107-08   May
                   Pharmacy Savings Committee Meeting              Resp., 8/28/09, Ex. 125

7007   6/19/1997   Fax from “Mark” and “Zach” to Rob Vito and      M. Jones, 12/8/08, Dey VAC MDL 43646-650 May
                   Linda Ragone, dated June 19, 1997               Ex. 310
7008   6/19/1997   Fax from Mark Jones to Jerry Wells at Florida   M. Jones, 12/8/08, Dey VAC MDL 71228-239 May
                   Medicaid attaching Dey albuterol prices         Ex. 309

7009   6/19/1997   Fax from Ven-A-Care to Rob Vito, dated June M. Jones, 12/8/08, Dey VAC MDL 43204-207 May
                   19, 1997                                    Ex. 323
7010   6/20/1997   Letter from Richard Chambers of the HCFA to Defs' Common Sur-      HHC-016-0028 - HHC- May
                   Joe Kelly, Director of Medi-Cal Policy      Reply to U.S. S.J.,    016-0029
                   Division                                    10/15/09, Ex. 8
7011   6/24/1997   Report of the House Committee on Budget     Vladeck, 6/21/07, BMS                      May
                   regarding the Balanced Budget Act of 1997   Ex. 3
7012   6/25/1997   MedManagement letter to Montana Medicaid MT, Poulsen, 2/22/06, MT 018459               May
                   regarding Medicaid Fee                      Ex. 3
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 86 of 356




7013   07/1997     Dey Monthly Sales Report                      Previously disclosed    DL-TX 83562-83596   May
                                                                 with Expert Report of
                                                                 Stiroh
7014   7/1/1997    AdminaStar pricing array for Albuterol                               AWP036-0808      May
7015   7/1/1997    AdminaStar pricing array for Albuterol                               AWP036-0841      May
7016   7/1997      Blank Provider Agreement with KY              KY, Bahr, 1/30/08, Ex. KY_DMS_000000000 May
                                                                 39                     64675-80
7017   7/1997      Excerpt from the Red Book, Release: July,                            HHD051-0079-81   May
                   1997
7018   7/3/1997    Spreadsheet entitled "Excessive Medicare      Hansford, 3/14/07,      HHD-013-2784-88     May
                   Payments for Prescription Drugs (OEI-03-97-   Abbott Ex. 66
                   00290) - Drug Catalog/GPO Prices Compared
                   to Medicare"
7019   7/3/1997    Spreadsheet entitled "Excessive Medicare      Hansford, 3/14/07,      HHD-013-2794-96     May
                   Payments for Prescription Drugs (OEI-03-97-   Abbott Ex. 67
                   00290) - Drug Catalog/GPO Prices Compared
                   to Medicare"
7020   7/10/1997   Letter from Williams to Johnson re: PBM                               ALMED 355164 -      May
                                                                                         355168
7021               INTENTIONALLY LEFT BLANK
7022   7/20/1997   Ven-A-Care fax to Jerry Wells, Florida         FL, Wells, 5/26/05, Ex. OAG-FL-021754-59 May
                   Medicaid, re: drug prices                      77
7023               INTENTIONALLY LEFT BLANK
7024   7/26/1997   Fax from Zach Bentley and Mark Jones to T. M. Jones, 12/8/08, Dey VAC MDL 45083-087 May
                   Reed Stephens at DOJ regarding Florida         Ex. 312
                   Medicaid's reimbursement for Albuterol Sulfate
                   0.083%
7025               INTENTIONALLY LEFT BLANK
7026               INTENTIONALLY LEFT BLANK
7027   7/30/1997   Letter and enclosed 1997 Q2 AMPs from Dey                              DL-BO-162218-20  May
                   to NYS EPIC Program
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 87 of 356




7028   7/30/1997   Montana Medicaid letter to MedManagement        MT, Poulsen, 2/22/06, MT 018455             May
                                                                   Ex. 4
7029   8/1997      Dey Monthly Sales Report                        Previously disclosed    DL-TX 83597-83633 May
                                                                   with Expert Report of
                                                                   Stiroh
7030   8/1997      OIG Report: Medicaid Pharmacy - Actual          DeParle, 12/5/07,       HHD014-0443-60      Expect
                   Acquisition Cost of Generic Prescription Drug Abbott Ex. 158
                   Products (A-06-97-00011)
7031   8/1/1997    HCFA 179 form for District of Columbia SPA                              HHC007-0837         May
                   Transmittal No. 97-08
7032   8/4/1997    Email from Mary Beth Clark to Robert Vito       Sernyak, 3/6/07, Abbott HHD013-2910-11      May
                                                                   Ex. 51
7033   8/5/1997    Balanced Budget Act § 4316, PL 105-33, 42       DeParle, 5/18/07,                           May
                   U.S.C. § 1395u                                  Abbott Ex. 201
7034   8/5/1997    42 U.S.C. § 1395u                                                                           May
7035   8/7/1997    Letter from E. Gmeiner to K. Gutgesell at First TX , Gmeiner, 1/20/03, DL-TX-001032         May
                   DataBank introducing new 30-pack for            Ex. 620
                   Ipratropium Bromide Inhalation Solution
7036               INTENTIONALLY LEFT BLANK
7037   8/7/1997    Letter from Hawaii Med-QUEST Division to HI, Watson S.J.,               HI_HI 000036692-702 May
                   HCFA regarding State Plan Amendment TN          8/25/09, Ex. 53
                   No. 97-005
7038               INTENTIONALLY LEFT BLANK
7039   8/13/1997   Second Amended Complaint for Money              Thompson, 9/30/08, Ex.                      May
                   Damages & Civil Penalties Under the False       24
                   Claims Act 31 U.S.C. §§ 3729-3732 in United
                   States of America ex rel Ven-A-Care of the
                   Florida Keys, Inc. v. Dey Laboratories, Civil
                   Action No. 95-1354-Civ. (S.D. Fla.)

7040   8/13/1997   Fax from Ven-a-Care to Finch                                         ALMED 374551 -        May
                                                                                        374559
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 88 of 356




7041   8/14/1997   Faxes from MediSpan and First DataBank to E. TX, Gmeiner, 1/20/03,       DL-TX-001023 - 025; May
                   Gmeiner re: Pricing Database Confirmation      Ex. 619                   DL-TX-001030 - 031
                   Form
7042   8/15/1997   "Draft, A Study of the Cost of Economical and KY, Bahr, 1/29/08, Ex.     KYDMS125090-        May
                   Efficiently Dispensed Prescription             6                         125116
                   Medications" (Myers and Stauffer)
7043   8/21/1997   Sign-in sheet, Montgomery, AL 8/21/97          M. Jones, 3/18/08,        1400026             May
                                                                  Abbott Ex. 705
7044   8/21/1997   Fax from E. Dudley to M. Starkowski with       CT, Dudley, 6/22/05,      CT0026590-02        May
                   attachment, a letter sent on same date from S. Ex. 13
                   Schramm, Mercer, to E. Leech, DSS
7045   09/1997     Dey Monthly Sales Report                       Previously disclosed      DL-TX 83634-83684   May
                                                                  with Expert Report of
                                                                  Stiroh
7046   9/3/1997    Connecticut Medicaid meeting minutes with      CT, Warrick S.J.,         CT0026517-20        May
                   Mercer, plus EDS, regarding pharmacy           6/1/06, Ex. 72
                   program
7047   9/5/1997    Fax to M. Starkowski with attachment, a        CT, Dudley, 6/22/05,      CT0026517-20        May
                   memorandum of Mercer/DSS/EDS Meeting on Ex. 14
                   9/3/1997
7048   9/9/1997    Email between Washington Medicaid officials Hautea-Wimpee,               WA-0001811-1813     May
                   regarding reimbursement                        11/24/08, Roxane Ex.
                                                                  12
7049               INTENTIONALLY LEFT BLANK
7050   9/15/1997   Attachment 4.19-B to state plan amendment      Roxane S.J.. 6/26/09,     HHD041-0072-0075    May
                                                                  Ex. 194
7051   9/15/1997   Legislative proposal form for Section 56-      ID, Duerr, 12/3/09, Ex.                       May
                   209(g)                                         5
7052   10/1997     Dey Monthly Sales Report                       Previously disclosed      DL-TX 83685-83732   May
                                                                  with Expert Report of
                                                                  Stiroh
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 89 of 356




7053   10/1/1997  Document entitled "Addendum A, Payment for Gaston, 3/19/08, NY          ALMED-304072 -      May
                  Services"                                      Counties Defendants      ALMED-304141
                                                                 Ex. 14
7054   10/1/1997 Alabama Medicaid State Plan Amendment 97-                                HHC008-0068         May
                  14
7055   10/17/1997 United States’ Unopposed Motion for            Dey S.J., 6/26/09, Ex.   ABT 008-0339-0342   May
                  Extension of Seal on Qui Tam Complaint         96
                  Through January 15, 1998 and for Partial
                  Lifting of the Seal and Memorandum of Law in
                  United States of America ex rel Ven-A-Care of
                  the Florida Keys, Inc. v. Abbott Labs. et al.,
                  Civil Action No. 95-1354-Civ. (S.D. Fla.)

7056   10/23/1997 Letter from C. Campbell, Associate Regional                             HHC007-0832-33      May
                  Administrator of DMSO, to A. Noonan,
                  Director of Dep't of Health
7057   10/23/1997 Letter from C. Campbell, Associate Regional                             HHC007-0838         May
                  Administrator of DMSO, to A. Noonan,
                  Director of Dep't of Health
7058   10/24/1997 Excerpt of District of Columbia SPA regarding                           HHC007-0839-840     May
                  its dispensing fee
7059   10/28/1997 Fax from Dey Laboratories to Connie           TX, 1/20/03, Gmeiner      DL-TX-001037        May
                  Westbrook, MediSpan                           621
7060   10/28/1997 AMA Memo from Finch to Murphy re: Fiscal                                ALMED 333855 -      May
                  Year 1997 Agency Annual Report (and                                     333864
                  associated documents)
7061   10/29/1997 West Virginia Medicaid cost savings proposals WV, Trial, DTX 17         WVDHHRAWP13531- May
                  chart                                                                   13532
7062   10/30/1997 Email from Robert Niemann to Colleen          Niemann, 10/11/07,        HHC007-0292     May
                  Carpenter                                     Abbott Ex. 346
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 90 of 356




7063   10/30/1997 Memo from Casale to Finch re: Summary of                             ALMED 350715 -      May
                  Meeting with the State of Alabama Medicaid                           350721
                  Pharmacy Program
7064   11/1997    Dey Monthly Sales Report                     Previously disclosed    DL-TX 83733-83786   May
                                                               with Expert Report of
                                                               Stiroh
7065   11/1997    Prescribed Drug Services Coverage,                                     FL002765-3864       May
                  Limitations and Reimbursement Handbook
7066   11/10/1997 Fax from Zach Bentley to Rob Vito attaching M. Jones, 12/8/08, Dey VAC MDL 43712-714 May
                  Albuterol prices                               Ex. 313
7067   11/11/1997 Dey Laboratories Inter-Office Memorandum       TX, Bronstein, 3/11/03, DL-TX-0161660 - 664 May
                  from W. Tate to Regional Managers (cc: D.      Bronstein 551
                  Bronstein, C. Daulong, D. Marr, P. Marrs, R.F.
                  Mozak, C. Rice, S. Sullivan, B. Tipton) re:
                  Pricing Authorization
7068   11/14/1997 Email from Robert Niemann to Mark Vogel      Niemann, 10/11/07,     HHC007-0294       May
                                                               Abbott Ex. 347
7069   11/24/1997 Fax from “Zach” to Robert Vito, dated        M. Jones, 12/8/08, Dey VAC MDL 43715-720 May
                  November 24, 1997                            Ex. 314
7070              INTENTIONALLY LEFT BLANK
7071   11/26/1997 Letter from Connecticut Medicaid to HCFA      CT, Warrick S.J.,      CT0020372-73        May
                  regarding payment methodology                 6/1/06, Ex. 32
7072   12/1997    Dey Monthly Sales Report                      Previously disclosed   DL-TX 83787-83829   May
                                                                with Expert Report of
                                                                Stiroh
7073   12/1997     OIG report - Excessive Medicare Payments for N. Molyneaux, 1/11/07,                     Expect
                   Prescription Drugs (OEI-03-97-00290)         Abbott Ex. 2
7074               INTENTIONALLY LEFT BLANK
7075   12/8/1997   Letter from Congressman Charles Grassley to DeParle, 12/5/07,       HHD009-0107-08      May
                   Nancy-Ann Min DeParle                        Roxane Ex. 11
7076               INTENTIONALLY LEFT BLANK
7077               INTENTIONALLY LEFT BLANK
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 91 of 356




7078   12/13/1997 Remarks By The President In Radio Address    Dey S.J., 6/26/09, Ex. HHD009-0104 -      Expect
                  To The Nation                                170                     HHD009-0105
7079              INTENTIONALLY LEFT BLANK
7080              INTENTIONALLY LEFT BLANK
7081              INTENTIONALLY LEFT BLANK
7082              INTENTIONALLY LEFT BLANK
7083              INTENTIONALLY LEFT BLANK
7084   1998       Article from Eli's Home Care Week entitled   Defs' Common S.J.       HHD009-0150       May
                  "Clinton Plans to Revive Average Acquisition Resp., 8/28/09, Ex. 209
                  Cost Issue"
7085   1998       Charts including Examples of Excessive       Nesser, 12/12/08,       VAC MDL 75360-61 May
                  Reimbursements by Oklahoma Medicaid,         Abbott-OK Ex. 005
                  prepared by Ven-A-Care
7086   1998       Document entitled "Approved Drug Products Gaston, 3/19/08, NY                          May
                  with Therapeutic Equivalence Evaluations,    Counties Defendants
                  18th Edition"                                Ex. 17
7087   1998       Letter from Curtis Woods, Pace Alliance, to  Cheloha, 12/2/08, Dey NEB0305-0330        May
                  Gary Cheloha, Nebraska Medicaid              Ex. 908
7088   1998       Receipt Signature Sheet for Ven-a-Care       J. Young, 12/3/08,      VAC MDL 75948-951 May
                  Presentation Material at NAMFCU Conference Roxane Ex. 13

7089   1998       Report of the Joint Subcommittee Studying     Tomlinson, 11/4/08,       000001710-1763   May
                  Independent Pharmacies to the Governor and    Roxane Ex. 8
                  General Assembly of Virginia
7090              INTENTIONALLY LEFT BLANK
7091   1998       The Alabama Medicaid Agency - FY 1998                                   ALMED-376297-346 May
                  Annual Report
7092              INTENTIONALLY LEFT BLANK
7093              INTENTIONALLY LEFT BLANK
7094   1998       National Pharmaceutical Council,              Disclosed with Expert                      May
                  Pharmaceutical Benefits under State Medical   Reports of Bradford and
                  Assistance Programs                           Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 92 of 356




7095   1998       42 C.F.R. § 405.517 (1998)                                                                  May
7096   1998       “Medicaid Pharmacy Issues”; Provider Notice                             ALMED-339015 -      May
                  98-02                                                                   339018
7097   1998       Cigna pricing array for Ipratropium Bromide                             AWQ 021-0220-21     May
7098   1/1998     Dey Monthly Sales Report                        Dey S.J. Opp., 8/28/09, DL-TX-82649-82734   May
                                                                  Ex. 316
7099   1/1998     HCFA Program Memorandum,                        DeParle, 5/18/07,       HHD051-0291 -       Expect
                  Intermediaries/Carriers, Transmittal No. AB-97- Abbott Ex. 202          HHD051-0292;
                  25, regarding Implementation of the New                                 AWP037-0018-19
                  Payment Limit for Drugs and Biologicals

7100   1/1998     Print-out from Red Book™ for Windows®          Dey S.J., 6/26/09, Ex.   HHD010-0348-49      May
                                                                 59
7101              INTENTIONALLY LEFT BLANK
7102   1/1/1998   42 U.S.C. § 1395u(o)(1) (effective Jan. 1,                                                  May
                  1998)
7103   1/1/1998   42 C.F.R. § 405.502(g), (h)                                                                 May
7104   1/1/1998   42 U.S.C. § 1395m                                                                           May
7105   1/1/1998   AdminaStar pricing array for Albuterol                                  AWP036-1801         May
7106   1/1/1998   AdminaStar pricing array for Albuterol                                  AWP036-1756         May
7107   1/1/1998   AdminaStar pricing array for Ipratropium                                AWP036-1593         May
                  Bromide
7108   1/1/1998   AdminaStar pricing array for Ipratropium                                AWP036-1767         May
                  Bromide
7109   1/1/1998   Montana Medicaid State Plan Amendment 98-                               HHC013-0452         May
                  002
7110   1/1/1998   West Virginia Medicaid State Plan Amendment                             HHD039-0544-46      May
                  97-12
7111   1/7/1998   Federal Register Copy of HCFA Proposed         N. DeParle, 5/18/07,     HHC001-0606-12      May
                  Rules regarding the Medicare Program and the Ex. Abbott 210
                  Application of Inherent Reasonable ness to All
                  Medicare Part B Services
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 93 of 356




7112   1/7/1998    63 Fed. Reg. 689                                                                             May
7113   1/9/1998    Note from Nancy Edwards to Nola Shanks re:      A. Sernyak, 3/6/07, Ex. HHD009-0217          May
                   OIG Final Report "Excessive Medicare -          52
                   Payments for Prescription Drugs (OEI-03-97-
                   00290)
7114   1/21/1998   Chart of HCFA Organizational Structure          N. DeParle, 12/5/07,                         May
                                                                   Ex. Roxane 9
7115   1/21/1998   Letter from Finch to Evans (Auburn                                       ALMED 340000-       May
                   University) re: MAC, WAC, and First                                      340001
                   Databank research projects
7116               INTENTIONALLY LEFT BLANK
7117               INTENTIONALLY LEFT BLANK
7118   1/23/1998   Final Report: Evaluation of Virginia            H. Tomlinson, 11/3/08, HHD090-1747-1797      May
                   Departments of Medical Assistance Services      Ex. Roxane 7
                   and Personnel and Training Prescription Drug
                   Programs (HJR 623)
7119   1/26/1998   Letter and attached documents from Nancy-       N. DeParle, 5/18/07,     HHC001-0363-66      Expect
                   Ann DeParle to Congressman Pete Stark           Ex. Abbott 205
7120   1/29/1998   A Study of the Cost of Economically and         Previously disclosed     KY_DMS_125167-      May
                   Efficiently Dispensed Prescription              with Expert Report of    125190
                   Medications, prepared by Myers & Stauffer       Stiroh
7121   02/1998     Dey Monthly Sales Report                        Previously disclosed     DL-TX 82735-82768   May
                                                                   with Expert Report of
                                                                   Stiroh
7122   2/3/1998    Fax from “Zach” to Rob Vito, dated February     M. Jones, 12/8/08, Ex.   VAC MDL 43454-456 May
                   3, 1998                                         Dey 315
7123               INTENTIONALLY LEFT BLANK
7124               INTENTIONALLY LEFT BLANK
7125               INTENTIONALLY LEFT BLANK
7126   2/9/1998    Fax from Barker to Evans with attached letter                            AUBURN-0002970-     May
                   from Barker to Finch re: agency assistance                               0002973
                   projects
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 94 of 356




7127   2/13/1998   Letter from Bill Thomas and Bill Archer,      N. DeParle, 5/18/07,                        May
                   Committee on Ways and Means, to Nancy-Ann Ex. Abbott 207
                   DeParle
7128   2/13/1998   Letter from Barker (Auburn University) to                             ALMED 340005        May
                   Finch re: MAC, WAC, and First Databank
                   research projects
7129               INTENTIONALLY LEFT BLANK
7130   2/15/1998   State Estimate of Quarterly Grant Awards for J. Hoover, 12/18/07,                         May
                   Indiana                                       Ex. Abbott 510
7131               INTENTIONALLY LEFT BLANK
7132   03/1998     Dey Monthly Sales Report                      Previously disclosed    DL-TX 82769-82804   May
                                                                 with Expert Report of
                                                                 Stiroh
7133   3/2/1998    Fax from HCFA to Rob Vito re: Medicare        N. DeParle, 5/18/07,    HHD042-0319-23      May
                   Overpayment for Drugs                         Ex. Abbott 203
7134   3/2/1998    AMA Memo from Finch to Atkins through                                 ALMED 769743-       May
                   Mitchell re: Pricing Research (and associated                         769772
                   documents)
7135   3/4/1998    Testimony of Kathleen Allyn before Idaho                              ID 037138-41        May
                   House Health & Welfare Committee
7136   3/12/1998   Testimony of Kathleen Allyn before Idaho                              ID 037120-23        May
                   House Health & Welfare Committee
7137   3/13/1998   Alabama Medicaid Agency Memorandum from AL, Trial, DTX 198            ALMED-354761        May
                   Mary Finch to Gwendolyn Williams Re:
                   Response to e-mail Pricing methodology
7138   3/13/1998   E-mail from Michelle Schober to Marvin        S. Bridges, 12/10/08,   AWPIL-10143-44      May
                   Hazelwood                                     Ex. Roxane 13
7139   3/16/1998   Email between Illinois Medicaid officials     J. Parker, 11/18/08,    AWP-IL-00010143-    May
                   fowarding email from Arkansas Medicaid        Roxane IL Ex. 10        144
                   director
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 95 of 356




7140   3/16/1998   Food and Drug Administration, Center for     Previously disclosed                            May
                   Drug Evaluation and Research, “The new drug with Expert Report of
                   development process,” available at           Bradford
                   www.fda.gov/CDER/HANDBOOK/
7141   3/17/1998   Email from Nancy Ellery to Jeff Buska and    MT, Dey S.J., 2/7/07,       MT 016339-MT        May
                   Dorothy Poulsen regarding drug reimbursement Ex. L                       016341

7142   3/17/1998   Email from Ellery to Buska and Poulsen re:                               MT 016356-016357    May
                   Prescription Drug Reimbursement
7143   3/17/1998   Email from Ellery to Buska and Poulsen re:                               MT 016358-16360     May
                   Prescription Drug Reimbursement
7144               INTENTIONALLY LEFT BLANK
7145   3/19/1998   Ven-A-Care of the Florida Keys, Inc.,           J. Lockwood, 3/17/08,    MA052850-54123      May
                   Presentation to National Association of         Ex. Roxane 64
                   Medicaid Fraud Control Units, March 19,
                   1998, Massachusetts
7146               INTENTIONALLY LEFT BLANK
7147   3/20/1998   Ven-A-Care's Presentation to Nancy-Ann          N. DeParle, 5/18/07,     2900611-2901380     May
                   DeParle, Administrator of HCFA                  Ex. Abbott 206
7148   3/20/1998   Idaho session laws - 1998 House Bill 707        ID, G. Duerr, 12/3/09,                       May
                                                                   Ex. Duerr 6
7149   04/1998     Dey Monthly Sales Report                        Previously disclosed     DL-TX 82805-82838   May
                                                                   with Expert Report of
                                                                   Stiroh
7150   4/1/1998    Georgia Department of Community Health,         J. Dubberly, 12/15/08,                       May
                   Division of Medical Assistance, Part II,        Ex. Georgia 9
                   Policies and Procedures for Pharmacy Services

7151   4/2/1998    Fax from Barbara Zelner to Mark Levine          Dey S.J., 6/26/09, Ex.   VAC MDL 75947-51 May
                                                                   84
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 96 of 356




7152   4/7/1998    Fax from NAMFCU to Zach Bentley enclosing M. Jones, 12/8/08, Ex.          VAC MDL 75930-934 May
                   state signatures acknowledging receipt of Dey 328
                   VAC's presentation material at the NAMFCU
                   conference on March 19, 1998

7153   4/13/1998   Commonwealth of Kentucky, S.B. 351, Chapter Previously disclosed                              May
                   561, Section 7, KRS 205.561                 with Expert Report of
                                                               Bradford
7154               INTENTIONALLY LEFT BLANK
7155   4/14/1998   Fax from NAMFCU to Zach Bentley enclosing M. Jones, 12/8/08, Ex.          VAC MDL 75939-943 May
                   state signatures acknowledging receipt of   Dey 327
                   VAC's presentation material at the NAMFCU
                   conference on March 19, 1998

7156               INTENTIONALLY LEFT BLANK
7157   4/29/1998   E-mail from Bob Zone to                         Dey S.J., 6/26/09, Ex.    AWQ057-0215-        May
                   LBallantine@hcfa.gov regarding Inherent         180                       AWQ057-0216
                   Reasonableness - Albuterol sulfate 0.083%
7158   4/29/1998   Email from B. Zone to Seattle.SEA1 (Tschoen) Previously disclosed         HHC907-0862         May
                   re: Inherent Reasonableness - Albuterol Sulfate with Expert Report of
                   0.083%                                          Bradford
7159   05/1998     Dey Monthly Sales Report                        Previously disclosed      DL-TX 82839-82877   May
                                                                   with Expert Report of
                                                                   Stiroh
7160   5/1998      North Dakota Medicaid Management                B. Joyce, 12/12/08, Ex.                       May
                   Information System Provider Manual for          Dey 715
                   Pharmacies
7161   5/1998      OIG Report - Need to Establish Connection       N. DeParle, 12/5/07,                          May
                   Between the Calculation of Medicaid Drug        Ex. Dey 30
                   Rebates and Reimbursement for Medicaid
                   Drugs (A-06-97-00052)
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 97 of 356




7162   5/20/1998   Chart: 1st Quarter '98 Reimbursement Amounts D. Tawes, 12/13/07, Ex. HHD010-0297          May
                   From Selected Medicare Carriers for Top Drug Roxane 16
                   Codes
7163   5/21/1998   Document entitled Conversions From NDC       Dey S.J., 6/26/09, Ex. HHD010-0111-12        May
                   Amounts to HCPCS Amounts                     58
7164   5/21/1998   Idaho pharmacy reimbursement discussion      ID, G. Duerr, 12/3/09,                       May
                                                                Ex. Duerr 10
7165   5/26/1998   Letter from Tucker Alan, Inc. to K. Allyn,   ID, G. Duerr, 12/3/09,                       May
                   Deputy Administrator of Idaho Division of    Ex. Duerr 11
                   Medicaid
7166               INTENTIONALLY LEFT BLANK
7167   06/1998     Dey Monthly Sales Report                     Previously disclosed    DL-TX 82878-82951    May
                                                                with Expert Report of
                                                                Stiroh
7168   6/2/1998    DHFS 1999-2001 Biennial Budget Issue Paper, WI, Trial, DTX 53        WI-Prod-AWP-         May
                   Cost of Drugs                                                        095303-095310
7169   6/5/1998    63 Fed. Reg. 30846, 30878                    D. Thompson, 3/28/08,                        May
                                                                Abbott Ex. 1019

7170   6/12/1998   Letter from WE Pharmaceuticals to Mark-         M. Butt, 1/26/10, Ex.   NYCO AWP NYDOH May
                   Richard Butt and an attached handwritten        Butt 7                  03472-73
                   document
7171   6/15/1998   AdminaStar pricing array for Albuterol                                  AWP036-2248       May
7172   6/15/1998   AdminaStar pricing array for Ipratropium                                AWP036-2274       May
                   Bromide
7173   6/19/1998   Kentucky Medicaid contract with Myers &         KY, Defs' Joint S.J.,   KY_DMS_M&S_646- May
                   Stauffer regarding dispensing and acquisition   10/15/08, Ex. 42        660
                   costs
7174   6/21/1998   Letter from Guess to Barker re: Professional                            AUBURN-0001499-   May
                   Services Contract                                                       0001500
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 98 of 356




7175   7/1998      CBO Report - "How Increased Competition     L. Reed, 3/18/08, Ex.                            May
                   from Generic Drugs Has Affected Prices and Abbott 751
                   Returns in the Pharmaceutical Industry,"
                   available at
                   http://www.cbo.gov/ftpdocs/6xx/doc655/pharm
                   .pdf
7176   07/1998     Dey Monthly Sales Report                        Previously disclosed     DL-TX 82952-83024   May
                                                                   with Expert Report of
                                                                   Stiroh
7177               INTENTIONALLY LEFT BLANK
7178   7/1/1998    AdminaStar pricing array for Albuterol                                   AWP036-2108         May
7179   7/1/1998    AdminaStar pricing array for Albuterol                                   AWP036-2109         May
7180   7/1/1998    AdminaStar pricing array for Albuterol                                   AWP036-2305         May
7181   7/1/1998    AdminaStar pricing array for Ipratropium                                 AWP036-2131         May
                   Bromide
7182   7/1/1998    Tennessee Medicaid State Plan Amendment 98-                              HHD090-6022-23      May
                   9
7183   7/6/1998    Email from Robert Vito to Linda Ragone, Mary R. Vito, 12/2/08, Ex.       HHD995-0017         May
                   Beth Clark and Stuart Wright                 Dey 1104
7184   7/9/1998    Montana Medicaid Prescription Drug Program MT, Defs' Joint S.J.,         MT011557            May
                   Monthly Payment Summary computer printout 2/8/07, Ex. 25

7185   7/15/1998   Myers and Stauffer Report - A Survey of          S. Bridges, 12/10/08,                       May
                   Dispensing Pharmaceutical Prescriptions and Ex. Roxane 14
                   Drug Acquisition Costs in the State of
                   Arkansas
7186   7/15/1998   New Jersey Medicaid State Plan Amendment                                 HHD295-0499-500     May
                   96-29
7187   7/20/1998   DMERC A pricing array for K0505                                          AWQ057-0946-63      May
7188   7/20/1998   DMERC A pricing array for K0505                                          AWQ057-0237-48      May
7189   7/21/1998   Letter from Barker to Finch re: Contract # 98-S-                         AUBURN -0001485-    May
                   011 with attached contract                                               0001489
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 99 of 356




7190   7/23/1998   Maine Medicaid State Plan Amendment 95-009                               HHC006-0234         May

7191   8/1998      A Survey of Costs of Dispensing Prescriptions Previously disclosed    KY_DMS_ 125191-        Expect
                   and Estimated Acquisition Cost in the State of with Expert Reports of 125274
                   Kentucky, prepared by Myers & Stauffer         Bradford & Stiroh

7192   08/1998     Dey Monthly Sales Report                        Previously disclosed     DL-TX 83025-83096   May
                                                                   with Expert Report of
                                                                   Stiroh
7193   8/1998      OIG Report - Are Medicare Allowances for        Dey S.J., 6/26/09, Ex.                   Expect
                   Albuterol Sulfate Reasonable? (OEI-03-97-       46; Abbott Ex. 64
                   00292)
7194               INTENTIONALLY LEFT BLANK
7195   8/13/1998   Fax from “Zach” to Rob Vito, dated August 13, M. Jones, 12/8/08, Ex. VAC MDL 43543-545 May
                   1998                                          Dey 316
7196   8/16/1998   Medicaid Drug Rebate, Reconciliation of State Z. Bentley, 11/6/08, Ex. R1-014856         May
                   Invoice Chart                                 Dey 219
7197   09/1998     Dey Monthly Sales Report                      Previously disclosed     DL-TX 83097-83173 May
                                                                 with Expert Report of
                                                                 Stiroh
7198   9/1998      Compilation of documents - DMERC Medicare                              AWQ057-0228-36    May
                   News, No. 40; Health Industry Distributors
                   Association Alert - Regions A and B Select
                   Eight HCPCS Codes for IR Reductions; Email
                   from S. Greer to M. Vogel re: Inherent
                   Reasonableness Surveys
7199   9/2/1988    2nd Cir. Opinion, Pharm. Soc. of the State of                            A903-23             Expect
                   New York, Inc., et al. v. Cuomo et al.
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 100 of 356




7200   9/11/1998   Dey, L.P. Inter-Office Memorandum with        TX, D. Bronstein,       DL-TX-0092540; DL- May
                   handwritten annotations from D. Bronstein to 3/11/03, Ex. Bronstein   TX-0092526; DL-TX-
                   T. Galles (cc: B. Mozak) re: WAC Price        534                     0092529-530; DL-TX-
                   Adjustments; handwritten notes; Email from D.                         0092527
                   Bronstein to T. Galles re: WAC Adjustments

7201   9/11/1998   RedBook Product Listing Verification Form    TX, E. Gmeiner,         DL-TX-001014-022     May
                   with handwritten annotations                 1/20/03, Ex. Gmeiner
                                                                622
7202   9/14/1998   Facsimile from Carolyn McElroy to Frank      F. Tetkowski, 12/11/08, MD0020613-18         May
                   Tetkowski                                    Ex. Abbott Maryland 28

7203   9/14/1998   1998 Pharmacy Program Survey, Response by KY, D. Bahr, 1/29/08, KYDMSPL 64218-            May
                   Kentucky                                    Ex. Bahr 29             64233
7204   9/15/1998   DHFS 1999-2001 Biennial Budget Issue Paper, WI, Defs' Joint S.J.    WI-Prod-AWP-          May
                   Cost of Drugs                               Resp., 1/15/08, Ex. 111 108297-108300

7205   9/22/1998   Maryland Medicaid Program, Medical Care     J. Fine, 12/9/08, Ex.     MD0012980           May
                   Policy Administration Pharmacy Service from Abbott Maryland 14
                   Tuong Nguyen, Medical Care Policy
                   Pharmacist, to Medicaid Pharmacy
                   Administrator
7206   9/30/1998   Cigna pricing array for Albuterol                                     AWQ021-0199         May
7207   10/1998     Dey Monthly Sales Report                     Previously disclosed     DL-TX 83174-83252   May
                                                                with Expert Report of
                                                                Stiroh
7208   10/1/1998   1998 Florida Legislative Proposal Analysis   Previously disclosed     AHCA PR5 3467-69    May
                                                                with Expert Report of
                                                                Helms
7209   10/1/1998   AdminaStar pricing array for Albuterol                                AWP036-2524         May
7210   10/1/1998   AdminaStar pricing array for Albuterol                                AWP036-2525         May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 101 of 356




7211   10/1/1998   AdminaStar pricing array for Ipratropium                              AWP036-2520     May
                   Bromide
7212   10/1/1998   AdminaStar pricing array for Ipratropium                              AWP039-1230     May
                   Bromide
7213   10/1/1998   Maryland Medicaid State Plan Amendment 99-                            HHD039-0175-180 May
                   3
7214   10/1998     Kentucky Program Pharmacy Manual Policies KY, D. Bahr, 1/30/08, KY_DMS_000000001 May
                   and Procedures                                Ex. 40                  24187-126
7215   10/6/1998   Fax transmittal sheet and attached document   S. Gaston, 1/24/08, Ex. VAC MDL 45005-  May
                   from Dr. John and Zach Bentley to T. Reed     Abbott 459              VAC MDL 45031
                   Stephens, Esq., United States Department of
                   Justice
7216   10/7/1998   Letter from Andrew Peterson, RPh., to Senator WI, Defs' Joint S.J.    WI-Prod-AWP-    May
                   Brian D. Rude in compilation of documents     Resp., 1/15/08, Ex. 112 107926-107934

7217   10/8/1998   Contact Report for Laura Brooks              R. Niemann, 10/11/07, HHC906-0124-25        May
                                                                Ex. Abbott 348
7218              INTENTIONALLY LEFT BLANK
7219   10/19-     Ven-A-Care of the Florida Keys, Inc.,         J. Lockwood, 7/23/08,   VAC MDL 88748-834 May
       20/1998    Presentation to: The California Attorney      Ex. Dey 178
                  General's Office and Medicaid Fraud Control
                  Unit, October 19-20, 1998
7220   10/26/1998 Letter from Secretary Joe Leean to State      WI, Defs' Joint S.J.    GDOCS 001135-       May
                  Senator Brian D. Rude (with enclosures)       Resp., 1/15/08, Ex. 113 001141

7221   11/1998     Dey Monthly Sales Report                    Previously disclosed     DL-TX 83253-83315   May
                                                               with Expert Report of
                                                               Stiroh
7222   11/1998     OIG Report - Comparing Drug Reimbursement: N. DeParle, 12/5/07,      HHD014-0051-70      Expect
                   Medicare and Department of Veterans Affairs Abbott Ex. 101
                   (OEI-03-97-00293)
7223               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 102 of 356




7224               INTENTIONALLY LEFT BLANK
7225   11/4/1998   Ven-A-Care of the Florida Keys, Inc.,         J. Lockwood, 7/23/08,   VAC MDL 89649-679 May
                   Presentation to: The New York Attorney        Ex. Dey 175
                   General's Office and Medicaid Fraud Control
                   Unit, November 4, 1998
7226   11/4/1998   Letter from S. Hudspeth to T. Reed Stephens                           DL-TX-0095400-12    May

7227   11/16/1998 Declaration of T. Reed Stephens in Support of Dey S.J., 6/26/09, Ex.   ABT 008-1066-1076   May
                  United States’ Unopposed Application for        97
                  Extension of Time to Elect Whether to
                  Intervene in Qui Tam Action in United States
                  of America ex rel Ven-A-Care of the Florida
                  Keys, Inc. v. Abbott Labs. et al., Civil Action
                  No. 95-1354-Civ. (S.D. Fla.)
7228   11/16/1998 Letter and enclosed 1998 Q3 AMPs from Dey                              DL-BO-162037-43     Expect
                  to NYS EPIC Program
7229   11/17/1998 Email from Jim Cuca attaching updated drug     R. Clark, 2/8/08, Ex.  WPS00271             May
                  pricing file                                   Roxane 40
7230   11/20/1998 Letter from June Gibbs Brown to Nancy-Ann      D. Tawes, 4/25/07, Ex. HHC003-0375-76       Expect
                  Min DeParle re: OIG Final Report: Comparing    Abbott 133
                  Drug Reimbursement: Medicare and
                  Department of Veterans Affairs (OEI-03-97-
                  00293)
7231   11/20/1998 Connecticut Medicaid Memo regarding budget CT, Warrick S.J.,      CT0031273-80             May
                  reductions                                 6/1/06, Ex. 62
7232              INTENTIONALLY LEFT BLANK
7233   11/25/1998 Memorandum from K. Smith to S. McCabe and MA, G. Gilmore,         MA012331-332             May
                  others                                     6/26/08, Ex. Gilmore 3
7234              INTENTIONALLY LEFT BLANK
7235   11/30/1998 Spreadsheet titled Idaho Acquisition Cost  K. Howell, 4/22/08,    HHC 020-0911             May
                  Analysis Projected Impact of EAC Discounts Abbott Ex. 1090
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 103 of 356




7236   11/30/1998 Myers and Stauffer Report - Idaho Drug         ID, G. Duerr, 12/3/09,   ID214241-4279       May
                  Acquisition Cost Study                         Ex. 16
7237   12/8/2005 Hawaii Medicaid Prescription Payment            HI, Watson & Sandoz                          May
                  Algorithm Analysis                             S.J., 8/25/09, Ex. 19
7238   11/30/1998 Draft Myers & Stauffer Report - Idaho Drug     Previously disclosed     HHC020-1591-1606    May
                  Acquisition Cost Study                         with Expert Report of
                                                                 Bradford
7239   12/1998    1999 Ipratropium Bromide Inhalation Solution                            DL-TX-0076290-      May
                  Marketing Plan                                                          76328

7240   12/1998    Dey Monthly Sales Report                       Previously disclosed   DL-TX 83316-83377     May
                                                                 with Expert Report of
                                                                 Stiroh
7241   12/1998    HCFA Program Memorandum regarding              Dey S.J., 6/26/09, Ex. HHC021-0030-          Expect
                  "Implementation of the New Payment Limit for 171                      HHC021-0031
                  Drugs and Biologicals," Transmittal No. AB-98-
                  76
7242   12/10/1998 Memo from Dave Campana to Bob Labbe            D. Campana, 8/20/2008, AWP-AK-00011408-      May
                  through Teri Keklak                            Ex. 49                 11

7243   12/11/1998 Email chain between L. Forbes, J. Grunder, G. ID, G. Duerr, 12/3/09,    ID203780-81         May
                  Duerr and others                              Ex. 18
7244   12/17/1998 Bergen Brunswig price list                    TX, M. Jones, 10/8/02,                        May
                                                                Ex. 301
7245   12/21/1998 Cigna pricing array for Albuterol                                       AWQ021-0200         May
7246   12/22/1998 Dey, L.P. Inter-Office Memorandums from T. TX, T. Galles, 2/6/03,       DL-TX-0091985-991   May
                  Galles to Distribution, dated December 22,    Ex. 468
                  1998 and December 17, 1998, re: WAC Price
                  Changes
7247   12/28/1998 AMA Memo from Finch to Williams re: Cost                                ALMED 375242 -      May
                  Savings Initiatives/Pharmacy                                            375251
7248              INTENTIONALLY LEFT BLANK
                  Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 104 of 356




7249   1999   42 C.F.R. § 405.517 (1999)                Dey S.J., 6/26/09, Ex.                       Expect
                                                        175
7250          INTENTIONALLY LEFT BLANK
7251   1999   Cigna pricing array for K0505             C. Helton, 3/13/08, Ex.                      May
                                                        132
7252   1999   Cigna pricing array for K0518             C. Helton, 3/13/08, Ex.                      May
                                                        130
7253   1999   DHHS Report to Congress - "The Average    N. DeParle, 5/18/07,    HHC902-0801-0818     May
              Wholesale Price for Drugs Covered under   Ex. Abbott 200
              Medicare"
7254   1999   Medicaid Financial Management Report FY     J. Hoover, 12/18/07,                       May
              1999, Alaska                                Ex. 516
7255   1999   National Association of State Medicaid      R. Reid, 12/15/08,      MO.028185-216      May
              Directors Pharmacy Technical Advisory Group Abbott-Reid Ex. 13
              Meeting Agenda
7256   1999   North Carolina Medicaid Outpatient Pharmacy L. Weeks, 10/21/08, Ex.                    May
              Program Manual                              58
7257   1999   Virginia Medicaid Drug Information System   K. Hayashi, 12/4/08,    000001764-1774     May
              Print Screens                               Ex. Dey 926
7258          INTENTIONALLY LEFT BLANK
7259          INTENTIONALLY LEFT BLANK
7260          INTENTIONALLY LEFT BLANK
7261          INTENTIONALLY LEFT BLANK
7262   1999   The Alabama Medicaid Agency - FY 1999                               ALMED-376418-467   May
              Annual Report
7263   1999   Mossinghoff, Gerald J., “Overview of the    Previously disclosed                       May
              Hatch-Waxman Act and Its Impact on the Drug with Expert Report of
              Development Process,” Food and Drug Law     Bradford
              Journal, Vol. 54, 1999, pp. 187-194
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 105 of 356




7264   1999       Myers & Stauffer Report - A Survey of         Previously disclosed                        May
                  Dispensing Costs of Pharmaceuticals in the    with Expert Reports of
                  State of Kansas                               Bradford & Stiroh
7265   1999       National Pharmaceutical Council,              Previously disclosed                        May
                  Pharmaceutical Benefits under State Medical   with Expert Reports of
                  Assistance Programs                           Bradford & Stiroh
7266              INTENTIONALLY LEFT BLANK
7267   1999       Balanced Budget Refinement Act of 1999                                                    May
                  (BBRA) Pub. L. 106-113, (1999)
7268   1999       AdminaStar pricing array for Albuterol                                 AWP034-0844         May
7269   1999       Compilation of documents from Hawaii          HI, L. Donovan,          HI_HI 000009022-026 May
                  production containing drug prices             7/20/09, Ex. Donovan
                                                                49
7270   1/1/1999   Cardinal Health Generic Wholesale Service     NY, M. Erick, 6/17/08, Car.Hlth/SLB 0142596-Expect
                  Agreement between CH and Dey L.P.             Ex. Erick 3            617
7271   1/1999     Dey Monthly Sales Report                      Previously disclosed   DL-TX-81823-81889 May
                                                                with Expert Report of
                                                                Stiroh
7272              INTENTIONALLY LEFT BLANK
7273   1/1/1999   Georgia Department of Community Health,       J. Dubberly, 12/15/08,                      May
                  Division of Medical Assistance, Part II,      Ex. Georgia 10
                  Policies and Procedures for Pharmacy Services

7274   1/1999     Excerpt of 1998 Idaho Administrative Code,    ID, G. Duerr, 12/3/09, ID037271-7277        May
                  DHW, Division of Welfare                      Ex. Duerr 8
7275   1/1/1999   AdminaStar pricing array for Albuterol                                 AWP039-0834        May
7276   1/1/1999   AdminaStar pricing array for Albuterol                                 AWP039-0835        May
7277   1/4/1999   Letter from Robert F. Mozak to State Medicaid L. Reed, 10/2/08, Ex. DL-0050127-130        Expect
                  Administrator                                 Dey 184
7278   1/4/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/2009, Ex. DL-0050063         Expect
                  Administrator                                 30
7279              INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 106 of 356




7280   1/7/1999    Dey, L.P. Memorandum regarding Future        Dey S.J., 6/26/2009, Ex. DL-TX-0092446-50    May
                   Medicaid Mailings                            29
7281   1/14/1999   Connecticut DSS internal Memorandum from     CT, E. Dudley, 5/16/05, CT0017203-05         May
                   Evelyn Dudley to "Mike"                      Ex. Dudley 11

7282   1/20/1999   Letter from Iowa Medicaid to Participating                            Iowa-AWP 000113-    May
                   Pharmacy Providers regarding reimbursement                            116
                   changes
7283   1/26/1999   Agenda, House Health and Welfare Committee ID, G. Duerr, 12/3/09,                         May
                                                              Ex. Duerr 9
7284   02/1999     Dey Monthly Sales Report                   Previously disclosed       DL-TX 81890-81923   May
                                                              with Expert Report of
                                                              Stiroh
7285   2/1999      EconoLink for Windows Reference Manual,    J. Lockwood, 6/19/09,      VAC MDL 90297-693 May
                   Version 5.50                               Ex. Roxane 224
7286   2/1999      OIG's Partnership Plan - Utah Division of  P. Chesser, 10/28/08,                          May
                   Health Care Financing Reports on Medicaid  Ex. Roxane 147
                   Pharmacy Acquisition Costs of Brand Name
                   and Generic Drugs (A-06-99-00035 and A-06-
                   99-00036)
7287               INTENTIONALLY LEFT BLANK
7288               INTENTIONALLY LEFT BLANK
7289   2/10/1999   Letter and attachment from State of Idaho    Previously disclosed     HHC020-1589-90      May
                   Department of Health and Welfare to HCFA     with Expert Report of
                                                                Helms
7290   2/17/1999   Wisconsin Medicaid 1999-2001 Biennial        WI, C. Decker,           PSW 00009050-053    May
                   Budget Issue Paper                           12/11/06, PSW Ex. 8
7291               INTENTIONALLY LEFT BLANK
7292   2/22/1999   Fax from Zach Bentley to T. Reed Stephens at M. Jones, 12/8/08, Ex.   R1-023971-4012      May
                   DOJ regarding Drug Prices Survey             Dey 317
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 107 of 356




7293   03/1999     Dey Monthly Sales Report                      Previously disclosed      DL-TX 81957-82018   May
                                                                 with Expert Report of
                                                                 Stiroh
7294   3/1999      Myers and Stauffer Report - A Survey of       J. Lockwood, 4/24/09,     WY00004571-659      May
                   Dispensing and Estimated Acquisition Costs of Ex. Lockwood 20
                   Pharmaceuticals in the State of Wyoming
                   (Prepared for the Wyoming Department of
                   Health Division of Health Care Financing)
7295   3/1999      AdminaStar pricing array for Albuterol                                  AWP034-0833         May
7296   3/1999      AdminaStar pricing array for Albuterol                                  AWP034-0840         May
7297   3/2/1999    Defendants' Memorandum in Support of Cross- KY, Defs' Joint S.J.,                           May
                   Motion for Summary Judgment and in             10/15/08, Ex. 54
                   Opposition to Plaintiffs' Motion for Summary
                   Judgment, Tinsley, et al. v. Commonwealth of
                   Kentucky, et al., Civil Action No. 97-CI-01518

7298               INTENTIONALLY LEFT BLANK
7299               INTENTIONALLY LEFT BLANK
7300   3/16/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    DL-0050171          Expect
                   Administrator                                 109
7301   3/16/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    DEY-MDL-0105073- Expect
                   Administrator                                 110                       078
7302   3/16/1999   Letter from Robert F. Mozak to State Medicaid M. Jones, 12/8/08, Ex.    R1-014879        Expect
                   Administrator                                 Dey 329
7303   3/16/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    WI-Prod-AWP-128277 Expect
                   Administrator                                 130
7304               INTENTIONALLY LEFT BLANK
7305               INTENTIONALLY LEFT BLANK
7306   3/16/1999   Letter from R. Mozak to State Medicaid        FL, J. Wells, 12/16/04,   DEY10181257-263     Expect
                   Administrator                                 Ex. Dey 4
7307   3/18/1999   Email from Colleen M. King to Cheryl Eiler, C. Eiler, 8/28/08, Ex.      AWP039-0584         May
                   Robin Stone, Barbara Douglas                  Abbott 1124
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 108 of 356




7308   3/23/1999   Memorandum from Myers and Stauffer to M. J. M. Terrebonne,               JD-SUB-LA-000218- May
                   Terrebonne                                      3/31/08, Ex. Abbott      34
                                                                   1052
7309   3/25/1999   Letter from Nancy-Ann DeParle to                N. DeParle, 5/18/07,     HHC003-0349          May
                   Congressman Bill Thomas                         Ex. Abbott 211
7310   3/25/1999   LMMIS Design Change Request Form                M. Terrebonne,           JD-SUB-LA-000235- May
                                                                   3/31/08, Ex. Abbott      49
                                                                   1053
7311   3/25/1999   AdminaStar pricing array for Ipratropium                                 AWP034-0853          May
                   Bromide
7312   3/29/1999   Dey, L.P. Advertising/Promotional Labeling                               DL-TX 0170971-72     May
                   Approval Record for Albuterol Sulfate
                   Inhalation Solution with handwritten notes
7313   4/1999      Dey Monthly Sales Report                        Previously disclosed     DL-TX 82019-82087    May
                                                                   with Expert Report of
                                                                   Stiroh
7314               INTENTIONALLY LEFT BLANK
7315   4/13/1999   Letter from Pharmacy Society of Wisconsin to WI, C. Decker,              WI-Prod-AWP-108065-May
                   Members of Joint Finance Committee              12/11/06, PSW Ex. 13     8069
7316   4/22/1999   Annotated invoices - Indiana pharmacies         Dey S.J., 6/26/09, Ex.   HHD028-0207-20     May
                                                                   66
7317   4/22/1999   Declaration of T. Reed Stephens in Support of Dey S.J., 6/26/09, Ex.     ABT 008-1038 -1043   May
                   United States’ Unopposed Application for        98
                   Extension of Time to Elect Whether to
                   Intervene in Qui Tam Action in United States
                   of America ex rel Ven-A-Care of the Florida
                   Keys, Inc. v. Abbott Labs. et al., Civil Action
                   No. 95-1354-Civ. (S.D. Fla.)
7318   4/26/1999   Memorandum from E. Dudley and others to M. CT, E. Dudley,        CT20028417-442               May
                   Starkowski, Deputy Commissioner-DSS, re:   6/22/2005, Ex. Dudley
                   Pharmacy costs and a Pharmacy Benefit      15
                   Manager RFI Results
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 109 of 356




7319               INTENTIONALLY LEFT BLANK
7320   4/29/1999   Letter from Southern Association of Medicaid   AL, K. Chadwick,       ALMED-338968-70      May
                   Pharmacy Administrators to Mary Finch,         10/23/07, Ex. Chadwick
                   Alabama Medicaid                               34
7321   05/1999     Dey Monthly Sales Report                       Previously disclosed   DL-TX 82088-82161    May
                                                                  with Expert Report of
                                                                  Stiroh
7322               INTENTIONALLY LEFT BLANK
7323   5/26/1999   Memos from Acting Director and Director,      D. Chang, 4/17/09, Ex. HHD289-0024-030       May
                   Division of Benefits, Coverage and Payment, Abbott 1174
                   Family and Children's Health Programs Group,
                   Center for Medicaid and State Operations, to
                   Associate Regional Administrator, Division of
                   Medicaid and State Operations, regarding Iowa
                   State Plan Amendment 99-02-ACTION

7324   5/28/1999   Idaho Medicaid Provider Handbook                                       ID044093 - 044174   May
7325   06/1999     Dey Monthly Sales Report                       Previously disclosed    DL-TX 82162-82224   May
                                                                  with Expert Report of
                                                                  Stiroh
7326   6/1/1999    LFB, Joint Committee on Finance, Drug          WI, Defs' Joint S.J.    GDOCS 000497-505    May
                   Reimbursement, Paper #479                      Resp., 1/15/08, Ex. 32
7327   6/1999      Study by Barton McCann and Julia James         T. Scully, 7/13/07, Ex.                     May
                   entitled "The Impact of Medicare Payment       BMS 9
                   Policies on Patient Access to Quality Cancer
                   Care"
7328   6/3/1999    Email chain between Shirley Glaspie and        S. Bridges, 12/11/08,   HHC010-868          May
                   Tamara Bruce                                   Ex. Roxane 30
7329   6/4/1999    Letter from Andrew Fredrickson, Division of    S. Bridges, 12/11/08,   HHC010-857-60       May
                   Medicaid and State Operations, Department of   Ex. Roxane 31
                   Health and Human Services, to Ray Hanley
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 110 of 356




7330   6/8/1999    Meeting Minutes, Pharmacy Technical                                      KHPA021150/1160     May
                   Advisory Group National Association of State
                   Medicaid Directors
7331   6/8/1999    Fax to Medicaid Program Administrators re:                               ALMED 349939-       May
                   surveys from Laurie Squartsoff and Finch's                               349952
                   responses
7332   6/10/1999   Montana Medicaid fax regarding usual and     MT, Defs' Joint S.J.,       MT008430-008431     May
                   customary charge                             2/8/07, Ex. 26
7333               INTENTIONALLY LEFT BLANK
7334               INTENTIONALLY LEFT BLANK
7335   6/25/1999   Fax from Chuck Clapton to Rob Vito           R. Vito, 12/2/08, Ex.       HHD920-1542-1544    May
                                                                Dey 1105
7336   6/30/1999   AdminaStar pricing array for Albuterol                                   AWP034-0834         May
7337   6/30/1999   AdminaStar pricing array for Albuterol                                   AWP034-0841         May
7338   7/1/1999    AdminaStar pricing array for K0511           C. Eiler, 8/26/08, Ex.      AWP039-1215         May
                                                                Eiler 11
7339   07/1999     Dey Monthly Sales Report                     Previously disclosed        DL-TX 82225-82293   May
                                                                with Expert Report of
                                                                Stiroh
7340   7/1/1999    Excerpt from Arkansas State Plan Amendment S. Bridges, 12/10/08,         ARK00002783,        May
                   99-023                                       Ex. Bridges 9               ARK00002784,
                                                                                            ARK00003055-56, and
                                                                                            ARK00003313
7341   7/1999      Medicaid Provider Coverage, Limitations and     FL, S. Lipscomb,         FL002401-2764       Expect
                   Reimbursement Handbook - Prescribed Drug        12/20/05, Lipscomb Ex.
                   Services                                        159
7342   7/1/1999    AdminaStar pricing array for Albuterol                                   AWP039-1204         May
7343   7/1/1999    AdminaStar pricing array for Albuterol                                   AWP039-1206         May
7344   7/1/1999    AdminaStar pricing array for Ipratropium                                 AWP039-1229         May
                   Bromide
7345   7/6/1999    Email from C. King to C. Eiler regarding Drug   C. Eiler, 8/26/08, Ex.                       May
                   Updates                                         Roxane 102
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 111 of 356




7346   7/6/1999    HCFA letter sent to Medicaid Directors in    A. Wimpee, 11/24/08,     HHC019-0242-0243    May
                   Alaska, Idaho, and Washington regarding      Ex. Roxane 8
                   findings and assurances
7347   7/6/1999    Letter from HCFA to Hawaii DHS enclosing     HI, Watson S.J.,                             May
                   approved State Plan Amendment 99-003         8/25/09, Ex. 58

7348   7/14/1999   AdminaStar pricing array for Ipratropium                              AWP034-0854         May
                   Bromide
7349   7/20/1999   Letter from Ray Hanley, Arkansas Department S. Bridges, 12/11/08,     HHC010-0849-52      May
                   of Human Services, to Andrew Fredrickson at Ex. Roxane 32
                   HCFA
7350   7/23/1999   Dey, L.P. Inter-Office Memorandum from D. TX, D. Bronstein,           DL-TX-0078198       May
                   Bronstein and T. Galles to B. Mozak (cc: C.  3/11/03, Ex. Bronstein
                   Rice) re: AWP                                540
7351   7/26/1999   Memo from Bruce Young, California Retailers K. Gorospe, 3/19/08,      CAAG/DHS0072820 - May
                   Association, to Susan Kennedy.               Ex. Gorospe 24           0072822
7352   7/27/1999   Letter from Joseph Brunson at Idaho Medicaid Previously disclosed     HHC020-1561       May
                   to Robert Reed at HCFA regarding Idaho State with Expert Report of
                   Plan Amendment TN 99-001                     Bradford

7353   7/30/1999   Letter and enclosed 1999 Q2 AMPs from Dey                           DL-BO-160443-53       May
                   to NYS EPIC Program
7354   8/1999      A Survey of Dispensing and Acquisition Costs Previously disclosed   KY_DMS_ 125275-       May
                   of Pharmaceuticals in the Commonwealth of    with Expert Reports of 125347
                   Kentucky, prepared by Myers & Stauffer       Bradford & Stiroh

7355   08/1999     Dey Monthly Sales Report                     Previously disclosed     DL-TX 82294-82364   May
                                                                with Expert Report of
                                                                Stiroh
7356   8/4/1999    Internal Memo by Andrew Fredrickson          S. Bridges, 12/11/08,    HHC010-0842         May
                                                                Ex. Roxane 33
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 112 of 356




7357   8/4/1999    Alabama Medicaid Agency Routing Slip          AL, Trial, DTX 89        ALMED-300767-773 May
                   attaching Professional Services Contract
                   between First DataBank and Alabama
                   Medicaid Agency
7358   8/10/1999   Dey letter to State Medicaid Administrator    M. Clifford, 10/29/08, DL-0050553           Expect
                   regarding Albuterol Sulfate release           Ex. Dey 203
7359   8/10/1999   Letter from Carolyn McElroy to Dave           D. Campana, 8/20/2008, AWP-AK-00000700-     May
                   Campana, Pharmacy Program Manager             Ex. Campana 50         03

7360               INTENTIONALLY LEFT BLANK
7361   8/10/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   DEY-LABS-0415389- Expect
                   Administrator                                 111                      399
7362   8/10/1999   Letter from Robert F. Mozak to State Medicaid M. Jones, 12/8/08, Ex.   R1-014889         Expect
                   Administrator                                 Dey 330
7363   8/10/1999   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   WI-Prod-AWP-128276 Expect
                   Administrator                                 131
7364   8/10/1999   Memorandum From T. Galles to R. Johnston R. Johnston, 12/11/08,        DL63384-386        May
                   Re: New 105-01 Albuterol Multidose Medicaid Ex. Johnston 53
                   Letters
7365               INTENTIONALLY LEFT BLANK
7366   8/20/1999   Fax from “Zach” to Rob Vito, dated August 20, M. Jones, 12/8/08, Ex.   VAC MDL 43319-20 May
                   1999                                          Dey 318
7367   8/30/1999   Letter from Mary Finch, Alabama; Suzette      AL, Trial, DTX 205       ALMED-301002-004 May
                   Bridges, Arkansas; Mike Romanzo, Consultec;
                   Joe Fine, Maryland; Bob Carroll, Maine;
                   Chuck Reynolds, New Mexico; Jim Assey,
                   South Carolina; Raedell Ashley, Utah; and
                   Donna Bovell, Washington D.C., to Joe
                   Hirschman, President of FDB regarding
                   concerns about FDB's level of performance
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 113 of 356




7368   09/1999    Dey Monthly Sales Report                        Previously disclosed     DL-TX 82366-82438   May
                                                                  with Expert Report of
                                                                  Stiroh
7369   9/1999     HCFA Program Memorandum,                        Dey S.J., 6/26/09, Ex.   HHD084-0665-        Expect
                  Intermediaries/Carriers, Transmittal No. AB-99- 172                      HHD084-0667
                  63
7370   9/1/1999   Letter from Kentucky Medicaid to Governor       KY, Defs' Joint S.J.,    KY_DMS_ 81645       Expect
                  and Legislative Research Commission             10/15/08, Ex. 53
                  transmitting Aug. 1999 Myers & Stauffer
                  reports on dispensing and acquisition costs

7371   9/1999     Myers and Stauffer Report - A Survey of         Defs' Common S.J.       KY_AWP_KRF_0316 May
                  Dispensing and Acquisition Costs of             Resp., 8/28/09, Ex. 100 4-3272
                  Pharmaceuticals in the State of Louisiana
                  (Prepared for the Department of Health and
                  Hospitals, Baton Rouge, Lousiana)
7372              INTENTIONALLY LEFT BLANK
7373   9/1999     Draft Report: A Survey of Dispensing Costs of Produced by Kansas         KHPA054574/4642     Expect
                  Pharmaceuticals in the State of Kansas,
                  prepared by Myers and Stauffer for the Kansas
                  Department of Social and Rehabilitation
                  Services
7374   9/1999     Report: A Survey of Dispensing Costs of         Produced by Kansas       KHPA081163_24492/ May
                  Pharmaceuticals in the State of Kansas,                                  4544
                  prepared by Myers & Stauffer (M&S) for KS
                  Medicaid
7375              INTENTIONALLY LEFT BLANK
7376              INTENTIONALLY LEFT BLANK
7377   9/8/1999   Draft Kathpal Technologies Report Prepared                                                   May
                  for the HCFA - High Cost Drugs Under the
                  Outpatient Prospective Payment System
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 114 of 356




7378   9/17/1999   1999 Pharmacy Program Survey, Response by KY, D. Bahr, 1/29/08,          KYDMSPL 64190-205 May
                   Kentucky                                     Ex. Bahr 25
7379   9/21/1999   AdminaStar pricing array for Albuterol                                   AWP034-0835         May
7380   9/21/1999   AdminaStar pricing array for Albuterol                                   AWP034-0842         May
7381   9/21/1999   AdminaStar pricing array for Ipratropium                                 AWP034-0855         May
                   Bromide
7382               INTENTIONALLY LEFT BLANK
7383   10/1999     Dey Monthly Sales Report                     Previously disclosed        DL-TX 82439-82507   May
                                                                with Expert Report of
                                                                Stiroh
7384   10/1/1999   Letter from HCFA to South Carolina approving                             HHD090-3594-3612    May
                   State Plan Amendment 99-08 and associated
                   documents
7385   10/1/1999   DMERC A pricing array for J7619                                          AWQ057-1179         May
7386   10/1/1999   DMERC A pricing array for K0504                                          AWQ057-1218-19      May
7387   10/1/1999   DMERC A pricing array for K0505                                          AWQ057-1220-21      May
7388   10/1/1999   Title 42, § 405.517, Revised October 1, 1999 Previously disclosed                            May
                                                                with Expert Report of
                                                                Stiroh, Bradford
7389   10/1/1999   AdminaStar pricing array for Albuterol                                   AWP039-1453       May
7390   10/1/1999   AdminaStar pricing array for Albuterol                                   AWP039-1914       May
7391   10/1/1999   DMERC A pricing array for Cromolyn                                       AWQ057-1222-24    May
7392   10/5/1999   Memorandum: Additional Scenarios for Fiscal                              KHPA081163_24395- Expect
                   Impact Modeling, from Allan Hansen, Myers &                              4398
                   Stauffer, to Karen Braman, KS Medicaid

7393   10/11/1999 Virginia Register of Regulations                 H. Tomlinson, 11/3/08,                       May
                                                                   Ex. USA 12
7394   10/21/1999 Power point presentation, entitled A Survey of                            KHPA081163_28948/ May
                  Dispensing Costs of Pharmaceuticals in the                                8966
                  State of Kansas, prepared by Myers & Stauffer
                  (M&S) for KS Medicaid
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 115 of 356




7395   10/25/1999 Professional Services Contract between First   K. Chadwick, 10/23/07, FDB-Alabama 082840- May
                  DataBank and Alabama Medicaid Agency           Chadwick Ex. 3         46

7396   10/26/1999 Letter from Connecticut Medicaid to HCFA                            CT0032100-01          May
                  regarding assurances and findings for drug
                  payments
7397   11/1999    Dey Monthly Sales Report                       Previously disclosed   DL-TX 82508-82576   May
                                                                 with Expert Report of
                                                                 Stiroh
7398   11/1/1999  HCFA letter to State Medicaid Directors        R. Homar, 12/2/08, Ex. WY00000197-199      May
                  regarding Annual Assurance for Multiple        Roxane 17
                  Source Drugs
7399   11/3/1999 Letter from Mr. Hanley to Andrew Fredrickson S. Bridges, 12/11/08,    HHC010-0802-07       Expect
                  at HCFA                                      Ex. Roxane 34
7400   11/10/1999 HCFA Approval Letter and Hawaii State Plan A. Hiramatsu, 5/1/08,                          May
                  Amendment 99-003                             Ex. Hiramatsu 46
7401   11/16/1999 Letter from Mr. Fredrickson to the Branch    S. Bridges, 12/11/08,   HHC010-0798-807      May
                  Chief in the Region 6 at HCFA                Ex. Roxane 35
7402   11/24/1999 Dep't of Health Services Proposals to Reduce K. Gorospe, 5/6/09, Ex. CAAG/DHS-            May
                  Medi-Cal Expenditures for Pharmaceutical     Gorospe 35              E0051727-28
                  Products
7403   12/1999    Dey Monthly Sales Report                     Previously disclosed    DL-TX 82577-82647    May
                                                               with Expert Report of
                                                               Stiroh
7404   12/1/1999 Letter and attached document from Robin       Roxane S.J., 6/26/09, AWQ025-0876 - 87       May
                  Stone to Marvin Stoogenke and Colleen        Ex. 168
                  Carpenter
7405   12/7/1999 Annotated invoices - West Virginia pharmacies Dey S.J., 6/26/09, Ex. HHD027-0342-60        May
                                                               65
7406   12/7/1999 Memo from Covington to L. Jones re: Enclosed                          ALMED-348605-652     May
                  Review and Analysis
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 116 of 356




7407   12/7/1999  Letter from HCFA to Iowa Medicaid regarding                           HHD289-0002-10        May
                  State Plan Amendment 99-09
7408   12/11/1999 AdminaStar pricing array for Ipratropium                              AWP034-0957           May
                  Bromide
7409   12/13/1999 Letter from Wyoming Medicaid to HCFA          R. Homar, 12/2/08, Ex. WY00000200-201         May
                  regarding assurances                          Roxane 15
7410   12/17/1999 California Pharmacy Fee Study prepared for                            SCSHP0022745-49       May
                  Merck-Medco by IMS Health
7411   2000       Affidavit of Secretary of South Dakota Social L. Iverson, 12/15/08,                         May
                  Services                                      Ex. Dey 907
7412   2000       Dey Sales & Marketing 2000 Business Plan      TX, W. Tate, 2/7/03,    DL-TX-0091192-246     May
                                                                Ex. Tate 473
7413   2000       Approved Drug Products with Therapeutic       S. Gaston, 1/24/08, Ex.                       May
                  Equivalence Evaluations, 20th Edition         Dey 136
7414              INTENTIONALLY LEFT BLANK
7415   2000       Excerpt from 2000 Red Book                    R. Stone, 10/14/09, Ex.                       May
                                                                Roxane 253
7416   2000       First DataBank's NDDF (National Drug Data MA, P. Morgan,              FDB-AWP 06295-        May
                  File) Documentation Manual                    11/30/07, Ex. Morgan 3 07027

7417   2000        Illinois State Plan Amendment 00-11            J. Parker, 11/18/08, Ex. AWP-IL-00002593-   May
                                                                  USA 6                    2601
7418   2000        Illinois State Plan Amendment 00-15            J. Parker, 11/18/08, Ex. HHC009-1247-1248   May
                                                                  USA 7
7419   2000        Kentucky Medicaid Issue Paper, Prescription    KY, Defs' Joint S.J.,    KY_DMS_ 125457-    May
                   Drug Acquisition Costs                         10/15/08, Ex. 50         125463
7420   2000        Letter from Dey to State Medicaid              R. Reid, 12/15/08, Ex. DEY-MDL-0105083-     Expect
                   Administrator, sent to Ohio and other states   Dey 621                  89
                   regarding drug pricing
7421   2000        New Hampshire System Print Screen              L. Farrand, 10/28/08,   NH00905             May
                                                                  Ex. Dey 89
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 117 of 356




7422   2000       Report of Virginia Medicaid on Evaluation of M. Paccione, 3/28/08,                    May
                  the Department of Medical Assistance Services Ex. Abbott 902
                  Prescription Drug Reimbursement
7423   2000       Section of binder received by NH with AWPs L. Farrand, 10/28/08,      NH04330-04404   May
                  and WACs from Department of Justice           Ex. Dey 90

7424   2000       United States Food and Drug Administration   Dey S.J., 6/26/09, Ex.                May
                  publication Approved Drug Products, 20th ed. 18
                  (2000)
7425   2000       Vermont State Plan Amendment 00-09           A. Rugg, 12/15/08, Ex. HHD040-0196    May
                                                               Dey 30
7426   2000       Document titled OIG-RPT, MED-GUIDE 1997- M. Butt, 2/8/10, Ex.       NYCO AWP NYDOH May
                  2 MED-GUIDE TB ¶45,559, Medicaid             Butt 16                06440-6444
                  Pharmacy: Actual Acquisition Cost of Generic
                  Prescription Drug Products
7427              INTENTIONALLY LEFT BLANK
7428   2000       Alabama Department of Public Health Annual                                         May
                  Report 2000
7429   5/9/2000   Myers & Stauffer Report - Independent        Previously disclosed                  May
                  Accountant's Report on Applying Agreed-Upon with Expert Report of
                  Procedures Related to the Oklahoma State and Bradford
                  Education Employees Group Insurance Board's
                  Pharmacy Benefit Manager for Calendar Year
                  1999
7430   2000       National Pharmaceutical Council,                S.Schondelmeyer,                      May
                  Pharmaceutical Benefits under State Medical     2/27/09, Ex. Roxane
                  Assistance Programs                             Schondelmeyer 2
7431   2000       Medicare, Medicaid, and SCHIP Benefits                                                May
                  Improvement and Protection Act of 2000
                  (BIPA), P.L. 106-554, App. F, 114 Stat. 2763,
                  2763A-522 (2000)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 118 of 356




7432   2000        AdminaStar pricing array for Ipratropium                                AWP034-1742       May
                   Bromide
7433   1/2000      Dey Monthly Sales Report                      Dey S.J. Opp., 8/28/09, DL-TX-80995-81060   May
                                                                 Ex. 318
7434   1/1/2000    Excerpt from Arkansas State Plan Amendment S. Bridges, 12/10/08,      ARK00003068-81      May
                   99-03 with cover letter                       Ex. Bridges 7
7435   1/1/2000    Georgia Department of Community Health,       J. Dubberly,                                May
                   Division of Medical Assistance, Part II,      12/15/2008, Ex.
                   Policies and Procedures for Pharmacy Services Georgia 11

7436   1/2000      Kaiser Family Foundation Report, The Role of   WI, Defs' Joint S.J.     WI-Prod-AWP-103702-May
                   PBMs in Managing Drug Costs: Implications      Resp., 1/15/08, Ex. 25   103772
                   for a Medicare Drug Benefit
7437   1/2000      AdminaStar pricing array for Albuterol                                  AWP039-2420       May
7438   1/1/2000    DMERC A pricing array for Cromolyn                                      AWQ057-0432-33    May
7439   1/1/2000    DMERC A pricing array for Cromolyn                                      AWQ057-0500       May
7440   1/1/2000    DMERC A pricing array for Cromolyn                                      AWQ057-0503       May
7441   1/1/2000    DMERC A pricing array for Cromolyn                                      AWQ057-1180       May
7442   1/1/2000    Massachusetts Medicaid State Plan                                       HHD168-0207-209   May
                   Amendment 00-006
7443               INTENTIONALLY LEFT BLANK
7444               INTENTIONALLY LEFT BLANK
7445   1/6/2000    Letter from Walmart to Arkansas Dep't of       S. Bridges, 12/11/08,    ARK00003245-7     May
                   Human Services                                 Ex. Roxane 37
7446               INTENTIONALLY LEFT BLANK
7447   1/13/2000   Claim #56801250901-Albuterol Sulfate           D. Campana, 8/21/2008,                     May
                   Inhalation Solution, 0.083%, 3ML NDC           Ex. Campana 63
                   #49502069703
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 119 of 356




7448   1/15/2000   DHFS Memorandum from Peggy Bartels to All WI, Trial, DTX 945         WI-Prod-AWP-034755-May
                   Pharmacies, Dispensing Physicians, HMOs,                             860
                   and Blood Banks, re: Replacement Pages for
                   the Part J Provider Handbook (Transmittal J-
                   28)
7449   1/25/2000   Montana Medicaid email fowarding email from MT, D. Poulsen,          MT 016117-18       May
                   Arkansas Medicaid Director to other Directors 2/22/06, Ex. Poulsen 7
                   regarding chain pharmacy discounts

7450   1/27/2000   Email communication among Mark-Richard        M. Butt, 2/8/10, Ex.   NYCO AWP NYDOH May
                   Butt, Carl Cioppa, Ray Hanley, and Donna      Butt 18                9725-9727
                   Farlow
7451   1/27/2000   HCFA Memorandum from N. Tapay to              Previously disclosed   HHC020-1550-51     May
                   Associate Regional Administrator, Region X,   with Expert Report of
                   Seattle, Attn: Medicaid Branch                Bradford
7452   1/27/2000   Email from D. Consiglio to D. Hine, D.        CT, E. Dudley,         CT0031513          May
                   Dudgley and others                            6/22/2005, Ex. Dudley
                                                                 19
7453   1/28/2000   Letters between T. Trimble and J. Brunson,    ID, G. Duerr, 12/3/09, ID004853 - 4862    May
                   Administrator Division of Medicaid Dept. of   Ex. Duerr 20
                   Health and Welfare with attachment
7454               INTENTIONALLY LEFT BLANK
7455               INTENTIONALLY LEFT BLANK
7456   1/31/2000   Plan Approval from Dep't of Health and Human S. Bridges, 12/11/08,   ARK00003068-71     May
                   Services to Ray Hanley                       Ex. Roxane 36
7457   02/2000     Dey Monthly Sales Report                     Previously disclosed    DL-TX81061-81136   May
                                                                with Expert Report of
                                                                Stiroh
7458   2/1/2000    Vermont Medicaid State Plan Amendment 00-                            HHD040-0195-96     May
                   09
7459   2/14/2000   Excerpt from Arkansas State Plan Amendment S. Bridges, 12/10/08,     ARK00003057-67     May
                   2000-02                                      Ex. Bridges 10
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 120 of 356




7460   2/14/2000   Email from K. Kuhmerker to M. Butt with           M. Butt, 2/8/10, Ex.     NYCO AWP NYDOH May
                   handwritten annotations                           Butt 19                  12352
7461   2/16/2000   Letter from Patrick E. Lupinetti, NAMFCU          Dey S.J., 6/26/09, 231   HHD006-0109-   May
                   Drug Pricing Team, to Medicaid Pharmacy                                    HHD006-0111
                   Director
7462   2/18/2000   Medicaid Cost Control Options Legislative         ID, G. Duerr, 12/3/09,   ID047788-7792    May
                   Intent Language, Revised 2-18-2000                Ex. Duerr 33
7463   2/22/2000   Fax letter from Peter Kellison from California    K. Gorospe, 3/19/08,     CAAG/DHS0077185 - May
                   Advocates, Inc., to Ellen Corbett, a California   Ex. Gorospe 9            0077188
                   State Legislator,
7464   2/22/2000   Survey Results of Wholesale Prices for            A. Hiramatsu, 6/11/09, HI_HI 000009003-   May
                   Selected Infusion, Injectable and Inhalation      Ex. Hiramatsu 109      9289
                   Drugs for Establishment of Corrected "AWP"
                   & "WAC" by First DataBank, United States
                   Department of Justice, Main Justice

7465   2/23/2000   Connecticut Medicaid General Pharmacy        CT, Warrick S.J,              CT0037460-80     May
                   Information                                  6/1/2006, Ex. 68
7466               INTENTIONALLY LEFT BLANK
7467   2/25/2000   Medi-Cal Fee-For-Service Drug                K. Gorospe, 3/19/08,          CAAG/DHS0071684 - May
                   Cost/Utilization Control Options             Ex. Gorospe 21                0071692
7468   2/28/2000   Letter from George Reeb, Assistant Inspector A. Chapman,                   HHD029-0047       May
                   General for Health Care Financing Audits, to 12/15/2008, Ex. Dey
                   Allen Chapman, Pharmacist, Pharmacy Dep't of 363
                   Health Care Policy and Financing

7469   2/28/2000   OIG letter to Montana Medicaid regarding          MT, Defs' Joint S.J.,  MT013790        May
                   pharmacy acquisition costs survey                 2/8/07, Ex. 37
7470   2/29/2000   Fax from Myers & Stauffer to Kentucky             A. Hansen, 3/8/08, Ex. KY_DMS_M&S_0003 May
                   Medicaid regarding proposed change in             Hansen 23              20-328
                   dispensing fee
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 121 of 356




7471   03/2000     Dey Monthly Sales Report                       Previously disclosed    DL-TX81137-81202    May
                                                                  with Expert Report of
                                                                  Stiroh
7472   3/2000      Report on the Proceedings of the Task Force on K. Gorospe, 3/19/08,    CAAG/DHS0071578 - May
                   Medi-Cal Drug Costs                            Ex. Gorospe 10          0071627
7473   3/1/2000    Arkansas Medicaid State Plan Amendment 99-                             HHC010-0691       May
                   23
7474               INTENTIONALLY LEFT BLANK
7475   3/7/2000    Connecticut Medicaid memo regarding            CT, Warrick S.J,        CT0025096-101       May
                   pharmacy program                               6/1/2006, Ex. 67
7476   3/7/2000    Memo from L. Voghel to D. Parrella re:         CT, E. Dudley,          CT0025096-101       May
                   CONFIDENTIAL: Pharmacy Management              6/22/2005, Ex. Dudley
                   Programs Document                              17
7477   3/8/2000    California Health & Human Services Medi-Cal K. Gorospe, 12/3/08,       CAAG/DHS0075392- May
                   Drug Task Force Draft Proposed Agenda          Ex. CA-Gorospe 2        408

7478               INTENTIONALLY LEFT BLANK
7479   3/9/2000    HCFA Press Release re: Competition to Help      D. Tawes, 12/2/08, Ex. HHD157-0084 -0086   May
                   Medicare Protect Quality, Reduce Medical        Roxane 160
                   Supply Costs in San Antonio
7480   3/9/2000    Letter from Calvin G. Cline, Associate          M. Terrebonne,         JD-SUB-LA-001697- May
                   Regional Administrator, Division of Medicaid    11/7/08, Ex. DOJ 3     99; ATP005-0218-20
                   and State Operations, to Ben Bearden, Acting
                   Director, Bureau of Health Services Financing
                   with enclosure
7481   3/13/2000   Anda invoice                                    J. Lockwood, 7/23/08, VAC MDL 43248        May
                                                                   Ex. Roxane 95
7482   3/14/2000   Letter No. FY2001-003_MD from Dave              D. Campana, 8/20/2008, AWP-AK-00000513-    May
                   Campana to Dispensing Providers                 Ex. Campana 51         14
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 122 of 356




7483   3/15/2000   Email and attachment from D. Mitchell to S.    CA, S. Rosenstein,      CAAG/DHS-           May
                   Rosenstein and J. Kelly                        11/6/08, Ex. Rosenstein E0015114-17
                                                                  19
7484   3/17/2000   Analysis of Why the United States Should                               DL-TX-0095512-49    May
                   Decline Intervention in United States ex rel.
                   [Relator] v. [Defendants] (S.D. Fla.) (Under
                   Seal)
7485   3/20/2000   AdminaStar pricing array for Ipratropium                                AWP034-0857        May
                   Bromide
7486   3/28/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    DEY-LABS-0415614 Expect
                   Administrator                                 112
7487   3/28/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    WI-Prod-AWP-128871 May
                   Administrator                                 132
7488               INTENTIONALLY LEFT BLANK
7489   3/28/2000   Dey Price Notification Letter re: AWP and                               ID 028399          Expect
                   WAC
7490   3/31/2000   Letter from Robert Mozak to Medicaid          M. Jones, 12/8/08, Ex.    R1-014902-903      Expect
                   Administrator regarding price change          Dey 331
                   notification for Dey products
7491   3/31/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09 Ex.     WI-Prod-AWP-128273 Expect
                   Administrator, dated March 31, 2000           133

7492   4/2000      AdminaStar pricing array for J7618 (Albuterol) C. Eiler, 8/26/08, Ex.   AWP033-0353        May
                                                                  Eiler 9
7493   4/1/2000    AdminaStar pricing array for J7619             C. Eiler, 8/26/08, Ex.   AWP039-2835        May
                                                                  Eiler 5
7494   4/1/2000    AdminaStar pricing array for J7619             C. Eiler, 8/26/08, Ex.   AWP033-0247        May
                                                                  Eiler 10
7495   04/2000     Dey Monthly Sales Report                       Previously disclosed     DL-TX81203-81268   May
                                                                  with Expert Report of
                                                                  Stiroh
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 123 of 356




7496   4/2000     First DataBank NDDF (National Drug Data   K. Chadwick, 10/23/07, FDB-AWP 06295-   May
                  File)™ Documentation Manual               Chadwick Ex. 12        7027

7497   4/2000     Print-out from Red Book™ for Windows®     D. Thompson, 9/30/08, HHD005-0374       May
                                                            Ex. Thompson 6

7498   4/2000     Print-out from Red Book™ for Windows®     D. Thompson, 9/30/08, HHD005-0366-      May
                                                            Ex. Thompson 7        HHD005-0370

7499   4/1/2000   DMERC A pricing array for J7644                                AWQ057-0034-35     May
7500   4/1/2000   DMERC A pricing array for J7644                                AWQ057-0047        May
7501   4/1/2000   DMERC A pricing array for J7644                                AWQ057-0077        May
7502   4/1/2000   DMERC A pricing array for J7644                                AWQ057-0099        May
7503   4/1/2000   DMERC A pricing array for J7644                                AWQ057-0108        May
7504   4/1/2000   DMERC A pricing array for J7644                                AWQ057-0140-41     May
7505   4/1/2000   DMERC A pricing array for J7644                                AWQ057-0156        May
7506   4/1/2000   DMERC A pricing array for J7644                                AWQ057-0428        May
7507   4/1/2000   DMERC A pricing array for J7644                                AWQ057-0499        May
7508   4/1/2000   DMERC A pricing array for J7644                                AWQ057-0501        May
7509   4/1/2000   DMERC A pricing array for J7644                                AWQ057-0508        May
7510   4/1/2000   DMERC A pricing array for J7644                                AWQ057-1019        May
7511   4/1/2000   DMERC A pricing array for J7644                                AWQ057-1049        May
7512   4/1/2000   DMERC A pricing array for J7644                                AWQ057-1161        May
7513   4/1/2000   DMERC A pricing array for J7644                                AWQ057-1181        May
7514   4/1/2000   DMERC A pricing array for J7618                                AWQ057-1046        May
7515   4/1/2000   DMERC A pricing array for J7618                                AWQ057-1125        May
7516   4/1/2000   DMERC A pricing array for J7618                                AWQ057-1158        May
7517   4/1/2000   DMERC A pricing array for J7618                                AWQ057-1178        May
7518   4/1/2000   DMERC A pricing array for J7618                                AWQ057-0031        May
7519   4/1/2000   DMERC A pricing array for J7618                                AWQ057-0044        May
7520   4/1/2000   DMERC A pricing array for J7618                                AWQ057-0074        May
7521   4/1/2000   DMERC A pricing array for J7618                                AWQ057-0095        May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 124 of 356




7522   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-0104        May
7523   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-0137        May
7524   4/1/2000    DMERC A pricing array for J7618                                       AWQ057-0152        May
7525               INTENTIONALLY LEFT BLANK
7526   4/5/2000    Fax from Ven-A-Care of the Florida Keys, Inc. R. Vito, 2/6/08, Ex.    VAC MDL 43246-49   May
                   to Rob Vito                                   Roxane 37
7527   4/8/2000    Oklahoma Medicaid State Plan Amendment 00-                            HHD312-0127-130    May
                   02
7528   4/12/2000   Letter from Jones to Pharmacy Provider (and                           ALMED-673071-      May
                   associated documents)                                                 673079
7529   4/14/2000   Red Book™ Database Services Database          K. Minne, 11/18/08, Ex. CAMylan03471964-   May
                   Overview Manual                               Minne 77                2033
7530   4/18/2000   Email exchange between Diane Dunstan and                              HHC004-0129        May
                   Cindy Pelter regarding Reimbursement SPA

7531   4/18/2000   Bill Analysis of Bill No. AB 1915          CA, S. Rosenstein,                            May
                                                              11/6/08, Ex. Rosenstein
                                                              14
7532   4/27/2000   Collection of emails                                                 VDP_0650143-        May
                                                                                        VDP_0650152
7533   4/28/2000   Letter from Dey to HCFA re: enclosed 2000 Q1                         DL-BO-163693-94   Expect
                   AMPs
7534   5/1/2000    Comparison between the DOJ AWPs and          S. Kramer, 3/25/08, Ex.                   May
                   Michigan's Pricing                           Abbott 671
7535   5/1/2000    Cover memo sheet from Stan Rosenstein to Joe K. Gorospe, 3/19/08,    CAAG/DHS0072839 - May
                   Kelley, Kim Gates, and Charleen Milburn      Ex. Gorospe 11          0072843

7536   05/2000     Dey Monthly Sales Report                   Previously disclosed      DL-TX81269-81333    May
                                                              with Expert Report of
                                                              Stiroh
7537               INTENTIONALLY LEFT BLANK
7538               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 125 of 356




7539   5/11/2000   Email chain and attachments between D.          KY, D. Bahr, 1/30/08, KY_DMS_000000001 May
                   Green, D. Bahr and others                       Ex. Bahr 53             17379-117389
7540   5/12/2000   Article from The Wall Street Journal entitled   B. Vladeck, 5/4/07, Ex.                May
                   Medicare Monitor: How a Whistle-Blower          Abbott 165
                   Spurred Pricing Case Involving Drug-Makers

7541   5/17/2000   Medi-Cal Contracting Section; Pharmacy          K. Gorospe, 9/22/08,     CAAG/DHS 0068437- May
                   Pricing Calculation Examples Chart              Ex. Gorospe 56           38
7542   5/23/2000   Email between D. Bahr, S. Gaston and others     KY, D. Bahr, 1/30/08,    KY_DMS_000000001 May
                                                                   Ex. Bahr 57              25921
7543   5/24/2000   Email exchange between West Virginia            WV, Trial, DTX 24        WVDHHRAWP         May
                   Medicaid officials regarding PEIA and                                    16492
                   Pharmacy reimbursement
7544   5/24/2000   HCFA Change Management System Change          R. Nieman, 10/11/07, AWP039-2512-15          May
                   Request (CR) Form                             Ex. Abbott 352
7545   5/25/2000   Email from Cody Wiberg (Minnesota             MT, D. Poulsen,        MT 013240             May
                   Medicaid) to National Medicaid Pharmacy       2/22/06, Ex. Poulsen 1
                   Administrators regarding State MAC definition

7546   5/25/2000   Letter from National Pharmacy Association       MT, D. Poulsen,         MT028879-80        May
                   groups to Montana Medicaid regarding new        2/22/06, Ex. Poulsen 26
                   AWPs
7547   5/26/2000   E-mail from Ted Collins to Carrie Gray          WI, Defs' Joint S.J.     WI-PROD-AWP-      May
                                                                   Resp., 1/15/08, Ex. 55   050848-852
7548   5/26/2000   Letter from Carlo Michelotti to Stan Rosenstein K. Gorospe, 3/19/08,     CAAG/DHS0076413   May
                                                                   Ex. Gorospe 13
7549   5/28/2000   Connecticut Medicaid memo regarding             CT, Warrick S.J.,        CT0027118-21      May
                   additional pharmaceutical initiatives           6/1/2006, Ex. 76
7550   5/31/2000   Letter from Donna Shalala to Tom Bliley,        N. DeParle, 5/18/07,     HHC001-0359-62    May
                   Chairman of the House of Representatives        Ex. Abbott 213
                   Commerce Committee
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 126 of 356




7551   6/2000     A Survey of Dispensing and Acquisition Costs Previously disclosed   KY_DMS_ 125348-       Expect
                  of Pharmaceuticals in the Commonwealth of    with Expert Reports of 125456
                  Kentucky, prepared by Myers & Stauffer       Bradford & Stiroh

7552   6/2000     Compilation of emails between State Medicaid KY, D. Bahr, 1/29/08,     KY_DMS_ 117 221-   May
                  directors regarding DOJ AWPs                 Ex. Bahr 56               117270
7553   06/2000    Dey Monthly Sales Report                     Previously disclosed      DL-TX81335-81399   May
                                                               with Expert Report of
                                                               Stiroh
7554              INTENTIONALLY LEFT BLANK
7555   6/2000     OIG report entitled Medicare Reimbursement Dey S.J., 6/26/09, Ex.                         Expect
                  of Albuterol (OEI-03-00-00311)               52

7556   6/5/2000   Letter from Phil Kremer to Jimmy D. Helton re. KY, Boyd 6/4/2008, Ex. KYDMSPL_0064452- May
                  Travel/14th Annual Medicaid Pharmacy           8                      54
                  Administrators Meeting
7557   6/5/2000   Draft Pharmacy Pricing Project                 MA, S. Grossman,       MA003291-95      May
                                                                 10/24/07, Ex. MPha 4
7558   6/8/2000   Letter from Mercer Consulting to Connecticut CT, Warrick S.J.,        CT0018423-48     May
                  Medicaid enclosing Mercer "Pharmaceutical      6/1/2006, Ex. 75
                  Pricing Review" for Connecticut

7559   6/8/2000   Letter from Y. Cross to M. Starkowski and       CT, E. Dudley,        CT0018423-448       May
                  others attaching report "State of Connecticut   6/22/2005, Ex. Dudley
                  Pharmaceutical Pricing Review"                  18

7560   6/9/2000   Memo from Jan Hamilton to State Medicaid      K. Gorospe, 3/19/08,     CAAG/DHS0076407 - May
                  Drug Program Administrators                   Ex. Gorospe 12           0076412
7561   6/9/2000   Florida Agency for Health Care Administration FL, J. Wells, 5/25/04,   OAG FL0030877     May
                  (AHCA) Contract Management CSR Control Ex. Wells 60
                  No. 0232 - AWP Pricing Change
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 127 of 356




7562   6/12/2000   Email from Robert Niemann to Maureen Hoppa R. Nieman, 10/11/07,                           May
                                                                 Ex. Abbott 353
7563   6/12/2000   Letter from Consultec to Florida Medicaid     FL, J. Wells, Jerry,    OAG-FL-0030874-76   May
                   regarding reimbursement logic change          5/25/04, Ex. Wells 61
7564   6/14/2000   Contact Report with handwritten notes         R. Nieman, 10/11/07, HHC001-0671-76         May
                                                                 Ex. Abbott 356
7565   6/14/2000   Redacted HCFA Memorandum from Robert          Defs' Common S.J.       HHD340-0002-04      May
                   Berenson, Director of Center for Health Plans Resp., 8/28/09, Ex. 200
                   and Providers, to HCFA Administrator re:
                   Medicare Average Wholesale Price (AWP) for
                   Drug Pricing
7566   6/15/2000   AdminaStar pricing array for Albuterol                             AWP034-0838            May
7567   6/15/2000   AdminaStar pricing array for Albuterol                             AWP034-0846            May
7568   6/15/2000   AdminaStar pricing array for Ipratropium                           AWP034-0858            May
                   Bromide
7569   6/19/2000   Letter from Robert Day, Kansas Medicaid     Produced by Kansas     KHPA034605/4606        May
                   Director, to Pharmacy Providers
7570   6/20/2000   Document prepared by Cindy Pelter: "New     Defs' Common S.J.       HHC001-0657-60        May
                   AWPs - State by State Information and       Resp., 8/28/09, Ex. 149
                   Reactions - 06/20/00"
7571   6/20/2000   Memo to Labbe from Campana                  D. Campana, 8/21/2008, AWP-AK-00000639-       May
                                                               Ex. DC US 9            41

7572   6/21/2000   AMA Letter from Walley to Bajardi and Lurie                        ALMED 354351    May
                   re: June 7 letter
7573   6/22/2000   Email from Cody Wiberg to National Medicaid KY, D. Bahr, 1/30/08, KY_DMS_000000001 May
                   Pharmacy Administrators regarding NAMFCU Ex. Bahr 54               25947-48
                   drug pricing issues
7574   6/23/2000   Email from David Shepherd to Martha McNeill D. Duzor, 2/27/08, Ex.                 May
                   forwarding an email from Cody Wiberg        Abbott 492
                   regarding NAMFCU drug pricing issues
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 128 of 356




7575   6/23/2000   Handwritten Note attaching letter from Apria   F. Tetkowski,          MD 0003220-33       May
                   Health Care to Governor of Maryland            12/11/2008, Ex. Abbott
                                                                  Maryland 36
7576   6/23/2000   Email from Shepherd re: NAMFCU Drug                                   MT 028841 -028843  May
                   Pricing Issue
7577   6/26/2000   Compilation of documents related to          J. Parker, 11/18/08, Ex. AWP-IL-00016902-14 May
                   complaints about Illinois Medicaid reducing  Abbott Parker 5
                   reimbursement
7578   6/26/2000   Email from Cody Wiberg to National Medicaid C. Wiberg, 3/14/08, Ex. KYDMSPL_0101086 May
                   Pharmacy Administrators                      Abbott 651
7579   6/26/2000   Memo from Matt Powers, Administrator,                                 AWP IL 00002592-   May
                   Division of Medical Programs (IDFPA) to Ann                           AWP IL 00002595
                   Patla, IDPA Director re State Plan Amendment
                   00 11, Average Wholesale Price Pricing
                   Changes; Attachment 4.19B
                   Transmittal Form and Letter from Ann Patla,
                   IDPA Director to Vera Drivalas, Illinois
                   Medicaid Programs Representative (HCFA)
                   Region 5 enclosing State Plan Amendment 00
                   11


7580   6/27/2000   Email from Beverly Parker to Robert Niemann R. Berenson, 12/18/07, HHC001-0661            May
                                                               Ex. Abbott 444

7581   6/30/2000   Georgia Dept of Community Health by Deloitte J. Dubberly,                                 May
                   & Touche                                       12/15/2008, Ex.
                                                                  Georgia 18
7582   6/30/2000   Letter from Dey to Hon. T. Bliley regarding    TX, Z. Bentley,        R1-022917-20        May
                   request for documents regarding prices charged 7/25/02, Ex. Bentley
                   for prescription drugs marketed by Dey         278
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 129 of 356




7583   07/2000    Dey Monthly Sales Report                   Previously disclosed     DL-TX81400-81467   May
                                                             with Expert Report of
                                                             Stiroh
7584   7/1/2000   Florida Agency for Health Care             Dey S.J., 6/26/09, Ex.   HHC008-0015        May
                  Administration’s State Plan Amendment,     254
                  Transmittal No. 2000-13
7585   7/2000     GAO Report - Use of Revised "Inherent      Dey S.J., 6/26/09, Ex.                      May
                  Reasonableness" Process Generally          179
                  Appropriate (GAO/HEHS-00-79)
7586   7/2000     Kaiser Family Foundation Report entitled   A. Maxwell, 6/10/09,                        May
                  "Prescription Drug Trends, a chartbook"    Ex. Dey Maxwell 2
7587   7/2000     Print-out from Red Book™ for Windows®      D. Thompson, 9/30/08, HHD006-0740-          May
                                                             Ex. Thompson 5        HHD006-0741

7588   7/2000     Print-out from Red Book™ for Windows®      D. Thompson, 9/30/08, HHD006-0711-          May
                                                             Ex. Thompson 4        HHD006-0716

7589   7/1/2000   Mississippi State Plan Amendment 2000-03                            HHD087-4920-31     May
                  relating to reimbursement
7590   7/1/2000   DMERC A pricing array for J7619                                     AWQ057-1047        May
7591   7/1/2000   DMERC A pricing array for J7619                                     AWQ057-1126        May
7592   7/1/2000   DMERC A pricing array for J7619                                     AWQ057-1159        May
7593   7/1/2000   DMERC A pricing array for J7619                                     AWQ057-0032        May
7594   7/1/2000   DMERC A pricing array for J7619                                     AWQ057-0045        May
7595   7/1/2000   DMERC A pricing array for J7619                                     AWQ057-0075        May
7596   7/1/2000   DMERC A pricing array for J7619                                     AWQ057-0097        May
7597   7/1/2000   DMERC A pricing array for J7619                                     AWQ057-0105        May
7598   7/1/2000   DMERC A pricing array for J7619                                     AWQ057-0138        May
7599   7/1/2000   DMERC A pricing array for J7619                                     AWQ057-0153        May
7600   7/1/2000   AdminaStar pricing array for Albuterol                              AWP033-0246        May
7601   7/2000     AdminaStar pricing array for Albuterol                              AWP033-0248        May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 130 of 356




7602   7/1/2000    Connecticut Medicaid State Plan Amendment                              HHC006-0338        May
                   00-006
7603   7/1/2000    Tennessee Medicaid State Plan Amendment                                HHD090-3671-72     May
                   2000-6
7604   7/10/2000   Myers & Stauffer Technical Proposal for       A. Hansen, 12/10/08,     KYDMSPL1022485-    May
                   Medicaid Pharmacy Dispensing Fee Audit for Ex. Abbott-Hansen 4         1022552
                   the Kentucky Medicaid Program
7605   7/11/2000   Email between Kentucky Medicaid officials     KY, Defs' Joint S.J.,    BABR-043164-043168 May
                   forwarding draft issue paper on prescription  10/15/08, Ex. 55
                   drug reimbursement
7606   7/18/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   DEY-BO0018899-904 Expect
                   Administrator                                 114
7607   7/18/2000   Letter from Robert F. Mozak to State Medicaid M. Jones, 12/8/08, Ex.   R1-014883-884      Expect
                   Administrator                                 Dey 332
7608   7/18/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    WI-Prod-AWP-128269-Expect
                   Administrator                                 134                       270
7609   7/18/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.    DEY-WI-0121379-90; May
                   Administrator                                 263                       DEY-MDL-0105083-
                                                                                           94
7610   7/18/2000   Dey letter to State Medicaid Administrators re:                         DEY-AL 0140622     Expect
                   Albuterol Inhalation Aerosol                                            014633
7611   7/19/2000   Spreadsheet entitled "Catalog Drug Prices"      D. Tawes, 12/13/07, Ex. HHD005-0131- 0136 May
                                                                   Roxane 22
7612   7/21/2000   2000 Pharmacy Program Survey, Response by KY, D. Bahr, 1/29/08, KYDMSPL 64133-151 May
                   Kentucky                                        Ex. Bahr 26
7613   7/25/2000   Email from Phil Kremer to Jimmy D. Helton       KY, Boyd 6/4/2008, Ex. KY_DMS_000000001 May
                   regarding Pharmacy Issue Paper on Acquisition 13                        26898-126905
                   Costs
7614   7/28/2000   Letter to Donna Shalala, Secretary of DHS,      N. DeParle, 5/18/07,    AS00359-362        May
                   signed by 91 Members of Congress                Ex. Abbott 220
7615   7/28/2000   Letter and enclosed 2000 Q2 AMPs from Dey                               DL-BO-164117-129 Expect
                   to HCFA
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 131 of 356




7616   08/2000    Dey Monthly Sales Report                      Previously disclosed     DL-TX81468-81533   May
                                                                with Expert Report of
                                                                Stiroh
7617   8/2000     White Paper by Dey titled "The Limitations of                          DL-WO-00036-51     May
                  AWP and the Implications for the Medicare
                  and Medcaid Programs"
7618   8/2000     Kansas Pharmacists Association (KPhA)                                  KHPA023080/3081    May
                  Newsletter
7619   8/2/2000   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   DEY-LABS-0415537- May
                  Administrator, dated August 2, 2000           115                      542

7620   8/4/2000   Letter and attached sign-in sheet from Stuart R. Nieman, 9/14/07, Ex. HHD042-0423-24      May
                  Wright to Neil Donovan regarding Request for Abbott 313
                  Exit Conference: "Medicare Reimubursement
                  of Prescription Drugs OEI-03-00-00310"

7621   8/6/2000   Article from New York Times -                 Roxane S.J., 6/26/09,                       May
                  “Administration Plans Cuts in Some Drug       Ex. 117
                  Payments"
7622   8/8/2000   Report titled "Cost Control for Prescription  WI, D. Kreling,          WI-Prod-AWP-103680-May
                  Drug Programs: Pharmacy Benefit Manager       12/4/08, Ex. Kreling 7   698
                  PBM Efforts, Effects, and Implication" by
                  David Kreling (Prepared for the Department of
                  Health and Human Services)

7623   8/9/2000   Letter from Myers & Stauffer to Kentucky   KY, A. Hansen, Ex.          KYDMSPL1033627-    May
                  Medicaid regarding Pharmacy Dispensing Fee Hansen 27                   1033644
                  Audit Proposal Clarification
7624   8/9/2000   Karen Braman, Kansas Medicaid, Testimony                               KHPA041364/1368    May
                  before the SRS Transition Oversight
                  Committee
7625              INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 132 of 356




7626   8/15/2000   Letter from National Association for Medical R. Berenson, 12/18/07, AWP039-2749-50              May
                   Direction of Respiratory Care to Robert      Ex. Abbott 445
                   Berenson
7627   8/15/2000   Transmittal and Notice of Approval of State                         HHC014-0839-844             May
                   Plan Material for Utah State Plan Amendment
                   UT-00-012 and related materials

7628   8/16/2000   Letter from Lynn Donovan at Hawaii DHS to HI, Donovan, 7/20/09,            HI_HI 000015097-99   May
                   Byron Yoshino, President and CEO of             ex. Donovan 58
                   Pharmacare, in response to Yoshino's letter,
                   dated 8/7/00 (attached)
7629   8/23/2000   Draft Proposal for the Aggregated Prescription, P. Jeffrey, 6/14/07, Ex.   MA003514-25          May
                   Drug Purchase Program                           Jeffrey 11
7630   09/2000     Dey Monthly Sales Report                        Previously disclosed       DL-TX81551-81617     May
                                                                   with Expert Report of      DL-TX 81535-81550
                                                                   Stiroh
7631               INTENTIONALLY LEFT BLANK
7632   9/8/2000    Letter from Nancy-Ann Min DeParle to            N. DeParle, 5/18/07,                            May
                   Members of Congress                             Ex. Abbott 215
7633   9/8/2000    The Lewin Group Report - Impact of Proposed R. Vito, 2/5/08, ex.           AWP 039-2751-61      May
                   AWP Reductions on the Provision of Home         Abbott 469
                   Drug Therapies to Medicare and Medicaid
                   Patients
7634   9/12/2000   AdminaStar pricing array for Albuterol                                     AWP034-0839          May
7635   9/12/2000   AdminaStar pricing array for Albuterol                                     AWP034-0847          May
7636   9/12/2000   AdminaStar pricing array for Ipratropium                                   AWP034-0859          May
                   Bromide
7637   9/18/2000   Letter from Congressman Edolphus "Ed"           N. DeParle, 5/18/07,       HHC003-0352-53       May
                   Towns to Nancy-Ann DeParle                      Ex. Abbott 219
7638   9/18/2000   Letter from Vermont Medicaid to HCFA            A. Rugg, 12/15/08, Ex.                          May
                   regarding State Plan Amendment 00-306           Dey 24
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 133 of 356




7639   9/18/2000   Various related documents, both internal IDPA                           AWP IL 00010160-   May
                   and from IDPA to HCFA regarding the State                               AWP IL 00010164
                   Plan Amendment
7640   9/18/2000   Letter from C. Rice to J. Hansen                                        DL-WO-00001-02     Expect
7641   9/18/2000   Letter from C. Rice to Senator Dodd                                     DL-WO-00006-07     Expect
7642   9/18/2000   Letter from C. Rice to Congressman                                      DL-WO-00008-09     Expect
                   Greenwood
7643   9/18/2000   Letter from C. Rice to J. White                                         DL-WO-00010-11     Expect
7644   9/18/2000   Letter from C. Rice to S. Christensen                                   DL-WO-00013-14     May
7645   9/18/2000   Letter from C. Rice to Congressman Johnson                              DL-WO-00015-16     Expect

7646   9/18/2000   Letter from C. Rice to M. Castillo                                      DL-WO-00017-18     Expect
7647   9/18/2000   Letter from C. Rice to H. Canevari                                      DL-WO-00019-20     Expect
7648   9/18/2000   Letter from C. Rice to D. Fisher                                        DL-WO-00023-24     Expect
7649   9/18/2000   Letter from C. Rice to J. McManus                                       DL-WO-00025-26     Expect
7650   9/18/2000   Letter from C. Rice to L. Elder                                         DL-WO-00027-28     Expect
7651   9/18/2000   Letter from C. Rice to Congressman Thompson                             DL-WO-00031-32     Expect

7652   9/18/2000   Email chain among T. Couch, J. Spillers, et al. Previously disclosed    HHC004-0131-37     Expect
                   re: Comments on SC SPA 00-009                   with Expert Report of
                                                                   Helms
7653   9/19/2000   Letter from C. Rice to B. Andresen                                      DL-WO-00021-22     May
7654   9/22/2000   Department of Health and Family Services        WI, Trial, DTX 292      WI-Prod-AWP-117906-Expect
                   2001-2003 Biennial Budget Issue Paper,                                  09
                   Medicaid Cost of Drugs
7655   9/25/2000   Letter and attached documents from Tom          N. DeParle, 5/18/07,    TX-ABT0002973-     May
                   Bliley to Nancy-Ann Min DeParle                 Ex. Abbott 218          3132
7656   9/26/2000   Letter from C. Rice to Congressman Coburn                               DL-WO-00003-05     May

7657   9/27/2000   Letter and attachments from Robert Berenson, R. Berenson, 12/18/07, HHD101-1198-1204       Expect
                   HCFA, to Randy Robin, Home Care Supply       Ex. Dey 34
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 134 of 356




7658   9/27/2000   Email from Margaret Mueller to Susan Mcann   MO, R. Mankin,         Mo028086-85         May
                   re. Pharmacy Cost Containment Ideas and      10/17/07, Ex. Missouri
                   attachment                                   83
7659   9/28/2000   Entrance Conference                          A. Chapman,            HHD029-0040         May
                                                                12/15/2008, Ex. Dey
                                                                364
7660   9/28/2000   Pharmacy Technical Advisory Group Meeting H. Tomlinson, 11/4/08, MO.028120-137          May
                   Minutes                                      Ex. Abbott 1155
7661               INTENTIONALLY LEFT BLANK
7662   10/1/2000   AdminaStar pricing array for J7631           C. Eiler, 8/26/08, Ex. AWP034-1732         May
                                                                Eiler 12
7663   10/2000     Dey Monthly Sales Report                     Previously disclosed   DL-TX 81618-81684   May
                                                                with Expert Report of
                                                                Stiroh
7664   10/1/2000   Montana State Plan Amendment 00-008 with MT, Defs' Joint S.J.,      MT014542-014544     May
                   drug reimbursement rate                      2/8/07, Ex. 22
7665   10/2000     Interim Report to the 77th Texas Legislature TX, Teva S.J.,                             May
                                                                10/30/09, Ex. 42
7666   10/2000     AdminaStar pricing array for Albuterol                              AWP033-1103-1106    Expect
7667   10/2000     AdminaStar pricing array for Albuterol                              AWP033-1107-1110    May
7668   10/2000     AdminaStar pricing array for Ipratropium                            AWP034-1128-1129    May
                   Bromide
7669   10/1/2000   DMERC A pricing array for Cromolyn                                  AWQ057-0046         May
7670   10/1/2000   DMERC A pricing array for Cromolyn                                  AWQ057-0076         May
7671   10/1/2000   DMERC A pricing array for Cromolyn                                  AWQ057-0098         May
7672   10/1/2000   DMERC A pricing array for Cromolyn                                  AWQ057-0471-72      May
7673   10/1/2000   DMERC A pricing array for Cromolyn                                  AWQ057-0506-07      May
7674   10/1/2000   Montana Medicaid State Plan Amendment 00-                           HHC013-0413         May
                   008
7675   10/2/2000   Letter and attachments from HCFA to Mr. Alan R. Berenson, 12/18/07, HHD101-1307-14      May
                   K. Parver                                    Ex. Abbott 447
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 135 of 356




7676   10/2/2000   Connecticut Department of Social Services     CT, E. Dudley, 5/16/05, CT0019910-11       Expect
                   Interoffice Memorandum from Mike              Ex. Dudley 2
                   Starkowski, Deputy Commissioner, to Evelyn
                   Dudley
7677   10/2/2000   CSR Form; attached is an email from E. Dudley CT, E. Dudley,          CT 0012591-92      May
                   to E. Geary and others dated 9/29/2000        6/22/2005, Ex. Dudley
                                                                 23
7678   10/3/2000   Letter and attachments from American          R. Berenson, 12/18/07, AWP039-2746-71      May
                   Association for Homecare to Dr. Adrian Oleck, Ex. Abbott 446
                   DMERC Regional B
7679   10/5/2000   Supplemental Analysis of Why the United                               DL-TX-0095550-70   May
                   States Should Decline Intervention in United
                   States ex rel. Ven-A-Care v. Abbott
                   Laboratories, No. 95-1354-CIV-GOLD (S.D.
                   Fla.) (Under Seal)
7680   9/8/2000    HCFA Program Memorandum to                    R. Clark, 2/8/08, Ex.    AWP010-0875-96    Expect
                   Intermediaries/Carriers regarding An          Abbott 487
                   Additional Source of Average Wholesale Price
                   Data in Pricing Drugs and Biologicals Covered
                   by the Medicare Program (Transmittal AB-00-
                   86)
7681   10/12/2000 Chart titled Comparisons of Fees Based on     C. Helton, 3/13/08, Ex.   AWP039-2847-48    Expect
                  HCFA AWP and Red Book AWP                     Roxane 56
7682   10/13/2000 Letter and attachment from Barbara Douglas to C. Helton, 3/13/08, Ex.   AWP039-2776-79    May
                  Robert Niemann                                Roxane 57
7683   10/13/2000 Letter and attachment from Robin Stone to     R. Stone, 2/29/08, Ex.    AWP039-2781-86    May
                  Robert Niemann                                Roxane 45
7684   10/15/2000 Letter from Cheryl Eiler, DMERC Region B      R. Nieman, 10/11/07,      AWP039-2772-86    May
                  Pricing Specialist, to Robert Niemann, HCFA Ex. Abbott 357
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 136 of 356




7685   10/24/2000 Letter from Kentucky Medicaid to State       KY, D. Bahr, 1/29/08,   KY_DMS_140188-     May
                  Senator transmitting Meyers & Stauffer       Ex. Bahr 15             140230
                  Pharmacy Cost Study presentation
7686   10/24/2000 Letter from Kentucky Medicaid to State       KY, D. Bahr, 1/29/08,   KY_DMS_140127-     May
                  Senator transmitting Meyers & Stauffer       Ex. Bahr 16             140187
                  Pharmacy Cost Study presentation
7687   10/25/2000 Fax from The Lewin Group, Inc. to Luis Cobo TX, M. Jones, 10/8/02,   R1-012403-414      May
                  attaching an article dated 9/8/00, entitled  Ex. Jones 293
                  "Impact of Proposed AWP Reductions on the
                  Provision of Home Drug Therapies to Medicare
                  and Medicaid Patients"

7688   10/27/2000 American Society of Consultant Pharmacists   WI, C. Decker,          PSW 00004224-227   May
                  memo to State Pharmacy Association           12/11/06, PSW Ex. 7
                  Executives
7689   10/30/2000 Letter and attached document from Jeremy     D. Thompson, 9/30/08, DEY-LABS-0307378- May
                  Massett to Judy Allison                      Ex. Thompson 11       81

7690   10/30/2000 Letter and enclosed 2000 Q3 AMPs from Dey                            DL-BO-164490-93    Expect
                  to HCFA
7691   10/30/2000 Letter and enclosed 2000 Q3 AMPs from Dey                            DEY-LABS-0307378- Expect
                  to CMS                                                               81
7692   10/30/2000 Letter from Dey to NYS EPIC program re:                              DEY-LABS-0307382- Expect
                  enclosed 2000 Q3 AMPs                                                83
7693   11/2000    Dey Monthly Sales Report                     Previously disclosed    DL-TX81685-81697 Expect
                                                               with Expert Report of
                                                               Stiroh
7694              INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 137 of 356




7695   11/3/2000   Memorandum from Stuart Wright to Neil          D. Tawes, 4/25/07, Ex. HHD006-0541          May
                   Donovan re: Start Notice and Request for       Dey 18
                   Entrance Conference: The Effect of More
                   Accurate Average Wholesale Prices on
                   Medicaid Drug Payments (OEI-03-01-00010)

7696              INTENTIONALLY LEFT BLANK
7697   11/6/2000 Email between Phil Hinton, Marianne Lewis, K. Gorospe, 3/19/08,           CAAG/DHS0076371 - May
                  Doug Hillblom and Jenny Juarez, with            Ex. Gorospe 14           0076376
                  Governor's Action Request
7698   11/14/2000 HCFA Program Memorandum,                        Dey S.J., 6/26/09, Ex.   HHD084-0695-       May
                  Intermediaries/Carriers, Transmittal No. AB-00- 173                      HHD084-0696
                  110
7699   11/15/2000 Idaho's Medicaid Program; Response to the       ID, G. Duerr, 12/3/09,   ID038308-8317      Expect
                  evaluation                                      Ex. Duerr 24
7700   11/17/2000 HCFA Program Memorandum,                        Dey S.J., 6/26/09, Ex.   HHD004-0022-       Expect
                  Intermediaries/Carriers, Transmittal No. AB-00- 183; Abbott Ex. 1007     HHD004-0023
                  115
7701   11/20/2000 Letter from Pharmacists Society of the State of M. Butt, 2/8/10, Ex.     NYCO AWP NYDOH Expect
                  New York to K. Fuller, NYS DOH                  Butt 22                  8138 - 8139

7702   11/21/2000 SPA; Louisiana, Supersedes 99-12                M. Terrebonne,           HHD076-0038        May
                                                                  11/7/08, Ex. DOJ 4
7703   11/21/2000 Summary of Illinois Medicaid Meeting with       J. Parker, 11/18/08, Ex. AWP-IL-00016922-   May
                  Illinois Retail Merchant Association and the    Roxane 13                925
                  Illinois Pharmacy Association
7704   11/28/2000 Letter from Illinois Retail Merchants        J. Parker, 11/18/08, Ex. AWP-IL-00007596       May
                  Association to Illinois General Assembly     Abbott Parker 2
                  Members regarding Pharmacy Dispensing Fees
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 138 of 356




7705   11/28/2000 Letter from HCFA to South Carolina Medicaid                           HHD090-1694-95    May
                  regarding State Plan Amendment 00-09 relating
                  to reimbursement
7706   12/1/2000 A Survey of Acquisition Costs of               Previously disclosed    KY_DMS_ 125504- Expect
                  Pharmaceuticals in the Commonwealth of        with Expert Report of 125546
                  Kentucky, prepared by Myers & Stauffer        Stiroh
7707   12/1/2000 A Survey of Dispensing Costs of                Previously disclosed    KY_DMS_ 125547- Expect
                  Pharmaceuticals in the Commonwealth of        with Expert Report of 125618
                  Kentucky, prepared by Myers & Stauffer        Stiroh
7708   12/2000    Dey Monthly Sales Report                      Previously disclosed    DL-TX 81751-81816 May
                                                                with Expert Report of
                                                                Stiroh
7709   12/1/2000 Letter from Kentucky Medicaid to Governor      KY, Defs' Joint S.J.,   KY_DMS_ 140122- May
                  and Legislative Research Commission           10/15/08, Ex. 56        140125
                  forwarding Myers & Stauffer dispensing and
                  acquisition cost reports
7710   12/1/2000 Memo from West Virginia Medicaid to All        WV, Trial, DTX 27       WVDHHR 0002506- May
                  Pharmacy Providers regarding change in drug                           2519
                  pricing methodology
7711   12/4/2000 Summary of reports criticizing AWP prepared J. Parker, 11/18/08, Ex. AWP-IL-0002715-716 May
                  by Illinois Medicaid official                 Roxane 14
7712   12/7/2000 Letter from OIG to Wheat Ridge Regional        A. Chapman,             HHD016-1163-67    May
                  Center and an attached invoice                12/15/2008, Ex. Dey
                                                                365
7713   12/14/2000 Email from G. Duerr to National Medicaid      ID, G. Duerr, 12/3/09, KYDMSPL 0087284 May
                  Pharmacy Administrators                       Ex. Duerr 22
7714              INTENTIONALLY LEFT BLANK
7715   12/15/2000 HCFA Letter from C. Kasriel to B. Sharpe      FL, R. Sharpe, 6/15/06, AHCA PR5 1963-65 May
                                                                Ex. 332
7716   12/20/2000 Letter from Robert A. Vito to Sandy Kramer    S. Kramer, 3/25/08, Ex.                   May
                  with completed Questionnaire                  Abbott 670
7717   12/20/2000 AdminaStar pricing array for Albuterol                                AWP034-0848       May
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 139 of 356




7718   12/29/2000 Letter from Ann Patla, IDPA Director, to Vera                            AWP IL 00002545-   May
                  Drivalas, Illinois Medicaid Programs                                     AWP IL 00002551
                  Representative, HCFA, Region 5 enclosing
                  State Plan Amendment 00 15 and replacement
                  for State Plan Amendment 00 11; Legal Notice,
                  Proposed Changes in Methods and Standards;
                  Transmittal and Notice of Approval of State
                  Plan Material; Attachment 4.19B


7719   12/29/2000 Illinois, 24 Illinois Register 18999, Illinois   Previously disclosed                       May
                  Administrative Code Citation: 89 Ill. Admin      with Expert Report of
                  Code 140                                         Bradford
7720              INTENTIONALLY LEFT BLANK
7721   2001       Analysis of possible changes to Nebraska         G. Cheloha, 12/2/08,    NEB1166-1168       May
                  Medicaid                                         Ex. Dey 916
7722   2001       Article entitled “Prescription Drugs Under       MT, Dey S.J., 2/7/07,                      May
                  Medicare: The Legacy of the Task Force on        Ex. Z
                  Prescription Drugs, Part I,” published in the
                  Journal of Research in Pharmaceutical
                  Economics
7723               INTENTIONALLY LEFT BLANK
7724               INTENTIONALLY LEFT BLANK
7725               INTENTIONALLY LEFT BLANK
7726               INTENTIONALLY LEFT BLANK
7727   2001        Excerpt from 2001 Red Book                   R. Stone, 10/14/09, Ex.                       May
                                                                Roxane 254
7728   2001        HCFA Approval Letter and Hawaii State Plan A. Hiramatsu, 5/1/08, HHC016-0336-43            May
                   Amendment 01-004                             Ex. Hiramatsu 47
7729   2001        HCFA approval letter for Illinois State Plan J. Parker, 11/18/08, Ex. HHC009-1316-1335     May
                   Amendment 01-015 and associated documents Roxane 19
                    Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 140 of 356




7730   2001     Illinois State Plan Amendment 01-15       J. Parker, 11/18/08, Ex. AWP-IL-00002749-52 May
                                                          USA 8
7731   2001     Memorandum from Mike Boushon to Peggy     WI, Trial, DTX 177       WI-Prod-AWP-097939-May
                Bartels                                                            42
7732   2001     New Hampshire State Plan Amendment 01-011 L. Farrand, 10/28/08,    NH00030-00041      May
                and related materials                     Ex. Dey 82
7733   2001     North Carolina State Plan Amendment 01-25 L. Weeks, 10/21/08, Ex.                     May
                                                          USA 13
7734   2001     OIG State Medicaid Pharmacy Reimbursement A. Rugg, 12/15/08, Ex. HHD122-1666-1667 May
                Survey completed by Vermont               Dey 7

7735   2001     Oregon Medicaid State Plan Amendment 01-     K. Ketchum, 12/15/08, OR_HC_00000001-        May
                012 and related materials                    Ex. Roxane 4          009

7736   2001     Provider Bulletin from Robert J. Seiffert,   G. Cheloha, 12/2/08,      NEB0096-0103       May
                Nebraska Medicaid, to all Participating      Ex. Dey 915
                Pharmacy Providers
7737   2001     Summary/Narrative for Contractors Pricing    P. Walker, 3/12/08, Ex.                      May
                Report, Transmittal Number: 2001-673         Roxane 48
7738            INTENTIONALLY LEFT BLANK
7739   2001     Agency for Health Care Administration 2001   FL, G. Crayton,           AHCA PR5 2600-06   May
                Bill Analysis - HB 743                       5/15/06, Ex. Crayton
                                                             281
7740   2001     Alabama Medicaid Agency - FY 2001 Annual                          ALMED-376347-397 May
                Report
7741   2001     Iowa Pharmacy Association Medicaid                                Iowa-AWP-023150- May
                Prescription Fee Survey                                           023152
7742   3/2001   Myers & Stauffer Report - An Evaluation of Previously disclosed                    Expect
                Medicaid Pharmaceutical Management Options with Expert Reports of
                for the State of Louisiana                 Bradford & Stiroh
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 141 of 356




7743   6/2001     Myers & Stauffer Report - A Survey of       Previously disclosed                          Expect
                  Acquisition Costs of Pharmaceuticals in the with Expert Reports of
                  State of Arkansas                           Bradford & Stiroh
7744   6/2001     Myers & Stauffer Report - A Survey of       Previously disclosed                          May
                  Dispensing Costs of Pharmaceuticals in the  with Expert Reports of
                  State of Arkansas                           Bradford & Stiroh
7745   2001       National Pharmaceutical Council,            Previously disclosed                          Expect
                  Pharmaceutical Benefits under State Medical with Expert Reports of
                  Assistance Programs                         Bradford & Stiroh
7746   11/2001    OIG Report - Review of Pharmacy Acquisition Previously disclosed                          May
                  Costs for Drugs Reimbursed Under the        with Expert Report of
                  Medicaid Prescription Drug Program of the   Stiroh
                  Texas Health and Human Services Commission
                  (A-06-01-00001)
7747   2001       Office of the Auditor, State of Hawaii,       A. Hiramatsu, 7/14/09,                      May
                  Finanical Audit of the Med-Quest Division of Ex. Hiramatsu 110
                  the Department of Human Services, Report No.
                  01-10, summary of the report
7748   1/1/2001   Attachment 4.19-B to state plan amendment     Roxane S.J., 6/26/09, HHC016-0342-0343      May
                                                                Ex. 195
7749   1/2001     Dey Monthly Sales Report                      Dey S.J. Opp., 8/28/09, DL-TX-80208-80272   May
                                                                Ex. 319
7750   1/1/2001   Georgia Department of Community Health,       J. Dubberly,                                May
                  Division of Medical Assistance, Part II,      12/15/2008, Ex.
                  Policies and Procedures for Pharmacy Services Georgia 12

7751   1/1/2001   Hawaii Department of Human Services’ State   Dey S.J., 6/26/09, Ex.   HHC016-0338 -       May
                  Plan Amendment, Transmittal No. 01-004       210                      HHC016-0343

7752   1/2001     Montana Medicaid Prescription Drug Program MT, Defs' Joint S.J.,      MT017041-017064     May
                  presentation                               2/8/07, Ex. 30
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 142 of 356




7753   1/2001     OIG report - Medicare Reimbursement of         Dey S.J., 6/26/09, Ex.                     May
                  Prescription Drugs (OEI-03-00-00310)           53; Abbott Ex. 1005
7754   1/2001     Print-out from Red Book™ for Windows®          Dey S.J. Opp., 8/28/09, HHD006-0703-       Expect
                                                                 Ex. 416                 HHD006-0710
7755   1/2001     Sample letters from pharmacists to Gov. Patton KY, Defs' Joint S.J.,   KY_DMS 131685,     May
                  and Sec. Helton regarding reconsideration of   10/15/08, Ex. 58        KY_DMS 131691,
                  reduction in dispensing fee                                            KY_DMS 131714,
                                                                                         KY_DMS 131724,
                                                                                         KY_DMS 131858
7756   1/1/2001   Amendment to Contract between Nevada and      NV, Defs' Joint S.J.,    NV019537-42        May
                  Merk-Medco for NV Public Employees'           2/8/07, Ex. 48
                  Benefit Program
7757   1/1/2001   Letter from HCFA to Hawaii DHS regarding      HI, Watson S.J.,         HI_HI000020395-402 May
                  Hawaii State Plan Amendment 01-004            8/25/09, Ex. 16

7758   1/2001     AdminaStar pricing array for Albuterol                                 AWP034-0843        May
7759   1/2001     AdminaStar pricing array for Albuterol                                 AWP033-0969-0972   May
7760   1/2001     AdminaStar pricing array for Ipratropium                               AWP033-0987-0988   May
                  Bromide
7761   1/1/2001   Massachusetts Medicaid State Plan                                      HHD168-0247-249    May
                  Amendment 01-002
7762   1/1/2001   West Virginia Medicaid State Plan Amendment                            HHD039-0536-40     May
                  00-11
7763   1/2/2001   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   DEY-BO0018909-12   May
                  Administrator                                 116
7764   1/2/2001   Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   WI-Prod-AWP-128245 Expect
                  Administrator                                 135
7765              INTENTIONALLY LEFT BLANK
7766              INTENTIONALLY LEFT BLANK
7767              INTENTIONALLY LEFT BLANK
7768              INTENTIONALLY LEFT BLANK
7769              INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 143 of 356




7770               INTENTIONALLY LEFT BLANK
7771               INTENTIONALLY LEFT BLANK
7772               INTENTIONALLY LEFT BLANK
7773   1/12/2001   66 Fed. Reg. 3176 (Jan. 12, 2001)                                                          May
7774   1/15/2001   Letter from American Pharmacy Services           KY, Defs' Joint S.J.,   KY_DMS_132609-    May
                   Corporation to Kentucky Medicaid regarding       10/15/08, Ex. 63        132610
                   request to reconsider dispensing fee reduction

7775   1/15/2001   Letter from Kentucky Retail Federation to        KY, Defs' Joint S.J.,   KY_DMS_132612     May
                   Kentucky Medicaid regarding dispensing fee       10/15/08, Ex. 64
                   reduction
7776   1/16/2001   Letter from Kentucky Pharmacists Association     KY, Defs' Joint S.J.,   KY_DMS_131433     May
                   to Kentucky Medicaid regarding request to        10/15/08, Ex. 62
                   withdraw dispensing fee reduction

7777   1/16/2001   Kentucky Medicaid State Plan Amendment 01-                               HHD087-3698-707   May
                   04
7778   1/17/2001   Letter from Kentucky State Senator to           KY, Defs' Joint S.J.,    KY_DMS_131310-    May
                   Governor regarding request to withdraw          10/15/08, Ex. 61         131314
                   dispensing fee reduction
7779   1/17/2001   Cabinet for Health Services, Compliance and KY, D. Bahr, 1/29/08,        KY_DMS_000000001 May
                   Implementation, KRS 205.561 Dispensing Fee Ex. Bahr 11                   40231
                   Study
7780   1/18/2001   HCFA Program Memorandum,                        D. Thompson, 3/28/08,    HHC007-0001-07    Expect
                   Intermediaries/Carriers, Transmittal No. AB-01- Ex. Abbott 1009
                   04, regarding Implementation of the National
                   Drug Code (NDC) to Process Claims for
                   Prescription Drugs and Biologicals and Request
                   for Comments--Advance Notice

7781   1/19/2001   West Virginia Medicaid Cost Saving Ideas for WV, Trial, DTX 28           WVDHHRAWP16336- May
                   Pharmacy                                                                 16338
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 144 of 356




7782   1/22/2001   Kentucky Medicaid memo regarding public         KY, Defs' Joint S.J.,    KY_AWP_KRF_ 2893-May
                   hearing on changes to reimbursement             10/15/08, Ex. 59         2894
                   regulation
7783   1/24/2001   Letter from Illinois Medicaid to HFCA           J. Parker, 11/18/08, Ex. AWP-IL-00010155-   May
                   regarding State Plan Amendment 0015             Roxane 12                159
7784               INTENTIONALLY LEFT BLANK
7785   1/25/2001   Illinois Medicaid interoffice memo regarding J. Parker, 11/18/08, Ex. AWP-IL-00017006-13 May
                   letter from pharmacist                          Abbott Parker 1
7786   1/26/2001   Letter from Dey to HCFA re: enclosed 2000 Q4                             DL-BO-164988-89    Expect
                   AMPs
7787   1/29/2001   Draft letter to the Medicaid pharmacy director, J. Fine, 12/9/08, Ex.    MD 0004553-56      May
                   state Medicaid agency for Maryland, from        Abbott Maryland 22
                   Patrick Lupinetti and others
7788               INTENTIONALLY LEFT BLANK
7789               INTENTIONALLY LEFT BLANK
7790   1/31/2001   Document titled "Region III Drug Reports 1991- R. Vito, 6/19/07, Ex.     HHD068-1498 - 1502 May
                   2001"                                           Roxane 230
7791   02/2001     Dey Monthly Sales Report                        Previously disclosed     DL-TX 80273-80337 May
                                                                   with Expert Report of
                                                                   Stiroh
7792   2/2/2001    Letter from Billie Waite, counsel for DSS, to MO, G. Vadner,             MO046607-09        May
                   Mitchel J. Lazris of Hogan and Hartson, LLP 10/13/07, Ex. Missouri
                                                                   154
7793   2/7/2001    Email from Ted Collins to Carrie Gray           WI, Trial, DTX 41        WI-Prod-AWP-065311 May

7794   2/7/2001    Letter from Kentucky State Senator to        KY, Defs' Joint S.J.,   KYDMSPL1021761-       May
                   Kentucky Medicaid regarding dispensing fee   10/15/08, Ex. 65        1021763
                   reduction
7795   2/19/2001   Document entitled "Survey Results as of      D. Tawes, 4/25/07, Ex. HHD006-0530-37         May
                   2/19/2001"                                   Abbott 142
7796               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 145 of 356




7797   2/21/2001   Letter from South Carolina Medicaid to HCFA Previously disclosed         HHD090-1689-91      May
                   regarding State Plan Amendment 00-09 relating with Expert Report of
                   to reimbursement                                Bradford
7798   2/28/2001   Medicaid Drug Rebate Invoice                    J. Walsh, 3/18/08, Ex.                       May
                                                                   Dey 53
7799   2/28/2001   Notice of Intent Statement of Consideration     KY, Defs' Joint S.J.,    KY_DMS_ 124510-     May
                   Relating to Kentucky Administrative             10/15/08, Ex. 43         124527
                   Regulation regarding public hearing on Feb. 28,
                   2001
7800   03/2001     Dey Monthly Sales Report                        Previously disclosed     DL-TX 80338-80403   May
                                                                   with Expert Report of
                                                                   Stiroh
7801   3/14/2001   National Association of Chain Drug Stores,      WI, Defs' Joint S.J.     WI-Prod-AWP-118997-May
                   Issue Briefs, printed from the NACDS website Resp., 1/15/08, Ex. 91      1199012

7802   3/14/2001   Letter from Wisconsin Governor to Walgreen      WI, C. Decker,           PSW 00005576-577    May
                   District Office                                 12/11/06, PSW Ex. 9
7803   3/22/2001   AdminaStar pricing array for Albuterol                                   AWP034-0849         May
7804   3/26/2001   Illinois Medicaid Second Notice of Proposed     J. Parker, 11/18/08, Ex. AWP-IL-00007712-    May
                   Rulemaking regarding drug reimbursement         Roxane 11                7729
                   changes
7805   3/29/2001   Work paper from OIG 1999 review                 P. Chesser, 10/28/08,    HHD022-0173-76      May
                                                                   Ex. Roxane 151
7806   3/29/2001   KPhA Government Affairs Report                  KY, D. Bahr, 1/29/08,    KPHA 929-933        May
                                                                   Ex. Bahr 22
7807   04/2001     Dey Monthly Sales Report                        Previously disclosed     DL-TX 80404-80470   May
                                                                   with Expert Report of
                                                                   Stiroh
7808   4/2001      Print-out from Red Book™ for Windows®           D. Tawes, 12/2/08, Ex.   HHD157-0218-19      May
                                                                   Roxane 162
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 146 of 356




7809   4/1/2001    Transmittal and Notice of Approval of State                           HHC014-0820-822   May
                   Plan Material for Utah State Plan Amendment
                   UT-01-004
7810   4/2001      The Amber Sheet, Utah State Medicaid DUR                              HHC014-0833-834   May
                   Committee, Volume 9, Number 2
7811   4/2001      AdminaStar pricing array for Albuterol                                AWP033-0849       May
7812   4/2001      AdminaStar pricing array for Ipratropium                              AWP033-0862       May
                   Bromide
7813   4/2001      Palmetto pricing array for Cromolyn                                   AWQ045-0542-45    May
7814   4/1/2001    Utah Medicaid State Plan Amendment 01-004                             HHC014-0771       May

7815   4/1/2001    Testimony of Matthew Sheffield, JD, NACDS, KY, D. Bahr, 1/30/08,      KYDMSPL 0114817 - May
                   Regional Manager, State Government Affairs Ex. Bahr 30                4819

7816   4/4/2001    Florida Medicaid State Plan Amendment 2000-                           HHD087-0937       May
                   13
7817   4/11/2001   Printout from a GPO website showing contract M. Jones, 12/8/08, Ex.   R1-024344-346     May
                   prices for the Subject Drugs                 Dey 321
7818   4/12/2001   Document entitled "Questions for HCFA-Larry S. Gaston, 3/19/08, Ex.   HHC004-0191 -     Expect
                   Reed/Sue Gaston"                             Abbott 753               HHC004-0192
7819   4/17/2001   Memorandum from HCFA to All Medicare         C. Eiler, 8/26/08, Ex.   AWP031-0526-28    May
                   Carriers and DMERCs                          Roxane 103
7820   4/18/2001   Letter from Jessie E. Spillers to Mark Trail J. Dubberly,                               May
                                                                12/15/2008, Ex.
                                                                Georgia 27
7821   4/23/2001   Testimony of American Pharmacy Services      A. Hansen, 3/8/08, Ex.   KYDMSPL_0114677- May
                   Corporation to Kentucky Medicaid regarding Hansen 36                  682
                   reimbursement
7822   4/24/2001   Letter from HCFA to Regional HCFA            Previously disclosed     HHD090-1686-88    May
                   Administrator regarding South Carolina State with Expert Report of
                   Plan Amendment 00-09                         Bradford
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 147 of 356




7823   4/26/2001   Email from Etta Hawkins to Jaumi Fiddiman      J. Dubberly,                                 May
                   and Mark Trail, Cc: Lori Garner                12/15/2008, Ex.
                                                                  Georgia 28
7824   4/27/2001   Chart entitled "Contacted"                     D. Tawes, 4/25/07, Ex. HHD006-0081-0082      May
                                                                  Abbott 141
7825   4/27/2001   Chart entitled "Response Query1"               D. Tawes, 4/25/07, Ex. HHD006-0122-0127      May
                                                                  Abbott 144
7826   4/27/2001   Letter and enclosed 2001 Q1 AMPs from Dey                             DL-BO-167264-68       Expect
                   to HCFA
7827   05/2001     Dey Monthly Sales Report                       Previously disclosed     DL-TX 80471-80527   May
                                                                  with Expert Report of
                                                                  Stiroh
7828   5/2001      GAO Report - DOD and VA Pharmacy:              Dey S.J., 6/26/09, Ex.                       May
                   Progress and Remaining Challenges in Jointly   43
                   Buying and Mailing Out Drugs (GAO-01-588)

7829   5/1/2001    Letter from C. Rice to Senator Feinstein                                DL-WO-00033         May
7830   5/1/2001    Letter from C. Rice to Congressman Thompson                             DL-WO-00035         May

7831   5/2001      OIG Report: “Review of Alabama State                                    ALMED-828 164-      May
                   Medicaid Agency Enhanced Payments to                                    828177
                   Public Hospitals for Fiscal Years 1997 to
                   2000,” A-04-00-02171 (May 2001)
7832               INTENTIONALLY LEFT BLANK
7833   5/8/2001    Letter from HCFA to South Carolina Medicaid                             HHD090-1677-85      May
                   approving State Plan Amendment 00-09
                   relating to reimbursement
7834   5/14/2001   Pharmacy Cost Saving                        P. Jeffrey, 6/14/07, Ex.    MA003442-48         May
                                                               Jeffrey 12
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 148 of 356




7835   5/15/2001   Email and attached document from R. Stone to Roxane S.J., 6/26/09,     AWQ029-000104-111 May
                   C. King, C. Eiler, C. Helton, B. Douglas, V. Ex. 173
                   Brantley regarding Drug Procedures

7836   5/16/2001   Email from Mary Nunn to Frank Spruill and M. R. Stone, 2/29/08, Ex.    AWP034-0453-61   May
                   Stoogenke re: Drug Pricing Information        Roxane 43
7837   5/16/2001   Fax cover sheet from Ven-A-Care to Rob Vito, M. Jones, 12/8/08, Ex.    VAC MDL 43204-207 May
                   message: "McKesson + Balan"                   Dey 323
7838   5/16/2001   Fax from Ven-A-Care to Rob Vito, dated May M. Jones, 12/8/08, Ex.      VAC MDL 43201-203 May
                   16, 2001                                      Dey 322
7839   5/16/2001   Generic Wholesale Service Agreement                                    CH0055539-60     May
7840   5/18/2001   Fax from Rhode Island Medicaid to HCFA        J. Young, 12/3/08, Ex.                    May
                   including correspondence regarding State Plan Roxanne 6
                   Amendment 95-05.
7841   5/18/2001   Fax from Dawn Claborn (Bureau of Program                               HHC009-1287-     May
                   and Reimbursement Analysis, IDPA) to Dave                              HHC009-1289
                   Brunell at HCFA, enclosing letter from Jackie
                   Garner, IDPA Director, to Cheryl A. Harris at
                   HCFA, regarding State Plan Amendment 00-15

7842   5/25/2001   Anda invoice                                  TX, M. Jones, 10/8/02, R1-027092          May
                                                                 Ex. Jones 303
7843   5/30/2001   Internet page printout from HCFA website Re: WI, Trial, DTX 305      WI-Prod-AWP-121278-May
                   Unit Rebate Amount (URA) Calculation;                                95
                   Rebate Agreement Between the Secretary of
                   Health and Human Services and the
                   Manufacturer Identified in Section XI of this
                   Agreement
7844   5/30/2001   Sign-in Sheet for the Entrance Conference re:   D. Tawes, 12/2/08, Ex. HHD157-0627      May
                   Excessive Medicare Reimbursement for            Roxane 167
                   Albuterol and Ipratropium Bromide
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 149 of 356




7845   5/31/2001   Letter from Rhode Island Medicaid to HCFA       J. Young, 12/3/08, Ex.                   May
                   regarding State Plan Amendment                  Roxanne 9
7846   5/31/2001   Agency for Health Care Administration           FL, R. Sharpe, 6/15/06, EKDWKIN00012504- May
                   Presentation by Bob Sharpe                      Ex. 329                 44
7847   6/2001      A Survey of Dispensing Costs of                 S. Bridges, 12/10/08,   ARK00006870-6932 Expect
                   Pharmaceuticals in the State of Arkansas        Ex. Roxane 15
7848   6/1/2001    Chart titled Summary of Allowed Charge          D. Tawes, 12/2/08, Ex. HHD157-0844-60    May
                   Based on The Distance from the Supplier         Roxane 165
                   Physicial Address for Selected Supplier
                   Numbers (Dates of Service: January 1, 2000 to
                   December 31, 2000)
7849   06/2001     Dey Monthly Sales Report                      Previously disclosed     DL-TX 80529-80594   May
                                                                 with Expert Report of
                                                                 Stiroh
7849   06/2001     Dey Monthly Sales Report                      Previously disclosed     DL-TX 80529-80594   May
                                                                 with Expert Report of
                                                                 Stiroh
7850   6/2001      Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   DEY-BO-0246811-12 May
                   Administrator                                 117
7851   6/1/2001    Yahoo! Yellow Pages Search Result for Certain D. Tawes, 12/2/08,       HHD157-0824-0832    May
                   Pharmacies and an attached Chart titled       Roxane Ex. 166
                   Supplier Summary (6 Digit) for Procedure
                   Codes K0518 (J7644) (Dates of Service:
                   January 1, 2000 to December 31, 2000)

7852               INTENTIONALLY LEFT BLANK
7853   6/1/2001    Georgia Medicaid State Plan Amendment 01-                              HHD087-2296-2302    May
                   001
7854   6/4/2001    Document entitled "Ipratropium Bromide          D. Thompson, 9/30/08, HHD181-0031          Expect
                   Wholesale Prices"                               Thompson Ex. 22
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 150 of 356




7855   6/4/2001    Spreadsheet titled Ipratropium Bromide AWP Dey S.J. Opp., 8/28/09, HHD181-0029            May
                   Prices, Source: April 2001 Red Book™ for       Ex. 413
                   Windows®
7856   6/4/2001    Wisconsin Legislative Fiscal Bureau Document K. Howell, 4/22/08,   HHC009-1030-35         May
                   entitled "Reimbursement Rates for Prescription Abbott Ex. 1073
                   Drugs (DHFS - Medical Assistance)"

7857               INTENTIONALLY LEFT BLANK
7858   6/18/2001   Email exchange between West Virginia          WV, Trial, DTX 030      WVDHHRAWP18142- May
                   Medicaid officials regarding OIG Pharmacy                             18143
                   Report
7859               INTENTIONALLY LEFT BLANK
7860               INTENTIONALLY LEFT BLANK
7861   6/22/2001   Letter from Jackie Garner, IDPA Director, to                          AWP IL 00002822-    May
                   Vera Drivalas, Illinois Medicaid                                      2826
                   Representative, Division of Medicaid and
                   Managed Care Programs, HCFA; Transmittal
                   and Notice of Approval of State Plan Material
                   for SPA 01 15; Attachment 4.19B for SPA 01
                   15; IDPA Interoffice Memo from Matt Powers,
                   Administrator, Division of Medical Programs
                   to Jackie Garner, Director


7862   6/22/2001   Transmittal of Illinois’ State Plan Amendment                         AWP IL 00017550-    May
                   to HCFA for approval                                                  17552
7863   6/29/2001   Internal email chain between Idaho Medicaid ID, G. Duerr, 12/3/09,    ID131936            May
                   personnel Re: pharmacy                        Ex. Duerr 6
7864   7/1/2001    Attachment 4.19-B to state plan amendment     Roxane S.J., 6/27/09,   HHD041-0065         May
                                                                 Ex. 197
7865   07/2001     Dey Monthly Sales Report                      Previously disclosed    DL-TX 80595-80660   May
                                                                 with Expert Report of
                                                                 Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 151 of 356




7866   7/2001      OIG Report - Cost Containment of Medicaid     Dey S.J., 6/26/09, Ex.                     Expect
                   HIV/AIDS Drug Expenditures (OEI-05-99-        38
                   00611)
7867               INTENTIONALLY LEFT BLANK
7868               INTENTIONALLY LEFT BLANK
7869   7/1/2001    State Plan Amendment No. 01-0009              WI, Defs' Joint          WI-Prod-AWP-027598-May
                                                                 Response, 1/15/08, Ex.   027605
                                                                 69
7870   7/1/2001    Transmittal and Notice of Approval of State   A. Chapman, 12/15/08,    HHC013-1128-30    May
                   Plan Material                                 Ex. Dey 361
7871   7/2001      Prescribed Drug Services Coverage,            FL, Wells, 12/16/04,     FL00000133-528    May
                   Limitations and Reimbursement Handbook        Ex. 1
7872   7/2001      AdminaStar pricing array for Albuterol                                 AWP033-0716       May
7873   7/2001      Palmetto pricing array for Cromolyn                                    AWQ045-0716-19    May
7874   7/1/2001    Colorado Medicaid State Plan Amendment 01-                             HHC013-1129-30    May
                   011
7875   7/1/2001    Maine Medicaid State Plan Amendment 01-009                             HHC006-0247       May

7876   7/1/2001    Wisconsin Medicaid State Plan Amendment 01-                            HHD075-0402-07    May
                   009
7877   7/1/2001    Wyoming Medicaid State Plan Amendment 01-                              HHD167-0310       May
                   004
7878               INTENTIONALLY LEFT BLANK
7879   7/13/2001   Email exchange between West Virginia        WV, Trial, DTX 031         WVDHHRAWP18284 May
                   Medicaid officials regarding Pharmacy
                   Reimbursement
7880   7/16/2001   Letter from Robert F. Mozak to Martha       Dey S.J., 6/26/09, Ex.                       May
                   McNeill                                     152
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 152 of 356




7881   7/18/2001   Transmittal and Notice of Approval of State                           HHD075-0037-       May
                   Plan Material for State Plan Amendment 00-15,                         HHD075-0041
                   effective 12/15/2000; Attachment 4.19B, pages
                   32-33 of State Plan Amendment 00-15; Legal
                   Notice/Public Notice of Proposed Changes in
                   Methods and Standards

7882   7/24/2001   Document entitled "Federal Upper Limit          S. Gaston, 3/19/08, NY HHD175-1073 -     May
                   System" with attachments                        Counties Defs Ex. 13   HHD175-1077

7883   7/26/2001   Letter and enclosed 2001 Q2 AMPs from Dey                             DL-BO-167577-79    Expect
                   to HCFA
7884   7/26/2001   Letter and enclosed 2001 Q2 AMPs from Dey                             DL-BO-167604-12    Expect
                   to NYS EPIC Program
7885   08/2001     Dey Monthly Sales Report                      Previously disclosed    DL-TX80661-80720   May
                                                                 with Expert Report of
                                                                 Stiroh
7886   8/1/2001    Document entitled "Final Regulations" by      S. Bridges, 12/10/08,   ARK00002640-46     May
                   Department of Human Services                  Bridges 008
7887   8/2001      Draft OIG report - Review of Pharmacy         MT, Defs' Joint S.J.,   MT013731-013743    May
                   Acquisition Costs for Drugs Reimbursed Under 2/8/07, Ex. 038
                   the Medicaid Prescription Drug Program of the
                   Montana Department of Public Health and
                   Human Services (A-06-01-00005)

7888   8/2001      OIG Report - Medicaid Pharmacy - Actual         T. Gustafson, 12/17/07, HHD079-0001-29   May
                   Acquisition Cost of Brand Name Prescription     Abbott Ex. 438
                   Drug Products (A-06-00-00023)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 153 of 356




7889   8/2001      Dana, Jr., James D., “Price Dispersion under Previously disclosed                   May
                   Demand Uncertainty,” International Economic with Expert Report of
                   Review, Volume 42, Number 3, pp. 649-670     Bradford

7890               INTENTIONALLY LEFT BLANK
7891   8/1/2001    Arkansas Medicaid State Plan Amendment 00-                          HHD122-0329      May
                   11
7892   8/6/2001    Email from J. Wells to G. Kitchens and B.    FL, Sharpe, 6/15/06,   EKDWKIN00031676 May
                   Sharpe re: 340B (PHS) pricing by Comm.       Ex. 333
                   Health Centers
7893   8/8/2001    Email between Illinois Medicaid officials    J. Parker, 11/18/08,   AWP-IL-00017334- May
                   regarding draft document on reimbursement    Roxane IL Ex. 15       335
                   and rebates
7894               INTENTIONALLY LEFT BLANK
7895               INTENTIONALLY LEFT BLANK
7896   8/9/2001    West Virginia Medicaid internal memo         WV, Trial, DTX 032     WVDHHRAWP18285- May
                   regarding pharmacy analysis on change in                            18306
                   reimbursement methodology
7897   8/15/2001   Kentucky Administrative Regulations Service, D. Bahr, 1/29/08, Bahr KY_DMS_124094 - May
                   Volume 9, Containing Kentucky                Ex. 20                 124102
                   Administrative Regulations in Effect as of
                   August 15, 2001
7898   8/17/2001   Document entitled "Federal Upper Limit       S. Gaston, 3/19/08, NY HHD175-1065 -    May
                   System" with attachments                     Counties Defs Ex. 11   HHD175-1071

7899   8/20/2001   E-mail from Kimberly Smithers to Carrie Gray WI, Defs' Joint SJ     WI-Prod-AWP-    May
                                                                Resp., Ex. 109         090174
7900   8/24/2001   Document entitled "Staff Action Cover Sheet" D. Duzor, 10/30/07,    HHC004-0222     May
                   regarding Medicaid Pharmacy-Actual           Abbott Ex. 370
                   Acquisition Cost of Generic Drug Products
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 154 of 356




7901   8/24/2001   E-mail from M.J. Terrebonne to Joe Reeder       M. Terrebonne,            JD-SUB-LA-000687- May
                   forwarding August 8, 2001, letter to Sandra     3/31/08, Ex. Abbott       92
                   Victor from Joe Reeder                          1057
7902   8/24/2001   Fax from Nicole Valentine at NACDS, Upper       N. Valentine, 7/19/07,    PSW_00010609-613     May
                   Midwest Regional Office, to Doug Johnson at     Valentine 9
                   WMP attaching two letters fron NACDS to
                   Governor Scott McCallum
7903   8/27/2001   Email from Teresa Revanna to George Grob,       R. Vito, 2/6/08, Roxane HHD 068-0636-37        May
                   Stuart Wright, Robert Vito, George Reeb, Ben    Ex. 28
                   Jackson, John Hagg, Bill Shrigley, Paul
                   Chesser, Deborah Holmes, Andrea Walker

7904   8/27/2001   Pharmacy Update Transmittal No. 54              S. Bridges, 12/10/08,     ARK00002742-70       May
                                                                   Bridges 011
7905   8/31/2001   Email from Teresa Revanna to Stuart Wright,     M. Jackson, 12/12/08,     HHD 068-0638 - 639   May
                   Rob Vito, and Ben Jackson, forwarding email     Dey Ex. 935
                   from Chuck Clapton to Teresa Revanna

7906   8/31/2001   Memorandum from Congressional Research          Roxane S.J., 6/26/09,                          May
                   Service to House Committee on Energy and        Ex. 111
                   Commerce - “Regulatory and Legislative
                   History of Medicare Drug Reimbursement
                   Based on Average Wholesale Price"

7907   8/31/2001   Wall Street Journal article entitled "Medicaid is M. Jackson, 12/12/08,   HHD 164-0089 - 90    May
                   Overpaying for Drugs," with handwritten           Roxane Ex. 211
                   notations
7908   09/2001     Dey Monthly Sales Report                          Previously disclosed    DL-TX80721-80783     May
                                                                     with Expert Report of
                                                                     Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 155 of 356




7909   9/2001      GAO Report - Medicare: Payments for Covered Roxane S.J., 6/26/09,                       Expect
                   Outpatient Drugs Exceed Providers’ Cost     Ex. 131

7910   9/2001      Medicaid Drug Rebate Operational Training    T. Bruce, 11/6/08, Dey DEY-BO0006569-822 May
                   Guide                                        Ex. 211
7911   9/2001      Medicaid Drug Rebate Operational Training    T. Bruce, 11/6/08, Dey                   May
                   Guide, prepared by CMS's Center for Medicaid Ex. 212
                   and State Operations, Finance, Systems and
                   Quality Group - Division of State Systems

7912               INTENTIONALLY LEFT BLANK
7913   9/2001      Medicaid Drug Rebate Operational Training    MA, P. Jeffrey,       MAKL000001-234       Expect
                   Guide                                        10/19/07, MA 005
7914   9/4/2001    Website printout regarding 2001 OIG Report A. Hiramatsu, 5/1/08, HI_HI 000015049-51     May
                   Suggesting Lower Acquisition Costs for Brand Ex. Hiramatsu 007
                   Drugs
7915   9/5/2001    Letter from Gordon Sato, Regional Inspector  A. Chapman, 12/15/08, HHC013-1110-11       May
                   General for Audit Services, to Roger Gunter  Ex. Dey 366

7916   9/6/2001    North Carolina Medicaid Pharmacy MAC List L. Weeks, 10/21/08,                           May
                   Discussion prepared by Mercer Consulting  Dey Ex. 063

7917   9/10/2001   Letter from Kentucky Medicaid to state          KY, M. Morgan,          KYLEG00809-00861 May
                   legislator transmitting Meyers & Stauffer       10/8/08, Morgan Ex.
                   Pharmacy Cost Study presentation                037
7918   9/10/2001   Letter to The Honorable Michael Bilirakis and   TX, C. Rice 10/30/01,                   May
                   The Honorable James Greeenwood, members         Rice 077
                   of the House Committee on Commerce, from
                   C. Rice declining invitation to appear before
                   the joint Energy and Commerce Subcommittee
                   on Investigations and Oversight, and Health
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 156 of 356




7919   9/10/2001   Letter to The Honorable Michael Bilirakis, The TX, C. Rice 10/30/01,   DL-TX-0095954 - 955 May
                   Honorable James Greeenwood from C. Rice re: Rice 576
                   appearance before the joint Energy and
                   Commerce Subcommittee on Investigations and
                   Oversight and Health
7920   9/10/2001   Fax and attachments from S. Hudspeth to T.                             DL-WO-00054-64     May
                   Dilenge
7921               INTENTIONALLY LEFT BLANK
7922               INTENTIONALLY LEFT BLANK
7923   9/13/2001   Letter from Richard Allen to Alex Trujillo    A. Chapman, 12/15/08, HHD038-1118,          May
                                                                 Ex. Chapman 006       HHD038-1114-15

7924   9/14/2001   Fax and attachments from S. Hudspeth to C.                          DL-WO-00067-75        May
                   Clapton
7925   9/15/2001   Work Paper File Checklist for Medicaid's Use D. Tawes, 4/25/07, Dey HHD006-0196 - 0199    May
                   of Revised AWPs (OEI-03-01-00010)             Ex. 19
7926   9/17/2001   Florida AHCA Memorandum from B. Sharpe Wells Ex. 66                 AHCA PR5 0014         May
                   to M. Hansen re: Medicaid payment for
                   prescription drugs
7927   9/18/2001   Email from Sandy Kramer to J. Simes and R. S. Kramer, 3/25/08, Ex. HHC009-0129-30         May
                   Huges at CMS                                  Abbott 673
7928   9/19/2001   DHS Letter from Cheryl Harris to Jackie       Previously disclosed  HHC009-1316-35        May
                   Garner enclosing an approved copy of Illinois with Expert Report of
                   State Plan Amendment Transmittal No. 01-015 Helms

7929   9/19/2001   Attachment 4.19B, pages 32-33, to State Plan                           HHC009-1318-19     May
                   Amendment 01-15
7930               INTENTIONALLY LEFT BLANK
7931   9/20/2001   AHCA Memorandum from B. Sharpe to M.         Ex. 323                   AHCA PR5 0089      May
                   Hansen re: Medicaid Payment for Prescription
                   Drugs
7932               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 157 of 356




7933   9/21/2001   GAO Report - Medicare Part B Drugs: Program S. Schondelmeyer,                          Expect
                   Payments Should Reflect Market Prices        2/25/09, Dey
                                                                Schondelmeyer Ex. 9
7934               INTENTIONALLY LEFT BLANK
7935   9/21/2001   Testimony of Thomas Connaughton Before the R. Vito, 2/5/08, Abbott                     May
                   Subcommittees on Health and Oversight &      Ex. 473
                   Investigations, Committee on Energy and
                   Commerce, regarding Medicare Drug
                   Reimbursements: A Broken System for Patients
                   and Taxpayers
7936   Multiple     Compilation of pages from various Alabama   L. Reed, 10/22/08,                        May
       dates (1992- State Plans Under Title XIX of the Social   Roxane Ex. 123
       2003)        Security Act

7937   9/26/2001   Fax from Maria Garza, Health Insurance       HI, Watson & Sandoz     HHD312-0303-312   May
                   Specialist at CMS, to Kim Howell attaching   S.J., 8/25/09, Ex. 8
                   Oregon's Proposed and Current State Plan
                   Amendments
7938   9/2001      OIG Report - Medicaid's Use of Revised       S. Gaston, 1/24/08,     HHD101-1266 -     May
                   Average Wholesale Prices (OEI-03-01-00010)   Abbott Ex. 455          HHD101-1285

7939   9/27/2001   Email from Maria Garza to Kimberly Howell HI, Watson & Sandoz HHD312-0294              May
                   regarding Oregon's SPAs                       S.J., 8/25/09, Ex. 9
7940   9/27/2001   Email from Jesse Anderson in Oregon to Maria HI, Watson & Sandoz HHD312-0295-0302      May
                   Garza at CMS regarding evaluation for SPA 01- S.J., 8/25/09, Ex. 10
                   12
7941   9/28/2001   Emails from                                   S. Gaston, 3/19/08, NY HHD175-0850 -     May
                   "FedUpperLimitForm@cms.hhs.gov" to            Counties Defs Ex. 4    HHD175-0852
                   "ful@cms.hhs.gov" regarding comments on
                   draft FUL prices
7942   10/2001     Alabama Medicaid Management Information Alabama, Trial, DTX ALMED-887440-              May
                   System Provider Manual                        6502                   888049
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 158 of 356




7943   10/2001     Dey Monthly Sales Report                      Previously disclosed     DL-TX 80784-80848   May
                                                                 with Expert Report of
                                                                 Stiroh
7944   10/2001     Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   DEY-BO-0254353      Expect
                   Administrator, dated October 2001             118

7945   10/2001     OIG Report - Review of Payments for          R. Stone, 2/29/08, Dey                        May
                   Inhalation Drugs Made By Region C Durable Ex. 121
                   Medical Equipment Regional Carrier (A-06-00-
                   00053)
7946   10/2001     Letter from Robert F.                        CA, Dey S.J., 11/25/09, DEY-BO-0254353        May
                   Mozak to State Medicaid Administrator        Ex. 37

7947   10/1/2001   Dey Price Notification Letter re: AWP                                  ID 026036-38        May
7948   10/1/2001   Transmittal and Notice of Approval of State    HI, Watson & Sandoz                         May
                   Plan Material, Oregon State Plan Amendment     S.J., 8/25/09, Ex. 12
                   #01-12
7949               INTENTIONALLY LEFT BLANK
7950   10/2001     AdminaStar pricing array for Albuterol                                 AWP033-0529         May
7951   10/2001     AdminaStar pricing array for Albuterol                                 AWP033-0530         May
7952   10/1/2001   DMERC A pricing array for Cromolyn                                     AWQ057-0033         May
7953   10/1/2001   DMERC A pricing array for Cromolyn                                     AWQ057-0106-07      May
7954   10/1/2001   DMERC A pricing array for Cromolyn                                     AWQ057-0139         May
7955   10/2001     Palmetto pricing array for Cromolyn                                    AWQ045-0661-63      May
7956               INTENTIONALLY LEFT BLANK
7957               INTENTIONALLY LEFT BLANK
7958   10/5/2001   Letter from Eric T. Michael to Marga Reinsch   FL, G. Vadner          MO050303-04          May
                   re. Maximum Allowable Cost Methodology         10/13/07, Missouri 159
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 159 of 356




7959   10/10/2001 Letter from NACDS to Cheryl Harris at CMS N. Valentine, 7/19/07,      NACDS-WI 0215-17   May
                  Re: Wisconsin Medicaid State Plan            Valentine 10
                  Amendment Reducing Pharmacy
                  Reimbursement
7960   10/10/2001 Letter from NACDS to Peggy Handrich at       N. Valentine, 7/19/07,                      May
                  DHHS regarding potential action by Wisconsin Valentine 14
                  Medicaid based on an August 2001 OIG report

7961   10/10/2001 Letter from National Association of Chain      B. Joyce, 12/12/08,                       May
                  Drug Stores to North Dakota Medicaid           USA Ex. 003
7962   10/12/2001 Chart titled Top 100 Counties by Allowed       D. Tawes, 12/2/08,     HHD157-0863-64     May
                  Charge for K0518 (Dates of Service: January 1, Roxane Ex. 164
                  2000 to December 31, 2000)
7963   10/12/2001 Document entitled "Federal Upper Limit         S. Gaston, 3/19/08, NY HHD175-0557 -      May
                  System" with attachments                       Counties Defs Ex. 12   HHD175-0559

7964   10/15/2001 Illinois Medicaid JCAR Staff Analysis      J. Parker, 11/18/08,       AWP-IL-00008066-67 May
                  regarding reimbursement changes            Roxane IL Ex. 017
7965   10/15/2001 Kentucky Administrative Regulation 907 KAR KY, Defs' Joint SJ,        KY_DMS_124721-     May
                  1:021E                                     10/15/08, Ex. 066          730
7966   10/15/2001 Idaho Medicaid State Plan Amendment 01-012                            HHC020-0861        May

7967   10/21/2001 1 Tex. Admin. Code 355.8541                                                              Expect
7968              INTENTIONALLY LEFT BLANK
7969   10/23/2001 Email from Jesse Anderson at Oregon           HI, Watson & Sandoz     HHD312-0318-320    May
                  Medicaid to Maria Garza regarding Oregon      S.J., 8/25/09, Ex. 11
                  SPA 01-12
7970   10/26/2001 Hawaii Administrative Rules, Sections 17-     HI, Watson S.J.,        DPW_HI00004135-    May
                  1739.1-2, 17-1739.1-11                        8/25/09, Ex. 5          162
7971              INTENTIONALLY LEFT BLANK
7972   10/29/2001 Letter and enclosed 2001 Q3 AMPs from Dey                             DL-BO-167997-99    Expect
                  to CMS
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 160 of 356




7973   10/30/2001 Contract for Services of Independent         NV, Defs Joint S.J.,    NV019549-68           May
                  Contractor between Nevada and Catalyst Rx    2/8/07, Ex. 042

7974   10/31/2001 Myers & Stauffer; Study of Medi-Cal             J. Gorospe, 5/6/09, Ex.- MS-CA0091871-89    Expect
                  Pharmacy Reimbursement Rates; Progress          Gorospe 045
                  Report
7975   11/2001    A Survey of Acquisition Costs of                KY, Defs' Joint MSJ,     KY_DMS_ 125619- Expect
                  Pharmaceuticals in the Commonwealth of          10/15/08, Ex. 029        125670
                  Kentucky, prepared by Myers & Stauffer
7976   11/2001    David Kreling, et al., Kaiser Family Foundation Previously disclosed     WI-Prod-AWP-113628-May
                  Report, Prescription Drug Trends, A Chartbook with Expert Report of 113690
                  Update                                          Bradford
7977   11/2001    Dey Monthly Sales Report                        Previously disclosed     DL-TX 80849-80926 May
                                                                  with Expert Report of
                                                                  Stiroh
7978   11/2001    Excerpt from the Henry J. Kaiser Family         Alabama, Trial, DTX                         May
                  Foundation report entitled "Prescription Drug 1176
                  Trends: A Chartbook Update"
7979   11/2001    Myers and Stauffer Report - A Survey of         Defs' Common S.J.        KY_DMS_ 169652- Expect
                  Dispensing Costs of Pharmaceuticals in the      Resp., 8/28/09, Ex. 101 169724
                  Commonwealth of Kentucky (Prepared for the
                  Kentucky Department for Medicaid Services)

7980   11/1/2001   Sign-in Sheet for the Exit Conference re:   D. Tawes, 12/2/08,      HHD157-0631           May
                   Excessive Medicare Reimbursement for        Roxane Ex. 168
                   Albuterol and Ipratropium Bromide
7981   11/2001     West Virginia Medicaid Pharmacy             WV, Trial, DTX 034      WVDHHRAWP18273- May
                   Reimbursement Talking Points                                        18276
7982   11/2001     Document titled "Outline for Meeting on     M. Butt, 2/8/10, Butt   NYCO AWP NYDOH May
                   11/21/01" with handwritten annotations      Ex. 24                  12005-06
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 161 of 356




7983   11/2001     Myers and Stauffer, A Survey of Acquisition HI, Watson & Sandoz          KY_DMS_000000001 Expect
                   Costs of Pharmaceuticals in the             S.J., 8/25/09, Ex. 14        38057-091
                   Commonwealth of Kentucky, Prepared for the
                   Kentucky Department for Medicaid Services

7984   11/2001     OIG Report - "Review of Pharmacy              A. Chapman, 12/15/08,                       May
                   Acquisition Costs for Drugs Reimbursed Under Ex. Dey 367
                   the Medicaid Prescription Drug Program of the
                   Colorado Department of Health Care Policy
                   and Financing" (A-06-01-00004)

7985   11/2001     OIG Report "Review of Pharmacy Acquisition                                                May
                   Costs for Drugs Reimbursed Under the
                   Medicaid Prescription Drug Program of the
                   Washington Department of Social and Health
                   Services" (A-06-01-00006), available at
                   http://oig.hhs.gov/oas/reports/region6/6010000
                   6.pdf

7986   11/2/2001   Email from Siri Childs to Distribution           A. Chapman, 12/15/08, KYDMSPL_0080120- Expect
                                                                    Ex. Dey 360           121
7987   11/2/2001   Email communication between Kimberly             K. Howell, 4/22/08,   HHC 020-0950     May
                   Howell and Maria Garza re: Idaho Pharmacy        Abbott Ex. 1078
                   SPA
7988   11/2/2001   Staff review form                                D. Bahr, 1/29/08, Ex.   KYDMS 124738-739 May
                                                                    Bahr 034
7989   11/6/2001   Checklist for Submitting Reports to              D. Tawes, 12/2/08,      HHD157-1054      May
                   Headquarters for IG Approval re: Excessive       Roxane Ex. 169
                   Medicare Reimbursement for Ipratropium
                   Bromide (OEI-03-01-00411)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 162 of 356




7990   11/8/2001   Email from Allan Hansen to Dr. Moore         KY, Defs' Joint SJ,   KY_DMS_122104-       May
                   transmitting model calculating profit for    10/15/08, Ex. 071     122105
                   pharmacies at various reimbursement levels
7991   11/9/2001   Emails between P. Jeffrey to D. Kreling      MA, P. Jeffrey, 6/14/07, MA001289          May
                                                                Ex. Jeffrey 010

7992              INTENTIONALLY LEFT BLANK
7993              INTENTIONALLY LEFT BLANK
7994              INTENTIONALLY LEFT BLANK
7995   11/21/2001 Email from Charlotte Yeh to Jerry Rogan,      R. Niemann, 10/11/07, AWP002-2015-19       May
                  Deborah Johnson, Arlene Kraus, Angel Chau,    Abbott Ex. 350
                  Jane Hite re: Using Multiple Dose Vials
                  (MDV) for Injection Calculations
7996   11/21/2001 Letter from Dana Martin to Nanette Foster-    FL, G. Vadner          MO012707-17         May
                  Reilly re. State Plan Amendment 01-45 and     10/13/07, Missouri 160
                  attachment
7997   11/26/2001 Email exchange between West Virginia          WV, Trial, DTX 035    WVDHHRAWP16204- May
                  Medicaid officials regarding reimbursement                          16205
                  change
7998   11/26/2001 Email from Cody Wiberg, Pharmacy Program      D. Duzor, 10/30/07,   HHD086-0016 -        May
                  Manager of Minnesota Department of Human      Abbott Ex. 380        HHD086-0019
                  Services, to other State Medicaid officials

7999   11/26/2001 Email communication between Maria Garza       K. Howell, 4/22/08,      HHC 020-0945-49   May
                  and Gary Duerr re: ID 01-012                  Abbott Ex. 1079
8000   11/26/2001 MA DMA Pharmacy Reimbursement, Talking        MA, P. Jeffrey, 6/14/07, MA001286          May
                  Points                                        Ex. Jeffrey 002

8001   11/26/2001 Draft MA DMA Pharmacy Reimbursement,          MA, P. Jeffrey, 6/14/07, MA0123448-52      May
                  Talking Points                                Ex. Jeffrey 014
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 163 of 356




8002   11/27/2001 Excerpt from an Anda, Inc. catalog              TX, M. Jones, 10/8/02, R1-027254            May
                                                                  Jones Ex. 300
8003   11/28/2001 Wholesaler invoice                              Roxane Ex. 200         R2-002422            May
8004   11/28/2001 Fax from Maria Garza to Kim Howell re:          K. Howell, 4/22/08,    HHC 020-0872-82      May
                  Myers and Stauffer Idaho Drug Acquisition       Abbott Ex. 1080
                  Study
8005   11/28/2001 Email communication between Maria Garza         K. Howell, 4/22/08,      HHC 020-0939-40    May
                  and Kimberly Howell re: ID 01-012               Abbott Ex. 1081
8006   11/28/2001 Email from P. Jeffrey forwarded to W.           MA, P. Jeffrey, 6/14/07, MA0001251          May
                  Warring, the prior email sent to distribution   Ex. Jeffrey 009

8007   11/29/2001 Memorandum in Support of Unopposed Ex            Dey S.J. Ex. 99                            May
                  Parte Application of the United States for an
                  Extension of Time to Intervene as of Right in
                  United States of America ex rel Ven-A-Care of
                  the Florida Keys, Inc. v. Dey Inc. et al., Civil
                  Action No. 00-10698 (D. Mass.)

8008   12/2001     Dey, L.P. December 2001 Notice of Price        M. Terrebonne,          DEY-MDL-0105071- Expect
                   Change                                         3/31/08, Ex. Dey 057    78

8009   12/2001     Chart entitled "Albuterol Sulfate (NDC 49502- D. Thompson, 9/30/08,                        May
                   0697-33) - December 2001"                     Thompson Ex. 23

8010   12/2001     Dey Monthly Sales Report                       Previously disclosed    DL-TX 80928-80992   May
                                                                  with Expert Report of
                                                                  Stiroh
8011               INTENTIONALLY LEFT BLANK
8012   12/2001     Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   WI-Prod-AWP-128225 Expect
                   Administrator, dated December 2001            136
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 164 of 356




8013   12/2001     OIG Report - Review of Pharmacy Acquisition D. Thompson, 9/30/08,                        May
                   Costs for Drugs Reimbursed Under the        Thompson Ex. 19
                   Medicaid Prescription Drug Program of the
                   Indiana Family and Social Services
                   Administration (A-06-01-00008)
8014   12/2001     OIG report - Review of Pharmacy Acquisition MA, P. Chesser,                              May
                   Costs for Drugs Reimbursed Under the        10/28/08, Roxane Ex.
                   Medicaid Prescription Drug Program of the   155
                   West Virginia Department of Health and
                   Human Resources (A-06-01-00007)

8015   12/2001     Letter from Dey to Pricing Database        K. Minne, 11/19/08,       Red Book 07021-22   Expect
                   Administrator re: New Product Announcement Minne Ex. 88

8016               INTENTIONALLY LEFT BLANK
8017   12/1/2001   Michigan Medicaid State Plan Amendment 01-                           HHD075-0143-154     May
                   015
8018   12/3/2001   Letter from Kentucky Medicaid to Governor    KY, Defs' Joint MSJ,    KYDMSPL 0079941- May
                   and Legislative Research Commission          10/15/08, Ex. 069       0079942
                   transmitting Myers & Stauffer dispensing and
                   acquisition cost reports
8019   12/4/2001   Email from M. Butt to K. Fuller              M. Butt, 2/8/10, Butt   NYCO AWP NYDOH May
                                                                Ex. 25                  09514
8020   12/5/2001   Email from HHS External Affairs to HHS-OIG- Alabama, Trial, DTX      ALMED-392246-48 May
                   Media regarding OIG's posting of five audit  277
                   reports and one corrected audit link
8021   12/5/2001   Letter from Montana Medicaid to OIG          MT, Defs' Joint S.J.,   MT013728            May
                   regarding OIG report findings                2/8/07, Ex. 039
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 165 of 356




8022   12/6/2001   Email from Scott Speer on behalf of John      AL, J. Rector, 8/29/07, ALMED-392229-241 May
                   Coster, Vice President, Federal and State     NCPA 6
                   Programs at NACDS, to various state Medicaid
                   agencies Re: Documents Responding to OIG
                   Report on Pharmacy's Acquisition Costs for
                   Branded Drugs, attaching the 12/6/01 letter
                   from NACDS to HHS Re: Analysis by
                   University of Texas of OIG Report on Brand
                   Name Drug Acquistion Costs and a report by
                   the Center for Pharmacoeconomic Studies at
                   the University of Texas at Austin entitled "A
                   Review of HHS Office of Inspector General
                   Report: Medicaid Pharmacy--Actual
                   Acquisition Cost of Brand Name Prescription
                   Drug Products"


8023   12/7/2001   Florida AHCA CSR re: PDL Incentive Fee       FL, Sharpe, 6/15/06,    AHCA PR5 0095     May
                                                                Ex. 334
8024              INTENTIONALLY LEFT BLANK
8025              INTENTIONALLY LEFT BLANK
8026   12/10/2001 Letter from Kurt Knickrehm, Arkansas Dep't of S. Bridges, 12/11/08,   ARK00002256-65    May
                  Human Services to Dick Barclay, Director at    Roxane 039
                  DFA
8027   12/10/2001 Wholesaler invoice listing a number of Subject M. Jones, 12/9/08,     R2-026795, VAC     May
                  Drugs                                          Roxane Ex. 201         MDL 27960
8028   12/10/2001 Email chain between G. Duerr and M. Garza, ID, G. Duerr, 12/3/09,     HHC020-0925 - 0932 May
                  CMS                                            Ex. Duerr 028
8029   12/18/2001 Fax from Idaho Medicaid to Maria Garza         K. Howell, 4/22/08,    HHC 020-0933-34   May
                                                                 Abbott Ex. 1088
8030              INTENTIONALLY LEFT BLANK
8031   12/21/2001 Email communication between Kimberly           K. Howell, 4/22/08,    HHC 020-0918-19   May
                  Howell and Gary Duerr re: ID 01-012            Abbott Ex. 1083
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 166 of 356




8032   12/27/2001 Spreadsheet titled Idaho Medicaid Pharmacy   K. Howell, 4/22/08,     HHC 020-0924          May
                  Analysis Worksheet                           Abbott Ex. 1089
8033   12/28/2001 Email from Charlene Brown to Richard         T. Scully, 7/13/07, Dey                       May
                  Chambers, Dorothy Collins, Sheree Kanner,    Ex. 27
                  Thomas Scully, Dennis Smith
8034   2002       Document entitled "Pharmacy Payment and      T. Scully, 7/13/07, Dey                       May
                  Patient Cost Sharing" by the National        Ex. 24
                  Pharmaceutical Council
8035   2002       Email and attachment from Oregon Medicaid to K. Ketchum, 12/15/08, HHC020-0511-0514        May
                  CMS regarding State Plan Amendment           Roxane Ex. 006

8036   2002       Fax from Oregon Medicaid to CMS regarding     K. Ketchum, 12/15/08, HHC020-0515-0523       May
                  State Plan Amendment and State Medicaid       Roxane Ex. 005
                  Pharmacy Survey
8037   2002       Illinois State Plan Amendment 02-09           J. Parker, 11/18/08,     HHC009-1376-1377    May
                                                                USA Ex. 009
8038   2002       Letter from Oklahoma Health Care Authority to N. Nesser, 12/12/08,     OK00000001          May
                  Pharmacy Provider                             Roxane-OK Ex. 007
8039   2002       Letter from Oregon Medicaid to CMS            J. Anderson, 12/16/08,   HHC020-0502-0508    May
                  regarding State Plan Amendment                Roxane Ex. 021
8040   2002       Letter from Oregon Medicaid to CMS            J. Anderson,             OR_HC_00000099-     May
                  regarding State Plan Amendment                12/16/08,Roxane Ex.      0102
                                                                022
8041   2002       Letter from Oregon Medicaid to CMS            K. Ketchum, 12/15/08,    HHC020-0494-0495    May
                  regarding State Plan Amendment                Roxane Ex. 007

8042   2002       Memo from Gary Cheloha, Nebraska Medicaid, G. Cheloha, 12/2/08,        NEB1998-2002        May
                  to Nebraska Health & Human Services System, Dey Ex. 910
                  Regulation and Licensure
8043   2002       OIG State Medicaid Drug Cost Containment    M. Clifford, 10/29/08,     HHD127-0322- 0326   May
                  Strategies Survey completed by New          Dey Ex. 200
                  Hampshire
                  Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 167 of 356




8044   2002   OIG State Medicaid Drug Cost Containment      B. Joyce, 12/12/08, Dey HHD127-0351-0355   May
              Strategies Survey completed by North Dakota   Ex. 707

8045   2002   OIG State Medicaid Drug Cost Containment      L. Iverson, 12/15/08,   HHD127-0418-0424   May
              Strategies Survey completed by South Dakota   Dey Ex. 910

8046   2002   OIG State Medicaid Pharmacy Reimbursement K. Ketchum, 12/15/08, HHD127-0403-0406         May
              Survey completed by Oregon                Roxane Ex. 011

8047   2002   Oklahoma Medicaid Proposed Rate               N. Nesser, 12/12/08,    OK00000015         May
              Methodology Formula for the State Maximum     Roxane-OK Ex. 020
              Allowable Cost for Prescription Product
              Reimbursement
8048   2002   Report by Hawaii Legislative Reference        A. Hiramatsu, 5/1/08,                      May
              Bureau: Take as Directed: Prescription Drug   Ex. Hiramatsu 031
              Options for Hawaii's Uninsureds
8049   2002   State Plan Amendment MS-02-10                G. Cheloha, 12/2/08,     NEB0028-0030       May
                                                           Dey Ex. 917
8050   2002   Nevada State Plan Amendment 02-12 Tracking NV, Defs Joint S.J.,                          May
              Sheet with attachments from Myers & Stauffer 2/8/07, Ex. 029

8051   2002   Summary of Kansas Medicaid's Prescription                             KHPA001717/1728    May
              Drug Program
8052   2002   Alabama Medicaid Agency - 2002 Annual                                 ALMED-376518-566 May
              Report
8053   2002   Iowa Medicaid rule change modifying SMAC                              Iowa-AWP-024481-   May
              calculation                                                           024490
8054   2002   Encouragement of Provider Participation, 42   Previously disclosed                       May
              C.F.R. § 447.204 (2002)                       with Expert Report of
                                                            Bradford
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 168 of 356




8055   2002       National Pharmaceutical Council,             Previously disclosed                     May
                  Pharmaceutical Benefits under State Medical with Expert Reports of
                  Assistance Programs                          Bradford & Stiroh
8056   2002       Pharmacy Cost Containment Projected Savings MO, R. Driver,          MO045742-43       May
                                                               10/18/07, Missouri 102
8057   2002       2002 Kentucky Administrative Regulations     KY, M. Robinson,       KY_DMS_000000001 May
                  Service, Volume 10                           2/7/08, Robinson Ex. 5 24103 to 124111
8058              INTENTIONALLY LEFT BLANK
8059   1/2002     Dey Monthly Sales Report                     Previously disclosed   DL-TX 79928-79992 May
                                                               with Expert Report of
                                                               Stiroh
8060   1/2002     Joint Legislative Audit and Review           H. Tomlinson, 11/4/08,                   May
                  Commission of the Virginia General Assembly: Roxane Ex. 010
                  A Review of Selected Programs in the
                  Department of Medical Assistance Services

8061              INTENTIONALLY LEFT BLANK
8062   1/2002     Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex.   EDEY-BO-0053142-   Expect
                  Administrator, dated January 2002             120                      143
8063              INTENTIONALLY LEFT BLANK
8064   1/1/2002   Letter from CMS to Washington State           A. Hautea-Wimpee,        WA-00000045-0060   May
                  Medicaid regarding State Plan Amendment 02- 11/24/08, Ex. 009
                  001
8065   1/2002     AdminaStar pricing array for Albuterol                                 AWP033-1459        May
8066   1/2002     AdminaStar pricing array for Albuterol                                 AWP033-1460        May
8067   1/2002     AdminaStar pricing array for Ipratropium                               AWP033-1474        May
                  Bromide
8068   1/2002     Palmetto pricing array for Cromolyn                                    AWQ045-0772-74     May
8069   1/1/2002   Washington Medicaid State Plan Amendment                               HHC020-0193-95     May
                  02-001
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 169 of 356




8070   1/2/2002    Excerpt from Medical Service Administration   S. Kramer, 3/25/08, Ex.                      May
                   Pharmacy Manual Basic Pharmacy                Abbott 654
                   Infoirmation Glossary of Terms
8071   1/2/2002    Email from Kimberly Howell to Maria Garza     K. Howell, 4/22/08,       HHC 020-0912       May
                   re: Idaho SPA 01-012                          Abbott Ex. 1084
8072               INTENTIONALLY LEFT BLANK
8073   1/8/2002    Letter from Iowa Pharmacy Association to                                Iowa-AWP-023140-   May
                   Iowa Council on Human Services                                          023141
8074               INTENTIONALLY LEFT BLANK
8075   1/14/2002   New York State Department of Health Office    M. Butt, 2/8/10, Butt     NYCO AWP NYDOH May
                   of Medicaid Management InterOffice            Ex. 26                    04969 - 4974
                   Memorandum from K. Fuller to K. Kuhmerker

8076               INTENTIONALLY LEFT BLANK
8077   1/16/2002   Nevada email forwarding Myers and Stauffer NV, Defs' Joint S.J.,                           May
                   memo regarding margins on pharmacy         2/8/07, Ex. 028
                   reimbursement model
8078   1/20/2002   Kentucky Medicaid internal document        KY, Defs' Joint SJ,          KY_DMS_ 147284-    May
                   regarding announcement of reimbursement    10/15/08, Ex. 073            147286
                   decrease to AWP-12%
8079   1/21/2002   Medicaid Steering Committee Public         KY, Def's Joint Reply        KYDMSPL_79641-     May
                   Announcement of Plan to Reduce Medicaid    SJ, 1/15/09, Ex. 021         79644
                   Pharmacy Acquisition Cost from AWP-10% to
                   AWP-12%
8080   1/24/2002   Wyoming Department of Health Rules and     R. Homar, 12/2/08,           WY00000248-269     May
                   Regulations for Pharmceutical Services     Roxane Ex. 018
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 170 of 356




8081   1/25/2002   Letter from Associate CMS Regional           KY, Def's Joint Reply                        May
                   Administrator Calvin Cline to Arkansas       SJ, 1/15/09, Ex. 026
                   Medicaid Director Ray Hanley re: approval of
                   state plan amendment changing Arkansas
                   Medicaid's drug reimbursement formula



8082   1/28/2002   Volume I, deposition of Patricia Kay Morgan, AL, P. Morgan,           FDB-AWP 00556-717 May
                   dated 1/28/02, in In re Texas Civil Investigative 8/27/07, Morgan 1
                   Demand to First DataBank, Inc.

8083   1/29/2002   Letter and enclosed 2001 Q4 AMPs from Dey                             DL-BO-168349-50     Expect
                   to CMS
8084   1/30/2002   Email and attachment from M. Moden to P.                              TXMGT0094597-601 Expect
                   Napier re: AMP calculations
8085   02/2002     Dey Monthly Sales Report                    Previously disclosed      DL-TX 79994-80040   May
                                                               with Expert Report of
                                                               Stiroh
8086   2/2002      OIG report - Review of Pharmacy Acquisition M. Jackson, 12/12/08,                         May
                   Costs for Drugs Reimbursed Under the        Montana Ex. 2
                   Medicaid Prescription Drug Program of the
                   Montana Department of Public Health and
                   Human Services (A-06-01-00005)

8087   2/1/2002    Prescription Drug Review 2001 vs. 2000,                               SCSHP0019278-314    May
                   prepared by South Carolina PBM Merck-
                   Medco
8088   2/2002      OIG Report - Review of Pharmacy Acquisition FL, J. Wells, 5/26/05,                        May
                   Costs for Drugs Reimbursed Under the          Wells Ex. 105
                   Medicaid Prescription Drug Program of the
                   Florida Agency for Health Care Administration
                   (A-06-01-00002)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 171 of 356




8089   2/5/2002    Charts titled "Generic"                       M. Butt, 1/26/10, Butt NYCO AWP NYDOH Expect
                                                                 Ex. 9                   13591-99
8090   2/7/2002    Email from Diane Dunstan, CMS, to Shannon     MT, Dey SJ, 2/7/07, Ex. MT 016755     May
                   Marr, Montana Medicaid, regarding FMAC        R
                   question
8091   2/9/2002    Email from Ray Hanley to various recipients    S. Bridges, 12/11/08,   HHC014-0232-35    May
                                                                  Roxane 040
8092   2/11/2002   Email chain between P. Jeffrey, G. Gilmore and MA, G. Gilmore,         MA016316-18       May
                   others                                         7/26/07, Ex. Gilmore
                                                                  008
8093   2/12/2002   Email chain between Dave Campana and           D. Campana, 8/20/08,    ALMED306571-80    May
                   various recipients                             Ex. Campana 055
8094   2/19/2002   Official Notice of the Arkansas Department of S. Bridges, 12/11/08,    ARK00000054-55    May
                   Human Services                                 Roxane 041
8095   2/20/2002   Florida CSR titled "Prescription Drug Costs" FL, Sharpe, 6/15/06,      AHCA-PRI 636-61   May
                   prepared by Jerry Wells, attaching the OIG     Ex. 324
                   Report - Review of Pharmacy Acquisition
                   Costs for Drugs Reimbursed Under the
                   Medicaid Prescription Drug Program of the
                   Florida Agency for Health Care Administration

8096   2/21/2002   State of New York Department of Health        M. Butt, 2/8/10, Butt    NYCO AWP NYDOH May
                   InterOffice Memorandum from T. Howe to K.     Ex. 27                   11337 - 1354
                   Kuhmerker re: Preliminary Audit Report -
                   Study of Drug Pricing (2002-D-02)
8097   2/23/2002   Document relating to State Plan Amendment   M. Terrebonne,         JD-SUB-LA-000684- May
                   No. 01-08                                   3/31/08, Ex. Abbott    86
                                                               1056
8098   2/26/2002   Correspondence between M. Morgan, Secretary KY, M. Morgan,         KY_DMS_000000001 May
                   and J. Hackett, President of Kroger         10/8/08, Morgan Ex. 21 22662 to 122666

8099               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 172 of 356




8100   2/27/2002   Email from Paul Alois, NY Office of State   M. Butt, 1/26/10, Butt NYCO AWP NYDOH May
                   Comptroller, to Carl Cioppa, NYSDOH         Ex. 8                    12054-56
8101   2/28/2002   Email from Mark Yessian to Robert Vito      R. Vito, 6/19/07, Abbott HHD067-0092        May
                                                               Ex. 231
8102   3/1/2002    Arkansas State Plan Transmittal #2002-008   S. Bridges, 12/11/08,    ARK00000115-118    May
                                                               Abbott-ARK 003
8103   3/2002      Dey Monthly Sales Report                    Previously disclosed     DL-TX0129964-      May
                                                               with Expert Report of 0130014
                                                               Stiroh
8104   3/1/2002    Emergency Regulations Referring to Arkansas S. Bridges, 12/10/08,    ARK00000087,       May
                   State Plan Amendment 2002-007               Bridges 012              ARK00000078,
                                                                                        ARK00002265 and
                                                                                        ARK00000132
8105   3/2002      Excerpt from the Region B DMERC Supplier C. Eiler, 8/26/08, Eiler AWP037-0030-33        May
                   Manual                                      Ex. 2
8106   3/1/2002    Excerpts of State Plan Amendment 2002-08    S. Bridges, 12/10/08,    ARK00000117-18,    May
                                                               Bridges 013              ARK00000127-32 and
                                                                                        ARK00000147
8107   3/2002      OIG Report - Excessive Medicare             Dey S.J. Ex. 54; Abbott                     Expect
                   Reimbursement for Albuterol (OEI-03-01-     Ex. 86
                   00410)
8108   3/2002      OIG Report - Excessive Medicare             Dey S.J., 6/26/09, Ex.                      Expect
                   Reimbursement for Ipratropium Bromide (OEI- 60; Dey Ex. 511
                   03-01-00411)
8109   3/2002      OIG Report- Review of Pharmacy Acquisition K. Howell, 4/22/08,                          May
                   Costs for Drugs Reimbursed Under the        Abbott Ex. 1071
                   Medicaid Prescription Drug Program of the
                   Wisconsin Department of Health and Family
                   Services (A-06-01-00003)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 173 of 356




8110   3/2002      OIG Report: Medicaid Pharmacy - Actual        T. Scully, 5/15/07,                         Expect
                   Acquisition Cost of Generic Prescription Drug Abbott Ex. 197
                   Products (A-06-01-00053)
8111   3/1/2002    Transmittal and Notice of Approval of State   HI, Watson & Sandoz                         May
                   Plan Material, Arkansas State Plan Amendment S.J., 8/25/09, Ex. 7
                   #01-038
8112   3/1/2002    Arkansas Medicaid State Plan Amendment 02-                             HHD076-0007-20     May
                   08
8113   3/4/2002    Memorandum from Dick Barclay, Director        S. Bridges, 12/11/08,    ARK00000140-46     May
                   DFA                                           Roxane 042
8114   3/5/2002    Email chain between Kentucky Medicaid         KY, W. Moore,            KYDMSPL0113006 - May
                   officials regarding MAC, with attached MAC 4/23/08, Moore Ex. 027 113023
                   examples
8115   3/5/2002    Email from Washington Medicaid official to    NV, Defs Joint S.J., Ex.                    May
                   other State Medicaid officials, including     054
                   Nevada, regarding AWP discount proposal
8116   3/6/2002    David Kreling, Draft Pharmacy Cost of         WI, Defs' Joint Resp., WI-Prod-AWP -        May
                   Dispensing/Acquisition Cost Study Final       1/15/08, Ex. 48          106045-067
                   Report
8117   3/6/2002    Record of Telephone Contact                   A. Chapman, 12/15/08, HHD002-0269           May
                                                                 Ex. Dey 370
8118   3/6/2002    Draft Report titled "Pharmacy Cost of         WI, D. Kreling,          WI-Prod-AWP-106306-May
                   Dispensing/Acquisition Cost Study" by David 12/4/08, Kreling Ex. 8 328
                   Kreling (Prepared for State of Wisconsin
                   Department of Health and Family Services)

8119   3/11/2002   Letter from NACDS to OIG Re: OIG Release    N. Valentine, 7/19/07,                       May
                   of State Reports on Medicaid Pharmacy       Valentine 16
                   Acquisition Cost of Brand Name Drugs
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 174 of 356




8120   3/11/2002   Memo from Debbie I. Chang to Delegate Sandy F. Tetkowski, 12/11/08, MD0000666-71    May
                   Rosenbert                                   Ex. Abbott Maryland
                                                               031
8121   3/11/2002   Letter from M. Robinson, Commissioner, to   KY, M. Robinson,        KYDMSPL_0028828 May
                   Pharmacy Providers (Letter #A-448)          2/7/08, Robinson Ex. 11

8122   3/14/2002   GAO Report - Medicare Outpatient Drugs:         T. Scully, 7/13/07,                          May
                   Program Payments Should Better Reflect          BMS Ex. 8
                   Market Prices
8123               INTENTIONALLY LEFT BLANK
8124   3/18/2002   SRS Report entitled Proposed Actions to                                 KHPA006131/6132      May
                   Improve Purchasing Strategies
8125   3/19/2002   Fax from Melissa Brown at OIG to Paul           M. Jackson, 12/12/08,   HHD 182-0305 - 310   May
                   Chesser, attaching a letter from Congressman    Dey Ex. 934
                   Phlip Crane to Janet Rehnquist dated August
                   20, 2002
8126   3/20/2002   Current Proposals in Medicaid Reimbursment      A. Chapman, 12/15/08, HHD022-267             May
                   for Three States                                Ex. Dey 371
8127   3/20/2002   Email with attached document from Susan         S. Gaston, 3/19/08,   HHD180-0034 -          May
                   Gaston to Jessie Spillers and Sharman           Abbott Ex. 754        HHD180-0039
                   Leinwand
8128   3/20/2002   OIG work paper entitled "Current Proposals to   MA, P. Chesser,         HHD022-0267-70       May
                   Medicaid Reimbursement for Three States"        10/28/08, Roxane Ex.
                                                                   157
8129   3/25/2002   Email communication between Kimberly            Defs' Common S.J.       HHC009-1084-88       May
                   Howell and Pamela Carson regarding              Resp., 8/28/09, Ex. 107
                   Wisconsin SPA 01-009
8130   3/25/2002   Letter from Thomas W. Lenz to Dana              FL, G. Vadner          MO070230-31           May
                   Katharine Martin regarding proposed changes     10/13/07, Missouri 161
                   to state plan.
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 175 of 356




8131   3/29/2002   Kentucky Administrative Regulation 907 KAR KY, M. Morgan,              KYLEG04047 - 4058 May
                   1:018E                                         10/8/08, Morgan Ex.
                                                                  019
8132   04/2002     Dey Monthly Sales Report                       Previously disclosed    DL-TX 80041-80092   May
                                                                  with Expert Report of
                                                                  Stiroh
8133   4/1/2002    Montana Medicaid letter regarding proposed     MT, Defs' Joint S.J.,   MT005658-MT005659 May
                   rule associated with Medicaid pharmacy         2/8/07, Ex. 024
                   reimbursement
8134   4/1/2002    Letter and attachments from State of Wisconsin K. Howell, 4/22/08,     WI-PROD-AWP         May
                   Department of Health and Family Services to Abbott Ex. 1074            126149-208
                   Pamela Carson
8135   4/2002      Document titled AMP vs. AWP                                            HHD978-0240         Expect
8136   4/1/2002    Mississippi State Plan Amendment 2002-04                               HHD123-1750-51      May
                   relating to reimbursement
8137   4/2002      AdminaStar pricing array for Albuterol                                 AWP033-1337         May
8138   4/2002      AdminaStar pricing array for Albuterol                                 AWP033-1338         May
8139   4/2002      AdminaStar pricing array for Ipratropium                               AWP033-1352         May
                   Bromide
8140   4/2002      Palmetto pricing array for Cromolyn                                    AWQ045-0828-31      May
8141   4/2002      Palmetto pricing array for Cromolyn                                    AWQ025-0563-66      May
8142   4/1/2002    Colorado Medicaid State Plan Amendment 02-                             HHC013-1120         May
                   003
8143   4/1/2002    Kentucky Medicaid State Plan Amendment 02-                             HHD087-3742-45      May
                   04
8144   4/1/2002    North Dakota Medicaid State Plan Amendment                             HHD311-0288         May
                   02-013
8145   4/1/2002    Ohio Medicaid State Plan Amendment 02-004                              HHD312-0061-063     May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 176 of 356




8146   4/2/2002    Letter from Jackie Garner, IDPA Director, to                          AWP IL 00002868-     May
                   Vera Drivalas, Illinois Medicaid                                      AWP IL 00002871
                   Representative, Division of Medicaid and
                   Managed Care Programs, HCFA re State Plan
                   02 09; Transmittal Form for State Plan 02 09;
                   Attachment 4.19B
8147   4/5/2002    2002 Survey of Montana Pharmacies proposal MT, Defs' Joint S.J.,      MT013606-13616       May
                   prepared for MT Pharmacy Association       2/8/07, Ex. 044

8148   4/9/2002    Memo from Hawaii Medicaid to Providers        A. Hiramatsu, 5/1/08,   HI_HI 000001794-97   May
                   regarding fee-for-service program             Ex. Hiramatsu 057
8149   4/9/2002    Florida Agency for Health Care Administration FL, K. Whittington,     AHCA PR5 0037, 071 May
                   (AHCA) Contract Management CSR Control 9/27/05, Ex. 148
                   No. 0572 - WAC Price Restoration

8150   4/15/2002   Article from Drug Topics entitled "CMS wants D. Tawes, 4/25/07,       HHD005-0411          Expect
                   to drop AWP-based Medicare payments"         Abbott Ex. 135

8151   4/16/2002   Document entitled "Payer Forum"                 AL, P. Morgan,        FDB-ALABAMA        May
                                                                   8/27/07, Morgan 10    085641-648
8152   4/16/2002   Document titled How the Medicare Module         AL, K. Chadwick,      FDB/Alabama 106382 May
                   Meets Market needs and Medicaid: The State 10/23/07, Chadwick Ex.
                   of the State                                    16
8153   4/17/2002   Email from M. Desmond to B. Dulbe (cc: K.       M. Butt, 2/8/10, Butt NYSHD-FOIL 00812 - May
                   Kuhmerker, M. Butt, S. Pettinato, L. Arcuri, S. Ex. 29                0813
                   Heck, T. Fanning, K. Fuller, L. Jones) re: AWP
                   Discounts for Generics and Brands

8154   4/21/2002   1 Tex. Admin. Code 354.3092                                                                May
8155   4/25/2002   Montana Medicaid Notice of Amendment with MT, Defs' Joint S.J.,       MT013531-013539      May
                   comments relating to increase in dispensing fee 2/8/07, Ex. 052
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 177 of 356




8156   4/29/2002   Letter and enclosed 2002 Q1 AMPs from Dey                             DL-BO-165243-46      Expect
                   to CMS
8157   05/2002     Dey Monthly Sales Report                      Previously disclosed    DL-TX 80093-80144    May
                                                                 with Expert Report of
                                                                 Stiroh
8158   5/2002      First DataBank PriceProbe, Documentation,     MA, P. Morgan,          FDB-AWP 29376-514 May
                   Main Navigation Page                          11/30/07, Morgan Ex.
                                                                 17
8159   5/2002      State Health Watch Newsletter on State Health A. Hiramatsu, 5/1/08,   HI_HI 000015143-45   May
                   Care Reform                                   Ex. Hiramatsu 060
8160   5/1/2002    Oregon Medicaid State Plan Amendment 02-04                            HHD074-0326-29       May

8161   5/1/2002    Texas Medicaid New Drug Application Form                             TXMGT061990-993       May
                   (blank)
8162   5/4/2002    Smith, Lisa K., “Respiratory's New Coding      Previously disclosed                        May
                   Headache,” HME Today, available at             with Expert Report of
                   http://www.hmetoday.com/issues/articles/2002- Bradford
                   05_04.asp
8163   5/6/2002    Print-out from Innovatix.com’s website, dated M. Jones, 12/8/08, Dey R2-015617-618         May
                   May 6, 2002                                    Ex. 324
8164   5/10/2002   Letter from AmerisourceBergen to Kentucky KY Defs' Joint SJ,         KY_DMS_123014         May
                   government officials and legislators regarding 10/15/08, Ex. 076
                   pharmacy reimbursement

8165   5/10/2002   Letter from M. McNeill to Manufacturer                                DL-TX 85864-65       Expect
8166   5/11/2002   Letter from pharmacist to Kentucky               KY Defs' Joint SJ,   KY_DMS_122943-       May
                   government officials and legislators regarding   10/15/08, Ex. 077    122944
                   pharmacy reimbursement
8167   5/13/2002   Letter from pharmacist to Kentucky               KY Defs' Joint SJ,   KY_DMS_122945        May
                   government officials and legislators regarding   10/15/08, Ex. 078
                   pharmacy reimbursement
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 178 of 356




8168   5/15/2002   Georgia Medicaid State Plan Amendment 02-                             HHD087-2513-17    May
                   004
8169   5/16/2002   Invoice from Cardinal Distribution to K-Mart C. Shirley, 12/3/08, Ex. IN-00021580       May
                   pharmacy in Jefferson, Indiana               Dey 513
8170   5/16/2002   Notice of public hearing on proposed         MT, Defs' Joint S.J.,    MT013526-013530   May
                   amendment relating to Montana Medicaid       2/8/07, Ex. 049
                   reimbursement
8171   5/16/2002   Public hearing testimony from Montana        MT, Defs' Joint S.J.,    MT025554-MT025557 May
                   Medicaid’s former Pharmacy Program Officer 2/8/07, Ex. 050
                   Shannon Marr associated with the 2002 change
                   to reimbursement methodology.

8172   5/17/2002   Sign-in sheet for Meeting on May 17, 2002,       J. Fine, 12/9/08, Ex.   MD 0000548-554    May
                   with powerpoint slides                           Abbott Maryland 021
8173   5/20/2002   Letter from National Association of Chain        KY Defs' Joint SJ,      KY_DMS_ 120573-   May
                   Drug Stores to CMS regarding Kentucky            10/15/08, Ex. 079       120574
                   pharmacy reimbursement
8174   5/20/2002   Letter from J. Coster, Vice President of Federal Previously disclosed    KY_DMS_000000001 May
                   and State Programs, to G. Grasser, Associate     with Expert Report of   20573-74
                   Regional Administrator, Region IV, CMS           Bradford

8175   5/20/2002   Idaho Medicaid State Plan Amendment 02-006                               HHC020-0841-45    May

8176   5/21/2002   CRS Report - Medicare: Payments for Covered Abbott Ex. 439               HHD079-0030-42    May
                   Prescription Drugs
8177   5/22/2002   HCFA Program Memorandum,                        Dey S.J., 6/26/09, Ex.   HHD085-0006 -     Expect
                   Intermediaries/Carriers, Transmittal No. AB-02- 174                      HHD085-0007
                   075
8178   5/24/2002   Letter from pharmacist to Kentucky Medicaid KY, Defs' Joint SJ, Ex.      KY_DMS_123045-    May
                   regarding pharmacy reimbursement                080                      123046

8179               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 179 of 356




8180   5/31/2002   Email chain between Nevada Medicaid             NV, Defs Joint S.J.,                          May
                   officials regarding change to AWP-15%           2/8/07, Ex. 033
8181   06/2002     Dey Monthly Sales Report                        Previously disclosed      DL-TX 80145-80206   May
                                                                   with Expert Report of
                                                                   Stiroh
8182   6/2002      Myers and Stauffer Report - A Survey of         K. Gorospe, 9/22/08,      CAAG/DHS0068571- May
                   Acquisition Costs of Pharmaceuticals in the     Ex. Gorospe 043           68646
                   State of California (Prepared for the California
                   Department of Health Services)
8183   6/2002      Myers and Stauffer Report - Study of Medi-Cal Defs' Common S.J.                               May
                   Pharmacy Reimbursement (Prepared for the         Resp., 8/28/09, Ex. 97
                   California Department of Health Services)

8184               INTENTIONALLY LEFT BLANK
8185   6/2002      Gencarelli, D. M., “Average Wholesale Price Previously disclosed                              May
                   for Prescription Drugs: Is There a More       with Expert Report of
                   Appropriate Pricing Mechanism?” National      Bradford
                   Health Policy Forum Issue Brief No. 775, June
                   2002
8186   6/4/2002    Letter and attachment to Ray Hanley from                             ARK00000133-38           May
                   Calvin Cline
8187   6/5/2002    Kentucky Advisory Council for Medical        KY, Defs' Joint SJ, Ex. KYDMSPL1018632-          May
                   Assistance meeting minutes                   074                     1018675
8188   6/10/2002   Montana Medicaid Rx Program, Potential Cost- MT, Dey SJ, 2/7/07, Ex. MT 016423-MT             May
                   Savings Approaches                           N                       016425
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 180 of 356




8189   6/11/2002   Cover letter from Mike Robinson,             L. Reed, 10/22/08,   KY-DMS-             May
                   Commissioner of the Cabinet for Health and   Roxane Ex. 131       00000000138052-56
                   Services in the Commonwealth of Kentucky, to
                   Eugene Grasser, Associate Regional
                   Administrator of CMS regarding Kentucky
                   State Plan Amendment 02-04, attaching Myers
                   and Stauffer report entitled Survey of
                   Acquisition Cost of Pharmaceuticals in the
                   Commonwealth of Kentucky


8190   6/11/2002   Letter from Kentucky Medicaid to CMS         KY, Defs' Joint SJ, Ex. KY_DMS_138052-   May
                   requesting approval of stateplan amendment   082                     138056
                   reducing reimbursement to AWP-12%
8191   6/13/2002   Email from H. Murphy to J. Cooke re: HB915   S. Schondelmeyer,       VDP_0965269      Expect
                   AMP requirements - update                    5/22/09, Ex. Dey
                                                                Schondelmeyer 11
8192   6/17/2002   Montana Medicaid Notice to Pharmacy          MT, Dey SJ, 2/7/07, Ex. MT 0002168-MT    May
                   Providers regarding changes to reimbursement S                       002177

8193   6/18/2002   Letter from Cheryl A. Harris (Associate        WI, Trial, DTX-0030 WI-Prod-AWP-027598-May
                   Regional Administrator, Division of Medicaid                         605
                   & Children’s Health) to Peggy Handrich with
                   enclosure
8194   6/19/2002   Expression of Intent to Participate & Contact C. Denemark, 12/10/09, VAC MDL 77672-78 May
                   Person for Drug Pricing Investigation, DE file Ex. Abbott-DE 002

8195   6/19/2002   Folder of communications between Ven-A-      FL, Mark Jones,      VAC MDL 75180-204 May
                   Care and Mississippi                         8/18/09, Jones 25
8196               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 181 of 356




8197   6/19/2002   Letter from Richard C. Allen, Director of       A. Chapman, 12/15/08, HHC013-1117-22       May
                   Office of Medical Assistance, to Alex Trujillo, Ex. Dey 372
                   Regional Administrator of Division of
                   Medicaid and State Operations
8198   6/20/2002   Compilation of communications between Ven- FL, Mark Jones,               VAC MDL 74780-798 May
                   A-Care and the state of Hawaii                  8/18/09, Jones 17
8199   6/20/2002   Folder of communications between Ven-A-         FL, Mark Jones,          VAC MDL 74867-881 May
                   Care and Kentucky                               8/18/09, Jones 24
8200   6/20/2002   Folder of documents associated with Ven-A-      FL, Mark Jones,          VAC MDL 74800-831 May
                   Care's communications with the State of Iowa 8/18/09, Jones 22 and
                                                                   22A
8201   6/20/2002   Letter from VAC to Idaho Medicaid requesting FL, Mark Jones,             VAC MDL 74832-835 May
                   state reimbursement policy and methodology 8/18/09, Jones 18 and
                   and Idaho's response thereto                    18A
8202   6/26/2002   Memo From Mr. Gessow To Interested Parties J. Walsh, 3/18/08, Ex.                          May
                                                                   Abbott 854
8203   6/26/2002   Powerpoint- Study of Medi-Cal Pharmacy          J. Gorospe, 9/22/08, Ex. CAAG/DHS 0076176- May
                   Reimbursement                                   Gorospe 044              87
8204   6/28/2002   Performance Audit, Cost Containment for State Previously disclosed                         May
                   Prescription Drug Expenditures, From The        with Expert Report of
                   Office Of State Auditor Claire McCaskill,       Helms
                   Report No. 2002-48 Report from the Missouri
                   Office of State Auditor (available at
                   http://auditor.mo.gov/press/2002-48.htm)

8205   7/1/2002    AdminaStar pricing array for J7631          C. Eiler, 8/26/08, Eiler AWP033-1343         May
                                                               Ex. 13
8206   07/2002     Dey Monthly Sales Report                    Previously disclosed     DL-TX0129754-       May
                                                               with Expert Report of 0129804
                                                               Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 182 of 356




8207   7/1/2002    Transmittal and Notice of Approval of State   A. Chapman, 12/15/08, HHD038-1128-30     May
                   Plan Material                                 Ex. Chapman 001

8208   7/1/2002    Washington State Plan Amendment 02-022        A. Hautea-Wimpee,   WA-00000039-0044     May
                                                                 11/24/08, Ex. 010
8209   7/2002      AdminaStar pricing array for Albuterol                              AWP038-1189        May
8210   7/2002      AdminaStar pricing array for Albuterol                              AWP038-1192        May
8211   7/2002      AdminaStar pricing array for Albuterol                              AWP033-1228        May
8212   7/2002      AdminaStar pricing array for Ipratropium                            AWP033-1243        May
                   Bromide
8213   7/1/2002    DMERC A pricing array for Cromolyn                                  AWQ057-0154-55     May
8214   7/1/2002    DMERC A pricing array for Cromolyn                                  AWQ057-1018        May
8215   7/1/2002    DMERC A pricing array for Cromolyn                                  AWQ057-1048        May
8216   7/1/2002    DMERC A pricing array for Cromolyn                                  AWQ057-1160        May
8217   7/2002      Palmetto pricing array for Cromolyn                                 AWQ045-0885-88     May
8218   7/1/2002    Maine Medicaid State Plan Amendment 02-                             HHC006-0160        May
                   005, 009
8219   7/1/2002    Washington Medicaid State Plan Amendment                            HHC018-0020-21     May
                   02-022
8220               INTENTIONALLY LEFT BLANK
8221   7/9/2002    Email and attached document from Elaine     D. Duzor, 2/27/08,      HHD086-0022 -      May
                   Elmore to Deirdre Duzor and Kimberly Howell Roxane Ex. 65           HHD086-0031
                   regarding Region IV States' Pharmacy
                   Summary
8222   7/10/2002   Provider presentation to Iowa Council on                            Iowa-AWP-022800-   May
                   Human Services                                                      022807
8223   7/12/2002   Memo from Brendan Joyce, North Dakota       B. Joyce, 12/12/08, Dey                    May
                   Medicaid, to All Participating Pharmacies   Ex. 713
8224   7/12/2002   Email, Vicki Schmidt, Mary Obley                                    KHPA083643         May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 183 of 356




8225   7/12/2002   Mercer - "New Mexico Medical Assistance       Previously disclosed                       May
                   Division: Pharmacy MAC List," available at    with Expert Report of
                   www.hsd.state.nm.us/mad/pdf_files/Regs/FIN Bradford
                   ALPharmAssocPresentation7-12-02.pdf
8226   7/17/2002   Deposition of Robert Stevens in Starko v. NM R. Stevens, 12/15/08,    NMAG00000355-415 May
                   Human Services                                Dey Ex. 530
8227   7/22/2002   Letter from CMS to Oregon Department of       KY, Def's Joint Reply   HHC020-0473-0476   May
                   Human Services Director regarding approval of SJ, 1/15/09, Ex. 029
                   Oregon Medicaid 's state plan amendment
                   changing its drug reimbursement formula

8228   7/24/2002   Email from Illinois Medicaid to CMS regarding J. Parker, 11/18/08,   AWP-IL-00002875-    May
                   SPA 02-09                                     Roxane IL Ex. 018      876
8229   7/29/2002   Email from Sue Gaston to Tanaz Dutia          D. Tawes, 12/2/08,     HHD244-000035       May
                                                                 Roxane Ex. 184
8230   7/29/2002   Letter and enclosed 2002 Q2 AMPs from Dey                            DL-BO-165617-18     Expect
                   to CMS
8231   08/2002     Dey Monthly Sales Report                      Previously disclosed   DL-TX0129703-       May
                                                                 with Expert Report of 0129753
                                                                 Stiroh
8232   8/2002      Email between states' Medicaid directors      A. Hiramatsu, 5/1/08, HI_HI 000015173-77   May
                   regarding State MACs                          Ex. Hiramatsu 059
8233   8/2002      Myers and Stauffer report "Determination of   N. Molyneaux, 1/11/07, TXMGT0183632-705    May
                   the Cost of Dispensing Pharmaceutical         Abbott Ex. 21
                   Prescriptions for the Texas Vendor Drug
                   Program," prepared for the Texas Health and
                   Human Services Commission
8234   8/1/2002    Connecticut Medicaid email regarding WAC CT, Warrick SJ, 6/1/06, CT0028861               May
                   reimbursement                              Ex. 069
8235   8/1/2002    Nevada Medicaid State Plan Amendment 02-12                       HHD041-0246             May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 184 of 356




8236   8/1/2002    North Dakota Medicaid State Plan Amendment                           HHC013-0099             May
                   02-022
8237   8/4/2002    Massachusetts Medicaid State Plan                                    HHC006-0289-91          May
                   Amendment 02-016
8238   8/8/2002    Letter from Kentucky Medicaid to National   KY, M. Morgan,           KY_DMS_120 557 -        May
                   Association of Chain Drug Stores regarding  10/8/08, Morgan Ex.      120574
                   concerns with change to AWP-12%             023
8239   8/8/2002    Email chain between D. Lapp, S. McCabe, and MA, P. Jeffrey, 6/14/07, MA012501-03             May
                   others                                      Ex. Jeffrey 008

8240   8/12/2002   Letter from Rhonda Cottrell, Associate        KY, Def's Joint Reply KY_DMS_138045-           May
                   Regional Administrator, Division of Medicaid, SJ, 1/15/09, Ex. 072; L. 138048
                   to Mike Robinson, Commissioner, Department Reed, 10/22/08, Roxane
                   for Medicaid Services in Kentucky, approving Ex. 132
                   Kentucky State Plan Amendment 02-04

8241               INTENTIONALLY LEFT BLANK
8242   8/12/2002   Letter and attachments from CMS to M.                                   HHD087-3742-90       May
                   Robinson re: Kentucky Title XIX State Plan
                   Amendment, Transmittal #02-04
8243   8/12/2002   Amended Complaint filed in State of West                                                     May
                   Virginia ex rel. McGraw, Jr. v. Warrick
                   Pharmaceuticals Corp., Civil Action No. 01-C-
                   3011 in the Circuit Court of Kanawha County,
                   West Virginia
8244   8/13/2002   Email between states' Medicaid directors        A. Hiramatsu, 5/1/08,   HI_HI 000015178-79   May
                   regarding State MACs                            Ex. Hiramatsu 062
8245   8/13/2002   Mississippi Pharmacists Association                                     MPhA                 May
                   Government Affairs Committee Meeting                                    003857-3858
                   Minutes
8246   8/14/2002   Medi-Cal Drug Rebate Agreement between                                  DEY-BO-0227026 -     May
                   California and Dey, L.P.                                                DEY-BO-0227035
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 185 of 356




8247   8/15/2002   Kentucky Administrative Regulations Volume      D. Bahr, 1/29/08, Ex.    KYDMS 124103-     May
                   10                                              Bahr 024                 124111
8248   8/16/2002   Quarterly Medicaid Statement of Expenditures    L. Reed, 10/22/08,                         May
                   for the Medical Assistance Program              Roxane Ex. 122

8249   8/22/2002   Email chain between Kevin Gorospe and Myers J. Gorospe, 5/6/09, Ex.- CAAG/DHS-          May
                   & Stauffer and others                         Gorospe 046            E0023684-86
8250   9/2002      Dey Monthly Sales Report                      Previously disclosed   DL-TX 0129646-     May
                                                                 with Expert Report of 0129702
                                                                 Stiroh
8251   9/2002      Letter from Robert F. Mozak to State Medicaid Dey S.J., 6/26/09, Ex. WI-Prod-AWP-128869 May
                   Administrator, dated September 2002           137

8252   9/2002      OIG Report - Medicaid Pharmacy - Additional D. Duzor, 10/30/07,                            Expect
                   Analyses of the Actual Acquisition Cost of  Abbott Ex. 372
                   Prescription Drug Products (A-06-02-00041)

8253   9/3/2002    Medicaid Pharmacy Reimbursements                MA, P. Jeffrey,          MA008194-8215     May
                                                                   10/19/07, MA 007
8254   9/4/2002    Email from Nevada Medicaid official to          NV, Defs Joint S.J.,                       May
                   Hawaii Medicaid official regarding pharmacy     2/8/07, Ex. 030
                   payments
8255   9/5/2002    Prescribed Drugs - Public Hearing, DHCFP        S. Grossman, 10/24/07,                     May
                   Testimony                                       Ex. MPha 11

8256   9/13/2002   Medicare Payment Advisory Commission            M. Butt, 2/12/10, Butt   HHD135-0843 -69   May
                   Meeting Brief                                   Ex. 32
8257   9/13/2002   Palmetto pricing array for Cromolyn                                      AWQ025-0496-97    May
8258   9/16/2002   HCFA approval letter and Washington State       A. Wimpee, 11/24/08,     WA-00000045-060   May
                   Plan Amendment 02-001                           USA Ex. 009
8259   9/17/2002   Medicaid division potential cuts for SFY 2003   ID, G. Duerr, 12/3/09,   ID009465 - 9469   May
                                                                   Ex. Duerr 035
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 186 of 356




8260   9/17/2002   Enrolled Bill Report re: Bill No. AB 442      CA, Rosenstein,                            May
                                                                 11/6/08, Exhihit
                                                                 Rosenstein 028
8261   9/18/2002   CMS letter to State Medicaid Director         J. Young, 12/3/08,                         May
                   regarding Supplemental Rebate Agreements      Roxane Ex. 016
8262   9/20/2002   Letter With Attached Notice Of Agency Rule- J. Walsh, 3/18/08, Ex.                       May
                   making Adoption and Portions Of The           Abbott 853
                   MaineCare Benefits Manual
8263   9/24/2002   Email from Bill Butler at Alabama Medicaid to Alabama, Trial, DTX      ALMED-301918      May
                   other Alabama Medicaid employees forwarding 300
                   a Medical Newswire, dated 9/20/02, entitled
                   "AWP Model Needs a Makeover"

8264   9/26/2002   Letter from Susan Chandler, Director of Hawaii HI, Watson S.J.,                          May
                   DHS to Linda Minamoto at CMS regarding         8/25/09, Ex. 46
                   State Plan Amendment TN No. 02-003

8265               INTENTIONALLY LEFT BLANK
8266   9/27/2002   Heritage Information Systems Final Report -                            DE_00000006-34    May
                   Pharmacy Actual Acquisition Cost Audit for
                   DHSS
8267   9/27/2002   Fax from Hawaii DHS to CMS withdrawing         A. Hiramatsu, 6/11/09, HI_HI 000058023-039 May
                   State Plan Amendment, with attachments         Ex. Hiramatsu 28

8268               INTENTIONALLY LEFT BLANK
8269   9/30/2002   Form CMS-64 for Massachusetts, Quarter         J. Hoover, 12/18/07,                      May
                   Ended 9/30/02                                  Abbott Ex. 513
8270   9/30/2002   California Assembly Bill 442, Chapter 1161,    Previously disclosed                      May
                   Approved by the governor, available at         with Expert Report of
                   http://www.leginfo.ca.gov/pub/01-              Bradford
                   02/bill/asm/ab_0401-
                   0450/ab_442_bill_20020930_chaptered.html
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 187 of 356




8271   10/1/2002   42 C.F.R. § 447.518                             R. Vito, 6/20/07, Abbott                   May
                                                                   Ex. 240
8272   10/1/2002   Attachment 4.19-B to state plan amendment       Roxane S.J., 6/26/09, HHD041-0061          May
                                                                   Ex. 196
8273   10/2002     Dey Monthly Sales Report                        Previously disclosed     DL-TX 129597-     May
                                                                   with Expert Report of 0129645
                                                                   Stiroh
8274   10/2002     DMERC Claim Record                              R. Stone, 2/28/08,                         May
                                                                   Abbott Ex. 526
8275   10/2002     AMA Provider Manual - Excerpts from                                      ALMED 206955 -    May
                   Chapter 7: Understanding Your Rights and                                 206956
                   Responsibilities as a Provider (October 2002)

8276   10/2002     AdminaStar pricing array for Albuterol                                 AWP033-1794         May
8277   10/2002     AdminaStar pricing array for Albuterol                                 AWP033-1795         May
8278   10/2002     AdminaStar pricing array for Ipratropium                               AWP033-1810         May
                   Bromide
8279   10/1/2002   Colorado Medicaid State Plan Amendment 02-                             HHC013-1073         May
                   012
8280   10/2/2002   Pharmacy Decision Talking Points              MA, Joint Defs' SJ,      MA012659-60         May
                                                                 2/28/08, Ex. 3
8281   10/2/2002   Florida Agency for Health Care Administration J. Wells, 8/14/06, Wells OAG FL0039373-426   May
                   Contract Amendment, with Provider Synergies, Ex. 391
                   and associated documents

8282   10/3/2002   Letter from Montana Medicaid to HCFA         MT, Defs' Joint S.J.,    MT005648-005649      May
                   regarding State Plan Amendment 03-002,       2/8/07, Ex. 051
                   change to the drug reimbursement methodology

8283   10/3/2002   Letter from West Virginia Medicaid to West      WV, Trial, DTX 038    WVDHHRAWP16108- May
                   Virginia Pharmacists Association                                      16111
8284               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 188 of 356




8285               INTENTIONALLY LEFT BLANK
8286   10/3/2002   Report to the General Court on Reimbursement Previously disclosed   MA012663-82        May
                   for Prescribed Drugs by the Commonwealth of with Expert Report of
                   Massachusetts Executive Office of Health and Bradford
                   Human Services

8287   10/4/2002   Letter from NACDS to OIG Re: OIG               N. Valentine, 7/19/07,                  May
                   Additional Analyses of Pharmacy Acquisition Valentine 15
                   Cost for Brand Name Drugs
8288   10/4/2002   Letter from Heritage Information Systems, Inc.                        DE_00000948      May
                   to C. Denemark
8289   10/7/2002   Email from Marsha McQueeney to Cheryl          M. McQueeney,          AWP037-0059-60   May
                   Eiler, subject "If Congress Doesn't Fix Drug   3/26/08, Roxane Ex. 70
                   Rule, Medicare Might"
8290   10/7/2002   Email from Robin Stone to Elaine Yerashunas, C. Eiler, 8/26/08,       AWP038-1503      May
                   Gina Josefowicz, Cheryl Eiler, Carolyn Helton, Roxane Ex. 101
                   Barbara Douglas, Christopher Tuggy, Shannell
                   McClurkin, Verna Brantley

8291              INTENTIONALLY LEFT BLANK
8292              INTENTIONALLY LEFT BLANK
8293   10/15/2002 Emails re: 10/15/02 pharmacy reimbursement                           ALMED 358025 -     May
                  task force meeting                                                   358033
8294   10/16/2002 Email from B. Churchwell, Alabama Medicaid, AL, K. Chadwick,         ALMED-301913       May
                  to S. Pillai, First DataBank re: Alabama    10/23/07, Chadwick Ex.
                  Pharmacy Pricing Project                    21
8295              INTENTIONALLY LEFT BLANK
8296   10/18/2002 Indiana State Plan Amendment                C. Shirley, 12/2/08, Ex. IN-00000016-0028   May
                                                              Dey 508
8297   10/18/2002 EDS Report                                                           KHPA002437/2441    May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 189 of 356




8298   10/19/2002 Presentation titled "Program Management       MO, G. Oestreich        GO-039958-40017    May
                  Issues National Council of State              10/28/07, Ex. Missouri
                  Pharmaceutical Association Executives"        216
8299   10/22/2002 Redacted CMS Memorandum from Dennis           D. Smith, 2/26/08,                         May
                  Smith to Thomas Scully and Ruben J. King-     Abbott-Smith Ex. 487
                  Shaw, Jr.
8300   10/21/2002 Email from Wyoming Medicaid to CMS            R. Homar, 12/2/08,      HHC014-0242        May
                  regarding reimbursement surveys               Roxane Ex. 007
8301   10/22/2002 Memorandum from Dennis Smith to Thomas Defs' Common S.J.              HHD830-000001-04   Expect
                  Scully and Ruben J. King-Shaw, Jr. re: Review Resp., 8/28/09, Ex. 137
                  of Medicaid Drug State Plan Amendments

8302   10/22/2002 Email between S. Childs and M. McNeill          TX, Sandoz S.J.,      VDP_0998399-400    May
                                                                  10/30/09, Ex. 75
8303              INTENTIONALLY LEFT BLANK
8304              INTENTIONALLY LEFT BLANK
8305   10/23/2002 Pharmacy Reimbursement Task Force Meeting                             ALMED 357873 -     May
                  Minutes (and associated documents)                                    357876

8306   10/27/2002 Email chain M. Redd, C. Burke, P. Jeffrey, G.   MA, P. Jeffrey, 6/14/07, MA016310-311    May
                  Gilmore and others                              Ex. Jeffrey 004

8307   10/29/2002 Letter from Dey to Medi-Cal Electronic Data                           DL-BO-166180       May
                  Systems (EDS) re: enclosed 2002 Q3 AMPs

8308   10/29/2002 Letter and enclosed 2002 Q3 AMPs from Dey                             DL-BO-166200-01    Expect
                  to CMS
8309   10/29/2002 Letter and enclosed 2002 Q3 AMPs from Dey                             DEY-LABS-0310294- May
                  to NYS EPIC program                                                   301
8310   10/30/2002 Pharmacy Task Force Reimbursement Project                             ALMED 391885 -    May
                  Meeting Minutes (and associated documents)                            391887
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 190 of 356




8311   10/31/2002 Email exchange between Sue Gaston at CMS          AL, Trial, DTX 1169      FDB-NEC 041070-72 May
                  and Kay Morgan at FDB (copying others)
                  regarding Definitions of AWP/WAC/DP

8312   11/2002     Dey Monthly Sales Report                         Previously disclosed   DL-TX 0129546-   May
                                                                    with Expert Report of 0129596
                                                                    Stiroh
8313   11/2002     Medi-Cal Update; Pharmacy Bulletin 546           J. Gorospe, 12/3/2008, CAAG/DHS0034375- May
                                                                    Ex. CA-Gorospe 023     78
8314   11/2002     Vermont First Health MAC list                    A. Rugg, 12/15/08, Dey HHD122-1887-1912 May
                                                                    Ex. 012
8315               INTENTIONALLY LEFT BLANK
8316   11/4/2002   Print-out from the Customer Support FAQ          AL, K. Chadwick,       FDB-AWP 02005-06    May
                   section of First DataBank's website              10/23/07, Chadwick Ex.
                                                                    11
8317              INTENTIONALLY LEFT BLANK
8318   11/13/2002 Deposition of Patricia Kay Morgan, dated          AL, P. Morgan,           FDB-AWP 01439-822 May
                  11/13/02, in State of Texas v. Dey, Inc. et al.   8/27/07, Morgan 2

8319              INTENTIONALLY LEFT BLANK
8320   11/18/2002 Montana Memorandum from Maggie Bullock            MT, Dey SJ, 2/7/07, Ex. MT 026450-MT       May
                  to Dave Bohyer regarding drug purchasing          P                       026454
                  pools
8321   11/18/2002 Emails and handwritten notes re: 11/18/02                                  ALMED 358006 -    May
                  reimbursement task force meeting                                           358018
8322   11/20/2002 Email from Kentucky Medicaid to Troy Koch         KY, Defs' Joint SJ,      KYDMSPL1009652    May
                  regarding Michigan Supplemental Rebate            10/15/08, Ex. 075
                  meeting
8323   11/22/2002 State Plan Amendment approval document            ID, G. Duerr, 12/3/09,   ID037904 - 7913   May
                                                                    Ex. Duerr 031
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 191 of 356




8324   11/27/2002 OIG State Medicaid Drug Cost Containment                                   HHD127-0176-82    May
                  Strategies Survey completed by Iowa

8325   12/2002     Dey Monthly Sales Report                        Previously disclosed      DL-TX 0129487-    May
                                                                   with Expert Report of     0129545
                                                                   Stiroh
8326   12/1/2002   Oregon Medicaid State Plan Amendment 02-                              HHC020-0405-406       May
                   015
8327   12/3/2002   CMS Program Memorandum,                         D. Thompson, 3/28/08,                       Expect
                   Intermediaries/Carriers, Transmittal No. AB-02- Abbott Ex. 1012
                   174, regarding Single Drug Pricer (SDP)

8328   12/3/2002   Maryland Medicaid State Plan Amendment 03-                                HHD039-0162-174   May
                   7
8329   12/4/2002   US Department of Health and Human Services,                               HHD127-0431-436   May
                   Office of Inspector General State Medicaid
                   Drug Cost Containment Strategies Survey for
                   Utah
8330   12/5/2002   Memorandum in Support of Unopposed Ex            Dey S.J., 6/26/09, Ex.                     May
                   Parte Application of the United States for an    100
                   Extension of Time to Intervene as of Right in
                   United States of America ex rel Ven-A-Care of
                   the Florida Keys, Inc. v. Dey Inc. et al., Civil
                   Action No. 00-10698 (D. Mass.)

8331   12/6/2002   Memo from Hawaii Medicaid to Providers          A. Hiramatsu, 5/1/08, HI_HI 000001813-14    May
                   regarding audits                                Ex. Hiramatsu 036
8332   12/9/2002   67 Fed. Reg. 74132-33                           Defs' Common S.J.                           May
                                                                   Resp., 8/28/09, Ex. 204

8333   12/9/2002   Letter from Roger Gunter to Diane Dunstan       A. Chapman, 12/15/08, HHC013-1087-89        May
                                                                   Ex. Dey 374
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 192 of 356




8334   12/10/2002 Letter from John Coster, Vice President of  D. Duzor, 2/27/08,        HHC002-0172 -        May
                  Policy and Programs at NACDS, to Sharon     Abbott Ex. 490            HHC002-0175
                  Summers regarding reduction in Medicaid
                  pharmacy reimbursement
8335   12/10/2002 Iowa Medicaid email regarding reimbursement                           Iowa-AWP-024771-     May
                                                                                        024772
8336   12/12/2002 Kentucky Medicaid Response to U.S.            KY, Defs' Joint Reply   KY_DMS_121671-       May
                  Department of Human Health, Office of         SJ, 1/15/09, Ex. 023    121691
                  Inspector General, State Medicaid Drug Cost
                  Containment Strategies Survey
8337   12/13/2002 OIG State Medicaid Drug Cost Containment      A. Hiramatsu, 5/1/08,   HI_HI 000015403-26   May
                  Strategies Survey completed by Hawaii         Ex. Hiramatsu 055

8338              INTENTIONALLY LEFT BLANK
8339   12/13/2002 67 Fed. Reg. 76684, 2002 WL 31778540                                                       May
8340   12/16/2002 Letter from Deirdre Duzor to Dennis Braddock, D. Duzor, 10/30/07,      HHC020-1199 -       May
                  Secretary of WA Department of Social and        Abbott Ex. 374         HHC020-1202
                  Health Services
8341   12/17/2002 Rite Aid Presentation titled "State of Delaware                        DE_00001101-124     May
                  Medicaid Financial Considerations of Cost
                  Containment"
8342   12/17/2002 Letter from David Parrella at Connecticut DSS CT, E. Dudley, 5/16/05, CT0022396-97         May
                  to Harold Finn at CMS                           Dudley 7
8343   12/18/2002 U.S. Dep't of Health and Human Services,        J. Walsh, 3/18/08, Ex. HHD127-0252-56      May
                  Office of Inspector General State Medicaid      Abbott 856
                  Drug Cost Containment Strategies Survey
8344   12/18/2002 OIG State Medicaid Drug Cost Contianment                               HHD127-0407-11      May
                  Strategies Survey completed by Pennsylvania

8345   12/19/2002 OIG State Medicaid Drug Cost Containment                              HHD127-0293-97       May
                  Strategies Survey completed by Mississippi
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 193 of 356




8346   12/23/2002 Letter from Larry Reed to Karen Reinertson,    A. Chapman, 12/15/08, HHD038-1133           May
                  Director, Office of Medical Assistance         Ex. Chapman 002

8347   2003        42 C.F.R. § 405.517 (2003)                    Dey S.J., 6/26/09, Ex.                      May
                                                                 176
8348   2003        42 U.S.C. § 1396r-8 (2003)                    Defs' Common S.J.                           Expect
                                                                 Resp., 8/28/09, Ex. 11
8349   2003        Letter from Larry Reed, CMS, to Robert        G. Cheloha, 12/3/08,     NEB018-020         May
                   Seiffert, Nebraska Medicaid regarding State   DOJ NE Ex. 002
                   Plan Amendment 02-010
8350   2003        Letter from North Dakota to CMS regarding     B. Joyce, 12/12/08, Dey HHC013-0071- 0073   May
                   State Plan Amendment TN 03-009                Ex. 714

8351   2003        Letter from Oregon Medicaid to CMS            K. Ketchum, 12/15/08, HHC020-0434           May
                   regarding State Plan Amendment                Roxane Ex. 015

8352   2003        Letter from Oregon Medicaid to CMS            K. Ketchum, 12/15/08, HHC020-0345-0346      May
                   regarding State Plan Amendment                Roxane Ex. 008

8353   2003        Letter from Oregon Medicaid to CMS            K. Ketchum, 12/15/08, HHC020-0295-0296      May
                   regarding State Plan Amendment                Roxane Ex. 010

8354   2003        Letter from Oregon Medicaid to CMS            K. Ketchum, 12/15/08, HHC020-0431-0433      May
                   regarding State Plan Amendment                Roxane Ex. 014

8355   2003        Nebraska HHS Finance & Support Manual,        G. Cheloha, 12/2/08,    NEB0168-186         May
                   with State Administrative Code Sections       Dey Ex. 904
8356   2003        New Hampshire Medicaid Audits                 L. Farrand, 10/28/08,   NH05425-05430       May
                                                                 Dey Ex. 78
8357   2003        North Dakota Medicaid Claim Form for          B. Joyce, 12/12/08, Dey                     May
                   Drug/Pharmacy                                 Ex. 710
                  Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 194 of 356




8358   2003   North Dakota Medicaid Pharmacy Agreement       B. Joyce, 12/12/08, Dey                   May
              SFN 1169                                       Ex. 709
8359   2003   OIG State Medicaid Drug Cost Containment       R. Reid, 12/15/08,      HHD127-0382-86    May
              Strategies Survey completed by Ohio            Abbott-Reid Ex. 010

8360   2003   Supplemental Rebate Agreement between Dey, L. Farrand, 10/28/08,     Dey Labs 0360178-   May
              Michigan, and First Health Services           Dey Ex. 96             0360200
              Corporation
8361   2003   Virginia Medicaid Pharmacy Claim Forms with K. Hayashi, 12/4/08,                         May
              instructions                                  Abbott Ex. 027
8362   2003   Virginia State Plan Amendment 02-08           H. Tomlinson, 11/3/08,                     May
                                                            USA Ex. 015
8363   2003   State of South Carolina - Medicaid Cost                              SCSHP0023440-65     May
              Savings Briefing by First Health Services Co.

8364   2003   Alabama Medicaid Agency - Annual Report                                 ALMED-376468-517 May
              FY2003
8365   2003   Medicare Prescription Drug Improvement and     Previously disclosed                      May
              Modernization Act of 2003, 117 Stat. 2066      with Expert Reports of
              (2003)                                         Stiroh and Bradford
8366   2003   Danzon, Patricia M. and Adrian Towse,          Previously disclosed                      May
              “Differential Pricing for Pharmaceuticals:     with Expert Report of
              Reconciling Access, R&D and Patents,”          Bradford
              International Journal of Health Care Finance
              and Economics, 3, pp. 183–205
8367   2003   DiMasi, Joseph A., Ronald W. Hansen, and      Previously disclosed                       May
              Henry G. Grabowski, “The price of innovation: with Expert Report of
              new estimates of drug development costs,”     Bradford
              Journal of Health Economics, 22, pp. 151-185
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 195 of 356




8368   2003       National Pharmaceutical Council,               Previously disclosed                     May
                  Pharmaceutical Benefits under State Medical with Expert Reports of
                  Assistance Programs                            Bradford & Stiroh
8369   2003       42 U.S.C. § 1395u                                                                       May
8370   2003       42 U.S.C. § 1395m                                                                       May
8371   2003       Excerpt from ACS's Proposal to to the State of HI, Lynn Donovan,    HI_HI 000005601-641 May
                  Hawaii for Medicaid Prescription Drug          7/20/09, Ex. Donovan
                  Management Program                             53
8372   1/2003     "OIG/CMS Medicaid," by Edward Heckman, in AL, J. Rector, 8/29/07, NCPA-00654-659        May
                  the January 2003 issue of America's Pharmacist NCPA 16

8373   1/2003     Comparison of Medicaid Pharmacy Costs and   J. Gorospe, 9/22/08, Ex. CAAG/DHS 0072755- May
                  Usage between the Fee-for-Service and       Gorospe 037              66
                  Capitated Setting Report
8374   1/2003     Dey Monthly Sales Report                    Previously disclosed    DEY-BO-0005574-     May
                                                              with Expert Report of   DEY-BO-0005611
                                                              Stiroh
8375   1/2003     Montana Pharmacy Association 2002 Survey of MT, Defs' Joint S.J.,   MT014566-014585     May
                  Montana Community Pharmacies                2/8/07, Ex. 046
8376   1/2003     Montana Pharmacy Association report: 2002   MT, Defs' Joint S.J.,   MT025491-025510     May
                  Survey of Montana Community Pharmacies      2/8/07, Ex. 032

8377   1/2003     Print-out from Red Book™ for Windows®       R. Vito, 2/6/08, Dey Ex. HHD100-0380        May
                                                              48
8378   1/1/2003   Letter from Connecticut Medicaid to All     CT, Warrick SJ, 6/1/06, CT0010393-94        May
                  Providers regarding Maximum Allowable Cost Ex. 029
                  Pricing
8379   1/1/2003   South Carolina Medicaid Study: Findings and                          SCDHHS 055746-56   May
                  Recommendations to the House Ways & Means
                  Committee and the Senate Finance
                  Committees, prepared by the South Carolina
                  Budget and Control Board
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 196 of 356




8380   1/1/2003   Transmittal and Notice of Approval of State                       HHC014-0768-773    May
                  Plan Material for Utah State Plan Amendment
                  03-005 with associated documents

8381   1/1/2003   Transmittal and Notice of Approval of State                       HHC014-0780        May
                  Plan Material for Utah State Plan Amendment
                  03-005A
8382   1/1/2003   42 CFR 447.204                              S. Schondelmeyer,                        May
                                                              2/27/09, Ex. Roxane
                                                              Schondelmeyer 7
8383   1/2003     AdminaStar pricing array for Albuterol                            AWP033-1972        May
8384   1/2003     AdminaStar pricing array for Albuterol                            AWP033-1973        May
8385   1/2003     AdminaStar pricing array for Ipratropium                          AWP033-1653-1654   May
                  Bromide
8386   1/1/2003   Delaware Medicaid State Plan Amendment 96-                        HHC007-0829-30     May
                  08
8387   1/1/2003   Delaware Medicaid State Plan Amendment SP-                        HHD039-0080-83     May
                  397
8388   1/1/2003   Utah Medicaid State Plan Amendment 03-005                         HHC014-0770        May

8389   1/1/2003   Massachusetts Medicaid State Plan                                 HHC006-0257        May
                  Amendment 03-004
8390   1/1/2003   New York State Pharmacist Newsletter       C. Burridge, 4/22/08,  PSSNY 003468-73    May
                                                             Burridge Ex. 013
8391   1/3/2003   Email communication between B. Churchwell, AL, K. Chadwick,       ALMED-322568-75    May
                  Alabama Medicaid, and S. Pillai, First     10/23/07, Chadwick Ex.
                  DataBank re: MAC Price Dump                24
8392   1/6/2003   Letter from National Association of Chain  A. Hansen, 3/8/08,     KY_DMSS_6607-      May
                  Drug Stores to Myers & Stauffer regarding  Hansen Ex. 033         6608
                  studies
8393   1/6/2003   North Dakota Medicaid State Plan Amendment                        HHD311-074         May
                  03-007
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 197 of 356




8394   1/9/2003    Letter from Larry Reed, co-leader of the      L. Reed, 10/22/08,      HHC 006-0258 May
                   pharmacy team at CMS, to Wendy Warring,       Roxane Ex. 125
                   Commissioner of the Division of Medical
                   Assistance in Massachusetts
8395   1/10/2003   Connecticut Medicaid email regarding State    CT, Warrick SJ, 6/1/06, CT0034737    May
                   MAC program                                   Ex. 080
8396   1/10/2003   2002 Pharmacy Program Survey, Response by D. Bahr, 1/29/08, Ex. KYDMSPL 64064-076 May
                   Kentucky                                      Bahr 027
8397   1/11/2003   Email from Nevada Medicaid official regarding NV, Defs Joint S.J.,                 May
                   Nevada Pharmacy Issues                        Ray Decl., 2/8/07, Ex.
                                                                 31
8398   1/14/2003   Memorandum and attached documents from        D. Duzor, 3/26/08, Dey MA050978 -    May
                   Laura Watson to Doug Brown, Judy Karp,        Ex. 170                 MA050985
                   Nancy Savoie, Edward Rewolinski regarding
                   Approved SPA 02-016 (Pharmacy Acquisition
                   Cost and Dispensing Fees)

8399   1/14/2003   Troy Koch Memorandum on Maximum               KY Defs' Joint SJ,      KY_DMS_121784-    May
                   Allowable Cost for Kentucky                   10/15/08, Ex. 085       121790
8400   1/16/2003   Transmittal and Notice of Approval of State                           HHC014-0781       May
                   Plan Material for Utah State Plan Amendment
                   03-005B
8401   1/24/2003   Montana Medicaid memo regarding Proposed      MT, Defs' Joint S.J.,   MT023533          May
                   Rule Associated with Medicaid Pharmacy        2/8/07, Ex. 069
                   Reimbursement
8402   1/29/2003   Letter and enclosed 2002 Q4 AMPs from Dey                             DL-BO-166767-69   Expect
                   to CMS
8403   1/29/2003   Letter and enclosed 2002 Q4 AMPs from Dey                             DL-BO-166746-47   May
                   to Texas Vendor Drug Program
8404   1/29/2003   Letter and enclosed 2002 Q4 AMPs from Dey                             DEY-LABS-0310900- May
                   to Medi-Cal EDS and CMS                                               04
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 198 of 356




8405   02/2003     Dey Monthly Sales Report                        Previously disclosed     DEY-BO-0005885-      May
                                                                   with Expert Report of    DEY-BO-0005932
                                                                   Stiroh
8406   2/2003      Email between states' Medicaid directors        A. Hiramatsu, 5/1/08,    HI_HI 000052625-27   May
                   regarding 340B Program                          Ex. Hiramatsu 063
8407   2/1/2003    Washington Medicaid State Plan Amendment                                 HHC018-0185-89       May
                   03-004
8408   2/5/2003    Joint Budget Hearing of the Senate, Finance & NY, C. Burridge,           PSSNY 000408 - 15    May
                   Assembly Ways and Means Committees,           4/22/08, Ex. Burridge
                   Testimony by C. Burridge and S. Corman        Ex. 14

8409   2/5/2003    Connecticut Medicaid State Plan Amendment                              HHC004-0003            May
                   03-002
8410   2/6/2003    NACDS Memorandum Weekly Report from             N. Valentine, 7/19/07, NACDS-WI 0632-36       May
                   Cathy Polley to Nicole Valentine regarding      Valentine 8
                   Upper Midwest Region Weekly Activity
                   Report
8411   2/7/2003    CMS Program Memorandum,                         D. Thompson, 3/28/08,                         Expect
                   Intermediaries/Carriers, Transmittal No. AB-03- Abbott Ex. 1013
                   014, regarding Single Drug Pricer (SDP)

8412   2/11/2003   Letter from Oregon Department of Human          K. Howell, 4/22/08,      HHC 020-0345-90      May
                   Services to Maria Garza re: Oregon State Plan   Abbott Ex. 1086
                   Amendment #02-17
8413   2/13/2003   Email between Hawaii Medicaid officials         A. Hiramatsu, 5/1/08,    HI_HI 000052628      May
                   regarding reimbursement                         Ex. Hiramatsu 032
8414   2/14/2003   Claim #3049800657401-Albuterol Sulfate          D. Campana, 8/21/08,                          May
                   Inhalation Solution, 0.083%, 3ML NDC            Ex. Campana 064
                   #49502069703
8415   2/14/2003   Email between M. Butt and C. Cioppa             M. Butt, 2/12/10, Butt   NYCOAWPNYDOH0 May
                                                                   Ex. 46                   3930 -35
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 199 of 356




8416   2/19/2003   Wisconsin survey comments regarding              C. Decker, 12/11/06,    PSW 00005327-5328   May
                   reimbursement proposal                           PSW Ex. 006
8417   2/24/2003   CMS letter approving and attaching Kansas                                KHPA051997/2010     May
                   State Plan Amendment, from Deirdre Duzor,
                   Co-Director Pharmacy Team, CMS, to Janet
                   Schalanksy, Secretary, SRS
8418   2/24/2003   Letter from Pharmacy Society of Wisconsin to   C. Decker, 12/11/06,      PSW 00010530-531    May
                   Governor regarding reimbursement cuts          PSW Ex. 004
8419   2/26/2003   E-mails from Ted Collins to Carrie Gray        WI Defs' Joint Resp.,     WI-Prod-AWP 069099- May
                                                                  1/15/08, Ex. 82           069100
8420   2/27/2003   E-mail string from Ted Collins to Carrie Gray, WI, Trial, DX-0159        WI-Prod-AWP-069104-May
                   with attachment                                                          08
8421   2/27/2003   Weekly Report Memorandum from Nicole           N. Valentine, 7/19/07,    NACDS-WI 0637-40 May
                   Valentine to Cathy Polley regarding Upper      Valentine 7
                   Midwest Region Weekly Activity Report
8422   03/2003     Dey Monthly Sales Report                       Previously disclosed      DEY-BO-0005941-     May
                                                                  with Expert Report of     DEY-BO-0005978
                                                                  Stiroh
8423   3/2003      Letter from Russell Johnston to State Medicaid Dey S.J., 6/26/09, Ex.    MD0015270-71        May
                   Administrator, dated March 2003                124
8424   3/1/2003    Minnesota Department of Human Services’        Dey S.J., 6/26/09, Ex.    HHD075-0227-43      May
                   State Plan Amendment, Transmittal No. 03-01 256

8425   3/1/2003    Minnesota Medicaid State Plan Amendment 03-                              HHD075-0242-43      May
                   01
8426   3/2003      MassHealth Transmittal Letter PHM-46                                     MA006430 to 006447 May

8427   3/5/2003    Change record detail - multiple scenarios with   D. Campana, 8/20/08,                        May
                   description                                      Ex. Campana 056
8428   3/10/2003   Manning, Joe, "Pharmacies say Budget Cut         Previously disclosed                        May
                   would Cost Millions," The Milwaukee Journal      with Expert Report of
                   Sentinel                                         Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 200 of 356




8429   3/11/2003   Letter from DrugMart United Pharmacy to      MT, Defs' Joint S.J.,   MT028948           May
                   Montana Medicaid regarding decrease in       2/8/07, Ex. 072
                   pharmacy reimbursement
8430   3/11/2003   California Legislature Assembly Committee on CA, Rosenstein,         CAAG/DHS0077542- May
                   Health, Prescription Drugs: Why are they so  11/6/08, Exhihit        558
                   expensive? What can we do to control costs? Rosenstein 037

8431   3/13/2003   Memo from Brendan Joyce, North Dakota          B. Joyce, 12/12/08, Dey                    May
                   Medicaid, to All Participating Pharmacies      Ex. 712
8432   3/14/2003   Letter from "State or Oregon" to "Region 10    Defs' Common S.J.        HHC020-0382       May
                   Pharmacy Team" re: Response to Question        Resp., 8/28/09, Ex. 114
                   regarding SPA 02-16
8433   3/14/2003   Letter from Ann Myers, State Plan Coordinator D. Duzor, 10/30/07,       HHC020-1194 -     May
                   for WA Department of Social and Health         Abbott Ex. 375           HHC020-1198
                   Services, to Kim Howell
8434   3/14/2003   Letter from Washington Medicaid to CMS         A. Hautea-Wimpee,        HHC018-0035-0036 May
                   regarding State Plan Amendment 02-022          11/24/08, Roxane Ex.
                                                                  017
8435   3/15/2003   Fax from Cheryl Young of CMS to Kevin          J. Gorospe, 9/22/08, Ex. CAAG/DHS 0069676- May
                   Gorospe with handwritten comments to the       Gorospe 049              92
                   state plan amendment (03-012)
8436               INTENTIONALLY LEFT BLANK
8437   3/17/2003   Letter from Stephen Virbitsky, DHHS OIG                                 PA 711046-056     May
                   Regional Inspector General for Audit Services,
                   to Michael Stauffer, DPW Deputy Secretary for
                   Administration, regarding draft OIG Report
                   entitled “Review of the Commonwealth of
                   Pennsylvania’s Medicaid Drug Rebate Program
                   (A-03-03-00201)” and attaching copy of the
                   report
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 201 of 356




8438   3/18/2003   Letter from L. Reed, Co-Director, Pharmacy                         HHD039-0018-20     May
                   Team, to W. Tucker, Interim Senior Deputy
                   Director Medical Assistance Administrator,
                   with enclosures
8439   3/20/2003   Letter from M. Morgan to Providers            KY, M. Morgan,         KY_DMS_000000000 May
                                                                 10/8/08, Morgan Ex. 35 05666 to 5669

8440   3/21/2003   North Carolina Medicaid Pharmacy MAC List L. Weeks, 10/21/08,                         May
                   Presentation prepared by Mercer Consulting Dey Ex. 064

8441   3/26/2003   Kentucky Medicaid Drug Maximum Allowable Dey S.J., 6/26/09, Ex.                       May
                   Cost Frequently Asked Questions, updated  287
                   March 26, 2003, available at
                   http://chfs.ky.gov/NR/rdonlyres/335E2C19-
                   35A9-4DDE-908F-
                   53F74B2460AC/0/faq032603.pdf

8442   3/27/2003   Catalogs from Anda titled "Injectables,       D. Tawes, 12/2/08,   HHD157-0083-0092   May
                   Vaccines & Solutions Product Reference        Roxane Ex. 171
                   Guide"
8443   3/27/2003   Chart titled Comparison of Ipratropium        D. Tawes, 12/2/08,   HHD171-0004        May
                   Bromide Prices (AWP, WAC, and Innovatix)      Roxane Ex. 176

8444               INTENTIONALLY LEFT BLANK
8445               INTENTIONALLY LEFT BLANK
8446   3/31/2003   Letter from Stan Rosenstein, Acting Deputy    L. Reed, 10/22/08,   CAAG/DHS 0029201- May
                   Director of Medi-Cal Care Services from the   Roxane Ex. 128       208
                   State of California to Linda Minamoto,
                   Associate Regional Administrator at CMS
8447               INTENTIONALLY LEFT BLANK
8448               INTENTIONALLY LEFT BLANK
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 202 of 356




8449   4/1/2003   907 KAR 1:018E, emergency regulation            KY Defs' Joint SJ,   KYLEG03996-04013 May
                  implementing state MAC                          10/15/08, Ex. 083
8450   4/2003     Draft Powerpoint presentation entitled "First   AL, P. Morgan,       ALMED-351019-029 May
                  DataBank's 17th Annual Customer Seminar,        8/27/07, Morgan 9
                  April 6-8, 2003, Everything You Always
                  Wanted to Know About Pricing Data"

8451   4/2003     Powerpoint presentation entitled "Everything AL, P. Morgan,          FDB-ALABAMA        May
                  You Always Wanted to Know About Pricing 8/27/07, Morgan 12           086451-481
                  Data," by Kay Morgan
8452              INTENTIONALLY LEFT BLANK
8453              INTENTIONALLY LEFT BLANK
8454   4/1/2003   Supplemental Drug Rebate Agreement between                           DEY-BO-0227238 -   May
                  Ohio and Dey, L.P.                                                   DEY-BO-0227251
8455   4/2003     AdminaStar pricing array for Albuterol                               AWP033-2095        May
8456   4/2003     AdminaStar pricing array for Ipratropium                             AWP033-2124        May
                  Bromide
8457   4/2003     Palmetto pricing array for Cromolyn                                  AWQ025-0639-40     May
8458   4/2003     Palmetto pricing array for Cromolyn                                  AWQ045-0014-15     May
8459   4/1/2003   Idaho Medicaid State Medicaid State Plan                             HHC020-0743-44     May
                  Amendment 03-002
8460   4/1/2003   Kentucky Medicaid State Plan Amendment 03-                           HHC008-0017        May
                  009
8461   4/1/2003   HCFA 179 form for District of Columbia SPA                           HHC007-0834        May
                  Transmittal No. 03-03
8462   4/1/2003   Excerpt of District of Columbia SPA,                                 HHC007-0835        May
                  Transmittal No. 03-03
8463   4/2/2003   Email from Bungalow Drug Pharmacy to         MT, Defs' Joint S.J.,   MT025524           May
                  Montana Medicaid, regarding decrease in      2/8/07, Ex. 073
                  pharmacy reimbursement
8464              INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 203 of 356




8465   4/4/2003    Email chain between Hawaii Medicaid and            HI, L. Donovan,         HI_HI 000052644-46   May
                   CMS regarding Pharmacy Program Changes- 7/20/09, Ex. 61
                   Budget Shortfall, attaching state-by-state list of
                   Medicaid ingredient costs and dispensing fees

8466               INTENTIONALLY LEFT BLANK
8467   4/9/2003    Email between Hawaii Medicaid officials         Hiramatsu, 5/1/08, Ex. HI_HI 000052655-56       May
                   regarding reimbursement                         39
8468   4/9/2003    Letter from Patrick J. O'Connell, Assistant     L. Reed, 10/2/08, Dey HHD260-0001-0002          May
                   Attorney General for the State of Texas, to     Ex. 183
                   Dennis Smith, Director of CMS, re: Request for
                   Information from the State of Texas
8469   4/11/2003   Letter from Michael Stauffer, DPW Deputy                               PA 710905-907            May
                   Secretary for Administration, to Carole Rebert,
                   Official-in-Charge Office of Medical
                   Assistance Programs, regarding Closing
                   Conference Report for Drug Rebate Program
                   Conference held on 4/1/2003; copy of report
                   summarizing meeting and draft report from
                   OIG auditors of their review of Drug Rebate
                   Program
8470   4/15/2003   Declaration of Becky Farris in Support of        Dey S.J. Opp., 8/28/09,                        May
                   Plaintiff’s Ex Parte Application for a           Ex. 350
                   Temporary Restraining Order and Order to
                   Show Cause Re Preliminary Injunction, filed
                   on April 15, 2003 in Dey, L.P. v. First
                   Databank, Inc., et al., Civil Action No. 26-
                   21019 (Calif. Super. Ct.)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 204 of 356




8471   4/15/2003   Declaration of Hema Chandranatha in Support Dey S.J. Opp., 8/28/09,                         May
                   of Plaintiff’s Ex Parte Application for a    Ex. 348
                   Temporary Restraining Order and Order to
                   Show Cause Re Preliminary Injunction, filed
                   on April 15, 2003 in Dey, L.P. v. First
                   Databank, Inc., et al., Civil Action No. 26-
                   21019 (Calif. Super. Ct.)
8472   4/15/2003   Declaration of Pamela Marrs in Support of      Dey S.J. Opp., 8/28/09,                      May
                   Plaintiff’s Ex Parte Application for a         Ex. 353
                   Temporary Restraining Order and Order to
                   Show Cause Re Preliminary Injunction, filed
                   on April 15, 2003 in Dey, L.P. v. First
                   Databank, Inc., et al., Civil Action No. 26-
                   21019 (Calif. Super. Ct.)
8473   4/15/2003   Declaration of Steven Desrosiers in Support of Dey S.J. Opp., 8/28/09,                      May
                   Plaintiff’s Ex Parte Application for a         Ex. 349
                   Temporary Restraining Order and Order to
                   Show Cause Re Preliminary Injunction, filed
                   on April 15, 2003 in Dey, L.P. v. First
                   Databank, Inc., et al., Civil Action No. 26-
                   21019 (Calif. Super. Ct.)
8474   4/16/2003   Chart titled Comparison of Ipratropium         Tawes, 12/2/08, Roxane HHD171-0006           May
                   Bromide Prices (Texas Medicaid, RedBook,       Ex. 177
                   Innovatix, and Anda)
8475   4/17/2003   Series of emails between Stephanie Schwartz    L. Reed, 10/22/08,        HHC 009-1580-584   May
                   of the State of Minnesota and Doris Ross at    Roxane Ex. 136
                   CMS regarding MN state plan amendment.

8476   4/17/2003   Transmittal and Notice of Approval of State    Chang, 4/17/09, Abbott                       May
                   Plan Material for the State of Washington      Ex. 1176
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 205 of 356




8477   4/23/2003   Email chain between Elena Nicolella at CMS     CT, E. Dudley, 5/16/05, CT0020594-95        May
                   and Evelyn Dudley at Connecticut DSS re: CT    Dudley 8
                   SPA 03-002
8478   4/25/2003   Letter and attached documents from Deirdre     Duzor, 10/30/07,      HHC009-1574 -         May
                   Duzor to Mary Kennedy, Medicaid Director of    Abbott Ex. 377        HHC009-1584
                   Minnesota Department of Human Services

8479   4/29/2003   Letter and enclosed 2003 Q1 AMPs from Dey                            DEY-LABS-0362155- Expect
                   to CMS                                                               56
8480   4/29/2003   Letter and enclosed 2003 Q1 AMPs from Dey                            DEY-LABS-0308499- May
                   to NYS EPIC Program                                                  507
8481   4/29/2003   Hawaii Medicaid memo regarding pharmacy        HI, L. Donovan,       HI_HI 000064656-662 May
                   issues report                                  8/26/09, Donovan Ex.
                                                                  67
8482   5/1/2003    List titled Potential FUL Amounts              Tawes, 12/2/08, Roxane HHD245-000486-487 May
                                                                  Ex. 190
8483   5/5/2003    HCFA approval letter and Washington State      Wimpee, 11/24/08,      WA-00000039-44    May
                   Plan Amendment 02-022                          USA Ex. 10
8484   5/6/2003    Letter from Connecticut Medicaid to CMS        CT, Warrick S.J.,      CT0028635-67      May
                   regarding State Plan Amendment 03-002, and     6/1/06, Ex. 30
                   associated documents relating to
                   reimbursement
8485   5/8/2003    Email from Paula Avarista to Robert Vito re:   Vito, 6/20/07, Abbott HHD068-0411 - 1412 May
                   AMPAA Conference                               Ex. 255
8486   5/9/2003    List titled Reimbursement (minus dispensing    Tawes, 12/2/08, Roxane HHD160-0224-0225 May
                   fees) and Utilization Data for Drug Products   Ex. 191
                   Not on FUL List
8487   5/9/2003    Spreadsheet entitled "Information for Drug     Tawes, 12/2/08, Roxane HHD160-0190          May
                   Products that Meet FUL Criteria"               Ex. 189
8488   5/14/2003   New Release regarding Hawaii Governor          Hiramatsu, 5/1/08,     HI_HI 000054153-54   May
                   signing drug bill                              Hiramatsu 64
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 206 of 356




8489   5/14/2003   Letter from CMS to L. Reed                   Previously disclosed    HHC020-0354-55     May
                                                                with Expert Report of
                                                                Bradford
8490               INTENTIONALLY LEFT BLANK
8491   5/15/2003   Letter from Deirdre Duzor to Dennis Braddock, Duzor, 10/30/07,       HHC018-0016        May
                   Secretary of WA Department of Social and      Abbott Ex. 376
                   Health Services
8492   5/19/2003   Virginia Register of Regulations              Tomlinson, 11/3/08,                       May
                                                                 USA Ex. 13
8493               INTENTIONALLY LEFT BLANK
8494   5/21/2003   Legislative Fiscal Bureau, Joint Committee on WI, Trial, DX-0244     WI-Prod-AWP-108880-May
                   Finance, Prescription Drug Reimbursement                             91
                   Rates (DHFS - Health Care Financing-
                   Payments, Services, and Eligibility), Paper #
                   389
8495   5/22/2003   Medicaid Prescription Reimbursement          AL, Trial, DTX 324                       May
                   Information by State As of May 22, 2003
8496   5/23/2003   Letter from Kentucky Medicaid to CMS         KY, Sandoz Reply S.J., KY_DMS_138190     May
                   regearding state plan amendment implementing 1/15/09, Ex. 9
                   state maximum allowable cost
8497   5/23/2003   Letter from M. Robinson to R. Cottrell       KY, M. Robinson,        KY_DMS_000000001 May
                   attaching state plan amendment 03-09         2/7/08, Robinson Ex. 20 38190 - 138193

8498               INTENTIONALLY LEFT BLANK
8499   6/19/2003   1 Tex. Admin. Code 354.1927                                                             May
8500   6/23/2003   CMS approval letter and Washington State       M. Davis, 12/3/08, USA WA-00000032-038   May
                   Plan Amendment 03-004                          Ex. 25
8501   6/25/2003   Letter and attached documents from Deirdre     Duzor, 10/30/07,       HHC014-0772 -     May
                   Duzor to Rod Betit, Executive Director of Utah Abbott Ex. 379         HHC014-0790
                   Department of Health
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 207 of 356




8502   07/2003    Dey Monthly Sales Report                    Previously disclosed     DEY-LABS-0296821- May
                                                              with Expert Report of    870
                                                              Stiroh
8503   7/1/2003   Minnesota Department of Human Services’     Dey S.J., 6/26/09, Ex.   HHD075-0244-60     May
                  State Plan Amendment, Transmittal No. 03-29 257

8504   7/1/2003   Letter from Iowa Medicaid to Participating                           Iowa-AWP 000044-45 May
                  Pharmacy Providers regarding reimbursement
                  methodology
8505   7/1/2003   DMERC A pricing array for J7644                                      AWQ057-0996-97    May
8506   7/1/2003   DMERC A pricing array for J7644                                      AWQ057-1129-30    May
8507   7/1/2003   Supplemental Rebate Agreement between                                DEY-LABS-0360946- May
                  Florida and Dey, L.P.                                                59
8508   7/1/2003   DMERC A pricing array for Cromolyn                                   AWQ057-1127-28    May
8509   7/2003     Palmetto pricing array for Cromolyn                                  AWQ045-0288-90    May
8510   7/2003     Palmetto pricing array for Cromolyn                                  AWQ045-0335-37    May
8511   7/2003     Palmetto pricing array for Cromolyn                                  AWQ025-0694-96    May
8512   7/1/2003   Maine Medicaid State Plan Amendment 03-008                           HHC006-0124       May

8513   7/1/2003   Maryland Medicaid State Plan Amendment 04-                           HHC007-0987        May
                  08
8514   7/1/2003   Minnesota Medicaid State Plan Amendment 03-                          HHC009-1565-66     May
                  29
8515   7/1/2003   New Jersey Medicaid State Plan Amendment                             HHD306-0001-12     May
                  03-05-MA
8516   7/1/2003   Tennessee Medicaid State Plan Amendment                              HHD090-3788-391    May
                  2000-3
8517   7/2003     OIG Report - Review of the Commonwealth of                           PA 711002-028      May
                  Pennsylvania's Medicaid Drug Rebate Program
                  (A-03-03-00201)
8518   7/8/2003   Medicaid Preferred Drug List Voluntary                               GSK-AG 0035935 -   May
                  Volume Discount Policy (July 8, 2003)                                0035936
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 208 of 356




8519   7/16/2003   New Hampshire Pharmacy Provider Manual       L. Farrand, 10/28/08,                      May
                                                                Dey Ex. 88
8520   7/17/2003   Letter from CMS to South Carolina Medicaid                            HHD086-0652       May
                   regarding State Supplemental Rebates

8521   7/18/2003   Print-out from Innovatix.com’s website       Tawes, 12/2/08, Roxane HHD100-0373-0376    May
                                                                Ex. 173
8522   7/19/2003   Report entitled "Generic Drug Cost           Roxane S.J., 6/26/09,                      May
                   Containment in Medicaid: Lessons from Five   Ex. 204
                   State Maximum Allowable Cost (MAC)
                   Programs," prepared for CMS
8523   7/21/2003   Letter from CMS to Kentucky Medicaid         KY, M. Robinson,         KY_DMS_138175-    May
                   approving state maximum allowable cost in    2/7/08, Ex. 23           138176
                   reimbursement
8524   7/29/2003   Letter and enclosed 2003 Q2 AMPs from Dey                             DEY-LABS-0362149- Expect
                   to CMS                                                                50
8525   7/29/2003   Letter and enclosed 2003 Q2 AMPs from Dey                             DEY-LABS-0309094- May
                   to First Health                                                       97
8526   7/29/2003   Letter and enclosed 2003 Q2 AMPs from Dey                             DEY-LABS-0309099- May
                   to NYS EPIC Program                                                   100
8527   08/2003     Dey Monthly Sales Report                     Previously disclosed     DEY-LABS-0296767- May
                                                                with Expert Report of    820
                                                                Stiroh
8528   8/2003      Wyoming Medicaid Professional Billing        Homar, 12/2/08,          WY00001242-1254   May
                   Module                                       Roxane Ex. 14
8529   8/2003      Division of Medicaid-Manager & Supervisors   ID, P. Leary, 12/1/09,   ID049271          May
                                                                Ex. Leary 5
8530   8/1/2003    North Dakota Medicaid State Plan Amendment                            HHC013-0044       May
                   03-009
8531   8/2003      Provider Agreement, ND Department of       Joyce, 12/12/08, Dey                         May
                   Human Services                             Ex. 708
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 209 of 356




8532   8/4/2003    Email between Hawaii Medicaid officials        Hiramatsu, 5/1/08, Ex. HI_HI 000052712     May
                   regarding ACS Savings Projections              Hiramatsu 33
8533   8/4/2003    Letter from Linda Minamoto to All State        Gaston, 3/19/08, Dey   HHC016-0123 -       May
                   Medicaid Agencies regarding Notification of    Ex. 137                HHC016-0125
                   Medicaid Drug Federal Upper Limit (FUL)
                   Changes to Transmittal No. 37, Dated
                   November 20, 2001
8534   8/5/2003    Memo From Christine Zukas- Lessard To Peter J. Walsh, 3/18/08, Ex.                        May
                   Walsh Entitled Request For Executive             Abbott 855
                   Approval Of Administrative Rule-making
8535   8/14/2003   Letter from Gregory Carson at CMS to All         R. O'Brien, 5/8/07,   HHD043-0001-02     May
                   Fiscal Intermediaries and All Carriers regarding Abbott Ex. 172
                   Coordination of Responses to Subpoenas and
                   Other Requests from Outside Entities

8536   8/20/2003   68 Fed. Reg. 50428-52                          D. Thompson, 3/28/08,                      May
                                                                  Abbott Ex. 1023

8537               INTENTIONALLY LEFT BLANK
8538   8/22/2003   Collection of draft letters from Medi-Cal to   CA, D. Hillblom,       CAAG/DHS0076960- May
                   Bergen Brunswig Drug Company, Cardinal         9/23/08, Ex. Hillblom 73
                   Health, McKesson                               33
8539   09/2003     Dey Monthly Sales Report                       Previously disclosed   DEY-LABS-0296707 - May
                                                                  with Expert Report of 766
                                                                  Stiroh
8540   9/9/2003    List titled 2003 VA Prices for Albuterol and   Tawes, 12/2/08, Roxane HHD100-0163        May
                   Ipratropium Bromide Solutions (Source:         Ex. 174
                   www.vapbm.org)
8541   9/10/2003   PAAD Drug Rebate Agreement between New                                 DEY-BO-0227131 -   May
                   Jersey and Dey                                                         DEY-BO-0227141
8542               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 210 of 356




8543   9/15/2003   West Virginia Medicaid State Plan Amendment                          HHD039-0498-505    May
                   03-10
8544   9/17/2003   Email, Mary Obley, Karen Kluczykowski                                KHPA084420         May
8545   9/19/2003   Chart titled Comparison of Ipratropium        Tawes, 12/2/08, Roxane HHD100-0393        May
                   Bromide Prices (Texas Medicaid, RedBook,      Ex. 178
                   Innovatix, and Anda)
8546   9/25/2003   Letter to Cheryl Harris, Associate Regional   WI, Trial, DX-0312     WI-Prod-AWP-123639-May
                   Administrator, CMS, from Mark Moody,                                 40
                   Administrator, DHFS
8547   10/2003     Dey Monthly Sales Report                      Previously disclosed   DEY-LABS-0296608 - May
                                                                 with Expert Report of 706
                                                                 Stiroh
8548   10/2003     OIG Report - State Strategies to Contain      Roxane S.J., 6/26/09,                     May
                   Medicaid Drug Costs (OEI-05-02-00680)         Ex. 210
8549   10/2003     Survey of Dispensing and Acquisition Costs of T. Hansen, 12/11/08,   KY_DMS_ 125698- Expect
                   Pharmaceuticals in the Commonwealth of        Ex. 13                 125834
                   Kentucky, prepared by Myers & Stauffer



8550   10/1/2003   Supplemental Rebate Agreement between                                   DEY-BO-0227339 -    May
                   Louisiana and Dey, L.P.                                                 DEY-BO-0227351
8551   10/1/2003   Title 42, § 405.517, Revised October 1, 2003   Previously disclosed                         May
                                                                  with Expert Reports of
                                                                  Stiroh and Bradford
8552   10/1/2003   DMERC A pricing array for Cromolyn                                      AWQ057-0995         May
8553   10/2003     Palmetto pricing array for Cromolyn                                     AWQ025-1056-57      May
8554   10/2003     Palmetto pricing array for Cromolyn                                     AWQ045-0399-400     May
8555   10/1/2003   Florida Agency for Health Care Administration FL, Wells, 8/14/06,       OAG FL0038893-914   May
                   Standard Contract, with Provider Synergies    Wells Ex. 390

8556   10/6/2003   Letter to Deirdre Duzor from Stan Rosenstein   Gorospe, 9/22/08, Ex.    CAAG/DHS 0029144- May
                                                                  Gorospe 50               86
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 211 of 356




8557   10/6/2003   Virginia Register of Regulations            Tomlinson, 11/3/08,                        May
                                                               USA Ex. 14
8558   10/8/2003  Article from Health Affairs entitled "Market R. Berenson, 12/18/07,                     May
                  Watch, Medicare Payment Policy: Does Cost    Dey Ex. 35
                  Shifting Matter?"
8559   10/27/2003 Iowa Medicaid email exchange regarding bid                            Iowa-AWP 002996-  May
                  clarification                                                         3000
8560   10/29/2003 Letter from Dey to Medi-Cal EDS re: enclosed                          DEY-LABS-0309574- May
                  2003 Q3 AMPs                                                          75
8561   10/29/2003 Letter and enclosed 2003 Q3 AMPs from Dey                             DEY-LABS-0309576- May
                  to First Health                                                       82
8562   10/29/2003 Letter and enclosed 2003 Q3 AMPs from Dey                             DEY-LABS-0309571- Expect
                  to CMS                                                                72
8563   10/29/2003 Letter and enclosed 2003 Q3 AMPs from Dey                             DEY-LABS-0309566- May
                  to NYS EPIC Program                                                   70
8564   10/31/2003 "Testimony Presented by the Massachusetts    MA, S. Grossman,                           May
                  Pharmacists Association & Massachusetts      10/24/07, MPha Ex. 2
                  Independent Pharmacists Association"

8565   11/2003     Dey Monthly Sales Report                   Previously disclosed      DEY-LABS-0296551 - May
                                                              with Expert Report of     607
                                                              Stiroh
8566   11/2003     Red Book™ Database Services Product Guide K. Minne, 11/19/08,        TH 073-108        May
                   Version 1.1                                Minne Ex. 84
8567   11/3/2003   Letter from Iowa Medicaid to Participating                           Iowa-AWP 000032-41 May
                   Pharmacy Providers regarding SMAC program

8568   11/7/2003   68 Fed. Reg. 63196                          D. Thompson, 3/28/08,                      May
                                                               Abbott Ex. 1016

8569   11/11/2003 Alabama Medicaid Drug Cost Reduction Think                            AUBURN -0003025 - May
                  Tank Meeting Minutes                                                  0003026
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 212 of 356




8570   11/13/2003 Email from Ted Collins (Wisconsin) to State                            WI-Prod-AWP-154537-May
                  Medicaid officials, including Shawna Kittridge                         39
                  (and Mark Butt (NY), Lynn Donovan (HI),
                  Jerry Wells (FL), Debra Bahr (KY), David
                  Campana (Alaska)), concerning MAC

8571   11/14/2003 Letter from Oregon Medicaid to CMS               K. Ketchum, 12/15/08, HHC020-0712-0714   May
                  regarding State Plan Amendment                   Abbott Ex. 1
8572   11/16/2003 1 Tex. Admin. Code 354.1921                                                               May
8573   11/16/2003 1 Tex. Admin. Code 354.1923                                                               May
8574   11/18/2003 Letter from Gregory Carson at CMS to All         R. O'Brien, 5/8/07,   HHD043-0003-04     May
                  Fiscal Intermediaries, All Carriers, and All     Abbott Ex. 171
                  Durable Medical Equipment Regional Carriers
                  regarding Coordination of Responses to
                  Supboenas and Other Requests from Outside
                  Entities Regarding TAP Pharmaceutical
                  Products, Inc. and Lupron -- Part II,
                  Preservation of Documents and Contact
                  Identification
8575   11/19/2003 Letter from Kansas pharmacist to Senator Lee,                          KHPA077713-716     May
                  and email from Dorothy Hunt to Amanda
                  Reichard and Mary Obley
8576   11/21/2003 “Medicaid Pharmacy Report, State of Idaho”                                                May
                  prepared by Mercer at request of Idaho
                  Governor and Legislature;
                  http://www.heinzfamily.org/pdfs/id.pdf
8577   11/25/2003 Letter from Deirdre Duzor to Mary Kennedy, Duzor, 10/30/07,            HHC009-1567 -      May
                  Medicaid Director of Minnesota Department of Abbott Ex. 378            HHC009-1570
                  Human Services
8578   11/25/2003 CMS correspondence with Iowa Medicaid                                  HHD289-0054-70     May
                  regarding State Plan Amendment 03-016
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 213 of 356




8579   12/2003    Dey Monthly Sales Report                       Previously disclosed    DEY-LABS-0296435 - May
                                                                 with Expert Report of 549
                                                                 Stiroh
8580   12/1/2003 Email and attachment sent among Virginia        Tomlinson, 11/3/08,                        May
                  Medicaid officials regarding State MAC         Roxane VA Ex. 4
8581   12/1/2003 Email from Joanne Spalding, CMS, to multiple R. Niemann, 10/11/07, AWP012-0002-04          May
                  CMS officials                                  Abbott Ex. 358
8582   12/1/2003 Massachusetts Medicaid State Plan                                       HHC006-0284        May
                  Amendment 03-025
8583   12/8/2003 42 U.S.C. § 1395u (2003)                        Scully, 5/15/07, Abbott                    May
                                                                 Ex. 194
8584   12/8/2003 Excerpts from the Medicare Prescription Drug Dey S.J., 6/26/09, Ex.                        May
                  Improvement and Modernization Act of 2003, 40
                  Pub. L. No. 108-173, § 303(c)(2), 117 Stat.
                  2066, 2233-54 (2003)
8585   12/12/2003 Fax from Mark Jones to Jamie Yavelberg         M. Jones, 12/8/08, Dey VAC MDL 80423-432 May
                  attaching charts of prices for various         Ex. 325
                  manufacturers
8586   12/15/2003 Letter from John A. Stephen, NH DHHS           L. Farrand, 10/28/08,   NH02924            May
                  Commisioner, to Pharmacy Provider              Dey Ex. 79
8587   12/15/2003 Letter from Russell Johnston to Medicaid       Carolyn Helton,         AWQ021-0461        Expect
                  Administrator                                  3/13/08, Dey Ex. 135
8588   12/15/2003 Letter from Russell Johnston to State Medicaid Dey S.J., 6/26/09, Ex. CT0024785           Expect
                  Administrator, dated December 15, 2003         122

8589   12/16/2003 Memo from Mary Hayes Finch, Policy Advisor AL, Trial, DTX 336      ALMED-390713          May
                  at Alabama Medicaid, to Commissioner Carol
                  Herrmann Re: Proposed change in MAC
                  pricing methodology

8590   12/17/2003 Nevada Medicaid State Plan Amendment 03-16                         HHD041-0245           May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 214 of 356




8591   12/19/2003 42 U.S.C. § 1395w-3a (2003)                   Scully, 7/13/07, Dey                      Expect
                                                                Ex. 26
8592   12/24/2003 Department of Health and Human Services,      Previously disclosed                      May
                  Centers for Medicare and Medicaid Services,   with Expert Report of
                  “CMS Manual System Pub. 100-04 Medicare       Bradford
                  Claims Processing, Transmittal 55”

8593   12/31/2003 On-Site Audit Report Mina Pharmacy,        Hiramatsu, 5/1/08, Ex.                       May
                  Honolulu, Hawaii                           Hiramatsu 037
8594   2004       Addendum to Supplemental Rebate Agreement, L. Farrand, 10/28/08,  Dey Labs 0360347-     May
                  showing New Hampshire inclusion.           Dey Ex. 97             0360348

8595   2004       Draft Kentucky Administrative Regulation 907 KY, Defs' Joint S.J.,     KYDMSPL_0113400- May
                  KAR 1:018E                                   10/15/08, Ex. 90          0113411



8596   2004       Letter from John A. Stephen, NH DHHS          L. Farrand, 10/28/08,    NH02925-02927    May
                  Commisioner, to Pharmacy Provider             Dey Ex. 84
8597   2004       New Hampshire State Plan Amendment 04-001 L. Farrand, 10/28/08,        NH00059-00066    May
                  and associated materials                      Dey Ex. 85
8598   2004       United States Department of Veteran Affairs   Dey S.J., 6/26/09, Ex.                    May
                  catalog entitled VA Federal Supply Schedules, 44
                  dated 2004, available at
                  http://www.gsaadvantage.gov/images/products/
                  elib/pdf_files/va.pdf.
8599   2004       University of Rhode Island College of    Rugg, 12/15/08, Dey                            May
                  Pharmacy Statement on MAC                Ex. 14
8600   2004       Virginia Regulatory Town Hall Final      K. Hayashi, 12/4/08,          000000404-0410   May
                  Regulation Agency Background Document on Abbott Ex. 018
                  State MAC Program
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 215 of 356




8601   2004       Virginia State Plan Amendment 04-16                                       HHD039-0386-89,    May
                                                                                            HHD039-0439,
                                                                                            HHD039-0441
8602   2004       AMA FY 2004 Annual Report                                                 ALMED 831098 -     May
                                                                                            831146
8603              INTENTIONALLY LEFT BLANK
8604              INTENTIONALLY LEFT BLANK
8605   2004       National Pharmaceutical Council,                                                             May
                  Pharmaceutical Benefits under State Medical
                  Assistance Programs
8606   2004       42 U.S.C. §§ 1395l(a), (b)                                                                   May
8607   2004       Palmetto pricing array for Ipratropium Bromide                            AWQ037-0086-0089   May

8608   2004       Collection of documents from Mary Finch's        AL, M. Finch, 8/8/07,    ALMED-390412-416 May
                  files regarding "PR Campaign"                    Def. Ex. 32
8609   2004       Chart titled Rx Pricing made by Florida          FL, Jerry Wells,                            May
                  Medicaid to explain drug pricing to Senate       5/25/04, Wells Ex. 58
                  committee
8610   1/1/2004   CMS Record Retention Policy                      V. Robey, 3/20/07,       HHC013-1489-1547   May
                                                                   Abbott Ex. 73
8611   1/2004     Dey Monthly Sales Report                         Previously disclosed     DEY-LABS-0296124 - May
                                                                   with Expert Report of    163
                                                                   Stiroh
8612   1/2004     OIG Report - Medicare Reimbursement for          L. Ragone, 4/18/07,                         May
                  Lupron (OEI-03-03-00250)                         Abbott Ex. 106
8613   1/2004     OIG report - Update: Excessive Medicare          Dey S.J., 6/26/09, Ex.                      Expect
                  Reimbursement for Albuterol (OEI-03-03-          55
                  00510)
8614   1/2004     OIG Report - Update: Excessive Medicare     Dey S.J., 6/26/09, Ex.                           Expect
                  Reimbursement for Ipratropium Bromide (OIG- 61
                  03-03-00520)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 216 of 356




8615   1/1/2004    Ohio Medicaid State Plan Amendment 03-023                              HHD312-0007-08      May

8616   1/2004      Analysis of the Impact of Welfare and          CA, Rosenstein,         CAAG/DHS0085792- May
                   Institutions Code Section 14105.19 on Medi-    11/6/08, Ex. Rosenstein 802
                   Cal Reimbursement to Pharmacies for Drugs      30

8617   1/2/2004    CMS Memorandum from Gregory Carson and                                 HHD927-0033-73      May
                   Gerald Walters to All Medicare Carriers and
                   Durable Medical Equipment Regional Carriers
                   re: Carrier Subpoenas Seeking Documents
                   Related to Pharmaceutical Litigation

8618   1/2/2004    Email between Hawaii Medicaid officials        Hiramatsu, 5/1/08, Ex. HI_HI 000052735-37   May
                   regarding Medicare                             Hiramatsu 65
8619               INTENTIONALLY LEFT BLANK
8620   1/2/2004    Letter from Dennis G. Smith to Stan            Gorospe, 12/3/08, Ex.   CAAG/DHS 0029134, May
                   Rosenstein                                     CA-Gorospe 24           HHD041-0169-74

8621   1/8/2004    Email and attachment from A. Williford to K.  AL, K. Chadwick,       ALMED-390751-53       May
                   Chadwick and T. Afanassleva                   10/23/07, Chadwick Ex.
                                                                 28
8622   1/9/2004    Email chain between M. Petersen and L. Jones AL, Steckel, 4/18/07, ALMED-390599-604        May
                                                                 Def. Exhibit 80
8623   1/16/2004   2004 Pharmacy Program Survey, Response by KY, Bahr, 1/29/08, Ex. KYDMSPL 64032-            May
                   Kentucky                                      Bahr 28                64050
8624   1/19/2004   Medicaid 2004/2005 Budget and Program                                ALMED 255944 -        May
                   Changes                                                              255945
8625   1/20/2004   Chapter 51, Pharmaceutical Services, Division Vaccaro, 12/2/08, USA                        May
                   of Medical Assistance And Health Services     Ex. 3
                   Pharmaceutical Services Manual N.J.A.C.
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 217 of 356




8626   1/23/2004   CMS approval letter and Virginia State Plan   Tomlinson, 11/3/08,   HHC007-0863,      May
                   Amendment 03-09                               USA Ex. 17            HHD039-0413-16
8627   1/23/2004   CMS approval letter and Virginia State Plan   Tomlinson, 11/3/08,   HHD039-0409,      May
                   Amendment 03-10                               USA Ex. 16            HHC007-0881,
                                                                                       HHD039-0411
8628   1/26/2004   Email from Lynn DelVecchio to Elaine Elmore Duzor, 10/30/07,        HHD086-0001        May
                   regarding drug price question                 Abbott Ex. 371
8629   1/28/2004   Email and attachments from B. Churchwell,     AL, K. Chadwick,       ALMED-825403-15 May
                   Alabama Medicaid, to K. Chadwick, First       10/23/07, Chadwick Ex.
                   DataBank re: Selected Price Logic Change      23
8630   1/28/2004   Email from Churchwell to Williford re: folder                        ALMED 390866 -    May
                   request (and associated emails)                                      390884
8631   1/29/2004   Letter and enclosed 2003 Q4 AMPs from Dey                            DEY-LABS-0303634- Expect
                   to CMS                                                               36
8632   1/29/2004   Letter and enclosed 2003 Q4 AMPs from Dey                            DEY-LABS-0303637- May
                   to First Health                                                      41
8633   1/29/2004   Letter and enclosed 2003 Q4 AMPs from Dey                            DEY-LABS-0303629- May
                   to NYS EPIC Program                                                  31
8634   1/29/2004   Letter from Dey to Medi-Cal EDS re: enclosed                         DEY-LABS-0303632- May
                   2003 Q4 AMPs                                                         33
8635   1/30/2004   CMS Manual System, Pub. 100-04 Medicare Scully, 5/15/07, Abbott                        May
                   Claims Processing (Transmittal 75)            Ex. 193

8636   1/30/2004   Pharmacy Update Transmittal No. 66           Bridges, 12/10/08,      ARK00000788-96,    May
                                                                Bridges 15              ARK00000783
8637   02/2004     Dey Monthly Sales Report                     Previously disclosed    DEY-LABS-0296164 - May
                                                                with Expert Report of 216
                                                                Stiroh
8638   2/2004      OIG Report - Omission of Drugs from the      Roxane S.J., 6/26/09,                      May
                   Federal Upper Limit List in 2001 (OEI-03-02- Ex. 140; Abbott Ex. 108
                   00670)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 218 of 356




8639   2/1/2004    Maryland Medicaid State Plan Amendment 04-                           HHD039-0130-33      May
                   23
8640   2/3/2004    Letter from Christine Zukas-Lessard to      Jude Walsh, 3/18/08,                         May
                   interested parties, followed by Letter from Ex. Abbott 858
                   Christine Zukas-Lessard to Deirdre Duzor
8641               INTENTIONALLY LEFT BLANK
8642   2/4/2004    ARA memo from McDonald to Chain Drug                                 ARA-AL 00000223 -   May
                   Committee re: budget deficit                                         00000226
8643   2/12/2004   CMS approval letter and Virginia State Plan Tomlinson, 11/3/08,      HHC007-0887-96      May
                   Amendment 03-15                             USA Ex. 19
8644   2/12/2004   Document entitled "DRAFT Pharmacy TAG       Duzor, 2/27/08, Abbott   NASMD-0001285 -     May
                   Minutes Thursday, February 12, 2004"        Ex. 495                  NASMD-0001287
8645   2/13/2004   CMS Memorandum from Gregory Carson and                               HHD927-0074-78      May
                   Gerald Walters to All Medicare Carriers and
                   Durable Medical Equipment Regional Carriers
                   re: Production of Documents Identified in
                   Response to Carrier Subpoenas Seeking
                   Documents Related to Pharmaceutical
                   Litigation - AWPMDL #2

8646               INTENTIONALLY LEFT BLANK
8647   2/18/2004   Chart: State Rx Program Comparisons                                  ALMED 338621 -      May
                                                                                        338627
8648               INTENTIONALLY LEFT BLANK
8649               INTENTIONALLY LEFT BLANK
8650   2/19/2004   Email communication between M. Butt and E. Butt, 2/8/10, Butt Ex.    NYCO AWP NYDOH May
                   Robinson re: Medicaid Pharmacy Rates       28                        09344 - 9346
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 219 of 356




8651   2/20/2004   On-site Audit Report, Queen's Physician Office Hiramatsu, 6/11/09,     HI_HI 000032934-   May
                   Building II Pharmacy, Medicaid Provider No.: Hiramatsu 105             939, 33017-18
                   1202578, presented to: Med-Quest Division of
                   the State of Hawaii Department of Human
                   Services
8652   2/23/2004   Testimony of Jeffrey Lewis (Heinz                                                         May
                   Philanthropies) before Idaho Legislature;
                   http://www.legislature.idaho.gov/sessioninfo/2
                   003/interim/healthmin0223.html
8653   2/26/2004   Amendment to State Plan Amendment              Shirley, 12/2/08, Ex.   IN-00000100-0120   May
                                                                  Dey 509
8654   2/27/2004   Letter from Larry Reed, Co-Director, Pharmacy L. Reed, 10/22/08,       HHC 009-1549       May
                   Team, at CMS, to Mary Kennedy, Medicaid        Roxane Ex. 139
                   Director of the Minnesota Department of
                   Human Services, regarding MN SPA

8655   03/2004     Dey Monthly Sales Report                       Previously disclosed    DEY-LABS-0296217 - May
                                                                  with Expert Report of   269
                                                                  Stiroh
8656   3/2004      Emails to Louise Jones re: Medicaid AWP                                ALMED-289174 -   May
                                                                                          ALMED-289188
8657   3/5/2004    Email from Churchwell to Jones re: Research    AL, Trial, DTX 663      ALMED-357716-719 May
                   Summary FSS-Pharmacy 3-5 (and associated
                   documents)
8658   3/11/2004   Hawaii Administrative Rules for Medicaid       Hiramatsu, 5/1/08, Ex. HI_HI 000001563-72 May
                   Program                                        Hiramatsu 4
8659   04/2004     Dey Monthly Sales Report                       Previously disclosed   DEY-LABS-0296270 - May
                                                                  with Expert Report of 322
                                                                  Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 220 of 356




8660   4/1/2004    Medicare Prescription Drug, Improvement and                                             May
                   Modernization Act of 2003 (MMA), Pub. L.
                   108-173, 117 Stat. 2066 (2003) (effective April
                   1, 2004)
8661   4/5/2004    Kentucky Administrative Regulation 907 KAR KY, Defs' Joint S.J.,      KYLEG05029-05059 May
                   1:019E                                          10/15/08, 92



8662   4/7/2004    Email from Karen Lewis to George Oestreich     MO, Oestreich          RDE-004620-21     May
                   enclosing memo titled "AWP and Missouri"       11/27/07, Missouri 206

8663   4/8/2004    NACDS Memo from D. Masten to C. Polley re:                            NACDS-AL 0414-    May
                   Southeastern Region Weekly Report                                     0420

8664   4/14/2004   Public hearing testimony from Montana         MT, Defs' Joint S.J.,   MT005768-005771   May
                   Medicaid Pharmacy Program Officer, related to 2/8/07, Ex. 54
                   the proposed and rejected change to AWP-25%
                   reimbursement for generic drugs

8665   4/18/2004   Maine Medicaid State Plan Amendment 04-008                            HHD040-0084-85    May

8666   4/21/2004   White paper-Changes in Pharmacy              Gorospe, 9/22/08, Ex.    CAAG/DHS 0084628- May
                   Reimbursement                                Gorospe 52               31
8667   4/22/2004   CMS letter to NH DHHS Commisioner John A. L. Farrand, 10/28/08,       NH00092-000112    May
                   Stephen regarding NH SPA 04-005              Dey Ex. 95
8668   4/22/2004   Email from Kevin Gorospe to Stan Rosenstein Gorospe, 5/6/2009, Ex.    CAAG/DHS-         May
                   and others                                   Gorospe 48               E0029571
8669   4/22/2004   News Release: HHS Approves First-Ever Multi- Hiramatsu, 5/1/08, Ex.                     May
                   State Purchasing Pools for Medicaid Drug     Hiramatsu 34
                   Programs
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 221 of 356




8670   4/23/2004   West's Ann.Cal Welf.& Inst. Code §14105.45    Gorospe, 12/3/2008,                       May
                                                                 Exhibit CA-Gorospe 25

8671   4/29/2004   Letter and enclosed 2004 Q1 AMPs from Dey                             DEY-LABS-0301610- Expect
                   to CMS                                                                11
8672   4/29/2004   Letter and enclosed 2003 Q1-4, 2004 Q1 AMPs                           DEY-LABS-0301620- May
                   from Dey to First Health                                              26
8673   4/29/2004   Letter and enclosed 2004 Q1 AMPs from Dey                             DEY-LABS-0301613- May
                   to Medi-Cal EDS and NYS EPIC Program                                  18

8674   05/2004     Dey Monthly Sales Report                     Previously disclosed    DEY-LABS-0296323 - May
                                                                with Expert Report of 375
                                                                Stiroh
8675   5/2004      OIG Report - Medicare Reimbursement for      L. Ragone, 4/18/07,                        May
                   Existing End-Stage Renal Disease Drugs (OEI- Abbott Ex. 109
                   03-04-00120)
8676   5/13/2004   AMA Letter from Herrmann to Association                              ALMED 285267       May
                   Leaders re: Pharmacy Advisory Group
8677   5/14/2004   Email and attachment from K. Gorospe to S.   CA, Rosenstein,         CAAG/DHS-          May
                   Rosenstein and R. Martinez re: Pharmacy      5/19/09, Ex. Rosenstein E0031787-89
                   reduction - policy change 156                15
8678   5/20/2004   Document entitled "DRAFT Pharmacy TAG        Duzor, 2/27/08, Abbott NASMD-0001288 -     Expect
                   Minutes Thursday, May 20, 2004"              Ex. 496                 NASMD-0001292
8679   5/24/2004   Pharmacy Services Division Project List                              ALMED 299751 -     May
                                                                                        299754
8680   06/2004     Dey Monthly Sales Report                     Previously disclosed    DEY-LABS-0296376 - May
                                                                with Expert Report of 433
                                                                Stiroh
8681   6/1/2004    Print-out from the FDA website               Tawes, 12/2/08, Roxane HHD162-0224-0225 May
                                                                Ex. 188
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 222 of 356




8682   6/7/2004    Document entitled "Transmittal No.37 -         Gaston, 3/19/08, NY                       May
                   Federal Upper Limit Drug List, June 7, 2004"   Counties Defs Ex. 9

8683   6/15/2004   Redacted Email to D. Hillblom                  CA, D. Hillblom,        CAAG/DHS0077671   May
                                                                  9/23/08, Ex. Hillblom
                                                                  32
8684               INTENTIONALLY LEFT BLANK
8685   6/24/2004   Letter from John L. Kiefhaber, Exec. Dir.,                             KHPA123613        May
                   KPhA, to Chairman Randy Peterson, Health
                   Care Access Improvement Panel, Governor's
                   Office of Health Planning Finance

8686   6/25/2004   Email from B. Wright at Hearst to Dave Kuehl AL, Trial, DTX 1444       ABC(AWP)001954-   May
                   at AmerisourceBergen attaching a letter, a Non-                        966
                   Disclosure Agreement and Drug Pricing Policy

8687   6/29/2004   CMS letter to NH DHHS Commisioner John A. L. Farrand, 10/28/08,        NH00071-00072     May
                   Stephen regarding NH SPA 04-001             Dey Ex. 86
8688   07/2004     Dey Monthly Sales Report                    Previously disclosed       DEY-LABS-0295780 - May
                                                               with Expert Report of      838
                                                               Stiroh
8689   7/1/2004    Florida Agency for Health Care              Dey S.J., 6/26/09, Ex.     HHD111-2393       May
                   Administration’s State Plan Amendment,      255
                   Transmittal No. 2004-024
8690   7/1/2004    Supplemental Rebate Agreement between                                  DEY-LABS-0360799- May
                   Florida and Dey, L.P.                                                  814
8691   7/1/2004    Florida Medicaid State Plan Amendment 2004-                            HHD087-1656-60    May
                   024
8692   7/1/2004    Georgia Medicaid State Plan Amendment 04-                              HHD087-2827-32    May
                   011
8693   7/1/2004    Maryland Medicaid State Plan Amendment 05-                             HHD039-0242       May
                   03
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 223 of 356




8694   7/1/2004    Massachusetts Medicaid State Plan                                       HHD168-0370-71      May
                   Amendment 04-009
8695   7/9/2004    Email from Patrick Collins (ZLB Behring) to                             AWP-IL-00055964 -   May
                   Patty Steward re replacement of AWP model                               AWP-IL-00055971
                   with AMP for reimbursement
8696   7/12/2004   Memorandum from Mark B. Moody to               WI, Trial, DX-0952                           May
                   Interested Parties re: Medicaid Preferred Drug
                   List (PDL) and Supplemental Rebates
8697   7/16/2004   Document with the header "CMS1429P"            Vito, 2/5/08, Abbott Ex. HHD 0611122-1190    May
                                                                  472
8698   7/16/2004   MaineCare memo to Pharmacy providers.          Previously disclosed                         May
                   "MaineCare Proposed MACs," available at        with Expert Report of
                   http://mwpro.ghsinc.com/mwpro/mwsubscribe/ Bradford
                   index.php?what=showarchive&nId=58
8699   7/21/2004   Email from L. Harper to M. McNeill                                      VDP_0919733-34      Expect
8700   7/22/2004   ID Dep't of Health & Welfare, State MAC        ID, Leary, 12/1/09, Ex. ID223502 - 3718      May
                   Program for Multi-Source Prescription Drugs Leary 13

8701   7/22/2004   Myers & Stauffer - “Acquisition Cost Survey                          ID 223719-916          May
                   Results, State MAC Rate Calculations and
                   Fiscal Savings Estimates"
8702   7/22/2004   AMA Briefing for Finance Director and                                ALMED-825462 -    May
                   Assistant Finance Director                                           825500
8703   7/29/2004   Letter and enclosed 2004 Q2 AMPs from Dey                            DEY-LABS-0362432- Expect
                   to CMS                                                               33
8704   7/29/2004   Letter and enclosed 2004 Q2 AMPs from Dey                            DEY-LABS-0302203- May
                   to NYS EPIC Program, First Health, CMS and                           20
                   Medi-Cal EDS
8705   08/2004     Dey Monthly Sales Report                    Previously disclosed     DEY-LABS-0295839 - May
                                                               with Expert Report of    895
                                                               Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 224 of 356




8706   8/2004      Muse & Associates Report - The Costs of        Defs' Common S.J.                          Expect
                   Delivering Inhalation Drug Services to         Resp., 8/28/09, Ex. 215
                   Medicare Beneficiaries
8707               INTENTIONALLY LEFT BLANK
8708   8/2/2004    Memorandum from Jerry Dubberly to Mark         Defs' Common Sur-                          Expect
                   Trail                                          Reply to U.S. S.J.,
                                                                  10/15/09, Ex. D
8709               INTENTIONALLY LEFT BLANK
8710   8/23/2004   Email to Churchwell re: HWT’s Final                                      ALMED 377533     May
                   Vulnerability Analysis for Alabama plus
                   comments
8711   8/27/2004   Email and attachment from T. Cornforth to S.   CA, Rosenstein,         CAAG/DHS0087877- May
                   Rosenstein                                     11/6/08, Ex. Rosenstein 85
                                                                  29
8712   8/30/2004   Abt Associates Final Report entitled "Medicaid Duzor, 10/30/07,                           Expect
                   and Medicare Drug Pricing: Strategy to         Abbott Ex. 381
                   Determine Market Prices"
8713   09/2004     Dey Monthly Sales Report                       Previously disclosed    DEY-LABS-0295896 - May
                                                                  with Expert Report of 954
                                                                  Stiroh
8714   9/2004      OIG Report - Variation in State Medicaid Drug Roxane S.J., 6/26/09, ALMED-366986 -        May
                   Prices, OEI-05-02-00681 (September 2004)       Ex. 199                 ALMED-367033

8715   9/1/2004    Pharmacy Benefits Management contract          KY, Defs' Joint S.J.,     KY_DMS_518-570   May
                   between Kentucky Medicaid and First Health     10/15/08, Ex. 84
                   Services Corporation

8716   9/3/2004    Nevada Medicaid email regarding Senior Rx      NV, Defs' Joint S.J.,     NV020773-75      May
                   Program fowarding letter to PBM Catalyst Rx    2/8/07, Ex. 78
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 225 of 356




8717   9/9/2004    Organizational chart for CMS                    Bailey, 3/20/07, Abbott                    May
                                                                   Ex. 76
8718   9/9/2004    Safe and Effective Approaches to Lowering       Previously disclosed                       May
                   State Prescription Drug Costs: Best Practices   with Expert Report of
                   Among State Medicaid Drug Programs              Stiroh
                   (available at www.cms.hhs.gov)
8719   9/13/2004   Email chain between J. Wells and G. Crayton     FL, G. Crayton,           EFL00005736-37   May
                                                                   5/15/06, Crayton 282
8720   9/17/2004   OEI Inspection Schedule for Omission of         Vito, 12/2/08, Roxane     HHD160-0013      May
                   Drugs From the Federal Upper Limit List in      Ex. 193
                   2001 (OEI-03-02-00670)
8721   10/2004     Dey Monthly Sales Report                       Previously disclosed   DEY-LABS-0295955- May
                                                                  with Expert Report of 006
                                                                  Stiroh
8722   10/2004     GAO Report - Medicare: Appropriate             Previously disclosed                     Expect
                   Dispensing Fee Needed for Suppliers of         with Expert Reports of
                   Inhalation Therapy Drugs                       Stiroh and Bradford
8723   10/2004     Letter from Russell Johnston to State Medicaid Dey S.J., 6/26/09, Ex. VA_000001648      May
                   Administrator, dated October 2004              129

8724   10/2004     NCPA-Pfizer Digest 2004                         AL, J. Rector, 8/29/07, NCPA 001626-696    May
                                                                   NCPA 7
8725   10/2004     Report by Hawaii Medicaid to the Legislature    Hiramatsu, 5/1/08, Ex. HI_HI 000055790-807 May
                   on Prescription Drugs                           Hiramatsu 66
8726               INTENTIONALLY LEFT BLANK
8727   10/6/2004   Email from Mary Finch to Karen Meyer re:                                  ALMED 339634 -   May
                   Drugs for Invoice Audits and attachments                                  339637
8728               INTENTIONALLY LEFT BLANK
8729   10/8/2004   Email from Finch to Herrmann and Jones re:                                ALMED 339629 -   May
                   price comparisons (with attachment)                                       339632
8730   10/8/2004   Email from Jones to McNeill (Texas) re: AMP                               ALMED 339633     May
                   reporting legislation
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 226 of 356




8731              INTENTIONALLY LEFT BLANK
8732   10/29/2004 AMP Drug Sample spreadsheet                                         ALMED-339617 -     May
                                                                                      ALMED-339619
8733   10/29/2004 Letter and enclosed 2004 Q1, 3 AMPs from                            DEY-LABS-0362434- Expect
                  Dey to CMS                                                          37
8734   10/29/2004 Letter and enclosed 2004 Q3 AMPs from Dey                           DEY-LABS-0303047- May
                  to NYS EPIC Program                                                 48
8735   10/29/2004 Letter and enclosed 2004 Q3 AMPs from Dey                           DEY-LABS-0303044- May
                  to First Health                                                     45
8736   11/2004    Dey Monthly Sales Report                    Previously disclosed    DEY-LABS-0296007 - May
                                                              with Expert Report of   062
                                                              Stiroh
8737   11/2004    Alabama Medicaid Provider Enrollment        AL, M. Timmerman,       http://www.mh.alabam May
                  Application Packet                          7/30/07, Def. Ex. 363   a.gov/Downloads/SA/
                                                                                      SA090223_MentalHea
                                                                                      lthApplication.pdf

8738              INTENTIONALLY LEFT BLANK
8739   11/1/2004 Michigan Medicaid State Plan Amendment 04-                         HHD075-0160-161       May
                  13
8740   11/2/2004 Letter from Trudie E. Carmichael to Anne   Dubberly, 12/15/08, Ex.                       May
                  Marie Liu                                 Georgia 16
8741   11/3/2004 CMS approval letter and Washington State   M. Davis, 12/3/08, USA WA-00000012-022        Expect
                  Plan Amendment 03-019                     Ex. 026
8742   11/5/2004 Facsimile from Jerry Dubberly to Claire    Dubberly, 12/15/08, Ex.                       May
                  Hardwick                                  Georgia 29
8743              INTENTIONALLY LEFT BLANK
8744   11/10/2004 Email from Hall to Finch re: VA Pricing                           ALMED 836060          May
8745   11/15/2004 69 Fed. Reg. 66335-66434                                                                May
8746              INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 227 of 356




8747   11/15/2004 Preliminary Audit Report, Hawaii Medical      Hiramatsu, 7/14/09,     HI_HI 000032227-247 May
                  Service Association, Presented to: State of   Hiramatsu 112
                  Hawaii Department fo Human Services, Med-
                  Quest Division
8748   11/29/2004 Virginia Register of Regulations              Tomlinson, 11/3/08,                        May
                                                                USA Ex. 18
8749              INTENTIONALLY LEFT BLANK
8750   11/29/2004 Email from B. Churchwell to R. Hornsby and    AL, Steckel, 3/28/07,   ALMED-392519       May
                  S. Preston re: AWP/WAC % Change               Ex. Steckel 11
8751   11/30/2004 Email from Finch to Churchwell, Hall, and                             ALMED 390409       May
                  Jones re: AMP Update
8752   12/2004    CBO Report - Medicaid's Reimbursements to       Defs' Common S.J.                          May
                  Pharmacies for Prescription Drugs               Resp., 8/28/09, Ex. 83;
                                                                  Abbott Ex. 475
8753   12/2004     Dey Monthly Sales Report                       Previously disclosed    DEY-LABS-0296063 - May
                                                                  with Expert Report of 122
                                                                  Stiroh
8754   12/2004     OIG Report - Addition of Qualified Drugs to    Tawes, 4/24/07, Abbott                     May
                   the Medicaid Federal Upper Limit List (OEI-03- Ex. 123
                   04-00320)
8755   12/2004     December 2004 NACDS “Talking Points on                                 ALMED 289189 -     May
                   Medicaid Reimbursement” (and associated                                289200
                   documents)
8756   12/2/2004   Email from P. Gladden to G. Spain              TX, Sandoz S.J.,        TXMGT033901-02     May
                                                                  10/30/09, Ex. 74
8757   12/2/2004   Document entitled “AMP Issues”                                         ALMED 339600 -     May
                                                                                          ALMED 339601
8758   12/2/2004   Notes on AMP Proposal                                                  ALMED-339598 -     May
                                                                                          ALMED-339599
8759   12/2/2004   Spreadsheet re: Brand Name Drugs Only and                              ALMED-829750       May
                   All Drugs
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 228 of 356




8760   12/3/2004   Kentucky Administrative Regulation 907 KAR KY, Defs' Joint S.J.,      KYLEG03974-03990 May
                   1:018E                                     10/15/08, Ex. 88
8761   12/3/2004   Kentucky State Plan excerpt regarding      KY, Defs' Joint S.J.,      KY_DMS_136906-    May
                   pharmacy reimbursement                     10/15/08, Ex. 86           136918
8762   12/3/2004   AMP Proposal                                                          ALMED-390410 -411 May

8763   12/3/2004   Kentucky Medicaid State Plan Amendment 04-                            HHD087-4315-320    May
                   007
8764               INTENTIONALLY LEFT BLANK
8765   12/7/2004   AMP Proposal                                                          ALMED-339585 -     May
                                                                                         ALMED-339587
8766              INTENTIONALLY LEFT BLANK
8767   12/15/2004 Nevada Medicaid State Plan Amendment 04-                               HHD041-0244        May
                  018
8768   12/15/2004 Letter from Michael Vincent, Hawaii Deputy Hiramatsu, 7/14/09,         HI_HI 000031820-821 May
                  Attorney General, to Richard Kolbe, Claims Hiramatsu 111
                  Administration, Re: Pharmacy Claims Review
                  Reimbursement Rates Summary Attached

8769   12/16/2004 E-mails from Ted Collins to Carol Neeno,      WI Defs' Joint Resp.,    WI-Prod-AWP-       May
                  DHFS                                          1/15/08, Ex. 54          061530-061531
8770   12/16/2004 Myers and Stauffer "Idaho: FAQ," available at Previously disclosed                        May
                  http://www.mslcidaho.com/MAC_List/docume with Expert Report of
                  nts/FAQs.htm                                  Bradford

8771   12/21/2004 White Paper: Alaska Drug and Dispensing       Campana, 8/20/08, Ex. AWP-AK-00000040-      May
                  Costs, prepared by Dave Campana               Campana 57            43
8772              INTENTIONALLY LEFT BLANK
8773   2005       42 C.F.R. § 414.1001 (2005)                   Dey S.J., 6/26/09, Ex.                      Expect
                                                                184
8774   2005        42 C.F.R. § 414.707 (2005)                                                               May
                  Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 229 of 356




8775   2005   55 Pa. Code Ch. 1121 (2005), available at      Dey S.J., 6/26/09, Ex.                        May
              www.pabulletin.com/secure/data/vol35/35-       290
              34/1561.html
8776   2005   Document entitled "First DataBank 2005         AL, P. Morgan,           FDB/Alabama 101361- May
              Customer Seminar Session Abstracts"            8/27/07, Morgan 17       372
8777   2005   Email from Nancy Nesser, Oklahoma              Nesser, 12/12/08,        ALMED-322686-689 May
              Medicaid, to other Medicaid officials          Roxane-OK Ex. 15
8778   2005   First Health Services Corp. Analysis of Hawaii Hiramatsu, 5/1/08, Ex.   HI_HI 000003149-50   May
              Medicaid Prescription Payment Algorithm        Hiramatsu 50

8779   2005   National Association of State Medicaid         R. Reid, 12/15/08, Dey HHD262-000101-102      May
              Directors Pharmacy Technical Advisory Group Ex. 620
              Conference Call Draft Minutes
8780   2005   New Jersey State Plan Amendment 05-08-MA Vaccaro, 12/2/08, USA HHD037-0077-0081              May
                                                             Ex. 18
8781   2005   Virginia State Plan Amendment 05-22            Tomlinson, 11/3/08,                           May
                                                             USA Ex. 25
8782   2005   Wyoming Medicaid Office of Pharmacy            Homar, 12/2/08,        WY00000849             May
              Services statement regarding Deficit Reduction Roxane Ex. 12
              Act
8783   2005   Excerpt from the FDA Approved Drug             NY, Gail Sexton,                              May
              Products with Therapeutic Equivalence          5/20/08, Sexton Ex. 10
              Evaluations (25th Edition)
8784   2005   Missouri's response to National Pharmaceutical                        GOE-038277-290         May
              Council Pharmacy Program Survey for
              Calendar Year 2005, Pharmaceutical Benefits
              Under State Medical Assistance Programs

8785   2005   “Summary of Administration’s Proposals” and                             ALMED 322542 -       May
              associated documents (2005)                                             322557
8786   2005   Compilation of documents re: Pharmacy                                   ALMED 284861 -       May
              Advisory Meetings (2005)                                                284873
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 230 of 356




8787              INTENTIONALLY LEFT BLANK
8788   2005       National Pharmaceutical Council,                Previously disclosed                      May
                  Pharmaceutical Benefits under State Medical     with Expert Reports of
                  Assistance Programs                             Stiroh and Bradford
8789   2005       42 U.S.C.A. § 1396r-8 (2005)                                                               May
8790   2005       42 U.S.C.S. § 1395w-3a (2005)                                                              May
8791   2005       42 C.F.R. § 414.1000 (2005)                                                                May
8792   2005       42 C.F.R. § 447.301 (2005)                                                                 May
8793   2005       42 C.F.R. § 447.331 (2005)                                                                 May
8794   2005       42 C.F.R. § 447.332 (2005)                                                                 May
8795   2005       42 C.F.R. § 447.333 (2005)                                                                 May
8796   2005       42 C.F.R. § 447.334 (2005)                                                                 May
8797   1/2005     Dey Monthly Sales Report                   Previously disclosed          DEY-LABS-0295364- May
                                                             with Expert Report of         403
                                                             Stiroh
8798   1/2005     January 2005 Payment Allowance Limits for  E. Richter, 12/7/07,                    Expect
                  Medicare Part B Drugs 1/1/05-3/31/05       Abbott Ex. 420
8799   1/1/2005   New Product Packaging Announcements for    R. Stevens, 12/15/08, Dey-Labs-0294381- Expect
                  Dey drugs                                  Dey Ex. 533           0294386
8800   1/1/2005   Virginia Medicaid Report Maximum Allowable K. Hayashi, 12/4/08,  ATP142-0651-0658  May
                  Cost Program Reimbursement Methodology for USA Ex. 002
                  Generic Drugs
8801              INTENTIONALLY LEFT BLANK
8802   1/1/2005   Massachusetts Medicaid State Plan                                HHD040-0015       May
                  Amendment 05-003
8803   1/3/2005   Letter from Linda Minamoto to Stan         Gorospe, 12/3/08,     CAAG/DHS 0028969- May
                  Rosenstein                                 Exhibit CA-Gorospe 26 77

8804              INTENTIONALLY LEFT BLANK
8805   1/11-      Excerpts from the depositions of Patricia Kay   MA, P. Morgan,                            May
       12/2005    Morgan, dated 1/11/05 and 1/12/05, in the       11/30/07, Morgan Ex.
                  MDL                                             18
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 231 of 356




8806   1/12/2005   Letter to Estelle Richman, Secretary-DPW,                             PA 704640-643     May
                   from Senator James Rhoades, regarding draft
                   regulation changing reimbursement
8807   1/14/2005   Letter to Estelle Richman, Secretary-PA DPW,                          PA 704619         May
                   from PA Senator Don White, requesting
                   reevaluation of DPW’s proposed Medicaid
                   pharmacy reimbursement
8808   1/25/2005   DHFS 2005-07 Biennial Budget Issue Paper,    WI, Defs' Joint Resp.,   WI-Prod-AWP-     May
                   Topic: Pharmacy Reimbursement                1/15/08, Ex. 33          106500-106502
8809   1/28/2005   Kentucky Administrative Regulation 907 KAR KY, Defs' Joint S.J.,      KYLEG03708-03731 May
                   1:018E                                       10/15/08, Ex. 94
8810   1/28/2005   Letter and enclosed 2004 Q4 AMPs from Dey                             DEY-LABS-0298581- May
                   to NYS EPIC Program, First Health, CMS and                            98
                   Medi-Cal EDS
8811   1/28/2005   Letter and enclosed 2004 Q4 AMPs from Dey                             DEY-LABS-0363071- Expect
                   to CMS                                                                72
8812   1/28/2005   MA Pharmacy Advisory Board Meeting Notes MA, S. Grossman,                               May
                                                                10/24/07, Ex. MPha 5
8813   02/2005     Dey Monthly Sales Report                     Previously disclosed     DEY-LABS-0295404 - May
                                                                with Expert Report of    471
                                                                Stiroh
8814   2/3/2005    Email chain between Nevada Medicaid          NV, Defs' Joint S.J.,                      May
                   officials regarding White House Conference   2/8/07, Ex. 32
                   Call re: Medicaid
8815   2/10/2005   Illinois Department of Healthcare and Family Previously disclosed                       May
                   Services, “Informational Notice Re: State    with Expert Report of
                   Maximum Allowable Cost Program for Multi- Bradford
                   Source Prescription Drugs,” available at
                   www.hfs.illinois.gov/html/021405_pharmacy.h
                   tml

8816               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 232 of 356




8817   2/11/2005   Commonwealth Of Massachusetts Regulation MA, P. Jeffrey,                                  May
                   Filing                                         10/19/07, MA 004
8818   2/15/2005   Document entitled "Federal Upper Limit         Gaston, 3/19/08, NY     HHD175-1059 -      May
                   System" and attachments                        Counties Defs Ex. 18    HHD175-1063
8819   2/16/2005   Statewide News Release, Kentucky               KY, Defs' Joint S.J.,   KYDMSPL1012649-    May
                   Pharmacists, Fletcher Administration Officials 10/15/08, Ex. 93        1012650
                   Reach Agreement
8820   2/23/2005   Kentucky Medicaid State Plan Amendment 05-                             HHD087-4519-525    May
                   004
8821   03/2005     Dey Monthly Sales Report                       Previously disclosed    DEY-LABS-0295472 - May
                                                                  with Expert Report of   556
                                                                  Stiroh
8822   3/1/2005    Michigan Medicaid State Plan Amendment 05-                             HHD075-0168-170    May
                   03
8823   3/7/2005    Email from Littlejohn re: golden springs hwt                           ALMED-276672 -     May
                   (and associated documents)                                             276723
8824   3/8/2005    Letter from Montana Medicaid to United States MT, Defs' Joint S.J.,    MT029085-029089    May
                   Congressman regarding Medicaid Drug            2/8/07, Ex. 66
                   Reimbursement
8825   3/15/2005   Document titled Federal Upper Limit System NY, Gail Sexton,            HHD175-1072        May
                                                                  5/20/08, Sexton Ex. 7
8826   3/30/2005   Kentucky Administrative Regulation 907 KAR KY, Defs' Joint S.J.,       KYLEG03918-03942 May
                   1:018E                                         10/15/08, Ex. 95
8827   4/2005      April 2005 Payment Allowance Limits for        E. Richter, 12/7/07,                       May
                   Medicare Part B Drugs 4/1/05-6/30/05           Abbott Ex. 421
8828   04/2005     Dey Monthly Sales Report                       Previously disclosed    DEY-LABS-0295557 - May
                                                                  with Expert Report of   642
                                                                  Stiroh
8829   4/4/2005    Emails including one between Jerry Wells and Campana, 8/20/08, Ex.     AWP-AK-00011319-   May
                   David Campana and Drug Pricing Policy          Campana 58              21
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 233 of 356




8830   4/4/2005    Virginia Register of Regulations                  Tomlinson, 11/3/08,                       May
                                                                     USA Ex. 21
8831   4/4/2005    Email from Churchwell to Searcy, Hall,                                    ALMED 770607 -    May
                   Littlejohn, Finch, McIntyre, and Minnifield re:                           770612
                   New Drug Pricing Policy (with attachments)

8832   4/5/2005    Article from The Denver Post, dated April 5, Dey S.J. Opp., 8/28/09,                        May
                   2005                                         Ex. 370
8833   4/5/2005    Powerpoint presentation entitled "Everything AL, P. Morgan,          FDB-ALABAMA            May
                   You Always Wanted to Know About Pricing 8/27/07, Morgan 13           087377-418
                   Data, First DataBank 2005 Customer Seminar"

8834   4/14/2005   Email and attachment from Matt Sneed III to       TX, Mylan S.J.,         VDP_0947717-18    Expect
                   Andy Vasquez re: Notes on AMP/WAC                 10/30/09, Ex. 22
                   comparison
8835   4/19/2005   Letter from Kentucky Medicaid to providers        KY, Defs' Joint S.J.,                     May
                   regarding compromise in reimbursement             10/15/08, Ex. 91

8836   4/21/2005   Letter from Myers and Stauffer to James Parker Roxane S.J., 6/26/09,      AWP-IL-00025984   May
                                                                  Ex. 206
8837   4/22/2005   Letter from Illinois Department of Public Aid Roxane S.J., 6/26/09,       AWP-IL-00001108-09 May
                   to Pharmacy Owners/Managers                    Ex. 207
8838   4/25/2005   Spreadsheet and email re: 340B Pricing                                    ALMED-35 1400 -   May
                                                                                             ALMED-35 1401
8839   4/29/2005   Letter and enclosed 2005 Q1 AMPs from Dey                                 DEY-LABS-0299278- Expect
                   to CMS                                                                    79
8840   4/29/2005   Letter and enclosed 2005 Q1 AMPs from Dey                                 DEY-LABS-0298917- May
                   to CMS, NYS EPIC Program, First Health, and                               34
                   Medi-Cal EDS
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 234 of 356




8841   4/30/2005   Memorandum from Christopher Decker, PSW, WI, C. Decker,                  PSW_00006120-26    May
                   to Members of the Joint Committee on Finance, 12/11/06, PSW Ex. 1
                   "Wisconsin Medicaid Pharmacy
                   Reimbursement: Why Changes are Necessary"

8842   05/2005     Dey Monthly Sales Report                        Previously disclosed     DEY-LABS-0295643 - May
                                                                   with Expert Report of    709
                                                                   Stiroh
8843   5/9/2005    Email from Elaine Elmore (CMS) to Yolanda       Roxane S.J., 6/26/09,    HHD086-0010        May
                   Reese (CMS) regarding Alabama Ingredient        Ex. 200
                   Cost
8844   5/10/2005   Emails between Alabama Medicaid personnel Roxane S.J., 6/26/09,          ALMED 808004-05    May
                   regarding a request from CMS for clarification Ex. 202
                   about Alabama reimbursement methodology

8845   5/12/2005   Email from Elaine Elmore (CMS) to Yolanda       Roxane S.J., 6/26/09,    HHD086-0011-0012   May
                   Reese (CMS) regarding Alabama Ingredient        Ex. 201
                   Cost
8846   5/26/2005   Legislative Fiscal Bureau, Joint Committee on   WI, Defs' Joint Resp.,   NACDS-WI 0176-     May
                   Finance, Prescription Drug Reimbursement        1/15/08, Ex. 66          0188
                   Rates, Paper #371
8847   06/2005     Dey Monthly Sales Report                    Previously disclosed         DEY-LABS-0295710 - May
                                                               with Expert Report of        778
                                                               Stiroh
8848   6/2005      OIG Report - Comparison of Medicaid Federal Roxane S.J., 6/26/09,                           Expect
                   Upper Limit Amounts to Average              Ex. 146
                   Manufacturer Prices (OEI 03-05-00110)
8849   6/2005      OIG Report - Medicaid Drug Price            L. Ragone, 4/18/07,                             May
                   Comparison: Average Sales Price to Average Abbott Ex. 97
                   Wholesale Price (OEI-03-05-00200)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 235 of 356




8850   6/2005      OIG Report - Medicaid Drug Price             Defendant's Ex. 233                         Expect
                   Comparisons: Average Manufacturer Price to
                   Published Prices (OEI-05-05-00240)
8851   6/8/2005    Email from Angela Wilson to Rhonda Driver MO, R. Driver,              RDE-008413-424     May
                   regarding Dey and Warrick, attaching drug    10/18/07, Ex. 110
                   prices
8852   6/17/2005   22 M.R.S.A. §2698-B                                                                      Expect
8853   6/15/2005   AMA Memo re: Medicare’s New Pricing                                                      May
                   Methodology using Average Sales Price
8854   6/21/2005   Congressional Budget Office, “The Rebate     Previously disclosed                        May
                   Medicaid Receives on Brand-name prescription with Expert Report of
                   drugs”                                       Bradford
8855   6/30/2005   New Mexico Register, New Mexico              Previously disclosed                        May
                   Administrative Code, 8.324.4.16, Volume XVI, with Expert Report of
                   Number 12                                    Bradford
8856   07/2005     Dey Monthly Sales Report                     Previously disclosed     DEY-LABS-0295173 - May
                                                                with Expert Report of 233
                                                                Stiroh
8857   7/2005      July 2005 Payment Allowance Limits for       E. Richter, 12/7/07,                        May
                   Medicare Part B Drugs 7/1/05-9/30/05         Abbott Ex. 423
8858   7/2005      Outpatient Pharmacy Reimbursement (COS       Dubberly, 12/15/08, Ex.                     May
                   300, 321) Georgia Medicaid Program           Georgia 4
8859   7/2005      Emails re: ABP                                                        ALMED-322698 -     May
                                                                                         ALMED-322701
8860   7/1/2005    Mississippi Medicaid State Plan Amendment                             HHD112-1467-68     May
                   05-010
8861   7/1/2005    West Virginia Medicaid State Plan Amendment                           HHD308-0249-252    May
                   05-03
8862   7/19/2005   Email, Cody Wilberg (MN), Mary Obley                                  KHPA084203         May
8863   7/20/2005   CBO Testimony Before the Senate Special      Vito, 2/5/08, Abbott Ex.                    May
                   Committee on Aging regarding Payments for 476
                   Prescription Drugs Under Medicaid
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 236 of 356




8864               INTENTIONALLY LEFT BLANK
8865   6/8/2005    Pharmacy Advisory Meetings (PAM) Minutes                               ALMED 285482-     May
                                                                                          285500
8866   7/28/2005   Email chain between Nicole Valentine at        WI, Valentine, 7/19/07, NACDS-WI 0168-171 May
                   NACDS and Russ Jensen, NACDS member,           Valentine 11
                   Re: (WI) Doyle signs budget; vetoes harm
                   pharmacy
8867   7/29/2005   Letter and enclosed 2005 Q2 AMPs from Dey                             DEY-LABS-0299715- May
                   to NYS EPIC Program                                                   17
8868   7/29/2005   Letter from Dey to Medi-Cal EDS re: enclosed                          DEY-LABS-0299718- May
                   2005 Q2 AMPs                                                          19
8869   8/2005      Analysis of Pharmacy Dispensing Fees for the Carl Shirley, 12/3/08,   JDIND0270-397     May
                   Indiana Medicaid Program by Myers &           Ex. Abbott Shirley 7
                   Stauffer
8870   08/2005     Dey Monthly Sales Report                      Previously disclosed    DEY-LABS-0295234 - May
                                                                 with Expert Report of   294
                                                                 Stiroh
8871   8/8/2005    70 Fed. Reg. 45847                                                                      May
8872   8/9/2005    Letter to Cheryl Harris, Division of Medicaid WI, Trial, DX-0314      WI-Prod-AW124673- May
                   and Children’s Health, DHHS, with                                     76
                   Attachment of State Plan Amendment 05-007

8873   8/11/2005   Email from Finch re: 2005 Legislative Summit                          ALMED 839946 -    May
                   (and associated documents)                                            839955
8874   8/11/2005   CMS approval letter for Pennsylvania State                            HHD039-0302-05    May
                   Plan Amendment 05-012
8875   8/15/2005   Email from Rhodes to Churchwell, Rhodes,                              ALMED 322521      May
                   Littlejohn, Finch re: ASP Comparison
8876   8/16/2005   Email from Namba re: California                                       ALMED 321891 -    May
                   reimbursement methodology for generic drugs                           321906
                   (and associated emails)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 237 of 356




8877   8/20/2005   Pennsylvania Bulletin, “Title 55 Public       Previously disclosed                       May
                   Welfare, Chapter 1121”, Volume 35, Number with Expert Report of
                   34, pp. 4701-4802, available at               Bradford
                   http://www.pabulletin.com/secure/data/vol35/3
                   5-34/1561.html
8878   8/22/2005   Letter from Tom Engels, Vice President of     WI, Valentine, 7/19/07, NACDS-WI 0907-09   May
                   Public Affairs at PSW, to Cheryl Harris,      Valentine 5
                   Associate Regional Aministrator, Region V, at
                   DHHS Re: Reductions in Pharmacy Product
                   Reimbursement and Dispensing fees under
                   Medicaid, BadgerCare, and SeniorCare

8879   8/25/2005   Arrest Record in Colorado v. Michael Todd    Dey S.J. Opp., 8/28/09,                 May
                   Ricks, Case No. 2005F02465                   Ex. 369
8880   8/25/2005   Email chain between Kevin Gorospe, Pilar     Gorospe, 9/22/08, Ex. CAAG/DHS 0084551- May
                   Williams, Mike Namba and others              Gorospe 55              55
8881   8/26/2005   State Plan Amendment TN number 05-027        Gorospe, 12/3/2008,     HHD041-0155-61  May
                                                                Exhibit CA-Gorospe 28

8882   8/27/2005   Louisiana Medicaid Program Provider Manual, Terrebonne, 11/7/08,     LA-DHH-000621-817 May
                   Chapter 37, Pharmacy Benefits Management    Ex. Dey 227
                   Services
8883   8/30/2005   Email from Finch to Churchwell re: Federal                           ALMED 844257 -      May
                   Proposals (and associated document)                                  844259
8884   8/31/2005   Email from Kelli Littlejohn to Mike Murphy,                          ALMED 770107 -      May
                   cc’ing Kathy Hall re: 2007 Budget Cut                                770145
                   Explanation (with attachment)
8885   9/1/2005    The Medicaid Commission, Report to the      WI, Defs' Joint Resp.,   WI-PROD-AWP-        May
                   Honorable Secretary Michael O. Leavitt,     1/15/08, Ex. 28          152652-675
                   DHHS, and the United States Congress
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 238 of 356




8886   09/2005     Dey Monthly Sales Report                      Previously disclosed    DEY-LABS-0295295 - May
                                                                 with Expert Report of   362
                                                                 Stiroh
8887   9/2005      OIG Report - How Inflated Published Prices    L. Ragone, 4/18/07,                       May
                   Affect Drugs Considered for the Federal Upper Abbott Ex. 98
                   Limit List (OEI-03-05-00350)

8888               INTENTIONALLY LEFT BLANK
8889   9/2005      OIG Report "Review of Services Provided by                                              May
                   Inhalation Drug Suppliers" (OEI 01-05-00090)

8890   9/6/2005    Letter and attached documents from Mark        Duzor, 3/26/08, Dey    WI-Prod-AWP-109645 May
                   Moody to Dierdre Duzor                         Ex. 174                - WI-Prod-AWP-
                                                                                         109671
8891   9/8/2005    Arrest Record in Colorado v. Michael Todd     Dey S.J. Opp., 8/28/09,                    May
                   Ricks, Case No. 2004CR000383                  Ex. 367
8892   9/8/2005    Judgment of Conviction in Colorado v. Michael                                            May
                   Todd Ricks, Case No. 2004 CR 000383
                   (Certified Copy)
8893   9/9/2005    Article from The Denver Post, dated September Dey S.J. Opp., 8/28/09,                    May
                   9, 2005                                       Ex. 373
8894   9/14/2005   Letter from Donna K. Sollenberger, President WI, Trial, DX-0543       PSW_00003449-3451 May
                   and CEO, University of Wisconsin Hospital
                   and Clinics, to Governor Doyle

8895   9/16/2005   Presentation entitled Assuring Adequate     WI, Valentine, 7/19/07, PSW_00015415-428 May
                   Medicaid Reimbursement for Pharmacy's Costs Valentine 6
                   to Dispense, Prepared by NACDS
8896   9/26/2005   Letter from Mark Moody to Verlon Johnson    WI, Trial, DX-0099      WI-Prod-AWP-124669-May
                   (Associate Regional Administrator – CMS)
8897               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 239 of 356




8898   10/2005     2005 NCPA-Pfizer Digest                        AL, J. Rector, 8/29/07, NCPA 001554-625    May
                                                                  NCPA 10
8899               INTENTIONALLY LEFT BLANK
8900   10/2005     NACDS Issue Brief entitled "Potential Impact   WI, Valentine, 7/19/07, PSW_00015332-334   May
                   of Medicaid Reimbursement Cuts on Rural        Valentine 2
                   Pharmacies, October 2005"
8901   10/2005     October 2005 Payment Allowance Limits for      E. Richter, 12/7/07,                       May
                   Medicare Part B Drugs 10/1/05-12/31/05         Abbott Ex. 424

8902               INTENTIONALLY LEFT BLANK
8903   10/1/2005   Ohio Medicaid State Plan Amendment 05-016                             HHD075-0383-86      May

8904   10/17/2005 Virginia Register of Regulations                Tomlinson, 11/3/08,                        May
                                                                  USA Ex. 22
8905              INTENTIONALLY LEFT BLANK
8906   10/21/2005 NACDS Analysis: “Senate Medicaid                                    NACDS-AL 1011 -        May
                  Prescription Drug Payment Reform Mark”                              1014
8907   10/26/2005 Memo from Sharon Taylor, Executive Director AL, S. Taylor, 7/24/07, AIDA 0000012-14        May
                  of AIDA, to Independent Drugstore Owners    Def. Ex. 440
                  urging action in response to Congress's
                  consideration of a change from AWP to AMP
                  as part of the budget reconciliation bill

8908              INTENTIONALLY LEFT BLANK
8909   10/27/2005 Medicaid Reform Commission Draft titled     MO, Oestreich          GO-066920-31            May
                  "Compiled Ideas from Commission Discussion" 11/28/07, Missouri 241

8910   10/28/2005 APA Press Release Re: Medicaid Cuts In                                 APA 000124 - 000125 May
                  Pharmacy: A Prescription For Disaster,
                  Community Pharmacist Offers Cost-Saving
                  Solution
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 240 of 356




8911   10/28/2005 Letter and enclosed 2005 Q3 AMPs from Dey                             DEY-LABS-0300459- May
                  to Medi-Cal EDS                                                       61
8912   10/28/2005 Letter and enclosed 2005 Q3 AMPs from Dey                             DEY-LABS-0300456- May
                  to First Health                                                       58
8913   10/28/2005 Letter and enclosed 2005 Q3 AMPs from Dey                             DEY-LABS-0300462- May
                  to NYS EPIC Program                                                   64
8914   10/28/2005 Letter and enclosed 2005 Q3 AMPs from Dey                             DEY-LABS-0300465- Expect
                  to CMS                                                                67
8915   10/31/2005 Memo from Sharon Taylor, Executive Director AL, S. Taylor, 7/24/07,   AIDA 0000015-17   May
                  of AIDA, to Independent Drugstore Owners    Def. Ex. 438
                  Re: Medicaid Reform -- Take Action Today

8916   10/31/2005 Memorandum from Christopher Decker to the WI, Defs' Joint Resp., AURORA_ 00002927- May
                  Wisconsin Pharmacy Reimbursement             1/15/08, Ex. 92          00002928
                  Commission
8917              INTENTIONALLY LEFT BLANK
8918   11/9/2005 AIDA Memo from Taylor to Independent                                   AIDA 000018-000021 May
                  Drugstore Owners re: Medicaid Crisis ...
                  Action Needed Today!
8919   11/9/2005 Email from Finch to Rudolph and Herrmann re:                           ALMED 847930 -     May
                  Draft Agenda for House Delegation Discussion                          847933
                  (and associated emails)
8920   11/10/2005 CMS Manual System, Pub 100-04 Medicare       Vito, 2/5/08, Abbott Ex.                    Expect
                  Claims Processing (Transmittal No. 754),     471
                  Subject: Supplying Fee and Inhalation Drug
                  Dispensing Fee Revisions and Clarifications

8921              INTENTIONALLY LEFT BLANK
8922   11/17/2005 Document entitled "DRAFT Minutes Pharmacy Duzor, 2/27/08, Abbott NASMD-0001293 -        May
                  TAG Conference Call November 17, 2005"    Ex. 497                NASMD-0001295
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 241 of 356




8923   11/21/2005 70 Fed. Reg. 70225, 70231                      Defs' Common S.J.                            May
                                                                 Resp., 8/28/09, Ex. 212

8924               INTENTIONALLY LEFT BLANK
8925   12/5/2005   AMA Letter from Thompkins to Pharmacy                                   ALMED 006290 -     May
                   Manager re: Desk Review Provider 100002661                              006297
                   (with attachment)
8926   12/8/2005   CMS Provider Inquiry Assistance, “Supplying Dey S.J., 6/26/09, Ex.                         May
                   Fee and Inhalation Drug Dispensing Fee        185
                   Revisions and Clarifications,” dated December
                   8, 2005, available at
                   http://www.cms.hhs.gov/ContractorLearningRe
                   sources/downloads/JA3990.pdf

8927   12/8/2005   Hawaii Medicaid Payment Algorithm Analysis HI, Watson S.J.,             HI_HI 000003149-150 May
                   (State Reimbursement Data updated 12/8/05    8/25/09, Ex. 19
                   with CMS 3/05 Data)
8928   12/8/2005   CSR Inquiry Assistance, “Supplying Fee and Previously disclosed                            May
                   Inhalation Drug Dispensing Fee Revisions and with Expert Report of
                   Clarifications,” effective January 1, 2006   Stiroh
                   (available at www.cms.hhs.gov)

8929   12/15/2005 State of Wisconsin Governor's Pharmacy         WI, Kreling, 12/4/08,     WI-Prod-AWP-118594-May
                  Commission Meeting Minutes                     Kreling Ex. 9             602
8930   12/15/2005 Presentation titled "Pharmacy Cost Parameters: WI, Kreling, 12/4/08,     WI-Prod-AWP-118609-May
                  Dispensing and Drug Acquisition Costs" by      Kreling Ex. 10            623
                  David Kreling (for the December 15, 2005
                  DHFS Pharmacy Reimbursement Commission
                  Meeting)
8931   12/20/2005 Verdict Form and Judgment Order in State of                                                 May
                  West Virginia ex rel. McGraw, Jr. v. Warrick
                  Pharmaceuticals Corp., et al.
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 242 of 356




8932   12/27/2005 Virginia State Plan Amendment 05-16           Tomlinson, 11/3/08,                        May
                                                                USA Ex. 23
8933   2006       42 C.F.R. § 447.332 (2006)                    Dey S.J., 6/26/09, Ex.                     May
                                                                202
8934   2006       New Mexico Pharmacy Services Index            R. Stevens, 12/15/08,                      May
                                                                Dey Ex. 527
8935   2006       North Carolina Medicaid AWP and Dispensing L. Weeks, 10/21/08,                           May
                  Fee models                                    Dey Ex. 67
8936   2006       North Carolina Medicaid AWP and Dispensing L. Weeks, 10/21/08,                           May
                  Fee models                                    Dey Ex. 68
8937   2006       South Dakota State Plan Amendment 05-015      L. Iverson, 12/15/08,    HHD038-0253       May
                                                                USA Ex. 2
8938   2006       Missouri's response to an OIG Survey                                   GOE-046275-290    May
8939   2006       Draft report, entitled Cost to Dispense Study                          KHPA054529/4541   May
                  and Procurement of Generic Supplemental
                  Rebates, prepared by the Kansas Health Policy
                  Authority for presentation to the 2006
                  Legislative Session
8940   2006       Report, entitled Cost to Dispense Study and                            KHPA127967/7973   May
                  Procurement of Generic Supplemental Rebates,
                  prepared by the Kansas Health Policy
                  Authority and presented to the 2006 Legislative
                  Session
8941   2006       42 CFR Section 447.333 (2006)                                                            May
8942   2006       2006 Pharmaceutical Preliminary Budget                                 ALMED 799060      May
                  Projections
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 243 of 356




8943   12/22/2006 Report from John E. Dicken to Chairman Joe Previously disclosed                       May
                  Barton, dated 12/22/06, United States         with Expert Report of
                  Government Accounting Office -Medicaid        Stiroh
                  Outpatient Prescription Drugs: Estimated 2007
                  Federal Upper Limits for Reimbursement
                  Compared with Retail Pharmacy Acquisition
                  Costs
8944   2006        National Pharmaceutical Council,             Previously disclosed                    May
                   Pharmaceutical Benefits under State Medical with Expert Reports of
                   Assistance Programs                          Stiroh and Bradford
8945               INTENTIONALLY LEFT BLANK
8946   2006         42 U.S.C. § 1395w-3a                                                                May
8947   2006        42 U.S.C. §§ 1395l                                                                   May
8948   2006        42 U.S.C. §§ 1395m (2006)                                                            May
8949               INTENTIONALLY LEFT BLANK
8950   1/2006      Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,                    May
                   Drugs 1/1/06-3/31/06                         Abbott Ex. 425
8951               INTENTIONALLY LEFT BLANK
8952   1/1/2006    42 C.F.R. § 414.1001                                                                 May
8953   1/1/2006    South Dakota Medicaid State Plan Amendment                         HHD311-0296-298   May
                   2000-3
8954   1/1/2006    District of Columbia SPA Transmittal No. 05-                       HHD039-0026-36    May
                   05
8955   1/2006      Alabama Medicaid Management Information AL, M. Finch, 8/8/07,                        May
                   System, Provider Manual, January 2006        Def. Ex. 518

8956   1/11/2006   Second Amended Complaint in State of           AL, M. Finch, 5/24/07,                May
                   Alabama v. Abbott Labs., Inc. et al., CV-05-   Def. Ex. 193
                   219
8957   1/27/2006   Congressional Budget Office, "Cost Estimate:   Previously disclosed                  May
                   S. 1932 Deficit Reduction Act of 2005"         with Expert Report of
                                                                  Bradford
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 244 of 356




8958   2/2006      Duggan, Mark and Scott Morton, Fiona M.        Previously disclosed                       May
                   "The Distortionary Effects of Government       with Expert Report of
                   Procurement: Evidence from Medicaid            Stiroh
                   Prescription Drug Purchasing." The Quarterly
                   Journal of Economics (February 2006): 1-30

8959   2/8/2006    Deficit Reduction Act of 2005, Pub. L. 109-171                                            May
                   Sec. 6001(a)(1), 120 Stat. 55, 58
8960   2/15/2006   Letter from S. Cuerdon, Associate Regional                             HHD039-0010-17     May
                   Administrator, to R. Maruca, Senior Deputy
                   Director Medical Assistance Administrator,
                   with enclosures
8961   2/22/2006   Letter from Russell Johnston to State           Dey S.J., 6/26/09, Ex. ALMED-357604       May
                   Medicaid/Medicare Administrator                 121
8962   2/28/2006   Email from Nancy Nesser to George Oestreich MO, Oestreich              GOE-031357         May
                   regarding AMP                                   11/28/07, Missouri 242
8963               INTENTIONALLY LEFT BLANK
8964   3/7/2006    Email chain between T. Eide, P. Leary, and R. ID, Leary, 12/1/09,      ID187867 - 68      May
                   May                                             Exhibit Leary 4
8965   3/8/2006    Document titled Federal Upper Limit System NY, Gail Sexton,            HHD175-1058        May
                   with handwritten notes                          5/20/08, Sexton Ex. 9
8966   3/13/2006   Email from Rhonda Driver to George Oestreich Driver 10/18/07,          GOE-029699-700     May
                   re. Albuterol                                   Missouri 115
8967   3/16/2006   Pharmacy TAG Conference Call Minutes            NY, Gail Sexton,       NASMD-0001304-06   May
                                                                   5/20/08, Sexton Ex. 19
8968   3/17/2006   Complaint filed in United States ex rel. Ven-A- Molyneaux, 1/11/07,                       May
                   Care of the Florida Keys, Inc. v. Abbott        Abbott Ex. 19
                   Laboratories, Inc.
8969   3/20/2006   Virginia Register of Regulations                Tomlinson, 11/3/08,                       May
                                                                   USA Ex. 24
8970   3/27/2006   Rule-Making Cover Sheet with Attachment         McCormick, 3/28/2008,                     May
                                                                   Ex. Dey 56
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 245 of 356




8971               INTENTIONALLY LEFT BLANK
8972   3/30/2006   Final Report titled "Governor's Commission on WI, Kreling, 12/4/08, WI-Prod-AWP-110433-Expect
                   Pharmacy Reimbursement"                        Kreling Ex. 11         486
8973   3/31/2006   Document titled Federal Upper Limit System NY, Gail Sexton,           HHD175-1057         May
                   with handwritten notes                         5/20/08, Sexton Ex. 11
8974   4/2006      OIG Report - Monitoring Medicare Part B Drug Roxane S.J., 6/26/09,                        May
                   Prices: A Comparison of Average                Ex. 148
                   Sales Prices to Average Manufacturing Prices
                   (OEI-03-04-00430)
8975   4/2006      Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,                         May
                   Drugs 4/1/06-6/30/06                           Abbott Ex. 426
8976   4/3/2006    Email exchange between Mary Lesperance and                            KHPA079344-346      May
                   Amy Bossano
8977   4/11/2006   Email chain between Medicaid officials from Homar, 12/2/08,           WY00000171-173      May
                   different states                               Roxane Ex. 13
8978   4/12/2006   Email between Hawaii Medicaid officials        Hiramatsu, 5/1/08, Ex. HI_HI 000003151-52 May
                   regarding WAC reimbursement                    Hiramatsu 61
8979   4/18/2006   First DataBank 2006 Customer Seminar           AL, K. Chadwick,       FDB/Alabama 101589- May
                   Attendees                                      10/23/07, Chadwick Ex. 594
                                                                  15
8980   5/2006      OIG report entitled Determining Average        Schondelmeyer,                             May
                   Manufacturer Prices for Prescription Drugs     2/26/09, Ex. Dey
                   Under the Deficit Reduction Act of 2005 (A-06- Schondelmeyer 5
                   06-00063), with cover letter
8981   5/2006      U.S. National Library of Medicine, “Albuterol Previously disclosed                        May
                   Sulfate (albuterol sulfate) Solution [Dey],”   with Expert Report of
                   available at                                   Bradford
                   dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?i
                   d=794
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 246 of 356




8982   5/18/2006   Email from Larry Reed to Cheryl Cooper,      K. Howell, 4/22/08,       HHD 218-0003-07   May
                   Deirdre Duzor, Kimberly Howell, Madlyn       Abbott Ex. 1091
                   Kruh, Bernadette Leeds, Gail Sexton, Yolanda
                   Reese, Christina Lyon, Marge Watchorn

8983               INTENTIONALLY LEFT BLANK
8984   6/2006      OIG Report - A Comparison of Average Sales    Tawes, 4/24/07, Abbott                     May
                   Prices to Widely Available Market Prices:     Ex. 126
                   Fourth Quarter 2005 (OEI 03-05-00430)

8985   6/2006      U.S. National Library of Medicine, “Cromolyn Previously disclosed                        May
                   Sodium (cromolyn sodium) Solution [DEY],” with Expert Report of
                   available at                                 Bradford
                   dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?i
                   d=752
8986   6/29/2006   Email from Robert Vito to David Tawes,        Tawes, 12/13/07,       HHD095-0138-0140    May
                   Edward Burley, Lauren McNulty                 Abbott Ex. 435
8987   7/2006      OIG Report - Comparison of Fourth Quarter     Tawes, 4/24/07, Abbott                     May
                   2005 Average Sales Prices to Average          Ex. 125
                   Manufacturer Prices: Impact on Medicare
                   Reimbursement for Second Quarter 2006 (OEI
                   03-06-00370)
8988   7/2006      OIG report - Generic Drug Utilization in State Dey S.J. Ex. 253                          May
                   Medicaid Programs (OEI-05-05-00360)

8989   7/2006      Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,                        May
                   Drugs 7/1/06-9/30/06                          Abbott Ex. 427
8990   7/3/2006    CMS Medicaid Drug Rebate Program State                                                   May
                   Release No. 142
8991   7/10/2006   The Deficit Reduction Act of 2005 Health Care Tomlinson, 11/3/08,      000001619-1641    May
                   Services Impact Presentation, Virginia        Abbott Ex. 1151
                   Medicaid
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 247 of 356




8992               INTENTIONALLY LEFT BLANK
8993   7/13/2006   Testimony of Robert Vito Before the         Tawes, 12/13/07,                          Expect
                   Subcommittee on Health, House Committee on Abbott Ex. 436
                   Ways & Means
8994   8/1/2006    Compliance Manual (Official Copy)           R. Johnston 12/11/08,    DEY-LABS-0416213- May
                                                               Johnston 56              510
8995   8/14/2006   Virginia State Plan Amendment 06-22         Tomlinson, 11/3/08,                        May
                                                               USA Ex. 26
8996   8/16/2006   Email from Susan Gaston to Elaine Elmore    Duzor, 10/30/07,         HHD086-0013 -    May
                   regarding request for assistance/State MACs Abbott Ex. 368           HHD086-0015

8997   8/16/2006   Email from Karla Billen to Anne Ferguson and                         KHPA083456       May
                   Mary Lesperance
8998   8/24/2006   United States' Complaint in United States ex  Scully, 7/13/07, Dey                    May
                   rel. Ven-A-Care of the Florida Keys, Inc. v.  Ex. 28
                   Dey, Inc.
8999   9/5/2006    Email from P. Leary to T. Eide and L. Clement                        ID 187843        May
                   and others re: brand name synthroid

9000   9/6/2006    Memorandum from Bob Smedes to Peter          S. Kramer, 3/25/08, Ex.                  May
                   Trezise, Carol Isaacs and David Viele        Abbott 672
9001   9/6/2006    Email from Patrick to Sanders, Eley and                              APCI000177       May
                   Cottrell, re: LA Legislation
9002   10/1/2006   Excerpt from Code of Federal Regulations     Gaston, 3/19/08, NY                      May
                   Section 447.332                              Counties Defs Ex. 1
9003   10/2006     Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,                     May
                   Drugs 10/1/06-12/31/06                       Abbott Ex. 428
9004   10/4/2006   Title 42, § 447.332, Revised October 4, 2006 Previously disclosed                     May
                                                                with Expert Report of
                                                                Stiroh
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 248 of 356




9005   10/16/2006 Print-out from the CMS Strategic Action Plan Dey S.J., 6/26/09, Ex.,                    May
                  for 2006-2009 section of the CMS website,    154
                  dated October 16, 2006, available at
                  http://www.cms.hhs.gov/missionvisiongoals/do
                  wnloads/cmsstrategicactionplan06-
                  09_061023a.pdf

9006   10/17/2006 Amended Complaint filed in State of Alaska v. Campana, 8/20/08, Ex.                     May
                  Alpharma Branded Products Division Inc. et al. Campana 60

9007   10/18/2006 Email from Mark-Richard Butt to Jerry         Butt, 1/26/10, Butt Ex.                   Expect
                  Dubberly re: AWP Litigation                   10
9008              INTENTIONALLY LEFT BLANK
9009   10/18/2006 Email from B. Ridout to M. Butt re: AWP       Butt, 2/12/10, Butt Ex.                   Expect
                  Litigation                                    43
9010   10/27/2006 Arrest Record in Colorado v. Michael Todd     Dey S.J. Opp., 8/28/09,                   May
                  Ricks, Case No. 2005 CR 003189                Ex. 368
9011   10/27/2006 Judgment of Conviction in Colorado v. Michael                                           May
                  Todd Ricks, Case No. 2005 CR 003189
                  (Certified Copy)
9012   11/2006    National Association of State Medicaid        Previously disclosed                      May
                  Directors, “State Perspectives on Emerging    with Expert Report of
                  Medicaid Pharmacy Policies and Practices,”    Bradford
                  November 2006
9013   11/3/2006 Letter from George Henderson, II and Andy                              HHD347-0001-02    May
                  Mao to All State Medicaid Fraud Control Unit
                  Directors
9014   11/6/2006 Email chain between T. Eide, E. Anderson and ID, Leary, 12/1/09,       ID170595 - 0596   May
                  others                                        Exhibit Leary 22
9015   11/13/2006 Letter from Andy Mao, U.S. Department of                              HHD927-0016-17    May
                  Justice, to Daniel Meron, Chief Counsel of
                  Department of Health & Human Services
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 249 of 356




9016   11/15/2006 Transcript of Fall 2006 Annual Meeting of the Ex. Abbott 499                              May
                  National Association of State Medicaid
                  Directors
9017              INTENTIONALLY LEFT BLANK
9018   11/30/2006 Report entitled "Prescription Drug Generic                              KHPA127941-7947   May
                  Rebate and Dispensing Cost Study," prepared
                  by Kansas Health Policy Authority (KHPA)
                  and presented to the Joint Committee on Health
                  Policy Oversight
9019   12/2006    Medicaid Prescription Reimbursement         J. Rector, 7/28/09,         NCPA 000233-235   May
                  Information by State - Qtr Ending December  Rector 5
                  2006
9020   12/2006    Myers and Stauffer Report - Survey of the   L. Reed, 10/22/08,                            May
                  Average Cost of Filling a Medicaid          Roxane Ex. 140
                  Prescription in the State of Minnesota
                  (Prepared for Minnesota Department of Human
                  Services)
9021   12/2006    Print-out from the Maryland Pharmacy            Duzor, 2/27/08, Abbott                    May
                  Coalition website regarding the Federal Deficit Ex. 520
                  Reduction Act (DRA)
9022   12/14/2006 Pharmacy Pricing Proposal (prepared by Idaho                           ID 170270-170279   May
                  Medicaid AMP Project Team in 2006)

9023   12/15/2006 CMS Medicaid Drug Rebate Program State                                                    May
                  Release No. 144
9024   12/19/2006 Document titled Federal Upper Limit (FUL)     NY, Gail Sexton,                            May
                  Changes to Transmittal No. 37                 5/20/08, Sexton Ex. 15
9025   12/20/2006 42 U.S.C. § 1395u (2006)                      Scully, 5/15/07, Abbott                     May
                                                                Ex. 195
9026   2007       42 C.F.R. § 414.904 (2007)                    Dey S.J., 6/26/09, Ex.                      May
                                                                41
9027              INTENTIONALLY LEFT BLANK
                    Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 250 of 356




9028   2007      North Dakota Medicaid Provider Bulletin titled Joyce, 12/12/08, Dey                 May
                 The Reimbursement News Source                  Ex. 717
9029   2007      Oklahoma Medicaid Prescription Drug Claim Nesser, 12/12/08,           OK00000013    May
                 Form                                           Roxane-OK Ex. 19
9030   2007      Rhode Island Medicaid Pharmacy Services        J. Young, 12/3/08,                   May
                 Claim Form                                     Roxane Ex. 7
9031   2007      Cardinal Health, Inc. Form 10-K                NY, M. Erick, 6/27/08,               May
                                                                Ex. 25
9032   2007      AmerisourceBergen website print screens        AL, C. Reed, 8/28/08, ABC-AWP-ALA-   May
                                                                Ex. 4                  00008-10
9033   2007      42 U.S.C.A., Section 1395w-3a (2007)                                                May
9034   2007      42 CFR § 405.517                               Previously disclosed                 May
                                                                with Expert Report of
                                                                Bradford
9035   2007      Jonathan Gruber and David Rodriguez, “How Previously disclosed                      May
                 much uncompensated care do doctors             with Expert Report of
                 provide?,” Journal of Health Economics, 26,    Bradford
                 pp. 1151–1169
9036             INTENTIONALLY LEFT BLANK
9037   8/2007    Myers & Stauffer Report - Analysis of          Previously disclosed                 May
                 Pharmacy Dispensing Fees for the Indiana       with Expert Reports of
                 Medicaid Program                               Stiroh and Bradford
9038   12/2007   Myers & Stauffer Report - Survey of            Previously disclosed                 May
                 Dispensing and Acquisition Costs of            with Expert Reports of
                 Pharmaceuticals in the State of California     Stiroh and Bradford
9039   12/2007   Myers & Stauffer Report - Survey of            Previously disclosed                 May
                 Dispensing Costs of Pharmaceuticals in the     with Expert Reports of
                 State of Nevada                                Stiroh and Bradford
9040   2007      National Pharmaceutical Council,               Previously disclosed                 May
                 Pharmaceutical Benefits under State Medical with Expert Reports of
                 Assistance Programs                            Stiroh and Bradford
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 251 of 356




9041   6/2007      OIG Report - Deficit Reduction Act            Previously disclosed     May
                   of 2005: Impact on the Medicaid Federal Upper with Expert Report of
                   Limit Program (OEI-03-06-00400)               Stiroh
9042   12/7/2004   House Energy and Commerce Committee,          Previously disclosed     May
                   Subcommittee on Oversight and Investigations, with Expert Report of
                   Hearing on "Medicaid Prescription Drug        Bradford
                   Reimbursement: Why the Government Pays
                   Too Much," (Testimony of David J. Balland,
                   Associate Commissioner for Medicaid and the
                   Children’s Health Insurance Program (CHIP),
                   Texas Health and Human Services
                   Commission)


9043               INTENTIONALLY LEFT BLANK
9044               INTENTIONALLY LEFT BLANK
9045               INTENTIONALLY LEFT BLANK
9046               INTENTIONALLY LEFT BLANK
9047   1/2007      Office of Vermont Health Access Medicaid       Rugg, 12/15/08, Dey     May
                   Generic Reimbursement Reductions and           Ex. 21
                   Dispensing Fee Study
9048   1/2007      Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,      May
                   Drugs 1/1/07-3/31/07                           Abbott Ex. 429
9049   1/2007      Grant Thornton LLP, National Study to          Schondelmeyer,          Expect
                   Determine the Cost of Dispensing Prescriptions 2/27/09, Ex. Roxane
                   in Community Retail Pharmacies, Prepared for Schondelmeyer 3
                   the Coalition for Community Action (CCPA)

9050               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 252 of 356




9051   1/8/2007    CMS Memorandum to All Carriers, Durable                             HHD927-0001-08         May
                   Medical Equipment Regional Carriers
                   (DMERCs), Durable Medical Equipment
                   Medicare Administrative Contractors (DME
                   MACs), and All Part A and Part B MACs (A/B
                   MACs) regarding Production of Documents
                   Related to Pharmaceutical Litigation

9052   1/9/2007    Print-out from the Website of the Committee     DeParle, 5/18/07,                          May
                   on House Ways and Means, Health                 Abbott Ex. 18
                   Subcommittee, regarding the 10/3/2002
                   Statement of the National Alliance for Infusion
                   Therapy and the National Home Infusion
                   Association, Alexandria, Virginia

9053   1/11/2007   Email from Eide to Leary                                            ID 149707              May
9054   1/11/2007   Email from Sanders to Masten re: Alabama                            NACDS-AL 1180          May
                   Debacle
9055   1/18/2007   E-mail from a Margaret Blasi to Cathy Kramer Tetkowski, 12/11/2008, MD 0003813-55          May
                   cc'd to distribution with attachment         Ex. Abbott Maryland 32

9056   1/25/2007   Minutes of the Alabama Medicaid Pharmacy                            Ala Pharmacy           May
                   Reimbursement Workgroup Meeting                                     Association 000016 -
                                                                                       000017
9057               INTENTIONALLY LEFT BLANK
9058   2/2/2007    MENTORx Report - Analysis of Dispensing        Bridges, 12/11/08,   ARK00006568-85         May
                   Costs for Prescription Drugs in Arkansas       Roxane 44
                   Community Pharmacies (Prepared for The
                   University of Arkansas for Medical Sciences)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 253 of 356




9059   2/2/2007    U.S. National Library of Medicine,           Previously disclosed                      May
                   “Ipratropium Bromide (ipratropium bromide) with Expert Report of
                   Solution [Dey],” available at                Bradford
                   dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?i
                   d=3233
9060   2/5/2007    CMS Letter from Daniel Meron to All                                  HHD927-0079-118   May
                   Operating Division and Staff Division Heads
                   re: Document Preservation in Pending
                   Pharmaceutical Litigation regarding
                   Prescription Drug Pricing
9061   2/5/2007    Email from T. Eide to L. Tisdale and P. Leary                        ID194244 - 307    May
                   attaching the January 2007 Grant Thornton
                   LLP's National Cost of Dispensing (COD)
                   Study
9062   2/5/2007    Email from Paul Leary to Tamara Eide and                             ID194243          May
                   Larry Tisdale re: Cost of Dispensing Survey
9063   2/9/2007    Letter from Justin Draycott to Neil Merkl,    Dey S.J., 6/26/09, Ex.                   May
                   Martin F. Murphy, and David Torborg           56
9064   2/20/2007   Letter and attachment from Jeanne LaBrecque, M. Sharp, 3/28/08, Ex. JDINC00403-417     May
                   Indiana Office of Medicaid Policy and         Abbott 958
                   Planning, to Leslie Norwalk, Esq., Center for
                   Medicare and Medicaid Services

9065   2/23/2007   National Cost of Dispensing Study              J. Rector, 7/28/09,   WI-Prod-AWP-173295-May
                   Webinar/Teleconference, Briefing for State     Rector 7              314
                   Medicaid Directors and their staff by
                   representatives of Grant Thornton, LLP,
                   February 23, 2007, Hosted by: The Coalition
                   for Community Pharmacy Action
9066   5/14/2007   Email communication among T. Eide, P. Leary,                         ID193957          May
                   E. Anderson and S. Pugatch re: Link to Grant
                   Thornton Study on Rx Disp Costs
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 254 of 356




9067   3/2007      NCPA Statement of Positions                     AL, J. Rector, 8/29/07, NCPA 000054-87    May
                                                                   NCPA 11
9068   3/2007      Myers and Stauffer Report - Survey of the       Terrebonne, 3/31/08,    JD-SUB-LA-001413- May
                   Average Cost of Filling a Medicaid              Ex. Abbott 1058         508
                   Prescription in the State of Louisiana
9069   3/7/2007    Email from Ferrell to Guin, Hamrick, Gallion                           APCI 000415       May
                   and Sanders re: AWP Litigation Contact List

9070               INTENTIONALLY LEFT BLANK
9071   3/21/2007   Minutes of the AMA Pharmacy Advisory         AL, L. Jones, 8/1/07,                       May
                   Meeting                                      Def. Ex. 495
9072   4/2007      OIG Report - States' Use of New Drug Pricing Vito, 2/5/08, Abbott Ex.                    May
                   Data in the Medicaid Program (OEI-03-06-     478
                   00490)
9073   4/2007      Payment Allowance Limits for Medicare Part B E. Richter, 12/7/07,                        May
                   Drugs 4/1/07-6/30/07                         Abbott Ex. 430
9074   4/2/2007    CMS Memorandum from Jacquelyn White to                                HHD927-0018-32     May
                   All Center and Office Directors and Regional
                   Administrators re: Guidance on Production of
                   Medicare and Medicaid Documents Related to
                   Pharmaceutical Litigation

9075   4/3/2007    Internal email from Glenda Bailey at CMS,       J. Bryant, 11/15/07,                     May
                   subject line "Document Preservation -           Abbott Ex. 397
                   Pharmaceutical Litigation - Prescription Drug
                   Pricing"
9076   4/3/2007    Internal email from Glenda Bailey at CMS,       J. Bryant, 11/15/07,                     May
                   subject line "Request for Production -          Abbott Ex. 398
                   Pharmaceutical Litigation"
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 255 of 356




9077   4/16/2007   Memorandum from Daniel Meron to Office of                                   HHD927-0119-164   May
                   the Secretary, Office of the Deputy Secretary,
                   Office of the Chief of Staff, Executive
                   Secretariat, Office of Intergovernmental
                   Affairs, Office of the Assistant Secretary for
                   Planning and Evaluation, Office of the
                   Assistant Secretary of Health, Office of the
                   Assistant Secretary for Administration &
                   Management, Office of the Assistant Secretary
                   for Resources & Technology, Office of the
                   Assistant Secretary for Preparedness and
                   Response, Office of the Assistant Secretary for
                   Legislation, Administration on Aging,
                   Administration for Children and Families re:
                   Preservation and Production of Documents
                   related to Pharmaceutical Litigation regarding
                   Prescription Drug Pricing



9078   5/2007      Email chain between North Carolina Medicaid       Weeks, 10/21/08, Dey                        May
                   officials                                         Ex. 69
9079   5/2007      OIG Report - Examining Fluctuations in                                                        May
                   Average Manufacturer Prices (OEI-03-06-
                   00350)
9080               INTENTIONALLY LEFT BLANK
9081   5/8/2007    Email chain between Medicaid officials from       Rugg, 12/15/08, Dey    WY00001050-1056      May
                   different states                                  Ex. 22
9082   5/21/2007   Article from Drug Topics entitled                 Duzor, 2/27/08, Abbott                      May
                   "Latebreakers: Iowa, Kansas boost dispensing      Ex. 489
                   fees"
9083   6/1/2007    Medi-Cal Pharmacy Claim Form (30-1)               CA, Bernstein, 12/5/08,                     May
                                                                     Ex. 2
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 256 of 356




9084   6/4/2007    CMS document entitled "E-mail and LAN        Bowen, 6/5/07, Abbott      May
                   Discovery Information"                       Ex. 224
9085               INTENTIONALLY LEFT BLANK
9086   7/2007      Payment Allowance Limits for Medicare Part B Richter, 12/7/07, Abbott   May
                   Drugs 7/1/07-9/30/07                         Ex. 431
9087   7/1/2007    33 V.S.A.§2010                                                          Expect
9088   7/17/2007   72 Fed. Reg. 39239                           Previously disclosed       May
                                                                with Expert Report of
                                                                Bradford
9089   7/18/2007   Printout from the NACDS website entitled     WI, Valentine, 7/19/07,    May
                   "About NACDS"                                Ex. Valentine 12

9090   8/24/2007   West's Ann.Cal.Welf. & Inst. Code Section     Gorospe, 3/19/08, Ex.     May
                   14105.45                                      Gorospe 4
9091   8/24/2007   Sample records from AmerisourceBergen RTS AL, C. Reed, 8/28/07,         May
                   data                                          Ex. 002
9092   8/24/2007   Sample records from AmerisourceBergen         AL, C. Reed, 8/28/07,     May
                   STAR data                                     Ex. 003
9093               INTENTIONALLY LEFT BLANK
9094   8/27/2007   Printout of the NCPA's Mission section of the AL, Rector, 8/29/07,      May
                   National Community Pharmacists Association's Ex. NCPA 2
                   website
9095               INTENTIONALLY LEFT BLANK
9096   9/21/2007   Article from The New York Times entitled      Berenson, 12/18/07,       May
                   "Generics: An Inflation Therapy"              Dey Ex. 33
9097   10/1/2007   Document entitled "State Dispensing Fee       Duzor, 2/27/08, Abbott    May
                   Activities"                                   Ex. 488
9098   10/1/2007   Excerpt of Federal Register, 42 CFR 447       Bridges, 12/10/08, Ex.    May
                                                                 Roxane 3
9099   10/2007     Document from Indiana Family & Social         Shirley, 12/2/08, Ex.     May
                   Services Administration Website, IHCP         Dey 502
                   Provider Agreement
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 257 of 356




9100   10/2007     Payment Allowance Limits for Medicare Part B Richter, 12/7/07, Abbott   May
                   Drugs 10/1/07-12/31/07                       Ex. 432
9101               INTENTIONALLY LEFT BLANK
9102   11/2007     Willaim J. Moore and Etienne E. Pracht,      Previously disclosed       May
                   “Changes in the Effectiveness of State       with Expert Report of
                   Medicaid Drug Program Cost-Containment       Bradford
                   Policies Following OBRA 1990,” American
                   Journal of Economics and Sociology, Volume
                   66, Number 5
9103   11/2007     National Association of State Medicaid       Previously disclosed       May
                   Directors, “2007 State Perspectives Medicaid with Expert Report of
                   Pharmacy Policies and Practices,” November Bradford
                   2007
9104               INTENTIONALLY LEFT BLANK
9105   11/7/2007   Expert report of Stephen W. Schondelmeyer in Schondelmeyer,             May
                   National Association of Chain Drug Stores v. 2/26/09, Ex. Dey
                   United States Department of Health and Human Schondelmeyer 4
                   Services, No. 1:07-cv-02017, 2007 WL
                   4176320 (D.D.C. Nov. 7, 2007)

9106   11/07/07   Chart titled "CMS File Source Log as of       Bryant, 11/15/07,          May
                  November 07, 2007"                            Abbott Ex. 400
9107   11/11/2007 Notice of Agency Rule-Making Adoption with    Walsh, 3/18/08, Ex.        May
                  Attachment                                    Dey 55
9108   11/26/2007 Pharmacy Billing Manual, Revision Table       Denemark, 12/9/08, Ex.     May
                                                                Dey 605
9109   12/2007     Myers & Stauffer Report - Survey of          Schondelmeyer,             May
                   Dispensing and Acquisition Costs of          2/25/09, Ex. Abbott
                   Pharmaceuticals in the State of California   Schondelmeyer 3
9110   2008        Chart titled Nebraska Medicaid Program       Cheloha, 12/2/08, Dey      May
                   07/01/2008 to 09/30/2008 SMAC vs. FUL,       Ex. 911
                   U&C, or ENEB (AWP-11%)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 258 of 356




9111   2008        Full SMAC List as of 5/28/2008                  Cheloha, 12/2/08, Dey                     May
                                                                   Ex. 909
9112   2008        MAC Effective Date and Rate Report              Ketchum, 12/15/08,                        May
                                                                   Roxane Ex. 13
9113   2008        Oklahoma drug reimbursement regulation          Nesser, 12/12/08,         OK00000010-12   May
                                                                   Roxane-OK Ex. 18
9114               INTENTIONALLY LEFT BLANK
9115   2008        18 V.S.A. § 4605 - Alternative drug selection   Rugg, 12/15/08, Dey                       May
                                                                   Ex. 15
9116   2008        Virginia Administrative Code on Payment for     Tomlinson, 11/3/08,                       May
                   Pharmacy Services (12 VAC 30-80-40)             USA Ex. 27
9117   2008        Washington Administrative Code                  Wimpee, 11/24/08,                         May
                                                                   USA Ex. 12
9118   2008        Cardinal Health website section on              Erick, 6/27/08, Ex. 27                    May
                   Pharmaceutical supply chain
9119   2008        Minnesota Multistate Contracting Alliance for Erick, 6/27/08, Ex. 28                      May
                   Pharmacy website section on What is
                   MMCAP?
9120   2008        McKesson Corp. Form 10-K                      Factor, 9/4/08, Ex. 010                     May

9121   1/2008      OIG Report - Review of the Relationship      Defs' Common S.J.                            May
                   Between Medicare Part D Payments to Local, Resp., 8/28/09, Ex. 84
                   Community Pharmacies and the
                   Pharmacies’ Drug Acquisition Costs (A-06-07-
                   00107)
9122   1/14/2008   Letter from George Henderson, II to David       Stone, 2/28/08, Dey Ex.                   May
                   Torborg, Neil Merkl and Eric Gortner            116
                   enclosing Palmetto pricing arrays concerning
                   albuterol
9123   2/2008      Medi-Cal Provider Agreement                     Gorospe, 5/6/09, Ex.                      May
                                                                   Gorospe 36
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 259 of 356




9124   2/2008      NCPA Statement of Positions                   Rector, 7/28/09, Ex.     NCPA 002816-849       May
                                                                 Rector 10
9125   2/4/2008    OMPP Historical State MAC Rate Listing for Sharp, 3/28/08, Ex.                               May
                   Legend Drugs                                  Sharp US 1
9126   2/18/2008   Hawaii Administrative Rules for Advisory      Hiramatsu, 5/1/08, Ex.                         May
                   EAC committee                                 Hiramatsu 9
9127   3/11/2008   South Dakota Medical Assistance Program       Iverson, 12/15/08, Dey                         May
                   Pharmacy Manual                               Ex. 905
9128   3/31/2008   Letter from Georgia Department of Community Defs' Common Sur-                                Expect
                   Health to Thurbert Baker, Attorney General of Reply to S.J., 10/15/09,
                   Georgia re: Possible Georgia Participation in Ex. B
                   Pharmaceutical Litigation regarding Average
                   Wholesale Price

9129   3/31/2008   Deposition transcript of Mary Julia             Terrebonne, 11/7/08,                         May
                   Terrebonne, dated March 31, 2008                Ex. Roxane LA 1
9130   4/1/2008    Document titled "Louisiana Cost of Dispensing Terrebonne, 3/31/08,       JD-SUB-LA-001307-   May
                   Studies Support New Fees" (prepared by          Ex. Abbott 1060          12
                   NACDS)
9131   Multiple    Compilation of Myers & Stauffer Reports from T. Hansen, 12/10/08,                            May
       Dates       1987-2007 related to dispensing and acquisition Abbott-Hansen Ex. 5
                   costs
9132   Multiple    Compilation of Myers & Stauffer Reports from T. Hansen, 12/10/08,                            May
       Dates       1987-2007 related to dispensing and acquisition Abbott-Hansen Ex. 6
                   costs
9133   5/27/2008   Memorandum from Jerry Dubberly to Clyde         Defs' Common Sur-                            Expect
                   Reese re: McKesson First DataBank (FDB)         Reply to S.J., 10/15/09,
                   Fraud Litigation                                Ex. A
9134   6/2008      Medicaid Prescription Reimbursement             L. Reed, 10/22/08,                           May
                   Information by State--Quarter Ending June       Roxane Ex. 124
                   2008
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 260 of 356




9135   6/3/2008    Stephen Schondelmeyer, Impact of the 10          Schondelmeyer,                            May
                   Percent Fee-for-Service Payment Reductions       2/25/09, Ex. Abbott
                   on Medi-Cal Beneficiaries and Pharmacies         Schondelmeyer 5

9136   6/17/2008   Email string, Carole Woolfolk to Margaret                                KS-KHPA-          May
                   Smith; cc: Karen Kluczykowski                                            00000010930-932
9137   6/17/2008   Email string, Carole Woolfolk to Margaret                                KS-KHPA-          May
                   Smith                                                                    00000010941-942
9138   6/22/2008   Letter and attachment from Jeffrey Brodsky to Perri, 2/19/09, Ex. Dey    EXP PER DEY-      May
                   Dr. Matthew Perri III re: Contract No. 8W-    Perri 3                    057438-447
                   CIV01-0977 and Technical Point of Contact

9139   7/2008      Alaska Administrative Code Title 7, Part 3,      Campana, 8/21/08, Ex.                     May
                   Chapter 43, Article 1, Administrative            Campana 58
                   Provisions
9140   7/2008      Alaska Administrative Code Title 7, Part 3,      Campana, 8/21/08, Ex.                     May
                   Chapter 43, Article 1, Administrative            Campana 60
                   Provisions
9141   7/2008      Alaska Administrative Code Title 7, Part 3,      Campana, 8/21/08, Ex.                     May
                   Chapter 43, Article 11, Prescribed Drugs and     DC US 2
                   Medical Supplies
9142   7/2008      Alaska Administrative Code Title 7, Part 3,      Campana, 8/21/08, Ex.                     May
                   Chapter 43, Article 27, Program Participation,   Campana 59
                   Administrative Remedies and Sanctions

9143   7/2008      OIG Report - Follow-Up Audit of the Medicaid                                               May
                   Drug Rebate Program in Utah (A-07-07-03098)

9144   7/2008      OIG Report - A Comparison of Average Sales                                                 May
                   Prices to Widely Available Market Prices for
                   Inhalation Drugs (OEI-03-07-00190)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 261 of 356




9145   7/8/2008    Alaska's First Amended Response to First Set    Campana, 8/20/08, Ex.                       May
                   of Interrogatories from Defendant Boehringer    Campana 61
                   Ingelheim Roxane, Inc. f/k/a Roxane
                   Laboratories, Inc.
9146   7/10/2008   Email string, Margaret Smith to Chalen Reed                                KS-KHPA-         May
                                                                                              00000007733
9147   7/15/2008   Email string, Margaret Smith to Chalen Reed                                KS-KHPA-         May
                                                                                              00000007723-24
9148   7/23/2008   Document entitled "Average Manufacturer         Roxane S.J., 6/26/09,      KS 00000042      May
                   Price (AMP)"                                    Ex. 150
9149   7/28/2008   Email and attachments from Jerry Dubberly to    Defs' Common Sur-                           May
                   jbelinfante@gov.state.ga.us                     Reply to S.J., 10/15/09,
                                                                   Ex. C
9150   8/2008      Chapter 7 of Indiana Medicaid Provider          Shirley, 12/2/08, Ex.                       May
                   Manual                                          Dey 504
9151   8/2008      Medicaid State Drug Utilization Data, dated     Dey S.J., 6/26/09, Ex.                      May
                   August 2008, available at                       268
                   http://www.cms.hhs.gov/MedicaidDrugRebate
                   Program/downloads/UtilWebLayoutAug2008.p
                   df

9152   8/2008      State of Rhode Island Department of Human                                                   May
                   Services Provider Agreement Form (available
                   at
                   http://www.dhs.ri.gov/ForProvidersVendors/M
                   edicalAssistanceProviders/ProviderEnrollment/
                   MAProviderApplicationIndividuals/tabid/874/
                   Default.aspx)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 262 of 356




9153   8/15/2008   CMS Healthcare Common Procedure Coding Dey S.J., 6/26/09, Ex.                              May
                   System (HCPCS) Level II Coding Procedures 157
                   section of the CMS website, revised August 15,
                   2008, available at
                   http://www.cms.hhs.gov/MedHCPCSGenInfo/
                   Downloads/
                   LevelIICodingProcedures.pdf

9154   9/2008      Letter from Russell Johnston to State          Dey S.J., 6/26/09, Ex.    AWP-IL-00024760   May
                   Medicaid/Medicare Administrator, dated         123
                   September 2008 (redacted)
9155   9/11/2008   Commonwealth of Massachusetts Division of      Dey S.J., 6/26/09, Ex.                      May
                   Health Care Finance and Policy regulation      289
                   114.3 CMR 31.00, adopted on September 11,
                   2008, available at
                   http://www.mass.gov/Eeohhs2/docs/dhcfp/g/re
                   gs/114_3_31.pdf
9156   9/15/2008   Pharmacy Manual from the Commonwealth of Dey S.J., 6/26/09, Ex.                            May
                   Massachusetts MassHealth Provider Manual       288
                   Series, dated September 15, 2008, available at
                   http://www.mass.gov/Eeohhs2/docs/masshealth
                   /regs_provider/regs_pharmacy.pdf

9157   9/18/2008   Pharmacy Provider Specific Policy, Revision    Denemark, 12/9/08, Ex.                      May
                   Table                                          Dey 606
9158   10/1/2008   Georgia Department of Community Health,        Dubberly, 12/15/08, Ex.                     May
                   Part II Policies and Procedures for Pharmacy   Georgia 22
                   Services
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 263 of 356




9159   10/2008     Oregon Department of Human Services,       Previously disclosed           May
                   Provider Services Unit, “Important         with Expert Report of
                   Information: Pharmacy Benefit Manager      Bradford
                   Conversion,” October 2008, available at
                   www.oregon.gov/DHS/healthplan/notices_prov
                   iders/2008/pmconversion.pdf
9160   10/28/2008 Letter from CMS to State Health Official (SHO                              May
                  #08-004)
9161              INTENTIONALLY LEFT BLANK
9162   11/22/2008 Print-out from "Our Products" section of Dey's Johnston, 12/10/08, Ex.     May
                  website, dated November 22, 2008                1
9163   11/22/2008 Print-out from the "Dey Innovations" section of Johnston, 12/10/08, Ex.    May
                  Dey's website, dated November 22, 2008          4

9164   11/22/2008 Print-out from the "Product Development"         Johnston, 12/10/08, Ex.   May
                  section of Dey's website, dated November 22,     3
                  2008
9165   11/22/2008 Print-out from the "Product Portfolio" section   Johnston, 12/10/08, Ex.   May
                  of Dey's website, dated November 22, 2008        2

9166   12/23/2008 OIG Memorandum Report - Comparison of            Dey S.J., 6/26/09, Ex.    May
                  First-Quarter 2008 Average Sales Prices and      42
                  Average Manufacturer Prices: Impact on
                  Medicare Reimbursement for Third Quarter
                  2008 (OEI-03-08-00530)
9167   12/2008     Medicaid Prescription Reimbursement             S. Schondelmeyer,         May
                   Information by State – Quarter Ending           2/27/09, Ex. Roxane
                   December 2008 (available at                     Schondelmeyer 4
                   www.cms.hhs.gov)
9168   12/2008     OIG Report - Comparison of Average Sales                                  May
                   Prices and Average Manufacturer Prices: An
                   Overview of 2007 (OEI 03-08-00450)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 264 of 356




9169   12/9/2008   Chart titled "Medicaid Prescription              Roxane S.J., 6/26/09,     May
                   Reimbursement Information By State -Quarter Ex. 205
                   Ending March 2009"
9170               INTENTIONALLY LEFT BLANK
9171   1/29/2009   42 U.S.C. § 1395w-3a (2009)                      Duggan, 2/27/09, Ex.      May
                                                                    Dey Duggan 2
9172   2/2009      OIG Report - Comparing Pharmacy                                            May
                   Reimbursement: Medicare Part D to Medicaid
                   (OEI-03-07-00350)
9173   2/11/2009   Declarations of T. Allan Hansen, Kevin           CA, Defs' S.J.,           May
                   Gorospe and Susan Flores in support of           11/25/09, Ex. 45
                   Defendant's Opposition to Plaintiffs' Motion for
                   Preliminary Injunction filed in Managed
                   Pharmacy Care v. Maxwell-Jolly
9174   3/11/2009   Letter from DOJ to Dr. Schondelmeyer             Schondelmeyer,            May
                   enclosing contract for expert witness services   5/22/09, Ex. Dey
                                                                    Schondelmeyer 8
9175   3/17/2009   Declaration of David B. Shepherd                 Butt, 2/12/10, Butt Ex.   May
                                                                    36
9176   3/27/2009   Declaration of Stephen Schondelmeyer and                                   May
                   attached report entitled "Impact of Change in
                   Drug Ingredient Cost Discount on Washington
                   Medicaid Beneficiaries and Pharmacies" filed
                   in Washington State Pharmacy Association v.
                   Gregoire
9177   3/31/2009   Article from Associated Press titled "Judge                                May
                   blocks Washington state move to reduce
                   reimbursements for Medicaid prescriptions"
9178   3/31/2009   Order Granting Motion for Temporary                                        Expect
                   Restraining Order in Washington State
                   Pharmacy Association v. Gregoire
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 265 of 356




9179   4/1/2009    Article from Komo News titled "Judge blocks                                              May
                   state's Medicaid prescription drug plan"

9180   5/19/2009   Folder entitled "NCPA Mission and               Rector, 7/28/09, Ex.   NCPA 002370-372   May
                   Independent Pharmacy Facts" containing          Rector 2
                   NCPA's Mission Statement
9181   5/26/2009   DHHS Departmental Appeals Board Decision                                                 May
                   No. 2250 (available at
                   http://www.hhs.gov/dab/decisions/DAB2250.p
                   df)
9182   6/22/2009   Amended Complaint for Injunctive and                                                     Expect
                   Declaratory Relief filed in National
                   Association of Chain Drug Stores et al. v.
                   Markell
9183   7/9/2009    Opinion filed in Independent Living Center of                                            Expect
                   Southern California, Inc. v. Maxwell-Jolly, No.
                   08-56422 (9th Cir. 2009)
9184   8/2009      OIG Report "A Comparison of Medicaid                                                     May
                   Federal Upper Limit Amounts to Acquisition
                   Costs, Medicare Payment Amounts, and Retail
                   Prices" (OEI 03-08-00490)

9185   9/8/2009    Plaintiffs' Notice of Dismissal Pursuant to                                              May
                   Federal Rule of Civil Procedure 41(a)(1)(A)(i)
                   filed in National Association of Chain Drug
                   Stores et al. v. Markell
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 266 of 356




9186   10/16/2009 Opinion in AstraZeneca LP and AstraZeneca                                            Expect
                  Pharmaceuticals LP v. Alabama; AstraZeneca
                  LP and AstraZeneca Pharmaceuticals LP v.
                  Alabama; Smithkline Beecham Corp. d/b/a
                  Glaxosmithkline v. Alabama; and Novartis
                  Pharmaceuticals Corp. v. Alabama, CV-05-
                  219.10; CV-05-219.11; CV-05-219.68; and CV-
                  05-219.52


9187   10/30/2009 Print-out from the U.S. Food               CA, Dey S.J., 11/25/09,                   May
                  and Drug Administration website entitled   Ex. 2
                  Drugs, available at
                  http://www.fda.gov/Drugs/InformationOnDrug
                  s/ucm142438.htm
9188   2/26/2010   Memorandum Decision in Utah v. Apotex                                               May
                   Corp. et al., Case No. 080907678
9189   11/16/2004 -Transmittal and Notice of Approval of State   McCormick, 3/28/08,                   May
       9/29/2009 Plan Material                                   Ex. Abbott 861

9190   12/21/1994- Maryland Medicaid Program, Cumulative List Fine, 12/9/08, Ex.       MD0021454-497   May
       3/17/1999 of Interchangeable Drug Costs                Abbott Maryland 13
9191   6/19/2008 Email from W. Boyd III to T. Reynolds                                 IA RESEARCH     May
                   attaching 1986-1989 Iowa Pharmacy                                   004327-57
                   Association Newsletters relating to
                   reimbursement
9192   1988-2003 North Dakota State Plan Amendments           Joyce, 12/12/08, Dey                     May
                                                              Ex. 711
9193   1988-2003 North Dakota State Plan Amendments           Haase, 12/10/08, Dey                     May
                                                              Ex. 702
9194   1988-2003 Compilation of Nevada Medicaid Provider      NV, Defs' Joint S.J..,   NV00485-556     May
                   Bulletins                                  2/8/07, Ex. 52
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 267 of 356




9195   1988-2004 Correspondence between HCFA/CMS and                                      HHD308-0093-114   May
                 Mississippi regarding State Plan Amendments

9196   1989-2006 Excerpts of Department of Health and Human       MT, Dey S.J., 2/8/07,                     May
                 Services State Medicaid Manual, Part 6 –         Ex. U
                 Payment for Services Transmittals, published
                 by the Centers for Medicare and Medicaid
                 Services
9197   1990-1994 Compilation of New Hampshire State Plan          Farrand, 10/28/08, USA HHD040-0156,       May
                 Amendments                                       Ex. 2                  HHD040-0158,
                                                                                         HHD040-0163,
                                                                                         HHD040-0165-66
9198   1990-2004 Compilation of Oklahoma State Plan               Nesser, 12/12/08, USA HHD076-0077-78,     May
                 Amendments                                       Ex. 1                  HHD076-80-84
9199   1990-2006 NPC Medicaid Drug Reimbursement Report           Chang, 4/17/09, Abbott                    May
                 1990-2006                                        Ex. 1175
9200   1991 Q2   Dey Invoice                                      Walsh, 3/18/08, Ex.                       May
                                                                  Dey 50
9201   1991-1996 Excerpts from Wyoming State Plan                 Homar, 12/2/08,        WY00000059-90      May
                 Amendments                                       Roxane Ex. 009
9202   1991-2005 Alabama Medicaid Pharmacy Dispensed              AL, Trial, DTX 569                        May
                 Reimbursement Methodology 1991-2005
9203   1991-2006 Excerpts from Vermont State Plan            Rugg, 12/15/08, Dey                            May
                 Amendments                                  Ex. 6
9204   1992-2005 Compilation of Nevada State Plan Amendments NV, Defs' Joint S.J.,                          May
                 relating to Medicaid drug reimbursement     2/8/07, Ex. 67

9205              INTENTIONALLY LEFT BLANK
9206   1994       Letter from George Reeb, OIG, to Marshall       Chesser, 6/24/08,       HHD144-0151-160   May
       (month and Kelley, Director of Florida Medicaid, regarding Roxane Ex. 81
       day        OIG study
       illegible)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 268 of 356




9207   1994-1996 Account Call Records                               Ricks-Bey, 1/8/09, Ex.                      May
                                                                    Dey 1023
9208             INTENTIONALLY LEFT BLANK
9209   1994-1996 Cigna pricing array for Cromolyn                                             AWQ039-0037-39    May
9210   1994-1997 Cigna pricing array for J7620                      Helton, 3/13/08, Dey      AWQ021-0086-89    May
                                                                    Ex. 125
9211   1994-1997 Array documents produced by CIGNA                  Helton, 3/13/08, Abbott                     May
                                                                    Ex. 603
9212             INTENTIONALLY LEFT BLANK
9213   1995-1997 Correspondence between South Carolina                                        SCSHP0023993-4039 May
                 Pharmacy Benefit Manager and pharmacy
9214   1995-2000 West Virginia Medicaid Regulations for         WV, Trial, DX- 6              WVDHHR 0002190-   May
                 Pharmacy Services                                                            2505
9215   1995-2001 Rhode Island State Plan Amendment 95-017       J. Young, 12/3/08,                              May
                 and related materials                          Roxane Ex. 8
9216             INTENTIONALLY LEFT BLANK
9217   1996 Q1   Palmetto pricing array for Ipratropium Bromide                               AWQ037-0009       May

9218   1996 Q1     Palmetto pricing array for Ipratropium Bromide                             AWQ 037-0843      May

9219   1996 Q2     Palmetto pricing array for Ipratropium Bromide                             AWQ037-0011       May

9220   1996 Q2     Palmetto pricing array for Ipratropium Bromide                             AWQ 037-0752      May

9221   1996 Q3     Palmetto pricing array for Ipratropium Bromide                             AWQ 037-0644      May

9222   1996 Q4     Palmetto pricing array for Ipratropium Bromide                             AWQ 037-0014      May

9223   1996 Q4     Palmetto pricing array for Ipratropium Bromide                             AWQ 037-0508      May

9224   1996-2003 Cigna pricing arrays for ipratropium bromide       Helton, 3/13/08,                            May
                                                                    Roxane Ex. 58
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 269 of 356




9225   1996-2005 Chart of AWP and WAC for Dey Ipratroprium Clifford, 10/29/08, Dey                         May
                                                                Ex. 202
9226   1997 Q1   Palmetto pricing array for Ipratropium Bromide                    AWQ 037-0392            May

9227   1997 Q1     Palmetto pricing array for Ipratropium Bromide                       AWQ037-0016        May

9228   1997 Q2     AdminaStar pricing array for Albuterol                               AWP036-0336        May
9229   1997 Q3     Palmetto pricing array for Ipratropium Bromide                       AWQ 037-0132       May

9230   1997-1998 Cigna pricing array for K0505                    Helton, 3/13/08, Dey   AWQ021-0201-05    May
                                                                  Ex. 127
9231   1997-1998 Florida Prescribed Drug Services Coverage,       Cobo, 3/4/08, Dey Ex. FL002765-3096      May
                 Limitations, and Reimbursement Handbook          123
9232   1997-1998 Letters and newspaper articles from the files of Chang, 4/17/09, Abbott HHD058-0001-050   May
                 the Office of Legislation and letters from Ms. Ex. 1173
                 Chang to members of Congress regarding
                 legislative proposal for Medicare drug
                 reimbursement
9233   1997-1998 Compilation of South Carolina documents                                SCSHP0024610-716   May
9234   1997-1998 Cigna pricing array for Cromolyn                                       AWQ039-0041-43     May
9235   1997-2000 Excerpts from Red Book: Medicaid               TX, Bentley, 7/24/02,   R1-030746-50       May
                 Reimbursement for Drugs by State               Ex. Bentley 267
9236             INTENTIONALLY LEFT BLANK
9237   1998 Q1   Palmetto pricing array for Ipratropium Bromide                         AWQ 037-0018       May

9238   1998 Q1     Palmetto pricing array for Ipratropium Bromide                       AWQ 037-0969       May

9239   1998 Q2     Palmetto pricing array for Ipratropium Bromide                       AWQ 037-0020       May

9240   1998 Q2     Palmetto pricing array for Ipratropium Bromide                       AWQ 037-1129       May
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 270 of 356




9241   1998 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ 037-0022        May

9242   1998 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ 037-1233        May

9243   1998 Q4   Palmetto pricing array for Ipratropium Bromide       AWQ 037-0024        May

9244   1998 Q4   Palmetto pricing array for Ipratropium Bromide       AWQ 037-1330        May

9245   1999 Q2   Cigna pricing array for Ipratropium Bromide          AWQ020                May
                                                                      CD#1\J7644.xls
                                                                      Tab: 1999 Q2
9246   1999 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ                   May
                                                                      028\nonPrivDATA\Ite
                                                                      m 1 Drug Files
                                                                      (Pricing
                                                                      information)\1999
                                                                      Drug Files\K0000 7-1-
                                                                      99.zip, tab K0518
9247   1999 Q3   Cigna pricing array for Ipratropium Bromide          AWQ020              May
                                                                      CD#1\J7644.xls
                                                                      Tab: 1999 Q3
9248   1999 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ037-0026-0027    May

9249   1999 Q4   Palmetto pricing array for Ipratropium Bromide       AWQ                   May
                                                                      028\nonPrivDATA\Ite
                                                                      m 1 Drug Files
                                                                      (Pricing
                                                                      information)\1999
                                                                      Drug Files\K0000 10-1-
                                                                      99.zip, tab K0518
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 271 of 356




9250   1999 Q4    Cigna pricing array for Ipratropium Bromide                               AWQ020                May
                                                                                            CD#1\J7644.xls
                                                                                            Tab: 1999 Q4
9251   1999 Q4    Palmetto pricing array for Ipratropium Bromide                            AWQ037-0029           May

9252   1999-2000 Findings and Assurances letters from Montana MT, Defs' Joint S.J.,         MT015775-             May
                 Medicaid to HCFA                             2/8/07, Ex. 57                MT015776;
                                                                                            MT005538-005539
9253   1999-2000 AdminaStar pricing array for Albuterol                                     AWP034-0837           May
9254   1999-2000 AdminaStar pricing array for Albuterol                                     AWP034-0845           May
9255   1999-2003 Cigna pricing arrays and Red Book™ for            Stone, 10/14/09,                               May
                 Windows® sources for ipratropium bromide          Roxane Ex. 255
9256   1999-2003 Cigna pricing array for J7631                     Helton, 3/13/08, Dey                           May
                                                                   Ex. 129
9257   1999-2003 Cigna pricing array for J7644                     Dey S.J., 6/26/09, Ex.                         May
                                                                   159
9258   2000 Q1    Palmetto pricing array for Ipratropium Bromide                            AWQ                   May
                                                                                            028\nonPrivDATA\Ite
                                                                                            m 1 Drug Files
                                                                                            (Pricing
                                                                                            information)\2000
                                                                                            Drug Files\K0000 1-1-
                                                                                            00rev.zip, tab J7644

9259   2000 Q1    Cigna pricing array for Ipratropium Bromide                               AWQ020                  May
                                                                                            CD#1\J7644.xls
                                                                                            Tab: 1st quarter - 2000

9260   2000 Q1    Palmetto pricing array for Ipratropium Bromide                            AWQ037-0031-0032      May
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 272 of 356




9261   2000 Q2   Palmetto pricing array for Ipratropium Bromide       AWQ                   May
                                                                      028\nonPrivDATA\Ite
                                                                      m 1 Drug Files
                                                                      (Pricing
                                                                      information)\2000
                                                                      Drug Files\K0000 4-1-
                                                                      00.zip, tab J7644
9262   2000 Q2   Cigna pricing array for Ipratropium Bromide          AWQ020                May
                                                                      CD#1\J7644.xls
                                                                      Tab: 2nd quarter -
                                                                      2000
9263   2000 Q2   AdminaStar pricing array for Ipratropium             AWP033-0436           May
                 Bromide
9264   2000 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ                   May
                                                                      028\nonPrivDATA\Ite
                                                                      m 1 Drug Files
                                                                      (Pricing
                                                                      information)\2000
                                                                      Drug
                                                                      Files\J7000oldk_codes
                                                                      7-1-00, tab
                                                                      J7644
9265   2000 Q3   Cigna pricing array for Ipratropium Bromide          AWQ020                  May
                                                                      CD#1\J7644.xls
                                                                      Tab: 3rd quarter - 2000

9266   2000 Q3   Palmetto pricing array for Ipratropium Bromide       AWQ037-0035           May

9267   2000 Q4   Cigna pricing array for Ipratropium Bromide          AWQ020                  May
                                                                      CD#1\J7644.xls
                                                                      Tab: 4th quarter - 2000
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 273 of 356




9268   2000-2001 Excerpt of Virginia response to federal survey Hayashi, 12/4/08,    HHD006-0105            May
                 on reimbursement and revised AWPs              Abbott Ex. 25

9269   2000-2001 Collection of Interview Sheets from a Medicaid Tawes, 4/25/07, Abbott HHD006-0225 - 0524   May
                 Prescription Drug Pricing Survey               Ex. 143
9270   2000-2003 Hawaii State Plan Amendments                   Hiramatsu, 5/1/08, Ex. HI_HI 000036642-84   May
                                                                Hiramatsu 42
9271   2000-2004 Cigna pricing array for Albuterol                                     AWQ020               May
                                                                                       CD#1\J7619.xls
9272   2000-2004 Cigna pricing array for Cromolyn                                      AWQ020               May
                                                                                       CD#1\J7631.xls
9273   2001 Q1   Palmetto pricing array for Ipratropium Bromide                        AWQ 037-0037         May

9274   2001 Q1    Palmetto pricing array for Ipratropium Bromide                     AWQ 037-0038           May

9275   2001 Q1    Cigna pricing array for Ipratropium Bromide                        AWQ020                 May
                                                                                     CD#1\J7644.xls
                                                                                     Tab: 2001 - 1st qtr
9276   2001 Q2    Palmetto pricing array for Ipratropium Bromide                     AWQ 037-0040 -         May
                                                                                     AWQ 037-0043
9277   2001 Q2    Cigna pricing array for Ipratropium Bromide                        AWQ020                 May
                                                                                     CD#1\J7644.xls
                                                                                     Tab: 2001 - 2nd qtr
9278   2001 Q3    Palmetto pricing array for Ipratropium Bromide                     AWQ 037-0045 -         May
                                                                                     AWQ 037-0048
9279   2001 Q3    Cigna pricing array for Ipratropium Bromide                        AWQ020                 May
                                                                                     CD#1\J7644.xls
                                                                                     Tab: 2001 - 3rd qtr
9280   2001 Q4    Palmetto pricing array for Ipratropium Bromide                     AWQ 037-0050 -         May
                                                                                     AWQ 037-0052
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 274 of 356




9281   2001 Q4     Cigna pricing array for Ipratropium Bromide                      AWQ020                May
                                                                                    CD#1\J7644.xls
                                                                                    Tab: 2001 - 4th qtr
9282   2001-2001 South Carolina Medicaid State Plan                                 HHC008-0005-09        May
                 Amendments relating to reimbursement
9283             INTENTIONALLY LEFT BLANK
9284   2002 Q1   Palmetto pricing array for Ipratropium Bromide                     AWQ 037-0054 -        May
                                                                                    AWQ 037-0057
9285   2002 Q1     Cigna pricing array for Ipratropium Bromide                      AWQ020                May
                                                                                    CD#1\J7644.xls
                                                                                    Tab: 2002 - 1st qtr
9286   2002 Q2     Palmetto pricing array for Ipratropium Bromide                   AWQ 037-0059 -        May
                                                                                    AWQ 037-0062
9287   2002 Q2     Cigna pricing array for Ipratropium Bromide                      AWQ020                May
                                                                                    CD#1\J7644.xls
                                                                                    Tab: 2002 - 2nd qtr
9288   2002 Q3     Palmetto pricing array for Ipratropium Bromide                   AWQ 037-0064 -        May
                                                                                    AWQ 037-0067
9289   2002 Q3     Cigna pricing array for Ipratropium Bromide                      AWQ020                May
                                                                                    CD#1\J7644.xls
                                                                                    Tab: 2002 - 3rd qtr
9290   2002 Q4     Cigna pricing array for Ipratropium Bromide                      AWQ020                May
                                                                                    CD#1\J7644.xls
                                                                                    Tab: 2002 - 4th qtr
9291   2002-2004 CMS communications with Oklahoma               Nesser, 12/12/08,   HHC010-0669-0673      May
                 regarding SWP or Medicaid Drug Payments,       Roxane Ex. 21
                 State Plan Amendments
9292   2003 Q1   Palmetto pricing array for Ipratropium Bromide                     AWQ 037-0069 -        May
                                                                                    AWQ 037-0072
9293   2003 Q1     Cigna pricing array for Ipratropium Bromide                      AWQ020                May
                                                                                    CD#1\J7644.xls
                                                                                    Tab: 2003 - 1st qtr
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 275 of 356




9294   2003 Q2     Palmetto pricing array for Ipratropium Bromide                        AWQ 037-0074 -      May
                                                                                         AWQ 037-0076
9295   2003 Q2     Cigna pricing array for Ipratropium Bromide                           AWQ020              May
                                                                                         CD#1\J7644.xls
                                                                                         Tab: 2003 - 2nd qtr
9296   2003 Q3     Palmetto pricing array for Ipratropium Bromide                        AWQ 037-0078 -      May
                                                                                         AWQ 037-0080
9297   2003 Q3     Cigna pricing array for Ipratropium Bromide                           AWQ020              May
                                                                                         CD#1\J7644.xls
                                                                                         Tab: 2003 - 3rd qtr
9298   2003 Q4     Palmetto pricing array for Ipratropium Bromide                        AWQ 037-0082 -      May
                                                                                         AWQ 037-0084
9299   2003 Q4     Cigna pricing array for Ipratropium Bromide                           AWQ020              May
                                                                                         CD#1\J7644.xls
                                                                                         Tab: 2003 - 4th qtr
9300   2004-2006   Descriptions prepared by New Mexico            Stevens, 12/15/08, Dey NMAG00002377-2379 May
                   Medicaid                                       Ex. 531
9301   2005-2006   North Carolina Medicaid AWP and Dispensing Weeks, 10/21/08, Dey                           May
                   Fee models                                     Ex. 66
9302   2005-2008   Nebraska Medicaid ACS SMAC Reports             Cheloha, 12/3/08, DOJ                      May
                                                                  NE Ex. 3
9303   2005-2008   Correspondence between CMS and Mississippi                            HHD308-0011-18      May
                   regarding State Plan Amendments
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 276 of 356




9304   3/19-        Attendance list from the National Association Lockwood, 3/17/08,     VAC MDL 75925-969 May
       20/1998,     of Medicaid Fraud Control Units, Directors    Roxane Ex. 63
       8/7/1998     Symposium, Arlington, Virginia, March 19-20,
                    1998; Letter dated 8/7/1998 from Zachary
                    Bentley and Mark Jones to Barbara Zelner,
                    NAMFCU, enclosing copies of OIG report
                    "The Impact of High-Priced Generic Drugs on
                    Medicare and Medicaid" for distribution among
                    the MFCU directors; Agenda for Day 2 of the
                    NAMFCU Symposium


9305   3/2002 -     Compilation of emails and attachments with   Bahr, 1/30/08, Ex. Bahr KYDMSPL_113001-   May
       7/2002       cover sheet titled "State MAC"               61                      043
9306   4/1/97 -     Cigna pricing array for Albuterol                                    AWQ021-0198       May
       3/30/98
9307   4/10/95 -    Cigna pricing array for Albuterol                                    AWQ021-0091       May
       3/8/96
9308   4/19/1995-   Letter from Margarita Flores to Edward         MA, Defs' S.J., 2/28/08, MA053383,      May
       1/29/1997    Vaccaro, dated Sept. 1996; the letter from Kim Ex. 39                   MA053407-10,
                    Schroeder to State of New Jersey DMAHS-                                 MA053426-28
                    PMR, dated Jan. 29, 1997; the letter from
                    Karen Wilson to Gary Haffner, R. Ph., dated
                    Feb. 5, 1996; and the letter from Phyllis T.
                    Sinoradzki, M.A.E., to Ed Vaccaro, R. Ph.,
                    dated Dec. 30, 1995 (FILED UNDER SEAL).


9309   4/2/2007 - Invoices                                       Perri, 2/19/09, Ex. Dey                  May
       1/21/2009                                                 Perri 4
9310   4/2000 -   Emails from states to "National Medicaid       Bahr, 1/30/08, Ex. Bahr KY_DMS_000000001 May
       5/2000     Pharmacy Administrators"                       52                      17407-35
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 277 of 356




9311   4/3/2003     Charts titled "Comparison of Drug Prices      Vito, 2/6/08, Dey Ex.      HHD107-0002-06    May
       (date of     AWP, WAC, and Innovatix," "Comparison of 49
       first doc)   Ipratropium Bromide Prices (AWP, WAC, and
                    Innovatix)," "Comparison of Albuterol Sulfate
                    Prices (Texas Medicaid, RedBook, Innovatix,
                    and Anda)," "Comparison of Ipratropium
                    Bromide Prices (Texas Medicaid, RedBook,
                    Innovatix, and Anda)"


9312   4/6/2000-    Materials regarding revised AWPs and letter                              ID 037332-672     May
       5/18/2000    from NAMFCU to “Medicaid Pharmacy
                    Directors”
9313   4/6/2003-    Document titled "Curbside Scheduling"            AL, Chadwick,          FDB/Alabama 085649- May
       4/9/2003                                                      10/23/07, Chadwick Ex. 54
                                                                     17
9314   4/6-7/2007 First DataBank’s 17th Annual Customer              WI, Trial, DX-466      ALMED-351019-029 May
                  Seminar, Everything You Always Wanted to
                  Know About Pricing Data PowerPoint slides

9315   5/2002-      Letters from pharmacists to Kentucky             KY, Defs' Joint S.J.,   KY_DMS_ 122979-   May
       7/2002       government officials and legislators regarding   10/15/08, Ex. 81        122983;
                    pharmacy reimbursement                                                   KY_DMS_123029;
                                                                                             KY_DMS_123176-
                                                                                             123177;
                                                                                             KY_DMS_123230-
                                                                                             123231
9316   5/28/xxxx  Coversheet "Pharmacy," Fax from E. Dudley to CT, Dudley, 6/22/05,          CT0027118-120     May
                  M. [Starkowski] with attachment titled       Ex. Dudley 016
                  "Additional Pharmaceutical Initiatives"
9317   6/10/1996 Collection of Fax Cover Sheets from Rob Vito Vito, 6/20/07, Abbott          HHD059-0014 - 0029 May
       (begining) to OAS, HCFA, DMERCs, certain state          Ex. 252
                  Medicaids, OIG
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 278 of 356




9318   6/19,       Email chain between P. Portis, N. Savoie, G. MA, Gilmore, 7/26/07, MA001510-45           May
       27/2001     Gilmore, P. Jeffrey and others               Ex. Gilmore 5
9319   7/1/2003 - State Plan Under Title XIX of the Social      Walsh, 3/18/08, Ex.     HHC006-124-27       May
       11/25/2003 Security Act; Maine; Payment Rates With       Abbott 857
                   Attachments with letter from CMS to Peter
                   Walsh
9320   7/11/1996 Letter from Robert Wardwell to Cynthia         Denemark, 12/10/09,     HHC002-0475-76      May
       (date of    Denemark & Letter from Cynthia Denemark to Ex. Abbott-DE 004
       first doc) Sue Gaston
9321   7/19-       National Symposium for Medicaid Pharmacy Kramer, 3/25/08, Ex.        HHD050-0821-22      May
       21/1995     Administrators schedule                      Abbott 653
9322   7/2/96 -    Cigna pricing array for Albuterol                                    AWQ021-0093         May
       4/7/97
9323   7/20,       Email chain between D. Brown, G. Gilmore     MA, Gilmore, 7/26/07, MA001457              May
       23/2001     and others                                   Ex. Gilmore 6
9324   7/2003-     AdminaStar pricing array for Ipratropium                             AWP033-1988         May
       8/2003      Bromide
9325   7/6&27/199 Letters between R. Reed, Chief, Medicaid      ID, Duerr, 12/3/09, Ex. ID035813 - 5816     May
       9           Branch, HCFA, and J. Brunson, Administrator Duerr 19
                   Division of Medicaid Dept. of Health and
                   Welfare
9326   8/17/94 - Cigna pricing array for Albuterol                                      AWQ021-0090         May
       2/21/95
9327   8/20/2000 - First DataBank 2000 Customer Seminar         AL, Chadwick,           FDB/Alabama 098805- May
       8/22/2000 Attendees                                      10/23/07, Chadwick Ex. 811
                                                                14
9328   8/2-4/2002 Materials from the National Medicaid          HI, Watson S.J.,        HI_HI000002643-     May
                   Pharmacy Administrators' Association 16th    8/26/09, Ex. 26         2721
                   Annual Meeting
9329   8/30-       State, HCFA, OIG Conference Medicaid         Tetkowski, 12/11/08,    HHD 144-0264 -72    May
       31/1994     Outpatient Prescription Drug Program;        Ex. Abbott Maryland 27
                   Richmond, VA
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 279 of 356




9330   8/30-       Record of Discussion- Conference Notes       Denemark, 12/9/08, Ex. HHD-021-0118-19      Expect
       31/1997                                                  Dey 609
9331   9/27-       Record of Discussion- Conference Notes       Denemark, 12/9/08, Ex. HHD-021-0121-122     Expect
       28/1995                                                  Dey 611
9332               INTENTIONALLY LEFT BLANK
9333   Fall 1995   Region D DMERC Dialogue                      Helton, 3/13/08, Dey     HHC907-0092-105    May
                                                                Ex. 133
9334   Illegible   Folder of communications between Ven-A-      M. Jones, 8/18/09, Ex.   VAC MDL 75437-451 May
                   Care and Pennsylvania                        Jones 29
9335   Illegible   Folder of communications between Ven-A-      M. Jones, 8/18/09, Ex.   VAC MDL 75473-518 May
                   Care and South Carolina                      Jones 30
9336   Multiple    Collection of annual NCPA Digests            Rector, 7/28/09, Ex.     NCPA 002073 - 2115, May
       dates                                                    Rector 3                 2029 - 2072, 1987 -
                                                                                         2028, 1949 - 1986,
                                                                                         1904 - 1948, 1861 -
                                                                                         1903, 1815 - 1860,
                                                                                         1768 - 1814, 1697 -
                                                                                         1767, 1626 - 1696,
                                                                                         1554 - 1625, 1482 -
                                                                                         1553, 2386 - 2417 and
                                                                                         2418 - 2445
9337   Multiple    Collection of communications between Ven-A- M. Jones, 8/18/09, Ex.    VAC MDL 91064-107 May
       dates       Care and New York                           Jones 26
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 280 of 356




9338   Multiple   Collection of documents: Statement of John M. AL, Rector, 8/29/07,                       May
       dates      Rector, Esq. Before the Labor Health and      Ex. NCPA 12
                  Human Services Education and Related
                  Agencies Appropriations Subcommittee, May
                  22, 1985, HCFA-Fiscal Year 1986
                  Appropriations; Letter from various
                  congressmen and Senator David Pryor to
                  Carolyne Davis, Ph.D., HCFA Administrator
                  regarding efforts to review the Medicaid
                  prescription drug program; Statement of John
                  M. Rector Before the House Ways and Means
                  Subcommittee on Health, June 2, 1987.


9339   Multiple   Compilation of documents regarding to HCFA's Robey, 3/20/07, Abbott HHC015-0714-771      May
       dates      document retention policy and litigation hold Ex. 72

9340   Multiple   Compilation of wholesaler invoices            M. Jones, 12/9/08,     R1-030369, VAC     May
       dates                                                    Roxane Ex. 196         MDL 59583-590
9341   Multiple   File on the Cobo Pharmacy in the Florida      Cobo, 7/31/08, Dey Ex. FL-AG-0002871-2970 May
       dates      Medicaid Program                              181
9342              INTENTIONALLY LEFT BLANK
9343              INTENTIONALLY LEFT BLANK
9344   Multiple   Transmittal and Notice of Approval of State                          HI_HI000036642-84   May
       dates      Plan Material for two Hawaii State Plan
                  Amendments and a form copy of Hawaii
                  Medicaid's Supplemental Rebate Agreement

9345   Multiple   Compilation of excerpts from Price Alert: The HI, Watson S.J.,       Various             May
       dates      Official Guide to AWP Pricing, years 1989-    8/26/09, Ex. 6
                  2002
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 281 of 356




9346   Multiple   Excerpts from prior depositions of Patricia Kay MA, Morgan, 11/30/07,                     May
       dates      Morgan                                          Morgan Ex. 1

9347   Multiple   Commonwealth of Massachusetts State Plan      Duzor, 3/26/08, Dey       MA049616 -        May
       dates      Under Title XIX of the Social Security Act    Ex. 169                   MA050418

9348   Multiple   Excerpts from Wyoming State Plan              Defs' Common S.J.       WY00000059-90       May
       dates      Amendments                                    Resp., 8/28/09, Ex. 130

9349   Multiple   Excerpts of State Plan Amendments             Defs' Common S.J.                           May
       dates                                                    Resp., 8/28/09, Ex. 79
9350              INTENTIONALLY LEFT BLANK
9351              INTENTIONALLY LEFT BLANK
9352   Multiple   Various hand-annotated documents              Bridges, 12/11/08,      ARK00006495-502     May
       dates                                                    Roxane 46
9353   Multiple   Correspondence between DHHS and Oregon        Howell, 4/22/08, Abbott HHC 020-0473-520    May
       dates      Department of Human Services regarding        Ex. 1085
                  Oregon SPA 02-004
9354              INTENTIONALLY LEFT BLANK
9355   Multiple   Array documents produced by CIGNA             Walker, 3/12/08, Abbott Multiple Bates stamps May
       dates                                                    Ex. 601                 from various
                                                                                        productions
9356   Multiple   Composite Exhibit of Government Reports,      Marrs, 7/10/08, Ex.     Various               May
       dates      Volume I                                      Marrs 33A
9357   Multiple   Composite Exhibit of Government Reports,      Marrs, 7/10/08, Ex.     Various               May
       dates      Volume II                                     Marrs 33B
9358   Multiple   Draft of proposed legislation: amendment to   Chang, 4/17/09, Abbott HHD135-0106-108        May
       dates      Section 1842                                  Ex. 1172
9359   Multiple   File "ACS/IDC; Analysis/Proposal" with        Tetkowski, 12/11/08,    MD0004134-45          May
       dates      assorted emails                               Ex. Abbott Maryland 29
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 282 of 356




9360   Multiple   2001 correspondence with Congress and       TX, Rice, 3/24/03, Ex. DL-TX-0162288; DL- May
       dates      associated documents                        Rice 577               TX-0162327 - 334; DL-
                                                                                     TX-0162428 - 470

9361   Multiple   Handwritten Note with Emails and Dispensing Tetkowski, 12/11/08,   MD 0003730-34           May
       dates      fee Survey                                  Ex. Abbott Maryland 38

9362   Multiple   Handwritten notes and letters between Zachary Howell, 4/22/08, Abbott VAC MDL 75205-19     May
       dates      Bentley and Maryland Department of Mental Ex. 1066
                  Hygiene
9363   Multiple   Excerpts of the 1995, 1998, 2000, and 2001    MT, Dey S.J. Merkl      DEY-MDL-0105096-     May
       dates      Drug Topics Red Book                          Decl., 2/8/07, Ex. T    0105116
9364   Multiple   Compilation of Kansas Medicaid State Plan                             HHD077-0073-102      May
       dates      Amendments relating to reimbursement
9365   Multiple   Sample Invoices to Customers                                          DEY-MDL0000001-      May
       dates                                                                            6727
9366   Multiple   Compilation of Kentucky Medicaid State Plan                           HHC008-0035-0045     May
       dates      Amendments
9367   Multiple   Compilation of New Jersey Medicaid State                              HHD037-0082-0134     May
       dates      Plan Amendments
9368              INTENTIONALLY LEFT BLANK
9369   Multiple   Email chain among P. Jeffrey, G. Gilmore and MA, G. Gilmore,          MA001435-437         May
       dates      others                                        7/26/07, Ex. Gilmore
                                                                007
9370   Multiple   Compilation of claim forms submitted by Ven- Cobo, 7/31/08, Dey Ex. Various bates number   May
       dates      A-Care for Medicaid reimbursement             180                     from VAC MDL
       (1992-                                                                           production
       1997)
9371              INTENTIONALLY LEFT BLANK
9372              INTENTIONALLY LEFT BLANK
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 283 of 356




9373   Multiple     Cigna pricing arrays for J7644                                            CIGNA-0101-255    May
       dates (1999-
       2003)

9374   Multiple    Letter and attachments from HCFA to William Howell, 4/22/08, Abbott HHHD 090-1677-95         May
       Dates (2000-Prince re: South Carolina Title XIX State Plan Ex. 1068
       2001)       Amendment, Transmittal #00-09

9375   Spring      Sawyer, Darwin O., “Pharmaceutical            Previously disclosed                           May
       1983        Reimbursement and Drug Cost Control: The      with Expert Report of
                   MAC Experience in Maryland,” Inquiry,         Bradford
                   Volume 20
9376   Spring      Lamphere-Thorpe, Jo Ann, et al. “Who Cares Previously disclosed                              May
       1994        What it Costs to Dispense a Medicaid          with Expert Report of
                   Prescription?,” Health Care Financing Review, Bradford
                   Vol. 15, No. 3, Spring 1994

9377   Spring      Frank, Richard and David Salkever, “Generic Previously disclosed                             May
       1997        Entry and the Pricing of Pharmaceuticals,”       with Expert Report of
                   Journal of Economics and Management              Bradford
                   Strategy
9378               INTENTIONALLY LEFT BLANK
9379   Spring      Article from the Inquiry titled "The Association WI, Kreling, 12/4/08,     WI-Prod-AWP-095049-May
       1998        of Insurance Type with Costs of Dispensed        Kreling Ex. 5             061
                   Drugs" by David Kreling
9380               INTENTIONALLY LEFT BLANK
9381               INTENTIONALLY LEFT BLANK
9382   Undated     Recommendation Analysis No. 5, Prescription ID, Duerr, 12/3/09, Ex.        ID042026 - 2028   May
                   Drugs                                            Duerr 34
9383   Undated     Portion of Idaho Administrative Codes            ID, Leary, 12/1/09, Ex.   N/A               May
                                                                    Leary 12
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 284 of 356




9384   Undated   Charts titled Albuterol Sulfate, .083%, per mL,                       HHD007-0089-92       May
                 NDC 49502-0697-33
9385   Undated   Charts titled Albuterol Sulfate, .083%, per mL,                       HHD007-0084-88       May
                 NDC 49502-0697-33
9386   Undated   Charts titled Albuterol Sulfate, .083%, per mL,                       HHD007-0093-97       May
                 NDC 49502-0697-33
9387   Undated   Charts titled Albuterol Sulfate, .083%, per mL,                       HHD007-0162-65       May
                 NDC 49502-0697-33
9388   Undated   Charts titled Albuterol Sulfate, .083%, per mL,                       HHD007-0196-97       May
                 Medicare/Medicaid STATE Comparison
                 Summary
9389   Undated   Charts titled Albuterol Sulfate, .083%, per mL,                       HHD007-0200-01       May
                 Medicare/Medicaid STATE Comparison
                 Summary
9390   Undated   Schedule Showing Prescription Drug Payments                           HHC011-531           May
                 in States Which Primarily Establish their
                 Reimbursmeent Limits Based on AWP

9391   Undated   Memo From Michael Hash, Deputy                    Nieman, 11/19/09, Ex. HHD340-0031-34     May
                 Administrator to Kevin Thurm                      Abbott 1185
9392   Undated   Attachment 4.19B for Illinois State Plan                                AWP IL 00002377-   May
                 Amendment 88 13                                                         380
9393   Undated   Attachment 4.19B, page 32 of State Plan                                 HHC009-1230        May
                 Amendment 00-11
9394   Undated   Description of Illinois Medicaid Rebate                               AWP IL 00014321 to May
                 Program                                                               AWP IL 00014350

9395   Undated   42 C.F.R. § 447.518                               L. Reed, 10/22/08,                       May
                                                                   Roxane Ex. 120
9396   Undated   7 AAC 43.040                                      Campana, 8/19/08, Ex. AWP-AK-00000001-   May
                                                                   Campana 48            02
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 285 of 356




9397   Undated   ACS document on URA calculation                Homar, 12/2/08,       WY00001255-1258       May
                                                                Roxane Ex. 16
9398             INTENTIONALLY LEFT BLANK
9399             INTENTIONALLY LEFT BLANK
9400             INTENTIONALLY LEFT BLANK
9401             INTENTIONALLY LEFT BLANK
9402             INTENTIONALLY LEFT BLANK
9403             INTENTIONALLY LEFT BLANK
9404   1989      OIG Office of Audit Region VI - Audit Guide Bridges, 12/10/08, Ex.   HHD186650-63          May
                 for the Nationwide Review of the Medicare    Roxane 8
                 Catastrophic Coverage Act Drug Program
                 Usual and Customary Charges
9405   Undated   Average Manufacturer Pricing Submission      Defs' Common S.J.                             May
                 Guidelines for the State of California       Resp., 8/28/09, Ex. 9
                 Department of Health Care Services,
                 available at
                 http://www.dhcs.ca.gov/provgovpart/Pages/Dru
                 gRebateAMP.aspx.
9406   Undated   Budget Item C-22: Pharmacy Reimbursement       Dubberly, 12/15/08, Ex.                     May
                                                                Georgia 32
9407   Undated   Bulletin from Craig Fuller, NACDS President    WI, Valentine, 7/19/07, WI-JJ00013909-910   May
                 and CEO, to its membership entitled "A State   Ex. Valentine 17
                 Medicaid Director Shifts a Debate"

9408   Undated   Call log from FDB's customer support group   MA, P. Morgan,         FDB-AWP 028041-        May
                                                              11/30/07, Morgan Ex. 153
                                                              19
9409   Undated   Chart entitled "Albuterol UD 60 By ML (NDC D, Thompson, 9/30/08,                           May
                 No. 49502-69760)"                            Thompson Ex. 10
9410   Undated   Chart entitled "Appendix B" with annotations Tawes, 4/25/07, Abbott HHD014-0067            May
                                                              Ex. 145
9411             INTENTIONALLY LEFT BLANK
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 286 of 356




9412   Undated   Chart entitled "Cromolyn Sodium UD 60 By        D, Thompson, 9/30/08,                  May
                 ML (NDC No. 49502-68902)"                       Thompson Ex. 9
9413   Undated   Chart entitled "Estimated Medicare Savings if   Tawes, 4/25/07, Abbott HHD014-0046     May
                 Acquisition Costs Were Used for 1995            Ex. 146
                 Prescription Drug Reimbursement"
9414   Undated   Chart entitled "Ipratropium 25s By ML (NDC      D, Thompson, 9/30/08,                  May
                 No. 49502-68503)"                               Thompson Ex. 8
9415   Undated   Chart entitled "Ipratropium Bromide, 0.02%,     Tawes, 12/13/07,        HHD013-1239    May
                 per ml, J7645"                                  Roxane Ex. 13
9416   Undated   Chart entitled "Proposed Sliding Scale          Defs' Common S.J.       MD0019256-57   May
                 Reimbursement Formula for Generic Drugs"        Resp., 8/28/09, Ex. 157

9417   Undated   Chart Reimbursement Formula and Dispensing Shirley, 12/2/08, Ex.                       May
                 Fees                                         Abbott Shirley 1
9418   Undated   Chart titled 1993 Sales Rep Terminations.xls Ricks-Bey, 1/8/09, Ex. DEY-BO-0225836-841 May
                                                              Ricks 2
9419             INTENTIONALLY LEFT BLANK
9420   Undated   Chronology on federal pharmacy Medicaid      Campana, 8/19/08, Ex.                     May
                 program                                      Campana 13
9421   Undated   CMS’s Internet-Only Manual, Publication 100- Dey S.J. Opp., 8/28/08,                   May
                 04, Medicare Claims Processing Manual,       Ex. 400
                 Chapter 17
9422   Undated   Colorado Medicaid File                       Chapman, 12/15/08, Ex. VAC MDL 74724-50 May
                                                              Dey 376
9423   Undated   Colorado SPA sent from Diane Dunstan to      Chapman, 12/15/08, Ex. HHC013-1114-16     May
                 Deidre Duzor and Larry Reed                  Dey 373
9424   Undated   Committee Hearing Notes                      Campana, 8/19/08, Ex.                     May
                                                              Campana 32
9425   Undated   Contract for Items or Services Delivered to  Denemark, 12/10/09,                       May
                 Delaware Medical Assistance Program          Ex. Dey 604
                 Eligibles in the Dep't of Health and Social
                 Services
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 287 of 356




9426   Undated   Copy of Code of Colorado Regulation 10 CCR Chapman, 12/15/08, Ex.                       May
                 2505-10-8.800                                Dey 352
9427   Undated   Copy of Ven-A-Care's Powerpoint presentation Lockwood, 7/23/08,     VAC MDL 89737-863 May
                 given to Illinois Medicaid                   Dey Ex. 177
9428   Undated   Ven-A-Care Powerpoint presentation given to Lockwood, 7/23/08,      VAC MDL 88835-      May
                 Medi-Cal                                     Dey Ex. 179            89138
9429   Undated   Customer Program Specifications NDDF         AL, Chadwick,          FDB/Alabama 122931- May
                 System Version 3.1 between the State of      10/23/07, Chadwick Ex. 65
                 Alabama and First DataBank                   9
9430   Undated   Department of Health and Mental Hygiene,     Fine, 12/9/08, Ex.     MD 0000739-41       May
                 Maryland Medical Assistance Pharmacy         Abbott Maryland 8
                 Services, Maryland Pharmacy Program Chart

9431   Undated   Dey Package Inserts                                                  DL-TX-0077394-     May
                                                                                      77420
9432   Undated   Dey Respiratory Learning System, Phase 1       Marrs, 10/2/08, Ex.   DL-TX 85412, DL-TX May
                 Training Modules, Dey Respiratory Products     Marrs 63              85611-635
                 and Selling Strategies, Course Four of Four,
                 Module D
9433             INTENTIONALLY LEFT BLANK
9434             INTENTIONALLY LEFT BLANK
9435             INTENTIONALLY LEFT BLANK
9436             INTENTIONALLY LEFT BLANK
9437             INTENTIONALLY LEFT BLANK
9438             INTENTIONALLY LEFT BLANK
9439             INTENTIONALLY LEFT BLANK
9440             INTENTIONALLY LEFT BLANK
9441             INTENTIONALLY LEFT BLANK
9442             INTENTIONALLY LEFT BLANK
9443             INTENTIONALLY LEFT BLANK
9444             INTENTIONALLY LEFT BLANK
9445             INTENTIONALLY LEFT BLANK
                    Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 288 of 356




9446             INTENTIONALLY LEFT BLANK
9447             INTENTIONALLY LEFT BLANK
9448             INTENTIONALLY LEFT BLANK
9449             INTENTIONALLY LEFT BLANK
9450             INTENTIONALLY LEFT BLANK
9451             INTENTIONALLY LEFT BLANK
9452             INTENTIONALLY LEFT BLANK
9453             INTENTIONALLY LEFT BLANK
9454             INTENTIONALLY LEFT BLANK
9455             INTENTIONALLY LEFT BLANK
9456             INTENTIONALLY LEFT BLANK
9457             INTENTIONALLY LEFT BLANK
9458             INTENTIONALLY LEFT BLANK
9459   Undated   DHFS Drug Reimbursement with Description, WI, Trial, DX-0872     N/A                  May
                 Background and Rationale for Proposal

9460   Undated   DHFS Wisconsin Medicaid Program Provider WI, Defs' Joint S.J.      WI-Prod-PDF- 063802- May
                 Agreement, Wisconsin Medicaid Pharmacy      Resp., 1/15/08, Ex. 63 063825
                 Certification Packet
9461   Undated   DMERC Questionnaire with handwritten notes Hansford, 3/14/07, Dey HHD-011-0294 - 0302 May
                                                             Ex. 6
9462   Undated   Document entitled "Albuterol .083% Solution Gaston, 3/19/08, NY                         May
                 As of June 1997"                            Counties Defendants
                                                             Ex. 15
9463   Undated   Document entitled "Albuterol Sulfate"       D, Thompson, 9/30/08, HHD193-0021-25        May
                                                             Thompson Ex. 20
9464   Undated   Document titled "Associations/Advocacy      Tawes, 12/13/07,       HHD042-0389,         May
                 Groups Checklist"                           Roxane Ex. 15          HHD100-0149-151,
                                                                                    HHD110-0292-94
9465   Undated   Document entitled "Attachment A, HCFA's     Gaston, 3/19/08,                            May
                 Medicaid Drug Rebate Staff"                 Aventis Ex. 2
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 289 of 356




9466   Undated   Document entitled "Cromolyn Sodium"            D, Thompson, 9/30/08, HHD193-0107         May
                                                                Thompson Ex. 21
9467   Undated   Document entitled "Department: Medicare        Roxane S.J. Ex. 169;   AWP034-0462 - 66   May
                 Pricing, Process: Drug Pricing Procedure"      Roxane Ex. 100
9468   Undated   Document entitled "Description of Drug Price   Tawes, 4/24/07, Abbott HHD005-0032        May
                 Files Available for Downloading"               Ex. 131
9469             INTENTIONALLY LEFT BLANK
9470   Undated   Document entitled "Exclusions from Rebate      Gaston, 3/19/08,                          May
                 Program"                                       Aventis Ex. 6
9471   Undated   Document entitled "Medicaid Pharmacy Cost;     Bridges, 12/11/08, Ex.   ARK00003267-72   May
                 Slowing the Rate of Growth is Mandatory"       Roxane 38

9472   Undated   Document entitled "Medicaid Pharmacy Team Duzor, 10/30/07,         HHD068-0403           May
                 (PharmT)"                                   Abbott Ex. 369
9473   Undated   Document entitled "Medicare Program         Niemann, 10/11/07,     HHC902-0001-16        Expect
                 Payment for Drugs"                          Abbott Ex. 314
9474   Undated   Document entitled "Morning Mail, Title:     Tawes, 4/25/07, Dey    HHD006-0169           May
                 Medicaid's Use of Revised Average Wholesale Ex. 20
                 Prices (OEI-03-01-00010)"
9475   Undated   Document titled "Pharmacy Prices for        Tawes, 12/2/08, Roxane HHD157-0640           May
                 Ipratropium Bromide"                        Ex. 163
9476   Undated   Document entitled "Review of Medicaid Drug L. Reed, 9/27/07,       HHC004-0188-90        May
                 State Plan Amendments"                      Abbott Ex. 328
9477   Undated   Document entitled "Supplier Prices for      D, Thompson, 9/30/08, HHD011-0917-18,        May
                 Albuterol Sulfate 0.083%, Purchased from a  Thompson Ex. 12        0921
                 Manufacturer"
9478   Undated   Document entitled "Supplier Prices for      D, Thompson, 9/30/08, HHD011-0926-29         May
                 Albuterol Sulfate 0.083%, Purchased from a  Thompson Ex. 14
                 Pharmacy"
9479   Undated   Document entitled "Supplier Prices for      D, Thompson, 9/30/08, HHD011-0922-25         May
                 Albuterol Sulfate 0.083%, Purchased from a  Thompson Ex. 13
                 Wholesaler"
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 290 of 356




9480   Undated   Document entitled "Supplier Prices for       D, Thompson, 9/30/08, HHD003-0004-08    May
                 Albuterol Sulfate 0.083%, Purchased from     Thompson Ex. 15
                 Other Than a Manufacturer"
9481   Undated   Document entitled "The Federal Upper Limit  Gaston, 1/24/08, Abbott HHC902-0446        May
                 Program"                                    Ex. 462
9482   Undated   Document entitled "Uniform Drug Pricing     Helton, 3/13/08,        AWQ029-000326 - 28 May
                 Project"                                    Roxane Ex. 51
9483   Undated   Document supplied by Cynthia Denemark re:   Denemark, 12/10/09,                        May
                 Delaware's DMAC Reimbursement               Ex. Abbott-DE 003
9484   Undated   Document titled "Appendix II"               Tawes, 12/2/08, Dey     HHD163-0001        May
                                                             Ex. 1101
9485   Undated   Document titled "DHCF Current Policy Brand Roxane S.J., 6/26/09,                       May
                 Medically Necessary and Medicaid Maximum Ex. 208
                 Allowable Cost List"
9486   Undated   Document titled "Narrative Prepared for the Eiler, 8/26/08, Abbott AWP034-0456-61      May
                 Department of Health & Human Services       Ex. 1130
                 Health Care Financing Administration,
                 Prepared by Palmetto GBA on behalf of the
                 four DMERCs"
9487   Undated   Document titled "Palmetto GBA, LLC,           Stone, 2/28/08, Abbott                   May
                 Medicare Claims Processing Contract Coverage Ex. 523
                 1991-2001 (Topic 1, Jones Day Letter
                 11/21/2007)"
9488   Undated   Document titled "Savings for 9 Drugs Added to Tawes, 12/2/08, Roxane HHD245-000011     May
                 FUL since we went to CMS"                     Ex. 192
9489   Undated   Document titled "Selected HHS Office of       Vito, 6/19/07, Abbott HHD068-1554 - 1557 May
                 Inspector General Reports: Medicare and       Ex. 228
                 Medicaid Prescription Drug Reimbursements
                 (1984 through August 2001)"

9490   Undated   Document titled "Usual and Customary for     Bridges, 12/10/08, Ex.   HHC902-0486    May
                 Prescription Drugs"                          Roxane 6
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 291 of 356




9491   Undated   Document titled First DataBank Drug Pricing      AL, Chadwick,          FDB/Alabama 093504- May
                 Policy                                           10/23/07, Chadwick Ex. 06
                                                                  10
9492   Undated   Document titled FUL Savings Methodology          Tawes, 12/2/08, Roxane HHD245-000449       May
                                                                  Ex. 187
9493   Undated   Document titled Instructions for Completing      Eiler, 8/26/08, Abbott AWP034-0524-25      May
                 the Contractor's Drug Pricing Report             Ex. 1129
9494   Undated   Document titled Medicare Contracts Held By       Eiler, 8/26/08, Ex. 1                      May
                 Anthem/AdminaStar Federal, Inc./AHP-
                 NH/AHP-ME
9495   Undated   Document titled Roles & Responsibilities         P. Brown, 12/17/07,                       May
                                                                  Abbott Ex. 504
9496   Undated   Document with 2 sections: "Albuterol Sulfate     Hansford, 3/14/07, Dey HHD-007-190-0193   May
                 Pricing Trends" and "Trends by State"            Ex. 4

9497   Undated   Document with a handwritten note                 Gaston, 1/24/08, Abbott HHD006-0103 -     May
                 "Comments"                                       Ex. 466                 HHD006-0105,
                                                                                          HHD006-0117,
                                                                                          HHD006-0108
9498   Undated   Document without title beginning, "The           Gorospe, 5/6/09, Ex.    CAAG/DHS-         May
                 information contained in the Medstat…"           Gorospe 32              E0053244
9499   Undated   Documents provided by Mr. Ricks-Bey              Ricks-Bey, 1/8/09, Ex.                    May
                 regarding his allegations of illegal detention   Dey Ex. 1020
                 and membership in the Washitaw Nation of
                 Muurs
9500   Undated   Draft Letter from Georgia Department of      Defs' Common Sur-                           Expect
                 Community Health to Finley                   Reply to S.J., 10/15/09,
                                                              Ex. E
9501   Undated   Draft PSW Legislative Letter and Responses   WI, Defs' Joint S.J.     WI-Prod-AWP-108022-May
                                                              Resp., 1/15/08, Ex. 81 10824
9502   Undated   Excerpt from Eli’s Home Care Week (Vol. VII, Dey S.J., 6/26/09, Ex. HHD009-0150          May
                 p. 31)                                       168
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 292 of 356




9503   Undated   Excerpt of an Article from Eli's Home Care   Vito, 2/5/08, Abbott Ex. HHD061-1445    May
                 Week                                         468
9504   Undated   Excerpts from H.R.3600                       Vladeck, 6/21/07,                       May
                                                              Abbott Ex. 260
9505   Undated   Fact Sheet for Medi-Cal Pharmacy             Gorospe, 9/22/08, Ex. CAAG/DHS 0084626- May
                 Reimbursement Proposal                       Gorospe 53               27
9506   Undated   Federal chart of State MAC information       Rugg, 12/15/08, Dey      HHD127-0035    May
                                                              Ex. 13
9507   Undated   Federal Deficit Reduction Act-Impact on      Bridges, 12/11/08, Ex. ARK00006504-19   May
                 Arkansas Medicaid Pharmacy, the Use of       Roxane 47
                 Generics & Patient Acces by Nat'l Assoc. of
                 Chain Drug Stores
9508             INTENTIONALLY LEFT BLANK
9509   Undated   First DataBank, Drug Pricing Policy,           AL, P. Morgan,         FDB-ALABAMA       May
                 http://www.firstdatabank.com/support/rcs/polic 8/27/07, Ex. Morgan 18 093504-506
                 ies/pricing/
9510   Undated   Folder of communications between Ven-A-        M. Jones, 8/18/09, Ex. VAC MDL 74864-866 May
                 Care and Kansas                                Jones 23
9511   Undated   From working files for OIG audits, entitled    Chesser, 10/28/08,     HHD143-0178-79    May
                 "Medicaid -- Actual Acquisition Costs of       Roxane Ex. 153
                 Prescription Drugs"
9512   Undated   Outline for Ven-A-Care New York                Lockwood, 7/23/08,     VAC MDL 89680-736 May
                 Presentation                                   Dey Ex. 176
9513   Undated   Document titled "Goal"                         Campana, 8/19/08, Ex. AWP-AK-00000794- May
                                                                Campana 29             796
9514   Undated   Grant Award, CMS Form 151                      Hoover, 12/18/07,                        May
                                                                Abbott Ex. 512
9515   Undated   Handwritten Notes                              Tawes, 4/25/07, Abbott HHD006-0105       May
                                                                Ex. 147
9516   Undated   Handwritten Notes                              Denemark, 12/10/09,                      May
                                                                Ex. Dey 607
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 293 of 356




9517   Undated   Handwritten Notes                              Tetkowski, 12/11/08,   MD 0012757           May
                                                                Ex. Abbott Maryland 25

9518   Undated   HCFA Health Insurance Claim Form 1500                                                      May
9519   Undated   IGNet Summary, U.S. Department of Health        Hansford, 3/14/07,       HHD008-0400       May
                 and Human Services, for OIG report "Medicare Abbott Ex. 61
                 Payments for Nebulizer Drugs"
9520   Undated   Index to Evidence Box of the Original Boston M. Jones, 12/9/08,                            May
                 Complaint (filed on 4/10/00)                    Roxane Ex. 202
9521   Undated   Ipratropium 25s by mL (NDC No. 49502-           Terrebonne, 11/7/08,                       May
                 68503) Chart, AWP, WAC                          Ex. Dey 226
9522   Undated   Kentucky Medicaid organizational charts         KY, Defs' Joint S.J.,    KY_DMS_125996,    May
                                                                 10/15/08, Ex. 51         KY_DMS_126004
9523             INTENTIONALLY LEFT BLANK
9524   Undated   Letter and attached documents from J.D.         Dey S.J., 6/26/09, Ex.   HHD084-0006 -     May
                 Sconce, Regional Administrator for HCFA, to 188                          HHD084-0021
                 Fred Schutzman, Director, Bureau of Quality
                 Control for HCFA
9525   Undated   Letter of Intent on SB 255                      Campana, 8/19/08, Ex.    AWP-AK-00000037   May
                                                                 Campana 12
9526   Undated   Letter to Rebate Staff from Douglas Hillblom Gorospe, 12/3/08, Ex.       CAAG/DHS0068419- May
                                                                 CA-Gorospe 6             21
9527             INTENTIONALLY LEFT BLANK
9528   Undated   List of State Medicaid officials from 50 states Tomlinson, 11/4/08,      HHD006-074        May
                 who completed phone interviews                  Abbott Ex. 1156
9529             INTENTIONALLY LEFT BLANK
9530             INTENTIONALLY LEFT BLANK
9531             INTENTIONALLY LEFT BLANK
9532   Undated   List titled "HHS OIG Reports Related to         Vito, 6/19/07, Abbott    HHD068-0210 - 0216 May
                 Prescription Drugs"                             Ex. 229
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 294 of 356




9533   Undated   Listing of Files for OIG Report "Medicare      Sernyak, 3/6/07, Abbott HHD011-1169-70      May
                 Payments for Nebulizer Drugs (OEI-03-94-       Ex. 35
                 00390)"
9534   Undated   Louisiana Cost of Dispensing Studies Support   Terrebonne, 3/31/08,     KY_DMS_PL-         May
                 New Fees                                       Ex. Exhibit Abbott       0111755-809
                                                                1062
9535             INTENTIONALLY LEFT BLANK
9536   Undated   Medicaid drug reimbursement project summary Campana, 8/19/08, Ex.       AWP-AK-00000630-   May
                 of AK and TX AWP pricing data               Campana 17                  635
9537   Undated   Medicaid Product Cost Screens               Kramer, 3/25/08, Ex.                           May
                                                             Abbott 658
9538   Undated   Medicaid Program Budget Report, CMS Form Hoover, 12/18/07,                                 May
                 37                                          Abbott Ex. 509
9539   Undated   Document titled Medi-Cal Pays Too Much for Gorospe, 3/19/08, Ex.        CAAG/DHS0072991 - May
                 Prescription Drugs                          Gorospe 26                  0072996
9540   Undated   Medi-Cal Powerpoint; Fee-For-Service        Gorospe, 5/6/09, Ex.        CAAG/DHS-         May
                 Pharmacy Benefit and Drug Rebate Program    Gorospe 30                  E0053877-963.

9541             INTENTIONALLY LEFT BLANK
9542   Undated   Memorandum from Kevin Thurm to Michael         Dey S.J., 6/26/09, Ex.   HHC902-0251 -      May
                 M. Hash regarding Use of Department of         182                      HHC902-0258
                 Justice (DOJ) Data in Pricing of Drugs
                 Currently Covered by Medicare - Information

9543   Undated   Memorandum from Michael M. Hash to Kevin Defs' Common S.J.           HHC902-0214-44        May
                 Thurm re: Use of Department of Justice (DOJ) Resp., 8/28/09, 199
                 Data in Pricing of Drugs Currently Covered by
                 Medicare
9544   Undated   New Hampshire Medicaid Program Provider       Farrand, 10/28/08, Dey                       May
                 Enrollment Agreement                          Ex. 70
9545   Undated   New Jersey Provider Claim Form                Vaccaro, 12/2/08, USA NJ-AWP-00000533        May
                                                               Ex. 20
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 295 of 356




9546   Undated   News article titled "Walgreen considering plan Parker, 11/18/08,       AWP-IL-00007748    May
                 to delay cutting store hours in poor           Roxane IL Ex. 016
                 neighborhoods"
9547   Undated   Newspaper article "DHS Files Suit to Release Bridges, 12/11/08, Ex. HHC010-0956           May
                 $956,374 in Medicaid Fund"                     Roxane 27
9548   Undated   North Carolina Pharmacy Manual Claim Form Weeks, 10/21/08, Dey                            May
                                                                Ex. 59
9549             INTENTIONALLY LEFT BLANK
9550             INTENTIONALLY LEFT BLANK
9551   Undated   Office of Medicaid Policy and Planning,        Sharp, 3/28/08, Ex.     JDIND00214-269     May
                 "Legend Drug State Maximum Allowable Cost Abbott 953
                 (State MAC) Operations and Procedures
                 Manual"
9552   Undated   Office of Vermont Health Access Provider       Rugg, 12/15/08, Dey                        May
                 Enrollment/Recertification Agreement           Ex. 3
9553   Undated   OIG Document titled Federal Upper Limit        Tawes, 12/2/08, Roxane HHD245-000415-416   May
                 Discussion Guide                               Ex. 185
9554   Undated   Document from IFSSA Website, Drug Claim Shirley, 12/2/08, Ex.                             May
                 Form for Pharmacy                              Dey 503
9555   Undated   Pharmacy Reimbursement Change to               Dubberly, 12/15/08, Ex.                    May
                 Wholesale Acquisition Cost (WAC)               Georgia 33
9556   Undated   Pie chart showing Wisconsin Medicaid Rx        WI, Valentine, 7/19/07, NACDS-WI 1306      May
                 Component, Average Rx Price: $51.01            Ex. Valentine 3

9557   Undated   Powerpoint- Pricing a Claim                  Gorospe, 3/19/08, Ex. CAAG/DHS0078007 - May
                                                              Gorospe 023            0078013
9558   Undated   Presentation by Kay Morgan of First DataBank Hiramatsu, 5/1/08, Ex. HI_HI 000002686-704 May
                                                              Hiramatsu 67
9559             INTENTIONALLY LEFT BLANK
9560             INTENTIONALLY LEFT BLANK
9561             INTENTIONALLY LEFT BLANK
9562             INTENTIONALLY LEFT BLANK
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 296 of 356




9563   Undated   Presentation slide excerpt titled "List Price   AL, Chadwick,                            May
                 Definition"                                     10/23/07, Chadwick Ex.
                                                                 39
9564             INTENTIONALLY LEFT BLANK
9565   Undated   Print-out from the Alabama Medicaid Agency      Dey S.J., 6/26/09, Ex.                   May
                 website, available at                           271
                 http://www.medicaid.alabama.gov/programs/
                 pharmacy_svcs/pharmacy_services.aspx



9566   Undated   Print-out from the Department of Veterans     Tawes, 12/2/08, Roxane HHD157-0228 -0260   May
                 Affairs website titled "Drug & Pharmaceutical Ex. 161
                 Prices"
9567   Undated   Print-out from the Myers & Stauffer LC        Dey S.J., 6/26/09, Ex.                     May
                 website, available at                         272
                 http://al.mslc.com/Faqs.aspx
9568   Undated   Print-out from the Myers & Stauffer LC        Dey S.J., 6/26/09, Ex.                     May
                 website, available at                         278
                 http://id.mslc.com/faqs.aspx
9569   Undated   Print-out from the Myers & Stauffer LC        Dey S.J., 6/26/09, Ex.                     May
                 website, available at                         282
                 http://mslciowa.com/FAQ.htm#Q6
9570   Undated   Print-out from the Pharmacy Benefits          Dey S.J., 6/26/09, Ex.                     May
                 Management Services-Drug Pharmaceutical       45
                 Prices section of the U.S. Department of
                 Veterans Affairs web site, available at
                 http://www.pbm.va.gov/DrugPharmaceuticalPri
                 ces.aspx
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 297 of 356




9571   Undated   Print-out from the U.S. Food and Drug       Dey S.J., 6/26/09, Ex.           May
                 Administration website entitled Generic     19
                 Competition and Drug Prices, available at
                 http://www.fda.gov/AboutFDA/CentersOffices/
                 CDER/ucm129385.htm
9572   Undated   Print-out of Drug Details (Ipratropium            Dey S.J., 6/26/09, Ex.     May
                 Bromide) section of the U.S. Food and Drug        11
                 Administration website, available at
                 http://www.accessdata.fda.gov
9573   Undated   Print-out of Drug Information: Ipratropium        Dey S.J., 6/26/09, Ex.     May
                 Oral Inhalation section of the National Library   10
                 of Medicine and National Institute of Health
                 website, available at www.nlm.nih.gov

9574   Undated   Print-out of the Albuterol Sulfate section of Dey S.J., 6/26/09, Ex. 2       May
                 Dey L.P.’s website, available at
                 www.dey.com/generics/products/albuterol.asp

9575   Undated   Print-out of the Brand History section of Dey, Dey S.J., 6/26/09, Ex. 1      May
                 L.P.’s website, available at
                 http://www.dey.com/generics/deybrand/history.
                 asp
9576   Undated   Print-out of the Drug Details (Albuterol       Dey S.J., 6/26/09, Ex. 4      May
                 Sulfate) section of the U.S. Food and Drug
                 Administration website, available at http://
                 www.accessdata.fda.gov

9577   Undated   Print-out of the Drug Information (Albuterol      Dey S.J., 6/26/09, Ex. 3   May
                 Inhalation) section of the National Library of
                 Medicine and National Institute of Health
                 website, available at http://www.nlm.nih.gov
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 298 of 356




9578   Undated   Print-out of the Drug Information: Cromolyn    Dey S.J., 6/26/09, Ex. 7    May
                 Sodium Oral Inhalation section of the National
                 Library of Medicine and National Institute of
                 Health website, available at www.nlm.nih.gov

9579   Undated   Print-out of the Ipratropium Bromide section of Dey S.J., 6/26/09, Ex. 9   May
                 Dey L.P.’s website, available at
                 http://www.dey.com/generics/products/
                 ipratropium.asp

9580   Undated   Print-out of the Medicaid Analytic eXtract Dey S.J., 6/26/09, Ex.          May
                 (MAX) General Information section of the   269
                 Centers for Medicare and Medicaid Services
                 website, available at
                 http://www.cms.hhs.gov/MedicaidDataSources
                 GenInfo/07_MAXGeneralInformation.asp

9581   Undated   Print-out of the Overview (Albuterol Sulfate) Dey S.J., 6/26/09, Ex. 6     May
                 section of the U.S. Food and Drug
                 Administration website, available at
                 http://www.accessdata.fda.gov
9582   Undated   Print-out of the Overview (Cromolyn Sodium) Dey S.J., 6/26/09, Ex. 8       May
                 section of the U.S. Food and Drug
                 Administration website, available at
                 http://www.accessdata.fda.gov
9583   Undated   Print-out of the Overview (Ipratropium        Dey S.J., 6/26/09, Ex.       May
                 Bromide) section of the U.S. Food and Drug    12
                 Administration website, available at
                 http://www.accessdata.fda.gov
9584             INTENTIONALLY LEFT BLANK
9585   Undated   Provider Participation Agreement for Colorado Chapman, 12/15/08, Ex.       May
                                                               Dey 351
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 299 of 356




9586   Undated   Quarterly Medicaid Statement of Expenditures   Hoover, 12/18/07,                         May
                 for the Medical Assistance Program, CMS        Abbott Ex. 511
                 Form 64
9587   Undated   Reimbursement form printed from Louisiana      Terrebonne, 11/7/08,                      May
                 Medicaid's website                             Ex. Dey 228
9588   Undated   Request for Alternate Procurement              Campana, 8/19/08, Ex. AWP-AK-00000788     May
                                                                Campana 25
9589   Undated   Request for Proposal; Study of Medi-Cal        Gorospe, 5/6/09, Ex.   MS-CA0090290-434   May
                 Pharmacy Reimbursement                         Gorospe 44
9590   Undated   Screenshot of FUL application                  Gaston, 3/19/08, NY    HHD170-1050 -      May
                                                                Counties Defendants    HHD170-1053
                                                                Ex. 10
9591   Undated   Series of Questionaires re: SB 255             Campana, 8/19/08, Ex.                     May
                                                                Campana 9
9592   Undated   Sign-in Sheet for the Exit Conference re:      Tawes, 12/2/08, Roxane HHD100-0895        May
                 Update: Excessive Medicare Reimbursement       Ex. 180
                 for Albuterol and Ipratropium Bromide

9593   Undated   Sources of Drug Pricing Information           Fine, 12/9/08, Ex.      MD0019218-19       May
                                                               Abbott Maryland 15
9594   Undated   South Dakota Medicaid Prescription Drug       Iverson, 12/15/08, Dey                     May
                 Claim Form                                    Ex. 906
9595   Undated   Spreadsheet with columns State, Litigation    Dubberly, 12/15/08, Ex.                    May
                 Recoveries, Counsel, Comments/Notes           Georgia 20
9596   Undated   Summary of Myers and Stauffer contracts with T. Hansen, 12/10/08,                        May
                 State Medicaid agencies                       Abbott-Hansen Ex. 3
9597   Undated   Summary of Myers and Stauffer findings from KY, Sandoz Reply S.J.,                       May
                 acquisition and dispensing costs for generics 1/15/09, Ex. 013

9598   Undated   Table of Drugs and Prices                      Tawes, 4/25/07, Dey   HHD006-0675 - 0692 May
                                                                Ex. 21
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 300 of 356




9599   Undated   Table of HCPCS Codes and Drug Names              Ragone, 4/18/07,       HHD013-2770       May
                                                                  Abbott Ex. 92
9600   Undated   Table of HCPCS Codes and Drug Types              Tawes, 4/24/07, Abbott HHD010-0113       May
                                                                  Ex. 132
9601   Undated   Text re: SB255                                   Campana, 8/19/08, Ex.                    May
                                                                  Campana 7
9602   Undated   Title 10 Dep't of Health and Mental Hygiene;     Fine, 12/9/08, Ex.     MD 0000113-116    May
                 Subtitle 09 Medicale Care Programs;              Abbott Maryland 18
                 Authority: Health-General Article, §§2-104(b),
                 15-103 and 15-105, Annotated Code of
                 Maryland
9603   Undated   Title XIX of the Social Security Act; Division Chapman, 12/15/08, Ex. HHC013-1257-58      May
                 of Medical Assistance; State of Colorado       Dey 353

9604   Undated   US Dep't of Health and Human Services, Office Bridges, 12/11/08, Ex.   HHD127-0119-24     May
                 of Inspector General State Medicaid Drug Cost Roxane 22
                 Containment Strategies Survey
9605   Undated   Various States Chart with Pricing data        Sharp, 3/28/08, Ex.      HHC010-1064        May
                                                               Abbott 951
9606   Undated   Vermont Medicaid Universal Provider Claim Rugg, 12/15/08, Dey                             May
                 Form                                          Ex. 5
9607   Undated   Virginia Medicaid Pharmacy Participation      Hayashi, 12/4/08,                           May
                 Agreement                                     Abbott Ex. 026
9608   Undated   Virginia Register of Regulations              Tomlinson, 11/4/08,                         May
                                                               Abbott Ex. 1152
9609   Undated   Walgreens Questions- Including background on Kramer, 3/25/08, Ex.                         May
                 Sandy Kramer                                  Abbott 660
9610   Undated   Washington Medicaid MAC Policies & Rules Ayuni Wimpee,                 WA-00001570-1575   May
                 Governing Assignment of MAC Prices            11/24/08, USA Ex. 21

9611   Undated   Document titled AWP History                      Butt, 1/26/10, Butt Ex. NYSHD-FOIL 03207 May
                                                                  2
                    Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 301 of 356




9612             INTENTIONALLY LEFT BLANK
9613   Undated   Document titled "Excerpt from CD 3:           Butt, 2/12/10, Butt Ex.                   May
                 Discussion Pertaining to DOJ AWPs - Part 2 at 33
                 18:39-19:31"
9614   Undated   Document titled "Excerpt from CD 3:           Butt, 2/12/10, Butt Ex.                   May
                 Discussion Pertaining to DOJ AWPs - Part 2 at 34
                 27:51-28:13"
9615   Undated   Document titled "Excerpt from CD 3:           Butt, 2/12/10, Butt Ex.                   May
                 Discussion Pertaining to DOJ AWPs - Part 2 at 35
                 23:16-23:51"
9616             INTENTIONALLY LEFT BLANK
9617             INTENTIONALLY LEFT BLANK
9618   Undated   Chart titled "WAC/AMP - if over 100% then TX, Mylan S.J.,                               May
                 WAC might be too high"                        10/30/09, Ex. Ex. 20
9619             INTENTIONALLY LEFT BLANK
9620   Undated   Excerpt of 1998 Idaho Administrative Code     ID, Duerr, 12/3/09, Ex. ID037251 - 7254   May
                                                               Duerr 7
9621   Undated   Rulemaking and public comment summary         ID, Duerr, 12/3/09, Ex. N/A               May
                                                               Duerr 17
9622   Undated   Excerpts from the document entitled Pharmacy MA, Defs' S.J., 2/28/08, MA001466-67       May
                 Pricing Group                                 Ex. 24
9623   Undated   Nevada Senior Rx Program Cost Comparison NV, Defs' Joint S.J.,                          May
                                                               2/8/07, Ex. 27
9624   Undated   Chart titled "Dey AMPS"                                               TX-D & W 016578- May
                                                                                       83; TXMGT0094237-
                                                                                       42
9625   Undated   Document titled "HB 915 - Interagency Council                         VDP_1367912       May
                 on Pharmaceuticals Bulk Purchasing"

9626   Undated   Medicaid Reform Commission Pharmacy                              GOE-020664-681       May
                 Report
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 302 of 356




9627   Undated   Document entitled DRAFT, Division of                                 GO-000027-28       May
                 Medical Services, Pharmacy Program Issue
                 Paper
9628   Undated   Report entitled, Third Party Prescription Drug                       KHPA123943/3945    May
                 Reimbursement and Pharmacy Pricing, Kansas
                 Health Policy Authority (KHPA)

9629   Undated   Health Information Designs Biannual Report   AL, Espy, 8/17/07,      ALMED-279170       May
                 on MAC pricing                               Defendant's Ex. 77
9630   Undated   Memo entitled “Medicaid Budget Cuts:                                 ALMED 826959 -     May
                 Implications” (and related/supporting                                826971
                 documents)
9631   Undated   Chart titled Florida Medicaid AHCA-          FL, Kitchens, 7/12/06                      May
                 Supplemental Rebate Offer Form               Ex. 366
9632   Undated   Typed notes from Schondelmeyer's Texas study Schondelmeyer,          EXP SCHO ABT       May
                 reflecting various people's initials and     5/22/09, Ex. Dey        002924-29
                 comments                                     Schondelmeyer 13
9633   Undated   Form Contract: Rebate Agreement Between                              DEY-BO-0227056 -   May
                 Maine and Manufacturer                                               DEY-BO-0227082
9634   Undated   Letter to K. Thurm re: Medicare Payments for Previously disclosed    HHD809-0005-13     May
                 Drugs Using Department of Justice Data       with Expert Report of
                                                              Bradford
9635   Undated   AMA Committee Personnel Lists                                        ALMED 385959 -     May
                                                                                      385966
9636   Undated   First DataBank’s NDDF Documentation                                  ALMED-365634 -     May
                 Manual (excerpts) (October 1998)                                     ALMED-365640
9637   Undated   Alabama MMIS Drug Record with handwritten                            ALMED 275735 –     May
                 notes                                                                275736
9638   Undated   340B Coalition Memo: Program Expands                                 ALMED 287759 -     May
                 Access to Pharmaceutical Care and Reduces                            287764
                 Cost to Taxpayers
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 303 of 356




9639   Undated   Excerpts from First DataBank NDDF manuals                          ALMED-391819 -    May
                 and associated documents                                           ALMED-391842
9640   Undated   Comparison of MMCAP Contract Prices for                            ALMED 322376 -    May
                 Dec 2004 and May 2005 (and related emails                          322384
                 and notes)
9641   Undated   AMA Chart: Drug Use, No Duals for 10/01/04 -                       ALMED 847472 -    May
                 9/30/05 (and related email)                                        847473
9642   Undated   List of Medicaid Questions and Comments                            ARA-AL 00000260   May
9643   Undated   Alabama Medicaid Agency - MAC Expansion                            ALMED-390563      May

9644             INTENTIONALLY LEFT BLANK
9645   Undated   Example Records from WinDix-AL 00000001                            WinDix-AL 00000001 May

9646   Undated   Legislative Act by Representatives Beasley and AL, C. Thomas,                        May
                 Boyd                                           11/28/07, Ex. 5
9647   Undated   Minnesota Multistate Contracting Alliance for AL, C. Thomas,                         May
                 Pharmacy Advisory Panel Meeting Minutes        11/28/07, Ex. 12

9648   Undated   Comparison to MMCAP Contract Prices for        AL, C. Thomas,      ALMED 322376      May
                 Dec. 2004 and May 2005 Chart with              11/28/07, Ex. 14
                 handwritten notes
9649   Undated   Medicaid Drug Reimbursement Reports 1990-      Marmor, 2/12/09,                      May
                 1993, Pharmacy Payment and Patient Cost        Abbott Ex. 326
                 Sharing 1996- 2006
9650   Undated   Medicaid Financial Management Report FY        Hoover, 12/18/07,                     May
                 1999: Net Services National                    Abbott Ex. 516
9651             INTENTIONALLY LEFT BLANK
9652   Undated   AdminaStar pricing array for Albuterol                             AWP036-0405       May
9653   Undated   AdminaStar pricing array for Albuterol                             AWP035-1415       May
9654   Undated   AdminaStar pricing array for Albuterol                             AWP036-0408       May
9655   Undated   DMERC A pricing array for Cromolyn                                 AWQ057-0530       May
9656   Undated   DMERC A pricing array for Cromolyn                                 AWQ057-0541       May
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 304 of 356




9657   Undated   DMERC A pricing array for Cromolyn                                    AWQ057-0544         May
9658   Undated   DMERC A pricing array for Cromolyn                                    AWQ057-0549         May
9659   Undated   DMERC A pricing array for Cromolyn                                    AWQ057-0554         May
9660   Undated   Analysis of the Reimbursement of Pharmacy      MA, Grossman,                              May
                 Services by the MA Division of Medical         10/24/07, Ex. MPha 6
                 Assistance and the Impact of the Proposed
                 Reimbursement Changes
9661   Undated   List of Legislative Speakers, State Agencies MA, Grossman,         MA008133-8160          May
                                                              10/24/07, Ex. MPha 8
9662   Undated   Presentation entitled "Recent Issues in      MA, Grossman,                                May
                 Reimbursement for Prescribed Drugs "         10/24/07, Ex. MPha 9
9663   Undated   Document entitled "Pharmacies Face Reduction MA, Grossman,                                May
                 in Medicaid Dispensing Fee"                  10/24/07, Ex. MPha 14

9664   Undated   Document titled Fact Sheet                     CA, Rosenstein,         CAAG/DHS0073441-   May
                                                                11/6/08, Ex. Rosenstein 42
                                                                11
9665   Undated   Document titled Possible Cost Containment      CA, Rosenstein,         CAAG/DHS-          May
                 Options                                        11/6/08, Ex. Rosenstein E0018071-78
                                                                21
9666   Undated   Document titled Final Statement of Reasons     CA, Rosenstein,                            May
                                                                11/6/08, Ex. Rosenstein
                                                                32
9667   Undated   CMS File Source Index Relating to Rule 26      Bailey, 3/20/07, Abbott                    May
                 Initial Disclosures of the United States       Ex. 77
9668   Undated   Virginia Department of Medical Assistance      Hayashi, 12/4/08, Ex. 00000022-25          May
                 Services Pharmacy Claim Form                   Abbott Hayashi 27
9669   Undated   Collection of documents from Mary Finch's      AL, Finch, 8/8/07,      ALMED-309506-511   May
                 files                                          Defendant's Ex. 546
9670   Undated   Form Instructions for Hawaii DHS Form 204      HI, Donovan, 7/20/09,                      May
                 Claim Form, Prescription Drug Form             Ex. Donovan 62
                    Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 305 of 356




9671   Undated   Blank form, Hawaii DHS Form 204 Claim        HI, Donovan, 7/20/09,                       May
                 Form, Prescription Drug Claim                Ex. Donovan 63
9672   Undated   Copy of a binder received by Lynn Donovan at HI, Donovan, 7/20/09,                       May
                 Hawaii DHS from DOJ concerning drug          Ex. Donovan 64
                 pricing
9673   Undated   Handwritten Notes with "Paul Jeffrey" at the MA, Jeffrey, 6/14/07, MA001359-60           May
                 top                                          Ex. Jeffrey 6
9674   Undated   New Hampshire sample claim form              Farrand, 10/28/08,      NH02573 to 02582    May
                                                              Farrand Ex. 71
9675   Undated   First DataBank Drug Price Policy             Hiramatsu, 6/11/08, Ex. HI_HI 000013718-721 May
                                                              Hiramatsu 107
9676   Undated   Provider Agreement, State of Hawaii          Hiramatsu, 7/14/09, Ex. PUBLIC_QUEST_000 May
                 Department of Human Services                 Hiramatsu 118           00687-722
9677   Undated   Document entitled "Average Wholesale Price MO, McCann, 10/3/07, MO 000537-548            May
                 Reference Documents"                         Ex. McCann 2

9678   Undated   Document entitled "AWP and Missouri"       MO, McCann, 10/3/07, MO.065777              May
                                                            Ex. McCann 45

9679   Undated   Draft Division of Missouri Services, Pharmacy MO, Oestreich,       GO-000027-28      May
                 Program Issue Paper re. OIG report A-06-00- 10/28/07, Ex. Missouri
                 000023                                         215
9680   Undated   Missouri Pharmacy Association memorandum MO, Overfelt, 10/16/07, Mo.PharmacyAssn.350-May
                 titled "Impact of Division of Medcial Services Ex. Missouri 60     51
                 Pharmacy Benefit Manager Proposal on the
                 Average Missouri Pharmacy" signed by George
                 Oestreich
9681             INTENTIONALLY LEFT BLANK
                     Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 306 of 356




9682   Undated   Medi-Cal Pharmacy Claim Form (30-1):                                                         May
                 Special Billing Instructions (available at
                 http://files.medi-
                 cal.ca.gov/pubsdoco/publications/masters-
                 mtp/part2/pcf30-1spec_p00.doc )
9683   Undated   Wisconsin Pharmacy Cost Containment,           WI, Vavra, 9/27/07, Ex. WI-Prod-AWP-113060 May
                 Maximum Allowable Cost (MAC) Program           Vavra Designee 62       to 113061

9684   Undated   U.S. Initial Disclosure to Dey Information                                                   May
                 Originating from the United States, Information
                 Originating from Third Parties, Documents
                 Produced by Dey
9685   Undated   Missouri Department of Social Services,                                 Mo. State Archives   May
                 Division of Medical Services, Department of                             05836-863
                 Social Services Fiscal Year 1995 Budget
                 Request
9686   Winter    Dana, Jr., James D., “Equilibrium Price         Previously disclosed                         May
       1999      Dispersion under Demand Uncertainty: The        with Expert Report of
                 Roles of Costly Capacity and Market             Bradford
                 Structure,” The RAND Journal of Economics,
                 Volume 30, Number
                 4, Winter 1999
9687   1978      New Mexico provider manual (issued/revised                              NMAG00003984         May
                 7/1/78 and 11/1/78)
9688             INTENTIONALLY LEFT BLANK
9689   1989      Washington 1989 Fiscal Year Annual Report                               WA-00000492-531      May

9690   1990      Washington 1990 Fiscal Year Annual Report                               WA-00000450-91       May

9691   1992      42 C.F.R. §447.201                                                                           May
9692   1992      42 C.F.R. §447.304                                                                           May
9693   1992      42 C.F.R. §§ 447.204, 447.205                                                                May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 307 of 356




9694   1992        “State Plans for Medical Assistance,” 42       Previously disclosed                       May
                   U.S.C. Chapter 7, Subchapter XIX, § 1396a      with Expert Reports of
                                                                  Bradford, Helms
9695               INTENTIONALLY LEFT BLANK
9696   1995        Washington 1995 Fiscal Year Annual Report                               WA-0000117-183    May

9697   1997        Washington 1997 Fiscal Year Technical Report                            WA-00001507-69    May

9698               INTENTIONALLY LEFT BLANK
9699   2005        Michigan provider manual                                                                  May
9700   2009        Medicare Claims Processing Manual, Chapter                                                Expect
                   26 - Completing and Processing Form CMS-
                   1500 Data Set
9701   7/7/1978    Stipulation of Settlement filed in                                      PSSNY 001898-1904 Expect
                   Pharmaceutical Society of the State of New
                   York, Inc. v. Carey
9702   9/1984      Medicaid Action Transmittal, No. 84-12 of      R. Niemann, 9/14/07,                       Expect
                   September 1984, with the subject "Title XIX of Abbott Ex. 307
                   the Social Security Act, Limitation on Payment
                   or Reimbursement for Drugs."
9703               INTENTIONALLY LEFT BLANK
9704   5/1988      North Dakota provider manual                                                              May
9705   11/8/1989   Letter from McMurry, Director, Nebraska                                                   May
                   Department of Social Services, to Blake,
                   Associate Regional Administrator
9706   5/1990      North Dakota provider manual                                                              May
9707   7/1990      State Medicaid Manual Part 6 - Payment for                              HHD093-0112-39    May
                   Services, Transmittal No. 18
9708   9/1990      State of New Hampshire Department of Health L. Farrand, 10/28/08,       NH05332           May
                   and Human Services, "Important Notice -        Farrand USA Ex. 3
                   Pharmacies, 9/90"
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 308 of 356




9709   10/25/1990 Letter from Thomas, Director, Nebraska                                                       May
                  Department of Social Services, to Brummel,
                  Associate Regional Administrator for Medicaid

9710   11/14/1990 Letter from Myatt, Director, Medical Services,                                               May
                  to Wilks, HFCA
9711   11/25/1991 Excerpt from HCFA Final Rule for Medicare D. Thompson, 3/28/08,                              Expect
                  Program Fee Schedule for Physicians' Services Abbott Ex. 1020
                  (56 Fed. Reg. 59502)
9712   6/1992     Georgia Sample Claim Form                                              Produced by Georgia   May
9713              INTENTIONALLY LEFT BLANK
9714   10/1992    State Medicaid Manual Part 6 - Payment for                             HHD093-0157-97        May
                  Services, Transmittal No. 21
9715   12/4/1992 Still's Pharmacy, Inc. v. Cuomo, 981 F.2d 632                                                 May
                  (2d Cir. 1992)
9716   4/1/1993   Virginia Medicaid State Plan Amendment 93- H. Tomlinson, 11/3/08,                            May
                  14                                             Plaintiff's Ex. 6
9717   10/1993    State Medicaid Manual Part 6 - Payment for                             HHD093-0229-51        May
                  Services, Transmittal No. 24
9718   12/1/1993 New Hampshire Medical Assistance                L. Farrand, 10/28/08,   NH04045-51            May
                  Regulation for Pharmaceutical Services         Dey Ex. 73
9719   5/1994     State Medicaid Manual Part 6 - Payment for                             HHD093-0252-73        May
                  Services, Transmittal No. 25
9720   10/1994    State Medicaid Manual Part 6 - Payment for                             HHD093-0274-98        May
                  Services, Transmittal No. 26
9721   10/12/1994 Stipulation and Order filed in Pharmaceutical                          PSSNY 001905-08       Expect
                  Society of the State of New York, Inc. v.
                  Cuomo
9722   4/21/1995 Nebraska provider manual                                                NEB0761-0815          May
9723   5/1995     State Medicaid Manual Part 6 - Payment for                             HHD093-0303-27        May
                  Services, Transmittal No. 28
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 309 of 356




9724   10/1995     State Medicaid Manual Part 6 - Payment for                            HHD093-0328-51    May
                   Services, Transmittal No. 29
9725   6/1996      State Medicaid Manual Part 6 - Payment for                            HHD093-0352-76    May
                   Services, Transmittal No. 30
9726   9/27/1996   Letter dated from B. Weydemeyer, New                                  NMAG00002737-38   May
                   Mexico Director of Medical Services Bureau,
                   to S. McAdoo, HFCA
9727   11/1996     State Medicaid Manual Part 6 - Payment for                            HHD093-0381-406   May
                   Services, Transmittal No. 32
9728   2/20/1997   Email from David Sheridan to L. Lingle, C.     R. Niemann, 9/14/07,   AWP047-1307-08    May
                   Carpenter and others re: Medicare drug pricing Abbott Ex. 315

9729   7/1997      State Medicaid Manual Part 6 - Payment for                            HHD093-0410-36    May
                   Services, Transmittal No. 34
9730   2/16/1998   Letter from Milligan, Director, Fiscal Agent                          NMAG00002731-32   May
                   Operations, to Perez, HFCA
9731   4/1998      Michigan Medical Assistance Provider                                                    May
                   Enrollment Agreement (sample) (revised 4/98)

9732   7/1998      State Medicaid Manual Part 6 - Payment for                            HHD093-0437-64    May
                   Services, Transmittal No. 35
9733   11/2/1998   63 Fed. Reg. 58813                             DeParle, 5/18/07,                        Expect
                                                                  Abbott Ex. 209
9734   4/1/1999   Virginia provider manual update (4/1/99)                                                 May
9735   6/30/1999  Maryland provider manual                                                                 May
9736   4/3/2000   Virginia provider manual update (4/3/00)                                                 May
9737   8/9/2000   Memo from K. Cohen to The Deputy Secretary R. Niemann, 11/19/09, HHD340-0011 - 0030      May
                  with attachments                           Abbott Ex. 1184
9738   10/15/2000 Virginia provider manual update (10/15/00)                                               May
9739   11/22/2000 State Medicaid Manual Part 6 - Payment for                                               May
                  Services, Addendum A
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 310 of 356




9740   5/3/2001   HCFA Program Memorandum to                  D. Thompson, 3/28/08, HHC014-0207        Expect
                  Intermediaries/Carriers regarding           Abbott Ex. 1010
                  Implementation of Medicare, Medicaid, and
                  SCHIP Benefits Improvement and Protection
                  Act of 2000 (BIPA) Requirements for Payment
                  Allowance of Drugs and Biologicals Covered
                  by Medicare (Transmittal AB-01-66)

9741   11/20/2001 Transmittal No. 37 - Federal Upper Limit Drug                                        May
                  List, November 20, 2001
9742   12/1/2001 Office of Vermont Health Access Provider       A. Rugg, 12/15/08, Dey                 May
                  Manual                                        Ex. 8
9743   1/24/2002 Wyoming provider manual (1/24/02)                                     WY00000248-69   May
9744              INTENTIONALLY LEFT BLANK
9745   6/17/2002 New Hampshire State Plan Amendment             L. Farrand, 10/28/08,  NH00042-54      May
                  Transmittal No. 02-013                        Farrand USA Ex. 11
9746   7/22/2002 Letter from Long Term Care Pharmacy            D. Thompson, 3/28/08, HHC003-0446-49   May
                  Alliance to Thomas Scully, Administrator of   Abbott Ex. 1003
                  CMS
9747              INTENTIONALLY LEFT BLANK
9748              INTENTIONALLY LEFT BLANK
9749   12/12/2002 Letter from Thomas Grissom to Stephen         D. Thompson, 3/28/08, HHC003-0443-45   May
                  Northrup, Long Term Care Pharmacy Alliance Abbott Ex. 1002

9750   5/2003     North Dakota Claim Form - Drug/Pharmacy                                              May
                  (5/2003)
9751   8/2003     North Dakota Medicaid Program Provider                                               May
                  Agreement (8/2003)
9752   8/2003     Wyoming provider manual (8/03)                                   WY00001136-1241     May
9753   12/2003    North Dakota Pharmacy Agreement/ Medical                                             May
                  Assistance Program (12/03)
9754   1/2004     Michigan provider manual                                                             May
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 311 of 356




9755   1/7/2004    69 Fed. Reg. 1084-267                        D. Thompson, 3/28/08,                         May
                                                                Abbott Ex. 1022

9756   2/2004      State of New Hampshire Department of Health L. Farrand, 10/28/08,    NH02922               May
                   and Human Services, "Important Notice -     Farrand USA Ex. 14
                   Pharmacy Providers, February 2004"

9757   4/6/2004    69 Fed. Reg. 17935-41                        D. Thompson, 3/28/08,                         May
                                                                Abbott Ex. 1017

9758   7/2004     Georgia Universal Claim Forms                                         Produced by Georgia   May
9759   11/5/2004  Letter communication and attachments between L. Farrand, 10/28/08,    NH00055-76            May
                  New Hampshire Medicaid and CMS re: NH        Farrand USA Ex. 13
                  SPA 04-001
9760   5/31/2005 CMS Drug Pricing Case Study, Expert           S. Schondelmeyer,        EXP SCHO ABT          May
                  Conference Call                              5/21/09, Ex. Abbott      000999-1001
                                                               Schondelmeyer 7
9761   6/2005     Wyoming provider manual (6/05)                                        WY00000270-94     May
9762   8/2005     Wyoming provider manual (8/05)                                        WY00000295-320    May
9763   12/23/2005 New Mexico provider manual supplement                                 NMAG00002303-2307 May
                  (12/23/05)
9764              INTENTIONALLY LEFT BLANK
9765              INTENTIONALLY LEFT BLANK
9766   3/2007     North Dakota Claim Form - Drug/Pharmacy,                                                    May
                  stamped "DRAFT" (3/2007)

9767   5/27/2008   Virginia provider manual update (5/27/08)                                                  May
9768   6/27/2008   Virginia provider manual update (6/27/08)                                                  May
9769   7/2/2008    Virginia provider manual update (7/2/08)                                                   May
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 312 of 356




9770   9/26/2008   Medicare Claims Processing Manual, Chapter                                                  Expect
                   20 - Durable Medical Equipment, Prosthetics,
                   Orthotics, and Supplies (DMEPOS)

9771   10/8/2008    New Hampshire Medical Assistance                L. Farrand, 10/28/08,   NH03949-59         May
                    Regulation for Pharmaceutical Services          Dey Ex. 87
9772   7/24/2009 Medicare Claims Processing Manual, Chapter                                                    Expect
                    25 - Completing and Processing the Form CMS-
                    1450 Data Set
9773   9/4/2009     Medicare Claims Processing Manual, Chapter 1                                               Expect
                    - General Billing Requirements
9774   9/25/2009 Federal Upper Limit (FUL) Changes to                                                          May
                    Transmittal No. 37, Current as of 9/25/09
9775   10/16/2009 Medicare Claims Processing Manual, Chapter                                                   Expect
                    17 - Drugs and Biologicals
9776   Multiple     Collection of letters from Dey, L.P. to Pricing WI, M. Rowlands,        WI-PROD-AWP-       Expect
       dates (2001- Database Administrator                          11/1/07, Exhibit        128207-217
       2003)                                                        Rowlands 23

9777   Undated    North Carolina Medicaid Proposed State Plan, L. Weeks, 10/21/08,                             May
                  Payments for Medical and Remedial Care and Plaintiff's Ex. 9
                  Services
9778   Undated    Memo From Michael Hash, Deputy               R. Niemann, 11/19/09,        HHD340-0031-34     May
                  Administrator to Kevin Thurm                 Abbott Ex. 1185
9779   1/24/1997 Bid Price Worksheet (Excerpt from Brookshire                               DL-TX-0010098      May
                  Grocery Company Pricing File)
9780   7/18/1997 Contract Modification Letter (Excerpt from                                 DL-TX-0010085      May
                  Brookshire Grocery Company Pricing File)
9781   12/31/1997 Contract Modification Letter (Excerpt from                                DL-TX-0010064      May
                  Brookshire Grocery Company Pricing File)
9782   3/18/1998 Contract Award Chart (Excerpt from                                         DL-TX-0010047-48   May
                  Brookshire Grocery Company Pricing File)
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 313 of 356




9783   12/18/1998 Contract Modification Letter (Excerpt from           DL-TX-0010032       May
                  Brookshire Grocery Company Pricing File)
9784   3/31/1999 Contract Modification Letter (Excerpt from            DL-TX-0009997-998   May
                  Brookshire Grocery Company Pricing File)
9785   1/23/1997 Bid Price Worksheet (Excerpt from Brookshire          DL-TX-0010097-98    May
                  Grocery Company Pricing File)
9786   7/16/1997 Bid Price Worksheet (Excerpt from Brookshire          DL-TX-0010088-89    May
                  Grocery Company Pricing File)
9787   12/21/1998 Contract Modification Memo with Attachment           DL-TX-0002661-662   May
                  (Excerpt from AHT Pricing File)

9788   No Date    Alabama Pharmacy Cooperative Info Sheet              DL-TX 0002960       May
                  (Excerpt from Alabama Pharmacy Cooperative,
                  INC Pricing File)
9789   11/7/1997 Fax dated 11/7/1997 from Alabama Pharmacy             DL-TX-0002946       May
                  Coop., Inc., to Daulong, entitled Automatic
                  Substitution First Right of Refusal on Lowest
                  Price
9790   11/17/1997 Contract Modification Memo with Attachment           DL-TX-0002940-41    May
                  (Excerpt from Alabama Pharmacy Cooperative,
                  INC Pricing File)
9791   6/10/1998 Contract Award Memo with                              DL-TX-0003219-221   May
                  Attachment(Excerpt from Alabama Pharmacy
                  Cooperative, INC Pricing File)
9792   2/4/1997   Contract Modification Memo with Attachment           DL-TX-0003046-47    May
                  (Excerpt from Alabama Pharmacy Cooperative,
                  INC Pricing File)
9793   5/21/1997 Contract Modification Memo with Attachment            DL-TX-0003035-3036 May
                  (Excerpt from Alabama Pharmacy Cooperative,
                  INC Pricing File)
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 314 of 356




9794   3/5/1999   Contract Modification Letter (Excerpt from           DL-TX-0003137       May
                  Alabama Pharmacy Cooperative, INC Pricing
                  File)
9795   3/5/1999   Contract Modification Memo wtith Attachment          DL-TX-0003139-147   May
                  (Excerpt from Alabama Pharmacy Cooperative,
                  INC Pricing File)
9796              INTENTIONALLY LEFT BLANK
9797              INTENTIONALLY LEFT BLANK
9798              INTENTIONALLY LEFT BLANK
9799              INTENTIONALLY LEFT BLANK
9800              INTENTIONALLY LEFT BLANK
9801              INTENTIONALLY LEFT BLANK
9802              INTENTIONALLY LEFT BLANK
9803              INTENTIONALLY LEFT BLANK
9804              INTENTIONALLY LEFT BLANK
9805              INTENTIONALLY LEFT BLANK
9806              INTENTIONALLY LEFT BLANK
9807              INTENTIONALLY LEFT BLANK
9808              INTENTIONALLY LEFT BLANK
9809              INTENTIONALLY LEFT BLANK
9810              INTENTIONALLY LEFT BLANK
9811              INTENTIONALLY LEFT BLANK
9812              INTENTIONALLY LEFT BLANK
9813              INTENTIONALLY LEFT BLANK
9814              INTENTIONALLY LEFT BLANK
9815              INTENTIONALLY LEFT BLANK
9816              INTENTIONALLY LEFT BLANK
9817              INTENTIONALLY LEFT BLANK
9818              INTENTIONALLY LEFT BLANK
9819              INTENTIONALLY LEFT BLANK
9820              INTENTIONALLY LEFT BLANK
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 315 of 356




9821   3/12/1997  Contract Award Sheet (Excerpt from                   DL-TX-0032090      May
                  MedPartners, Inc. Pricing File)
9822   1/1/1998   Contract Award Sheet (Excerpt from                   DL-TX-0032091      May
                  MedPartners, Inc. Pricing File)
9823   4/2/1998   Contract Modification Memo (Excerpt from             DL-TX-0032332      May
                  MedPartners, Inc. Pricing File)
9824   3/31/1998 Bid Price Worksheet (Excerpt from                     DL-TX-0032337-38   May
                  MedPartners, Inc. Pricing File)
9825   12/24/1998 Contract Award Chart (Excerpt from                   DL-TX-0032128      May
                  MedPartners, Inc. Pricing File)
9826   1/22/1999 Contract Modification Memo (Excerpt from              DL-TX-0032133      May
                  MedPartners, Inc. Pricing File)
9827   3/19/1997 Contract Modification Memo(Excerpt from               DL-TX-0033180      May
                  Minyard Food Stores Pricing File)
9828   7/18/1997 Contract Modification Memo(Excerpt from               DL-TX33170-00      May
                  Minyard Food Stores Pricing File)
9829   7/18/1997 Bid Price Worksheet (Excerpt from Minyard             DL-TX-0033172-73   May
                  Food Stores Pricing File)
9830   12/18/1998 Contract Modification Memo(Excerpt from              DL-TX-0033144      May
                  Minyard Food Stores Pricing File)
9831   3/31/1999 Contract Modification Memo(Excerpt from               DL-TX-0033131-32   May
                  Minyard Food Stores Pricing File)
9832   3/15/1995 Medicap Pharmacy Store List (Excerpt                  DL-TX-0032729-31   May
                  Medicap Pharmacies Pricing File)
9833   2/4/1997   Contract Modification Memo (Excerpt                  DL-TX-0032609      May
                  Medicap Pharmacies Pricing File)
9834   1/5/1998   Contract Modification Memo (Excerpt                  DL-TX-0032575      May
                  Medicap Pharmacies Pricing File)
9835   4/21/1998 Contract Modification Memo (Excerpt                   DL-TX-0032511      May
                  Medicap Pharmacies Pricing File)
9836   4/1/1999   Contract Modification Memo (Excerpt                  DL-TX-0032563      May
                  Medicap Pharmacies Pricing File)
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 316 of 356




9837   3/26/1999   Bid Price Worksheet (Excerpt Medicap                DL-TX-0032564-65   May
                   Pharmacies Pricing File)
9838               INTENTIONALLY LEFT BLANK
9839               INTENTIONALLY LEFT BLANK
9840               INTENTIONALLY LEFT BLANK
9841               INTENTIONALLY LEFT BLANK
9842               INTENTIONALLY LEFT BLANK
9843               INTENTIONALLY LEFT BLANK
9844               INTENTIONALLY LEFT BLANK
9845               INTENTIONALLY LEFT BLANK
9846               INTENTIONALLY LEFT BLANK
9847               INTENTIONALLY LEFT BLANK
9848   3/14/1997   Contract Modification Memorandum (Excerpt           DL-TX-0036986      May
                   from Pace Alliance Pricing File)
9849   4/8/1997    Contract Modification Memorandum (Excerpt           DL-TX-0036976      May
                   from Pace Alliance Pricing File)
9850   3/25/1997   Bid Price Worksheet (Excerpt from Pace              DL-TX-0036982-84   May
                   Alliance Pricing File)
9851   8/21/1997   Contract Modification Memorandum (Excerpt           DL-TX-0036946      May
                   from Pace Alliance Pricing File)
9852   8/14/1997   Bid Price Worksheet (Excerpt from Pace              DL-TX-0036952-53   May
                   Alliance Pricing File)
9853   9/30/1997   Contract Award Memorandum and Attachment            DL-TX-0036907-08   May
                   (Excerpt from Pace Alliance Pricing File)

9854   10/6/1998   Contract Modification Memorandum (Excerpt           DL-TX-0036823      May
                   from Pace Alliance Pricing File)
9855   2/26/1999   Contract Modification Memorandum (Excerpt           DL-TX-0036812      May
                   from Pace Alliance Pricing File)
9856               INTENTIONALLY LEFT BLANK
9857               INTENTIONALLY LEFT BLANK
9858               INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 317 of 356




9859               INTENTIONALLY LEFT BLANK
9860               INTENTIONALLY LEFT BLANK
9861               INTENTIONALLY LEFT BLANK
9862               INTENTIONALLY LEFT BLANK
9863               INTENTIONALLY LEFT BLANK
9864               INTENTIONALLY LEFT BLANK
9865               INTENTIONALLY LEFT BLANK
9866               INTENTIONALLY LEFT BLANK
9867               INTENTIONALLY LEFT BLANK
9868               INTENTIONALLY LEFT BLANK
9869               INTENTIONALLY LEFT BLANK
9870               INTENTIONALLY LEFT BLANK
9871               INTENTIONALLY LEFT BLANK
9872               INTENTIONALLY LEFT BLANK
9873   3/15/1997   Contract Modification Memo (Excerpt from             DL-TX-0041029      May
                   PharmaGen c/o HD Smith Source Program
                   Pricing File)
9874   7/8/1997    Contract Modification Memo (Excerpt from             DL-TX-0041007      May
                   PharmaGen c/o HD Smith Source Program
                   Pricing File)
9875   6/26/1997   Bid Price Worksheet (Excerpt from PharmaGen          DL-TX-0041011-12   May
                   c/o HD Smith Source Program Pricing File)

9876   9/2/1907    Contract Modification Memo (Excerpt from             DL-TX-0040995      May
                   PharmaGen c/o HD Smith Source Program
                   Pricing File)
9877   1/7/1998    Contract Modification Memo (Excerpt from             DL-TX-0040964      May
                   PharmaGen c/o HD Smith Source Program
                   Pricing File)
9878   6/5/1998    Award Confirmation Letter with Attachment            DL-TX-0040928-29   May
                   (Excerpt from PharmaGen c/o HD Smith
                   Source Program Pricing File)
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 318 of 356




9879   10/12/1998 Contract Modification Memo (Excerpt from             DL-TX-0040905      May
                  PharmaGen c/o HD Smith Source Program
                  Pricing File)
9880   10/7/1998 Bid Price Worksheet (Excerpt from PharmaGen           DL-TX-0040911-12   May
                  c/o HD Smith Source Program Pricing File)

9881   1/14/1999  Contract Modification Memo (Excerpt from             DL-TX-0040892      May
                  PharmaGen c/o HD Smith Source Program
                  Pricing File)
9882   8/23/1999 Contract Modification Memo (Excerpt from              DL-TX-0040815      May
                  PharmaGen c/o HD Smith Source Program
                  Pricing File)
9883   1/31/1997 Contract Modification Memo (Excerpt from              DL-TX-0044757      May
                  ProVantage Mail Service Pricing File)
9884   11/5/1997 Contract Modification Memo (Excerpt from              DL-TX-0044746      May
                  ProVantage Mail Service Pricing File)
9885   10/30/1997 Bid Price Worksheet (Excerpt from ProVantage         DL-TX-0044749-50   May
                  Mail Service Pricing File)
9886   1/5/1998   Contract Modification Memo (Excerpt from             DL-TX-0044742      May
                  ProVantage Mail Service Pricing File)
9887   3/3/1998   Contract Modification Memo (Excerpt from             DL-TX-0044736      May
                  ProVantage Mail Service Pricing File)
9888   11/11/1997 Purchase Agreement Between Dey Lab and               DL-TX-0044789-90   May
                  Provantage Prescription Management Services
                  (Excerpt from ProVantage Mail Service Pricing
                  File)
9889   1/14/1999 Contract Modification Memo (Excerpt from              DL-TX-0044716      May
                  ProVantage Mail Service Pricing File)
9890   4/14/1999 Contract Modification Memo (Excerpt from              DL-TX-0044689      May
                  ProVantage Mail Service Pricing File)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 319 of 356




9891   2/19/1997   Contract Modification Memo (Excerpt from             DL-TX-0044959     May
                   Prudential Healthcare Pharmacy Services
                   Pricing File)
9892   4/10/1997   Contract Modification Memo (Excerpt from             DL-TX-0044947     May
                   Prudential Healthcare Pharmacy Services
                   Pricing File)
9893   3/19/1997   Bid Price Worksheet (Excerpt from Prudential         DL-TX-44955-56    May
                   Healthcare Pharmacy Services Pricing File)

9894   12/31/1997 Contract Modification Memo (Excerpt from              DL-TX-0044866     May
                  Prudential Healthcare Pharmacy Services
                  Pricing File)
9895   12/21/1998 Contract Modification Memo (Excerpt from              DL-TX-0044864     May
                  Prudential Healthcare Pharmacy Services
                  Pricing File)
9896              INTENTIONALLY LEFT BLANK
9897              INTENTIONALLY LEFT BLANK
9898              INTENTIONALLY LEFT BLANK
9899              INTENTIONALLY LEFT BLANK
9900              INTENTIONALLY LEFT BLANK
9901              INTENTIONALLY LEFT BLANK
9902              INTENTIONALLY LEFT BLANK
9903              INTENTIONALLY LEFT BLANK
9904              INTENTIONALLY LEFT BLANK
9905              INTENTIONALLY LEFT BLANK
9906              INTENTIONALLY LEFT BLANK
9907              INTENTIONALLY LEFT BLANK
9908              INTENTIONALLY LEFT BLANK
9909              INTENTIONALLY LEFT BLANK
9910   2/27/1997 Contract Modification Memo (Excerpt from Rx            DL-TX-0046272     May
                  Plus Pharmacies Pricing File)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 320 of 356




9911   7/1/1997    Contract Award Memo with Attachment                  DL-TX-0046251-52   May
                   (Excerpt from Rx Plus Pharmacies Pricing File)

9912   6/23/1997  Bid Price Worksheet (Excerpt from Rx Plus             DL-TX-0046269-70   May
                  Pharmacies Pricing File)
9913   1/5/1998   Contract Modification Memo (Excerpt from Rx           DL-TX-0046245      May
                  Plus Pharmacies Pricing File)
9914   10/30/1998 Contract Modification Memo (Excerpt from Rx           DL-TX-0046220      May
                  Plus Pharmacies Pricing File)
9915   5/3/1999   Contract Award Chart (Excerpt from Rx Plus            DL-TX-0046219      May
                  Pharmacies Pricing File)
9916   7/15/1999 Contract Modification Memo (Excerpt from Rx            DL-TX-0046207      May
                  Plus Pharmacies Pricing File)
9917   7/12/1999 Bid Price Worksheet (Excerpt from Rx Plus              DL-TX-0046209-10   May
                  Pharmacies Pricing File)
9918   7/1/2001   Contract Award Chart (Excerpt from Rx Plus            DL-TX-0147867      May
                  Pharmacies Pricing File)
9919   2/1/2002   Contract Award Chart (Excerpt from Rx Plus            DL-TX-0147856      May
                  Pharmacies Pricing File)
9920   2/4/1997   Contract Modification Memo (Excerpt from              DL-TX-0050428      May
                  Union Pacific Railroad Emp. Health System
                  Pricing File)
9921   4/2/1997   Bid Price Worksheet (Excerpt from Union               DL-TX-0050422-23   May
                  Pacific Railroad Emp. Health System Pricing
                  File)
9922   4/8/1997   Executive Summary (Excerpt from Union                 DL-TX-0050425      May
                  Pacific Railroad Emp. Health System Pricing
                  File)
9923   12/31/1997 Contrcact Modification Memo (Excerpt from             DL-TX-0050381      May
                  Union Pacific Railroad Emp. Health System
                  Pricing File)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 321 of 356




9924   6/5/1998   Contract Award Memo (Excerpt from Union               DL-TX-0050330-31   May
                  Pacific Railroad Emp. Health System Pricing
                  File)
9925   1/1/2000   Contract Award Chart (Excerpt from Union              DL-TX-0050276      May
                  Pacific Railroad Emp. Health System Pricing
                  File)
9926   7/1/2001   Contract Award Chart (Excerpt from Union              DL-TX-0149226      May
                  Pacific Railroad Emp. Health System Pricing
                  File)
9927   12/12/2001 Contract Modification Letter (Excerpt from            DL-TX-0149210      May
                  Union Pacific Railroad Emp. Health System
                  Pricing File)
9928   11/1/2002 Contract Award Chart (Excerpt from Union               DL-TX-0149162      May
                  Pacific Railroad Emp. Health System Pricing
                  File)
9929              INTENTIONALLY LEFT BLANK
9930              INTENTIONALLY LEFT BLANK
9931              INTENTIONALLY LEFT BLANK
9932              INTENTIONALLY LEFT BLANK
9933              INTENTIONALLY LEFT BLANK
9934              INTENTIONALLY LEFT BLANK
9935              INTENTIONALLY LEFT BLANK
9936              INTENTIONALLY LEFT BLANK
9937              INTENTIONALLY LEFT BLANK
9938              INTENTIONALLY LEFT BLANK
9939              INTENTIONALLY LEFT BLANK
9940              INTENTIONALLY LEFT BLANK
9941              INTENTIONALLY LEFT BLANK
9942              INTENTIONALLY LEFT BLANK
9943              INTENTIONALLY LEFT BLANK
9944              INTENTIONALLY LEFT BLANK
9945              INTENTIONALLY LEFT BLANK
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 322 of 356




9946              INTENTIONALLY LEFT BLANK
9947              INTENTIONALLY LEFT BLANK
9948              INTENTIONALLY LEFT BLANK
9949              INTENTIONALLY LEFT BLANK
9950              INTENTIONALLY LEFT BLANK
9951              INTENTIONALLY LEFT BLANK
9952   7/1/2001   Contract Award Chart (Excerpt from Virginia           DL-TX-0149403      May
                  Pharmacy Network Pricing File)
9953   2/22/2002 Contract Modification Letter w/Attachment              DL-TX-0149382-83   May
                  (Excerpt from Virginia Pharmacy Network
                  Pricing File)
9954   9/12/2002 Contract Award Chart (Excerpt from Virginia            DL-TX-0149327      May
                  Pharmacy Network Pricing File)
9955   1/27/2003 Contract Modification Letter (Excerpt from             DL-TX-0149404      May
                  Virtual Health c/o Amerisource Bergen Pricing
                  File)
9956   5/9/2001   Contract Award Chart (Excerpt from Wal-Mart           DL-TX-0150594      May
                  Stores, Inc. Pricing File)
9957   2/22/2002 Contract Modifcation Letter w/Attachment               DL-TX-015076-77    May
                  (Excerpt from Wal-Mart Stores, Inc. Pricing
                  File)
9958   2/21/2002 Bid Price Worksheet (Excerpt from Wal-Mart             DL-TX-0150578-79   May
                  Stores, Inc. Pricing File)
9959   12/13/2001 Contract Modification Letter w/Attachment             DL-TX-0150610-11   May
                  (Excerpt from Wegmans Pharmacy Pricing
                  File)
9960   12/13/2001 Contract Modification Memo (Excerpt from              DL-TX-0150608-09   May
                  Wegmans Pharmacy Pricing File)
9961   1/1/2003   Contract Award Chart (Excerpt from Wegmans            DL-TX-0150596      May
                  Pharmacy Pricing File)
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 323 of 356




9962   1/31/1997  Contract Modification Memo (Excerpt from              DL-TX-0050876      May
                  Value-Rx Mail Service Pharmacies pricing
                  File)
9963   1/13/1997 Bid Price Worksheet (Excerpt from Value-Rx             DL-TX0050883-84    May
                  Mail Service Pharmacies pricing File)
9964   8/20/1997 Contract Modification Memo (Excerpt from               DL-TX-0050867      May
                  Value-Rx Mail Service Pharmacies pricing
                  File)
9965   8/12/1997 Bid Price Worksheet (Excerpt from Value-Rx             DL-TX-0050872-73   May
                  Mail Service Pharmacies pricing File)
9966   12/17/1997 Contract Modification Memo (Excerpt from              DL-TX-0050857      May
                  Value-Rx Mail Service Pharmacies pricing
                  File)
9967   12/13/1997 Bid Price Worksheet (Excerpt from Value-Rx            DL-TX-0050858-59   May
                  Mail Service Pharmacies pricing File)
9968   1/7/1998   Contract Modification Memo (Excerpt from              DL-TX-0017308      May
                  Defense Personnel Support Center Pricing File)

9969   2/11/1998   Contract Modification Letter (Excerpt from           DL-TX-0017301      May
                   Defense Personnel Support Center Pricing File)

9970   3/18/1998   Contract Modification Letter (Excerpt from           DL-TX-0017623      May
                   Defense Personnel Support Center Pricing File)

9971               INTENTIONALLY LEFT BLANK
9972               INTENTIONALLY LEFT BLANK
9973               INTENTIONALLY LEFT BLANK
9974               INTENTIONALLY LEFT BLANK
9975               INTENTIONALLY LEFT BLANK
9976               INTENTIONALLY LEFT BLANK
9977               INTENTIONALLY LEFT BLANK
9978               INTENTIONALLY LEFT BLANK
          Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 324 of 356




9979    INTENTIONALLY LEFT BLANK
9980    INTENTIONALLY LEFT BLANK
9981    INTENTIONALLY LEFT BLANK
9982    INTENTIONALLY LEFT BLANK
9983    INTENTIONALLY LEFT BLANK
9984    INTENTIONALLY LEFT BLANK
9985    INTENTIONALLY LEFT BLANK
9986    INTENTIONALLY LEFT BLANK
9987    INTENTIONALLY LEFT BLANK
9988    INTENTIONALLY LEFT BLANK
9989    INTENTIONALLY LEFT BLANK
9990    INTENTIONALLY LEFT BLANK
9991    INTENTIONALLY LEFT BLANK
9992    INTENTIONALLY LEFT BLANK
9993    INTENTIONALLY LEFT BLANK
9994    INTENTIONALLY LEFT BLANK
9995    INTENTIONALLY LEFT BLANK
9996    INTENTIONALLY LEFT BLANK
9997    INTENTIONALLY LEFT BLANK
9998    INTENTIONALLY LEFT BLANK
9999    INTENTIONALLY LEFT BLANK
10000   INTENTIONALLY LEFT BLANK
10001   INTENTIONALLY LEFT BLANK
10002   INTENTIONALLY LEFT BLANK
10003   INTENTIONALLY LEFT BLANK
10004   INTENTIONALLY LEFT BLANK
10005   INTENTIONALLY LEFT BLANK
10006   INTENTIONALLY LEFT BLANK
10007   INTENTIONALLY LEFT BLANK
10008   INTENTIONALLY LEFT BLANK
10009   INTENTIONALLY LEFT BLANK
10010   INTENTIONALLY LEFT BLANK
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 325 of 356




10011              INTENTIONALLY LEFT BLANK
10012              INTENTIONALLY LEFT BLANK
10013              INTENTIONALLY LEFT BLANK
10014              INTENTIONALLY LEFT BLANK
10015              INTENTIONALLY LEFT BLANK
10016              INTENTIONALLY LEFT BLANK
10017              INTENTIONALLY LEFT BLANK
10018              INTENTIONALLY LEFT BLANK
10019              INTENTIONALLY LEFT BLANK
10020              INTENTIONALLY LEFT BLANK
10021              INTENTIONALLY LEFT BLANK
10022              INTENTIONALLY LEFT BLANK
10023              INTENTIONALLY LEFT BLANK
10024              INTENTIONALLY LEFT BLANK
10025              INTENTIONALLY LEFT BLANK
10026              INTENTIONALLY LEFT BLANK
10027              INTENTIONALLY LEFT BLANK
10028              INTENTIONALLY LEFT BLANK
10029              INTENTIONALLY LEFT BLANK
10030              INTENTIONALLY LEFT BLANK
10031   4/4/1997   Contract Modification Letter (Excerpt from            DL-TX-0053270      May
                   Veteran's Administration Pricing for
                   Ipratropium Pricing File)
10032   12/18/1997 Contract Extension Memo w/Attachment                  DL-TX-0053187-88   May
                   (Excerpt from Veteran's Administration Pricing
                   for Ipratropium Pricing File)
10033   1/14/1997 Bid Price Worksheet (Excerpt from Veteran's            DL-TX-0053161-62   May
                   Administration Pricing for Ipratropium Pricing
                   File)
10034   1/23/1998 Bid Price Worksheet (Excerpt from Veteran's            DL-TX-0053098-99   May
                   Administration Pricing for Ipratropium Pricing
                   File)
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 326 of 356




10035   1/29/1998   Contract Modification Letter (Excerpt from           DL-TX-0053094      May
                    Veteran's Administration Pricing for
                    Ipratropium Pricing File)
10036   3/5/1998    Customer Of Comparability Letter                     DL-TX-0052626-27   May
                    w/Attachment (Excerpt from Veteran's
                    Administration Pricing for Ipratropium Pricing
                    File)
10037   3/11/1998   Contract Extension Letter w/Attachment               DL-TX-0053067-68   May
                    (Excerpt from Veteran's Administration Pricing
                    for Ipratropium Pricing File)
10038   6/8/1998    Request For Modificaiton Form w/Attachment           DL-TX-0053078-80   May
                    (Excerpt from Veteran's Administration Pricing
                    for Ipratropium Pricing File)

10039   10/19/1998 Federal Supply Schedule Memo w/Attachment             DL-TX-0052506-32   May
                   (Excerpt from Veteran's Administration Pricing
                   for Ipratropium Pricing File)

10040   6/10/1999   Contract Modification Letter (Excerpt from           DL-TX-0051883      May
                    Veteran's Administration Pricing for
                    Ipratropium Pricing File)
10041   1/31/2000   Contract Modification Memo (Excerpt from             DL-TX-0051719      May
                    Veteran's Administration Pricing for
                    Ipratropium Pricing File)
10042   1/13/2000   Bid Price Worksheet (Excerpt from Veteran's          DL-TX-0051715-16   May
                    Administration Pricing for Ipratropium Pricing
                    File)
10043   11/1/1998   Request For Modification Form w/Attachment           DL-TX-0051702-05   May
                    (Excerpt from Veteran's Administration Pricing
                    for Ipratropium Pricing File)
                         Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 327 of 356




10044    4/25/2000  Contract Modification Letter w/Attachment             DL-TX-0051628-37    May
                    (Excerpt from Veteran's Administration Pricing
                    for Ipratropium Pricing File)
10045    3/30/2000 Bid Price Worksheet (Excerpt from Veteran's            DL-TX-0051639-40    May
                    Administration Pricing for Ipratropium Pricing
                    File)
10046    10/1/1999 Contract Clarification Letter (Excerpt from            DL-TX-0051763-64    May
                    Veteran's Administration Pricing for
                    Ipratropium Pricing File)
10047    1/31/1997 Contract Modification Memo (Excerpt from               DL-TX-0020296       May
                    Express Scripts Pricing File)
10048    11/24/1997 Contract Award Memo w/Attachment (Excerpt             DL-TX-0020196-97    May
                    from Express Scripts Pricing File)
10049    12/4/1998 Contract Modification Letter (Excerpt from             DL-TX-0020161       May
                    Express Scripts Pricing File)
10050    11/29/1998 Contract Modification Lettrer (Excerpt from           DL-TX-0020122       May
                    Express Scripts Pricing File)
10051    3/22/1999 Contract Modification Letter (Excerpt from             DL-TX-0020111       May
                    Express Scripts Pricing File)
10052    11/16/1998 Bid Price Worksheet (Excerpt from Express             DL-TX-0020018-19    May
                    Scripts Pricing File)
10053    3/16/1999 Bid Price Worksheet (Excerpt from Express              DL-TX-0020116-17    May
                    Scripts Pricing File)
10054    5/1/2001   Contract Award Sheet (Excerpt from                    DL-TX-0135016       May
                    Computerx Pricing File)
10055    12/27/2001 Contract Modification Letter w/Attachment             DL-TX-0134973-74    May
                    (Excerpt from ComputerxPricing File)
10056-              INTENTIONALLY LEFT BLANKS
13454
13455                Cardinal wholesaler data                             Previously disclosed Expect
                                                                          with Expert Report of
                                                                          Bradford
            Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 328 of 356




13456   McKesson wholesaler data (14 state                   Previously disclosed Expect
        production)                                          with Expert Report of
                                                             Bradford
13457   McKesson wholesaler data (37 state                   Previously disclosed Expect
        production)                                          with Expert Report of
                                                             Bradford
13458   First DataBank data                                  Previously disclosed Expect
                                                             with Expert Reports of
                                                             Bradford, Stiroh
13459   Medi-Span data                                       Previously disclosed Expect
                                                             with Expert Reports of
                                                             Bradford, Stiroh
13460   RedBook data                                         Previously disclosed Expect
                                                             with Expert Reports of
                                                             Bradford, Stiroh
13461   AMP data                                             Previously disclosed Expect
                                                             with Expert Reports of
                                                             Bradford, Stiroh
13462   CMS state utilization data                           Previously disclosed May
                                                             with Expert Report of
                                                             Bradford
13463   Dey direct data (1992-2007 Q4)                       Previously disclosed Expect
                                                             with Expert Report of
                                                             Bradford
13464   Dey indirect data (1992-2007 Q3)                     Previously disclosed Expect
                                                             with Expert Report of
                                                             Bradford
13465   Dey internal pricing data, sales and transactions    Previously disclosed Expect
        data, chargeback data, and wholesaler activity       with Expert Report of
        data                                                 Stiroh
            Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 329 of 356




13466   Grant Thornton data                                  Previously disclosed    May
                                                             with Expert Report of
                                                             Bradford
13467   Medical CPI data from BLS                            Previously disclosed    May
                                                             with Expert Report of
                                                             Bradford
13468   Medicare Carrier claims data                         Previously disclosed    Expect
                                                             with Expert Report of
                                                             Bradford
13469   Medicare DMERC claims data                           Previously disclosed    Expect
                                                             with Expert Report of
                                                             Bradford
13470   Medicare Outpatient claims data                      Previously disclosed    Expect
                                                             with Expert Report of
                                                             Bradford
13471   Medicare PSPS summary claims data - through          Previously disclosed    May
        2005                                                 with Expert Report of
                                                             Bradford
13472   MSIS data                                            Previously disclosed    May
                                                             with Expert Report of
                                                             Bradford
13473   NPC state reimbursement policies                     Previously disclosed    May
                                                             with Expert Report of
                                                             Bradford
13474   State claims data for: AK, AL, AR, CA, CT,           Previously disclosed    Expect
        DE, FL, GA, HI, ID, IL, IA, KS, KY, LA, MA,          with Expert Report of
        ME, MI, MN, MO, NC, NE, NM, NJ, NY, OH,              Bradford
        OR, PA, RI, SC, TX, UT, VA, WI and WY

13475   MAC data for AL, AR, GA, HI, IL, KS, KY,             Previously disclosed Expect
        MA, ME, MN, MN, NC, NY, OR, UT, WI, and              with Expert Report of
        WY                                                   Bradford
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 330 of 356




13476               Federal Supply Schedule data                                   Previously disclosed Expect
                                                                                   with Expert Report of
                                                                                   Stiroh
13477               IMS sales data                                                 Previously disclosed Expect
                                                                                   with Expert Report of
                                                                                   Stiroh
13478   9/1989      State Medicaid Manual Part 6 - Payment for                     HHD093-0088-93        May
                    Services Transmittal No. 15
13479               INTENTIONALLY LEFT BLANK
13480               Packaging for Albuterol                                                          May
13481               Packaging for Cromolyn                                                           May
13482               Packaging for Ipratropium Bromide                                                May
13483   1990        Dey Internal Financial Report                                  DEYBO-0230657-690 May

13484   1991        Dey Internal Financial Report                                  DEYBO-0230691-726 May

13485   1992        Dey Internal Financial Report                                  DEYBO-0230727-759 May

13486   1992        42 C.F.R. § 405.517 (1992)                                                      May
13487   1993        Report of the Legislative Medicaid Committee                   ALMED-845464-495 May
                    Created Pursuant to Senate Joint Resolution 41,
                    1993 Regular Session
13488   1993        Dey Internal Financial Report                                  DEYBO-0230760-795 May

13489   7/16/1985   South Carolina Medicaid Bulletin to Pharmacy                      SCDHHSS-Abbott-   May
                    Providers (PHAR 85-8)                                             015324-26
13490   2003        NCPA-Pfizer Digest 2003                      MA, Grossman,                          May
                                                                 10/24/07, MPhA Ex. 3
13491   2/13/1975   Letter from S. Hardin, State of Alabama                                             May
                    Department of Public Health, to FDA
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 331 of 356




13492   7/18/1977   Letter and attachment from J. Worthington,                                                 May
                    Commissioner of Alabama Medical Services
                    Administration, to H. Steagall, II, Executive
                    Secretary of Alabama Governor's Office

13493   9/2008     Arkansas Provider Agreement                                                                 May
13494   8/1/1977   Alabama State Plan Amendment                                                                May
13495   5/18/2007  Letter from J. Spillers to W. Prince re: South                      HHD086-1091-92          May
                   Carolina Title XIX State Plan Amendment 00-
                   09
13496   8/5/1977   Alabama Medical Services Administration                                                     May
                   Memorandum and Attachments from J.
                   Worthington to S. Hardin re: Alabama
                   Pharmaceutical Program
13497   11/1977    Staff Reference Report entitled "Medi-Cal                                                   May
                   Drug Price Controls," prepared by the State of
                   California Department of Finance Program
                   Evaluation Unit
13498   4/2010     Indiana Health Coverage Programs Provider                                                   May
                   Manual
13499   12/13/1977 Excerpt from Medicaid and Medicare Guide re: Tawes, 4/24/07, Abbott                         May
                   HCFA Action Transmittal "Title XIX, Social Ex. 127
                   Security Act: Limitation on Payment or
                   Reimbursement for Drugs: Estimated
                   Acquistion Cost (EAC)" (HCFA-AT-77-113
                   (MMB))
13500   3/5/2002    Letter and attachment from CMS to South                              HHD090-1876-89        May
                    Carolina re: SPA 01-15
13501   9/1984      Medicaid Action Transmittal No. 84-12           Morris, 8/29/07, Abbott HHC011-2200-01     May
                                                                    Ex. 269
13502   3/5/1985    Title XIX Medical Care Advisory Committee                               AL-ARCH 0000896-   May
                    Meeting Minutes                                                         922
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 332 of 356




13503   9/12/1985   Letter and attachments from T. Shulman,                                                 May
                    Associate Regional Administrator, Division of
                    Program Operations, DHHS, to C. Perales,
                    Commissioner, NYS Dep't of Social Services

13504   9/17/1985   Letter from T. Shulman, HCFA, to C. Perales, NY, C. Cioppa, 3/10/10, A-1769-70          May
                    New York State Department of Social Services Cioppa Ex. 9

13505   12/1/1985   Letter from Dan's Drug Store to Alabama                              AL-ARCH 0000977    May
                    Governor G. Wallace
13506   2/4/1986    Letter from John Rodriguez, Deputy Director CA, J. Terra, 12/4/08,   HHC016-0098-99     May
                    of Medical Care Services at California DHS, to Terra Ex. 3
                    John O'Hara, Jr., Associate Regional
                    Administrator at HCFA, regarding draft EAC
                    Survey Report for Medi-Cal

13507   1/28/1989   Notes for Commissioner, Alabama                                      AL-ARCH 0000534-   May
                    Pharmaceutical Association                                           541
13508   9/22/1989   Letter from J. Rodriguez, Deputy Director of CA, Defs' Joint Sur-    RM-189-90          May
                    Medical Care Services at California DHS, to L. Reply Opp. S.J.,
                    McDonough, Associate Regional                  1/29/10, Ex. 65
                    Administrator, Division of Medicaid, Health
                    Care Financing Administration

13509   11/19/1990 Letter from A. O'Leary, Associate Regional                                               May
                   Administrator, Division of Medicaid, DHHS, to
                   J. Costantino, Deputy Commissioner, Division
                   of Medical Assistance, NYS DSS

13510   6/5/1991    56 Fed. Reg. 25792 - Proposed Rules             Niemann, 9/14/07,                       May
                    Regarding the Medicare Program; Fee             Abbott Ex. 298
                    Schedule for Physicians' Services
                         Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 333 of 356




13511   6/5/1991   56 Fed. Reg. 25792 - Proposed Rules for                                                 May
                   Medicare Program; Fee Schedule for
                   Physicians' Services
13512   12/12/1991 Order issued in Pharmaceutical Society of the                                           May
                   State of New York, Inc., et al. v. Cuomo, et al.,
                   Index No. 76 Civ. 5080
13513   8/10/1993 42 U.S.C. § 1396r-8                                                                      Expect
13514   12/15/1993 Letter from T. Ault, HCFA Director of Bureau                           HHC003-0570      May
                   of Policy Development, to R. Grousky, Mayo
                   Foundation Medicare Coordinator

13515   4/1994      Dey's Product Advertisement for Cromolyn                              DEY-BO-0152922   May
                    Sodium Inhalation USP
13516   6/1994      Excerpt from Lippincott's Hospital Pharmacy                                            May
                    re: Dey's Product Advertisement for Cromolyn
                    Sodium Inhalation USP
13517   7/1994      Excerpt from Pharmacy Times re: Dey's                                                  May
                    Product Advertisement for Cromolyn Sodium
                    Inhalation USP
13518   8/30/1994   Conference program for State, HCFA, OIG        P. Chesser, 6/24/08,   HHD144-0340      May
                    Conference, Medicaid Outpatient Prescription Roxane Ex. 84
                    Drug Program, Richmond, VA
13519   8/30/1994   List of attendees for Nationwide Average       P. Chesser, 6/24/08,   HHD142-0247      May
                    Wholesale Price Review Conference              Roxane Ex. 85
13520   9/1994      Excerpt from Pharmacy Times re: Dey's                                                  May
                    Product Advertisement for Cromolyn Sodium
                    Inhalation USP
13521   9/1994      Dey's Product Advertisement for a Full Line of                        DEY-BO-0256203   May
                    Albuterol Inhalation Products
13522   9/1994      Dey's Product Advertisement for a Full Line of                        DEY-BO-0256207-10 May
                    Albuterol Inhalation Products
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 334 of 356




13523   9/1994      Dey's Product Advertisement for a Full Line of                      DEY-BO-0256206     May
                    Albuterol Inhalation Products
13524   9/1994      Excerpt from Lippincott's Hospital Pharmacy                                            May
                    re: Dey's Product Advertisement for Cromolyn
                    Sodium Inhalation USP
13525   10/1994     Excerpt from Pharmacy Times re: Dey's                                                  May
                    Product Advertisement for Cromolyn Sodium
                    Inhalation USP
13526   11/1994     Excerpt from Lippincott's Hospital Pharmacy                                            May
                    re: Dey's Product Advertisement for Cromolyn
                    Sodium Inhalation USP
13527   12/1994     Dey's Product Advertisement for Unit-Dose                           DEY-BO-0257693-94 May
                    Albuterol Sulfate Inhalation Solution 0.083%

13528   12/1994    Dey's Product Advertisement for Albuterol                            DEY-BO-0256112     May
                   Inahalation Aerosol
13529   12/1994    Dey's Product Advertisement for Albuterol                            DEY-BO-0256188     May
                   Products
13530   12/1994    Dey's Product Advertisement for Albuterol                            DEY-BO-0256131     May
                   Inahalation Aerosol
13531   12/20/1994 Pharmacy Advisory Committee Agenda,               NY, C. Cioppa, 3/11/10, NYCO AWP NYDOH May
                   Meeting Attendance Sheet, and Meeting             Cioppa Ex. 55           19856-64
                   Minutes
13532   2/1/1995   114.3 CMR 31.00 - Prescribed Drugs            MA, P. Jeffrey, 4/16/10,                  May
                                                                 Jeffrey Ex. 1
13533   6/1995      Massachusetts Medical Assistance Program     MA, A. Brown,            MA060247         May
                    Pharmacy Bulletin 50 re: Usual and Customary 4/13/10, Brown Ex. 1
                    Charge
13534   6/29/1995   Letter from CVS Pharmacy to A. Shapiro       MA, P. Jeffrey, 4/16/10, MA060462-63      May
                                                                 Jeffrey Ex. 8
13535   12/1995     Dey's Product Advertisement for Albuterol                             DEY-BO-0256197   May
                    Products
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 335 of 356




13536   1/1996      Dey's Product Advertisement for Albuterol            DEY-BO-0256109-110 May
                    Inahalation Aerosol
13537   1/1996      Dey's Product Advertisement for Albuterol            DEY-BO-0256177-78 May
                    Products
13538   2/1996      Excerpt from The Journal of Respiratory                                May
                    Diseases re: Dey's Product Advertisement for
                    Albuterol Inhalation Aerosol
13539   2/1996      Excerpt from The Journal of Allergy and                                May
                    Clinical Immunology re: Dey's Product
                    Advertisement for Albuterol Inhalation Aerosol

13540   2/1996      Excerpt from Formulary (The Journal for                                May
                    Managed Care and Hospital Decision Makers)
                    re: Dey's Product Advertisement for Albuterol
                    Inhalation Aerosol
13541   2/1996      Excerpt from Lippincott's Hospital Pharmacy                            May
                    re: Dey's Product Advertisement for Albuterol
                    Inhalation Aerosol
13542   2/19/1996   Excerpt from Drug Topics re: Dey's Product                             May
                    Advertisement for Albuterol Inhalation Aerosol

13543   3/1996      Excerpt from The Journal of Respiratory                                May
                    Diseases re: Dey's Product Advertisement for
                    Albuterol Inhalation Aerosol
13544   3/1996      Dey's Product Advertisement for Albuterol            DEY-BO-0256277    May
                    Inahalation Aerosol
13545   3/1996      Excerpt from Lippincott's Hospital Pharmacy                            May
                    re: Dey's Product Advertisement for Albuterol
                    Inhalation Aerosol
13546   3/4/1996    Excerpt from Drug Topics re: Dey's Product                             May
                    Advertisement for Albuterol Inhalation Aerosol
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 336 of 356




13547   4/1996      Excerpt from Formulary (The Journal for                                              May
                    Managed Care and Hospital Decision Makers)
                    re: Dey's Product Advertisement for Albuterol
                    Inhalation Aerosol
13548   4/1996      Excerpt from Lippincott's Hospital Pharmacy                                          May
                    re: Dey's Product Advertisement for Albuterol
                    Inhalation Aerosol
13549   5/1996      Excerpt from The Journal of Respiratory                                              May
                    Diseases re: Dey's Product Advertisement for
                    Albuterol Inhalation Aerosol
13550   5/7/2003    Letter and attachments from R. Cottrell to R.                     HHD090-1950-2003   May
                    Kerr re: South Carolina SPA 03-001
13551   5/20/1996   Excerpt from Drug Topics re: Dey's Product                                           May
                    Advertisement for Albuterol Inhalation Aerosol

13552   6/1996     Dey's Product Advertisement for Cromolyn                           DEY-BO-0254634     May
                   Sodium Inhalation Solution USP
13553   11/26/2003 Letter and attachment from H. Webster to R.                        HHD090-2004-2036   May
                   Kerr re: South Carolina SPA 03-013
13554   2/13/1997 Excerpt from the United States Senate        N. DeParle, 5/18/07,                      May
                   Committee on Finance - Testimony of D.      Abbott Ex. 204
                   Shalala
13555   4/8/1997   Letter and attachments from McKesson to     NY, Factor, 6/20/08,   WAT000056346-60    May
                   Schein Pharmaceuticals                      Factor Ex. 2
13556   4/25/1997 Memorandum and attachments from the          MA, A. Brown,          MA060411-13        May
                   Commonwealth of Massachusetts Office of the 4/13/10, Brown Ex. 2
                   Attorney General, Medicaid Fraud Control
                   Unit, titled "Facts of Complaint"
13557   6/12/1997 Fax and attachment from Z. Bentley and M.    B. Vladeck, 5/4/07,    R2-040813-16       May
                   Jones to J. Brown                           Abbott Ex. 17
13558   7/10/1997 Letter from Z. Bentley, T. Jones and J.      B. Vladeck, 5/4/07,    R2-040909-10       May
                   Lockwood to B. Vladeck                      Abbott Ex. 163
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 337 of 356




13559   8/5/1997    42 U.S.C. § 1396r-8                                                                     Expect
13560   8/13/1997   Fax and attachment from Z. Bentley and M.       B. Vladeck, 5/4/07,    R2-040917-922    May
                    Jones to B. Vladeck                             Abbott Ex. 162
13561   8/27/1997   Routing and Transmittal Slip to R. Vito with an Vito, 12/5/08, Dey Ex. HHD060-0711-30   May
                    attached OIG Report - Medicaid Pharmacy:        41
                    Actual Acquisition Cost of Generic
                    Prescription Drug Products (A-06-97-00011)

13562   12/5/1997   Memorandum from June Gibbs Brown to           N. DeParle, 5/18/07,   HHD009-0258-59     May
                    Nancy-Ann Min DeParle re: OIG Final Report - Abbott Ex. 2A
                    "Excessive Medicare Payments for Prescription
                    Drugs"
13563   1/29/1998   Memorandum from A. Brown to S. McCarthy MA, A. Brown,                MA060070           May
                    re: CVS Pharmacy                              4/13/10, Brown Ex. 3
13564   2/19/1998   Memorandum and attachments from A. Brown MA, A. Brown,               MA060075-102       May
                    re: File 13-365, CVS Pharmacy, Usual &        4/13/10, Brown Ex. 4
                    Customary Prices
13565   3/20/1998   Letter and attachments from E. Janos to J.    MA, A. Brown,          MA060111-154       May
                    Caruso, Jr.                                   4/13/10, Brown Ex. 5
13566   4/2/1998    Letter from A. Brown to J. Senatore           MA, A. Brown,          MA060248           May
                                                                  4/13/10, Brown Ex. 6
13567   5/6/1998    Letter from A. Brown to A. Shapiro            MA, A. Brown,          MA060037           May
                                                                  4/13/10, Brown Ex. 9
13568   6/16/1998   Memorandum and attachment from A. Brown MA, A. Brown,                MA060160-163       May
                    to N. Messuri re: CVS Pharmacy Prescription 4/13/10, Brown Ex. 7
                    Overcharges
13569   7/1998      OIG Report - The Impact of High-Priced        Tawes, 4/24/07, Abbott HHD014-0071-96     May
                    Generic Drugs on Medicare and Medicaid        Ex. 099
13570   7/24/1998   Letter and attachment from E. Janos to J.     MA, A. Brown,          MA060253-257       May
                    Senatore                                      4/13/10, Brown Ex. 8
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 338 of 356




13571   8/25/1999   Excerpt from Red Book™ Database Services    K. Minne, 11/18/08,      RB 00803-07, RB     May
                    Database Overview Manual                    Minne Ex. 79             00853-56, RB 00873-
                                                                                         74
13572   10/1999     Alabama Medicaid Provider Manual                                     ALMED-883954-       May
                                                                                         884639
13573   11/4/1999  Letter from E. Janos and M. Gardener to J.   MA, P. Jeffrey, 4/16/10, MA060186-89         May
                   Caruso, Jr.                                  Jeffrey Ex. 9
13574   11/29/1999 42 U.S.C. § 1396r-8                                                                       Expect
13575   4/2000     First DataBank NDDF (National Drug Data      MA, Chadwick,            MA014430-15049      May
                   File)™ Documentation Manual                  10/24/07, Chadwick Ex.
                                                                3
13576   1/26/2006  Letter from R. Murray to R. Kerr re: South                            HHD090-2952-3133 May
                   Carolina SPA 05-013
13577   5/15/2000 42 U.S.C. § 1396r-8                                                                     Expect
13578   5/25/2000 Form Letter from Pharmacy Groups and Home- Tawes, 4/24/07, Abbott HHD006-0698-700       May
                   Infusion Groups to State Medicaid Pharmacy Ex. 148
                   Directors
13579   2/22/1996 Dey Laboratories Memorandum from S.                                   DEY-LABS-0419045- May
                   Robertson to M. Anderle re: Mike Ricks                               46
13580   3/12/1996 Dey Laboratories Memorandum from S.                                   DEY-LABS-0419047- May
                   Robertson to A. Villegas re: Mike Ricks' MCI                         48
                   Telephone Credit Card Activity
13581   10/2000    Alabama Medicaid Provider Manual                                     ALMED-886498-     May
                                                                                        887439
13582   11/13/2000 Letter from D. Bachrach to G. McMillan,      NY, C. Cioppa, 3/11/10, PSSNY 00667-72    May
                   NYSDOH re: Implementation of Lowered         Cioppa Ex. 53
                   Reimbursement Rates for Medicaid
                   Prescription Drugs
13583   12/14/2000 Pharmacy Technical Advisory Group (TAG)                              VDP_0149530-32    May
                   Conference Call Minutes
13584   2/28/2001 File Folder titled "Statewide Pharmacies,     MA, A. Brown,           MA060384-390      May
                   Closed 2/28/01"                              4/13/10, Brown Ex. 10
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 339 of 356




13585   4/2001      Red Book™ Database Services Database          K. Minne, 11/19/08,      TH Confidential 001-   May
                    Overview Manual                               Minne Ex. 83             072
13586   7/23/2001   Presentation Slides titled "Pharmacy Audit    MA, P. Jeffrey, 4/16/10, MA001449-55            May
                    Report - Most Favored Nation Provider Pricing Jeffrey Ex. 12
                    and Related Activity"
13587   8/15/2001   Document entitled "Federal Upper Limit        Gaston, 3/19/08, NY      HHD175-1492            May
                    System"                                       Counties Defendants
                                                                  Ex. 5
13588   8/15/2001   Document entitled "Federal Upper Limit        Gaston, 3/19/08, NY      HHD175-2110            May
                    System"                                       Counties Defendants
                                                                  Ex. 6
13589   8/21/2001   Document entitled "Federal Upper Limit        Gaston, 3/19/08, NY      HHD175-0849            May
                    System"                                       Counties Defendants
                                                                  Ex. 2
13590   8/31/2001   Fax cover sheet from Ben Jackson to Gordon Jackson, 12/12/08,          HHD182-0093-95         May
                    Sato and Bill Shrigley attaching Wall Street  Roxane Ex. 210
                    Journal article entitled "Medicaid is
                    Overpaying for Drugs"
13591   9/17/2001   Redacted Email chain among D. Brown, J.       MA, P. Jeffrey, 4/16/10, MA060195-R to          May
                    Karp, N. Savoie, G. Gilmore, P. Jeffrey and   Jeffrey Ex. 13           MA060196-R
                    others
13592   10/2001     Letter and attachment from Dey, L.P. to       ID, P. Leary, 3/30/10, ID026036-38              May
                    Medicaid Administrator re: New Product        Ex. Leary 052
                    Announcement for AccuNeb™
13593   2/2002      NYDOH Oversight of Medicaid Prescription NY, C. Cioppa, 3/10/10, NYCOMP-FOIL-                 May
                    Drug Costs, Glossary of Acronyms; NYDOH Cioppa Ex. 25                  00189-202
                    2002-D-02 "Study of Drug Pricing"
                    Preliminary Findings and Comments

13594   7/2002      Collection of Spreadsheets Analyzing          MA, P. Jeffrey, 4/16/10, MA061077-84            May
                    Pharmacy Claim Data                           Jeffrey Ex. 15
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 340 of 356




13595   8/19/2002   Medicaid Program Budget Report (CMS-37)                                                   May

13596   9/5/2002    Transcript Excerpt from the MassHealth        MA, P. Jeffrey, 4/16/10,                    May
                    Pharmacy Rate Hearing                         Jeffrey Ex. 16

13597   9/5/2002    DHCFP Pharmacy Rate Hearing - Draft Paul      MA, P. Jeffrey, 4/16/10, MA006946-47        May
                    Jeffrey Comments with handwritten             Jeffrey Ex. 17
                    annotations
13598   9/5/2002    DHCFP Pharmacy Rate Hearing - Paul Jeffrey    MA, P. Jeffrey, 4/16/10, MA006996           May
                    Comments                                      Jeffrey Ex. 18

13599   9/10/2002   Email and attachments from D. Briggs to M.    MA, P. Jeffrey, 4/16/10, MA061089-95        May
                    Navon, D. Patton, N. Savoie, P. Jeffrey, G.   Jeffrey Ex. 3
                    Gilmore and A. Hanson re: Usual and
                    Customary Charge for Pharmacies
13600   9/26/2002   Email and attachment from L. Jones to T.      NY, C. Cioppa, 3/11/10, NYCO AWP NYDOH May
                    Fanning re: 2003 legislative proposals        Cioppa Ex. 37           03997-99

13601   10/1/2002   Email from G. Gilmore to P. Jeffrey with      MA, P. Jeffrey, 4/16/10, MA061437-87        May
                    attachments                                   Jeffrey Ex. 14

13602   2/10/2003   Draft Notes by R. Sevier from Pharmacy        MA, P. Jeffrey, 4/16/10, MA060199-201       May
                    Advisory Team                                 Jeffrey Ex. 20

13603   2/20/2003   Fax Back Survey from Marshland Pharmacy to WI, C. Decker,                PSW_00005445     May
                    the Pharmacy Society of Wisconsin          12/11/06, PSW Ex. 5

13604   4/1/2003    Letter from Dey, L.P. to Pricing Database                                DEYLABS-0293246- May
                    Administrator re: Dey's Ipratropium Nasal                                47
                    Spray
13605   4/2/2003    Email from D. Chiu, First DataBank, to R.                                EDEYBO-0659247-48 May
                    Johnston, Dey
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 341 of 356




13606   4/8/2003    MA Division of Medical Assistance, Most        MA, P. Jeffrey, 4/16/10, MA067120-121        May
                    Favored Nation Agenda (internal workgroup) Jeffrey Ex. 26
                    with handwritten notes
13607   5/7/2003    Public Hearing - 114.3 CMR 31.00 (Prescribed MA, P. Jeffrey, 4/16/10, MA006810-11           May
                    Drugs), Division of Medical Assistance Staff Jeffrey Ex. 21
                    Testimony, Paul L. Jeffrey, Pharm.D., Director
                    of Pharmacy
13608   2/19/2004   CMS Memorandum from J. White to All                                     HHD043-0005-0007,   May
                    Center and Office Directors and Regional                                HHD912-0002,
                    Administrators re: Document Preservation and                            HHD912-0004-25
                    Production - Lupron Marketing and Sales
                    Practices Litigation, and Pharmaceutical
                    Industry Average Wholesale Price Litigation

13609   3/31/2004   Letter from M. Gardener to D. Marks re: CVS MA, A. Brown,          MA060209-235             May
                    U&C Matter, and attached "Position Statement 4/13/10, Brown Ex. 11
                    of CVS Corporation Regarding Alleged
                    Medicaid "Overpayments" in 1996 and 1997"

13610   4/12/2004   Email and attachment from T. Buffum to D.    MA, P. Jeffrey, 4/16/10, MA063233-34           May
                    Phillips re: Most Favored Nation Recovery    Jeffrey Ex. 27
                    Project Memorandum
13611   5/1/2004    Letter from Inman Pharmacy, Inc. to L.       MA, P. Jeffrey, 4/16/10, MA060515              May
                    Mandarini, MA Medicaid                       Jeffrey Ex. 10

13612   5/14/2004   Issues from May 14, 2004 MFN Project         MA, P. Jeffrey, 4/16/10, MA061738              May
                    Meeting                                      Jeffrey Ex. 28

13613   9/7/2004    Email from C. Cioppa to D. McFadden and M. NY, C. Cioppa, 3/11/10, NYCO AWP NYDOH May
                    Malone re: Pharmacy Reimbursement Changes Cioppa Ex. 38            03848
                    effective October 1, 2004
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 342 of 356




13614   9/23/2004  Email from L. Jones to M. Desmond re:           NY, C. Cioppa, 3/11/10, NYCO AWP NYDOH May
                   Pharmacy Cost Containment rebate URA            Cioppa Ex. 27           10135
                   review
13615   9/29/2004 Email from R. Nussbaum to W. Hwang re:           NY, C. Cioppa, 3/11/10, NYCO AWP NYDOH May
                   Reimbursement Process for Physician Who         Cioppa Ex. 28           04461-64
                   Administers Risperdal CONSTA to Medicaid
                   Outpatient
13616   10/2004    OIG Report - Applying the National Correct                                             May
                   Coding Initiative to Medicaid Services (OEI-03-
                   02-00790)
13617   10/26/2004 Pharmacy Advisory Council Meeting Agenda MA, P. Jeffrey, 4/16/10,                      May
                   with handwritten annotations                    Jeffrey Ex. 24

13618   4/1/1996    Dey Laboratories Memorandum from S.                                     DEY-LABS-0419044 May
                    Robertson to M. Ricks, Sr. re: Suspension with
                    Pay
13619   1/28/2005   Massachusetts Pharmacy Advisory Board          MA, P. Jeffrey, 4/16/10,                  May
                    Meeting Minutes                                Jeffrey Ex. 25

13620   3/31/2005   Medicaid Reform Conference Call Agenda -        NY, C. Cioppa, 3/11/10, NYSHD-FOIL 03205- May
                    Prescription Drug Pricing and Strategies to     Cioppa Ex. 35           06
                    Further Control States' Prescription Drug
                    Expenditures
13621   4/3/1996    Dey Laboratories Memorandum from S.                                    DEY-LABS-0419041- May
                    Robertson to M. Ricks, Sr. re: Termination of                          43
                    Employment
13622   12/2007     Colorado Pharmacy Claim Form                                                             May
13623   9/28/2005   McKesson OneStop Generics Weekly Update         NY, Factor, 6/20/08,   PAR-NY 1382777-80 May
                    SAV RX                                          Factor Ex. 6
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 343 of 356




13624   10/27/2005 Email and attachments from B. Eley, Executive AL, Cottrell, 8/30/07,    Ala Pharmacy          May
                   Director of Alabama Pharmacy Association, to Defendant's Ex. 492        Association 000054-71
                   members re: Call to Action - Medicaid Cuts

13625   2/8/2006   42 U.S.C. § 1396r-8                                                                         Expect
13626   12/13/2006 Email from T. Eide to E. Anderson              ID, P. Leary, 3/30/10,   ID194425            May
                                                                  Ex. Leary 043
13627   12/20/2006 42 U.S.C. § 1396r-8                                                                         Expect
13628   12/31/2006 Brewton Medical Center Pharmacy, P.C.         AL, Cottrell, 8/30/07, Brewton Med Center     May
                   Financial Statements & Supplementary          Cottrell Ex. 3         000002-58
                   Information
13629   1/2007     CBO Report - Prescription Drug Pricing in the                                               May
                   Private Sector
13630   6/22/2007 EHS FY'08 Cost Savings & Revenue Projects - MA, P. Jeffrey, 4/16/10, MA063460-62             May
                   Project Statement                             Jeffrey Ex. 30

13631   11/2009     Colorado Pharmacy Billing Manual                                                           May
13632   8/2/2007    Presentation titled "Provider Compliance,    MA, P. Jeffrey, 4/16/10, MA062214-R to        May
                    FY08 EHS Revenue and Savings Project,        Jeffrey Ex. 31           MA062248-R
                    Pharmacy Projects"
13633   5/19/2008   Index titled "Pharmacy Final Reports Related T. Hansen, 12/10/08,                          May
                    to Dispensing and Acquisition Cost Produced Abbott-Hansen Ex. 7
                    by Myers and Stauffer"
13634   5/28/2008   Presentation titled "Alabama Medicaid Agency                                               May
                    State MAC Program"
13635   6/6/2008    Revised Notice of Deposition of McKesson     NY, Factor, 6/20/08,                          May
                    Corporation filed in The City of New York v. Factor Ex. 1
                    Abbott Labs., et al.
13636   6/12/2008   Email chain between S. Pugatch at Idaho      ID, P. Leary, 3/30/10, CMS_ID00000545-        May
                    Medicaid and K. Howell at CMS                Ex. Leary 039            548
13637   6/21/1989   Idaho Pharmacy Information Release 89-3      ID, P. Leary, 3/30/10, ID011639               May
                                                                 Ex. Leary 026
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 344 of 356




13638   10/19/2009 Document titled "Most Favored Nation            MA, P. Jeffrey, 4/16/10, MA060555       May
                   Pharmacy Project"                               Jeffrey Ex. 32

13639   12/11/2009 Affidavit of Donna Frescatore in Pharmacists                                            May
                   Society of the State of New York, et al. v.
                   Paterson, et al., Civ. No. 1:09-CV-1100
                   (LEK/GHL), filed 12/11/09
13640   8/22/2008 Mississippi Pharmacy Claim Form                                                          May
13641   1/12/2010 Alabama Medicaid Agency Request for                                                      May
                   Proposal (RFP No. 2010-SMAC-01)
13642   1/21/2010 Request for Proposal (RFP) Number 2010-                                                  May
                   SMAC-001, Alabama Medicaid Agency,
                   Pharmacy Average Acquisition Cost (AAC)/
                   State Maximum Allowable Cost (SMAC) RFP
                   Question and Response
13643   1/25/2010   Print-out from Myers & Stauffers Website re:                                           May
                    Alabama Medicaid FAQs
13644   4/8/2010    Order of Dismissal with Prejudice of the State                                         Expect
                    of Utah's Second Amended Complaint in State
                    of Utah v. Apotex Corp. et al
13645   4/8/2010    Order of Dismissal with Prejudice of the State                                         Expect
                    of Utah's Second Amended Complaint Against
                    the Generic Defendants in State of Utah v.
                    Apotex Corp. et al
13646   1/1994-     Single page cover sheet related to OIG audit,  P. Chesser, 6/24/08,   HHD021-0001      May
        12/1994     Medicaid Pharmacy Acquisition Cost             Roxane Ex. 77
13647   12/8/xxxx   Handwritten Notes                              Niemann, 10/11/07,     HHC007-0378-79   May
                                                                   Abbott Ex. 349
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 345 of 356




13648   1999-2001 First DataBank Standard License Agreement       MA, Chadwick,          FDB/Massachusetts   May
                  with Unisys Corporation and attachments         10/24/07, Chadwick Ex. 00868-869,
                                                                  2                      FDB/Massachusetts
                                                                                         00871-872,
                                                                                         FDB/Massachusetts
                                                                                         00874-883,
                                                                                         FDB/Massachusetts
                                                                                         00886,
                                                                                         FDB/Massachusetts
                                                                                         00889,
                                                                                         FDB/Massachusetts
                                                                                         00903
13649   Multiple   Collection of Prescription Price Lists from    NY, C. Cioppa, 3/11/10, NYCO AWP NYDOH May
        Dates      Various Pharmacies                             Cioppa Ex. 44           18619-933 (Collection
                                                                                          of bates in this range)

13650   TBD        Summary charts by David Bradford, Ph.D.:                                                  May
                   Figures 1-12, 29-40 and 44-47 from the March
                   6, 2009 Expert Report of David Bradford,
                   Figures 1-33 and 148-153 from the Appendices
                   to the March 6, 2009 Expert Report of David
                   Bradford, Figures 1-3 and 8-47 from the
                   Declaration of David Bradford in Support of
                   Dey's Motion for Partial Summary Judgment,
                   and Figures A-C from the January 15, 2010
                   Letter from D. Bradford to S. Reid
                  Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 346 of 356




13651   TBD   Summary charts by Lauren Stiroh, Ph.D.: Table                          May
              1, Exhibits 5-6, Figures 1A-1K, Figures 2A-2K,
              Figures 3A-3K from the March 6, 2009 Expert
              Report of Lauren Stiroh, Figures A-K from the
              Declaration of Lauren Stiroh in Support of
              Dey's Motion for Partial Summary Judgment,
              and Figures S-A to S-K from the Supplemental
              Declaration of Lauren Stiroh in Support of
              Dey's Motion for Partial Summary Judgment



13652   TBD   Extracts of Cardinal wholesaler data                                   May
13653   TBD   Extracts of McKesson wholesaler data (14 state                         May
              production)
13654   TBD   Extracts of McKesson wholesaler data (37 state                         May
              production)
13655   TBD   Extracts of First DataBank data                                        May
13656   TBD   Extracts of Medi-Span data                                             May
13657   TBD   Extracts of RedBook data                                               May
13658   TBD   Extracts of AMP data                                                   May
13659   TBD   Extracts of Dey direct data (1992-2007 Q4)                             May
13660   TBD   Extracts of Dey indirect data (1992-2007 Q3)                           May

13661   TBD   Extracts of Dey internal pricing data, sales and                       May
              transactions data, chargeback data, and
              wholesaler activity data
13662   TBD   Extracts of Grant Thornton data                                        May
13663   TBD   Extracts of Medical CPI data from BLS                                  May
13664   TBD   Extracts of Medicare Carrier claims data                               Expect
13665   TBD   Extracts of Medicare DMERC claims data                                 Expect
13666   TBD   Extracts of Medicare Outpatient claims data                            Expect
                  Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 347 of 356




13667   TBD   Extracts of Medicare PSPS summary claims                               May
              data - through 2005
13668   TBD   Extracts of MSIS data                                                  May
13669   TBD   Extracts of NPC state reimbursement policies                           May

13670   TBD   Extracts of Federal Supply Schedule data                               May
13671   TBD   Extracts of IMS sales data                                             May
13672   TBD   Composite Exhibit: Two Sample Medicaid                                 May
              Rebate Invoices from Each State
13673   TBD   Summary of Rebates Paid by Dey to Medicaid                             May

13674   TBD   Summary of Average Billed and Allowed                                  May
              Amounts
13675   TBD   Summary Chart showing Duggan's Prices,                                 May
              Published Prices, AMPs, and Other Available
              Prices for Dey Subject Drugs
13676   TBD   Summary of Dey Sales by Drug                                           May
13677   TBD   Summary charts by David Bradford, Ph.D.:                               May
              Figures 13-28 and 41-43 from the March 6,
              2009 Expert Report of David Bradford, Figures
              34-147 from the Appendices to the March 6,
              2009 Expert Report of David Bradford, Figures
              4-7 and 48-49 from the Declaration of David
              Bradford in Support of Dey's Motion for Partial
              Summary Judgment, and Figures 1-3 from the
              Declaration of David Bradford in Further
              Support of Dey's Motion for Partial Summary
              Judgment and in Opposition to the United
              States' Cross-Motion for Partial Summary
              Judgment
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 348 of 356




13678   TBD       Summary charts by Lauren Stiroh, Ph.D.:                                                    May
                  Exhibits 3-4 from the March 6, 2009 Expert
                  Report of Lauren Stiroh
13679   TBD       Extracts of CMS state utilization data                                                     May
13680   TBD       Extracts of State claims data for: AK, AL, AR,                                             Expect
                  CA, CT, DE, FL, GA, HI, ID, IL, IA, KS, KY,
                  LA, MA, ME, MI, MN, MO, NC, NE, NM, NJ,
                  NY, OH, OR, PA, RI, SC, TX, UT, VA, WI
                  and WY
13681   TBD       Extracts of MAC data for AL, AR, GA, HI, IL,                                               May
                  KS, KY, MA, ME, MN, MN, NC, NY, OR,
                  UT, WI, and WY
13682   Undated   Spreadsheet titled "Alabama Medicaid National                            ALMED-375476-477 May
                  OTC, MAC Survey"
13683   Undated   Draft Chart titled "Alabama Medicaid Agency                                                May
                  Average Acquisition Cost Rate Listing for
                  Generic Drugs (Source: December 2009
                  survey)"
13684   Undated   Document titled "Pharmacy Advisory                                       ALMED-285253-54   May
                  Committee (PAC)"
13685   Undated   Document entitled “Final Statement of Reasons CA, Defs' Joint Sur-       RM-236-37         May
                  (R-72-89)”                                      Reply Opp. S.J.,
                                                                  1/29/10, Ex. 63
13686   Undated   Document entitled “Addendum to the Final        CA, Defs' Joint Sur-     RM-207-10         May
                  Statement of Reasons (R-72-89)”                 Reply Opp. S.J.,
                                                                  1/29/10, Ex. 64
13687   Undated   Article from Barron's entitled "Clinton to Clip Buto, 9/13/07, Dey Ex.   HHD008-0503       May
                  Profits"                                        100
13688   Undated   Sample Health Insurance Claim Form 1500         Berenson, 12/18/08,                        Expect
                                                                  Abbott Ex. 434
                      Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 349 of 356




13689   Undated   First DataBank Drug Price Policy             MA, Chadwick,            ALMED-770608-611   May
                                                               10/24/07, Chadwick Ex.
                                                               4
13690   Undated   Demonstrative Exhibit - Chart with the       Richter, 12/7/07, Dey                       May
                  Payment Allowance Limit for J 2260           Ex. 31
13691   Undated   Document entitled "MDRI, Browse Quarterly Tawes, 12/13/07,            HHD042-0567        May
                  Price Information, FDA Assigned Labeler Code Roxane Ex. 019
                  00054 (NDC1)"
13692   Undated   Document titled "CMS Administration of the Tawes, 12/2/08, Roxane HHD160-0081-82         May
                  Federal Upper Limit Program"                 Ex. 182
13693   Undated   Table titled "Brewton Med Center Pharmacy    AL, Cottrell, 8/30/07, Brewton Med Center   May
                  Prescription Count"                          Cottrell Ex. 2           000001
13694   Undated   Dey, L.P. Respiratory Learning System,                                DL-TX-0076329-     May
                  Courses One to Four                                                   77342
13695   Undated   List of Members of the Combined Pharmacy     MA, P. Jeffrey, 4/16/10,                    May
                  Advisory Council                             Jeffrey Ex. 23

13696   Undated   Document titled "Most Favored Nation (MFN) MA, P. Jeffrey, 4/16/10, MA061787-88          May
                  Pharmacy Overpayment Recovery Project"     Jeffrey Ex. 29

13697   Undated   Presentation titled "Drug Pricing -           NY, C. Cioppa, 3/11/10, NYCO AWP NYDOH May
                  Reimbursement Methodology"                    Cioppa Ex. 39           09077-79

13698   Undated   Medicaid Drug Rebate Program Release No. 14                        CAAG/DHS0069631- May
                                                                                     44
13699   Undated   Document from the Academy of Managed Care ID, P. Leary, 3/30/10,   ID006424-42      May
                  Pharmacy entitled "A Guide to Understanding Ex. Leary 55
                  Common Prescription Drug Pricing Terms"

13700   Undated   Kansas Medical Assistance Program Provider                                               May
                  Manual - Pharmacy
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 350 of 356




13701   2/16/2007  Kansas Medical Assistance Program Provider                              May
                   Manual - Pharmacy
13702   3/4/2008   Kansas Medical Assistance Program Provider                              May
                   Manual - Pharmacy
13703   4/14/2006 Kansas Medical Assistance Program Provider                               May
                   Manual - Pharmacy
13704   10/2001    Kansas Medical Assistance Programs                                      May
                   Pharmacy Claim form
13705   3/1/2010   Kansas Medical Assistance Program Provider                              May
                   Manual - Pharmacy
13706   3/31/2009 Kansas Medical Assistance Program Provider                               May
                   Manual - Pharmacy
13707   10/18/2002 Hawaii Medicaid Provider Manual, Chapter 19,                            May
                   Pharmacy Services
13708   4/2004     New York Medicaid Management Information                                May
                   System Provider Manual, Pharmacy

13709   1/2004      NYS Medical Assistance (Title XIX) Program                             May
                    Pharmacy Claim Form
13710   9/2009      New York Medicaid Provider Enrollment                                  May
                    Application
13711   1/1/2008    Connecticut interChange MMIS Provider                                  May
                    Manual, Chapter 7 - Pharmacy
13712   Undated     Connecticut Department of Social Services                              May
                    Health Care Financing Provider Enrollment
                    Agreement
13713   Undated     Washington Sample UB-04 Claim Form                                     May
13714   10/2008     Washington Core Provider Agreement                                     May
13715   3/31/2009   Washington State Pharm. Assoc. v. Gregoire,                            May
                    No. C09 5174-BHS, Order Granting Motion for
                    Temporary Restraining Order, W. D. Wash.
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 351 of 356




13716   11/19/2009 Connecticut Pharmacy Claim Submissions,                                 May
                   Provider Manual - Chapter 8 - Pharmacy
                   Services
13717   3/25/2010 State of Idaho Medicaid Pharmacy Claims                                  May
                   Submission Manual
13718   6/2009     Idaho Medicaid Provider Enrollment Packet -                             May
                   Pharmacy
13719   8/2005     Iowa Sample Claims Form (CMS 1500)                                      May
13720   Undated    Iowa Sample Claims Form (UB04)                                          May
13721   3/27/1990 Wyoming Department of Health and Social                                  May
                   Services letter from Ken B. Heinlein, Interim
                   Director, to Gary Wilks, HCFA Associate
                   Regional Administrator, with enclosures

13722   3/2006      South Dakota Medical Assistance Program                                May
                    Provider Agreement
13723               New Mexico Claim Form                                NMAG00000008-9    May
13724   1/2004      New Mexico Medical Assistance Division                                 May
                    Provider Participation Agreement
13725   Multiple    Delaware Pharmacy Provider Manual                    DE_00026393-485   May
        dates
13726   Multiple    Maryland Medicaid Billing Instructions and                             May
        dates       Claim Form
13727   7/2007      Iowa Medicaid Provider Agreement                                       May
13728   5/1/2008    Iowa Prescribed Drugs Provider Manual                                  May
13729   5/17/2008   District of Columbia Claim Form (CMS 1500)                             May

13730   Undated     District of Columbia Provider Application                              May
                    Form and Medicaid Provider Agreement
13731   8/2001      New Jersey Medicaid Program Provider                                   May
                    Agreement
13732   Undated     Medi-Cal Program Provider Manual                                       May
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 352 of 356




13733   Undated     Arkansas Claim Form                                                     May
13734   Undated     Arkansas Provider Manual                                                May
13735   9/17/1986   New Hampshire Department of Health and                                  May
                    Human Services, Division of Human Services
                    letter dated Sept. 17, 1986 from Richard A.
                    Chevrefils to HCFA
13736   3/1/2002    Utah Department of Dealth, Division of Health                           May
                    Care Financing, Provider Agreement for
                    Medicaid and UMAP
13737   7/2008      Utah Medicaid Provider Manual - Section I:                              May
                    General Information
13738   1/2010      Utah Medicaid Provider Manual - Section 2:                              May
                    Pharmacy Manual
13739   3/1/2010    South Carolina Medicaid Provider Manual                                 May
                    Pharmacy Services and Sample claim form
                    (CMS 1500)
13740   Undated     Maryland Department of Health and Mental             HHC007-0993-1000   May
                    Hygiene Supplemental Rebate Agreement
13741   Undated     Maryland Provider Agreement for Participation                           May
                    in the Title XIX Program
13742   Multiple    Ven-A-Care Provider File                             MFCU OAG FL        May
        dates                                                            12901-12933
13743   1/3/2001    Mississippi Medicaid Prescription Drug Pricing       HHD006-0459-0464   May
                    Survey
13744   9/8/2005    Letter dated Sept. 8, 2005 from Bobby Moody          HHD088-0077-0092   May
                    to Renard Murrary, CMS, re: Mississippi SPA
                    2005-010, with enclosures
13745   Undated     Louisiana Universal Claim Form                                          May
13746   10/2006     Louisiana Provider Type Specific                                        May
                    Packet/Checklist (Louisiana Medicaid
                    Program) Pharmacy
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 353 of 356




13747   1/2009      Louisiana Enrollment Packet for the Louisiana                          May
                    Medical Assistance Program (Louisiana
                    Medicaid Program) Basic Enrollment Packet
                    for Entities/Businesses (Common Forms for All
                    Entity Provider Types)

13748   1/2010      Alaska Medicaid Provider Manual                                        May
13749   2/1/2010    Alaska Medical Assistance Program Provider                             May
                    Enrollment Form
13750   7/16/2007   Alaska sample claim form (UB-04) and                                   May
                    instructions
13751   9/15/2008   New Mexico Medicaid Program Policy Manual                              May

13752   12/12/2002 Oklahoma Pharmacy Drug Claim Form                                       May
13753   4/2002     Oklahoma Provider Billing and Procedure                                 May
                   Manual
13754   4/2008     Oklahoma Soonercare Pharmacy Provider                                   May
                   Agreement
13755   Undated    Oregon claim form billing instructions for the                          May
                   Department of Human Services and sample
                   CMS 1500 form
13756   7/2008     Oregon Provider Enrollment Disclosure                                   May
                   Statement of Ownership and Control Interest

13757   7/2008      Oregon Provider Enrollment Agreement                                   May
13758   2/2009      Oregon Provider Enrollment Attachment                                  May
13759   Undated     Oregon Pharmeceutical Services Program                                 May
                    Rulebook
13760   11/2004     Montana Prescription Drug Program Provider                             May
                    Manual, including sample claim form
                       Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 354 of 356




13761   1/2005     Montana Medicaid Provider Enrollment                                   May
                   Application
13762   Undated    Wyoming sample claim form (CMS 1500)                                   May
13763   3/15/2010 District of Columbia Pharmacy Benefits                                  May
                   Management Prescription Drug Claims System
                   (X2) Provider Manual
13764   6/1/2009   Nevada Provider Contract                                               May
13765   3/1/2010   Nevada Medicaid and Nevada Check Up                                    May
                   Pharmacy Provider Billing Manual
13766   1/2009     Kentucky Provider Application                                          May
13767   2/20/2009 Missouri Pharmacy Manual                                                May
13768   1/2010     North Carolina Provider Enrollment                                     May
                   Application and Provider Administrative
                   Participation Agreement
13769   2/2010     TennCare Pharmacy Manual                                               May
13770   6/27/2008 Virginia Pharmacy Manual, Chapter V, Billing                            May
                   Procedures
13771   11/18/2009 Virginia Pharmacy Manual, Chapter II,                                  May
                   Provider Participation Requirements
13772   7/2/2008   Virginia Pharmacy Manual, Chapter IV,                                  May
                   Covered Services and Limitiations
13773   12/2005    TennCare Pharmacy Agreement                                            May
13774   Undated    Tennessee Sample Provider Claim Form                                   May
13775   1/1/2007   Nebraska Sample Health Insurance Claim Form                            May
                   (CMS-1500)
13776   7/2008     Nebraska Assistance Provider Agreement                                 May
13777   Undated    Minnesota Department of Human Services                                 May
                   Provider Agreement
13778   12/23/2009 Minnesota MHCP Enrolled Providers -                                    May
                   Pharmacies Provider Manual
13779   Undated    Minnesota MHCP Enrolled Providers NCPDP                                May
                   Universal Claim Form
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 355 of 356




13780   Undated     Pennsylvania Provider Enrollment Base                                                  May
                    Application
13781   1/2007      Pennsylvania Pharmacy Form - NDC                                                       May
13782   Undated     Pennsylvania PROMISe Provider Handbook -                                               May
                    NCPDP 5.1/Pharmacy Billing
13783   Undated     Pennsylvania Acquisition Cost-Based Pricing                                            May
                    for the PACE Program
13784   Undated     PA Bulletin, Doc. No. 02-1737, Pennsylvania                                            May
                    Proposed Rulemaking [55 PA. Code Ch. 1121]
                    Pharmaceutical Services [32 Pa.B. 4864]

13785   1/2005      Georgia Department of Community Health                                                 May
                    Division of Medical Assistance Statement of
                    Participation
13786   Multiple    Kansas Medical Assistance Program Supplier                                             May
        dates       Application Checklist, Provider Application,
                    and Provider Agreement
13787   6/19/1990   Idaho Pharmacy Information Release 90-5         ID, P. Leary, 3/30/10,   ID012017      May
                                                                    Ex. Leary 027
13788   7/25/1991   Idaho Pharmacy Information Release 91-6         ID, P. Leary, 3/30/10,   ID011901-03   May
                                                                    Ex. Leary 028
13789   1/19/1993   Idaho Pharmacy Information Release 93-01        ID, P. Leary, 3/30/10,   ID010881      May
                                                                    Ex. Leary 029
13790   6/9/1995    Idaho Pharmacy Information Release 95-09        ID, P. Leary, 3/30/10,   ID010370      May
                                                                    Ex. Leary 030
13791   6/26/1996   Idaho Pharmacy Information Release 96-05        ID, P. Leary, 3/30/10,   ID010325      May
                                                                    Ex. Leary 031
13792   11/7/2006   Email and attachment from E. Anderson to T.     ID, P. Leary, 3/30/10,   ID194484-85   May
                    Eide, S. Pugatch, K. Savage, J. Siroky and R.   Ex. Leary 041
                    Faller re: AMP Proposal Outline.doc
13793   12/4/2006   Email from T. Eide to P. Leary re: AMP and      ID, P. Leary, 3/30/10,   ID149738      May
                    FUL and Dispensing Fees                         Ex. Leary 042
                        Case 1:01-cv-12257-PBS Document 7077-4 Filed 04/26/10 Page 356 of 356




13794   6/22/2007   Email from P. Leary to R. Armstrong attaching ID, P. Leary, 3/30/10,    ID145366-394   May
                    "Idaho Medicaid pharmacy costing.ppt"         Ex. Leary 049

13795   Undated     Document titled "Idaho Medicaid Pharmacy       ID, P. Leary, 3/30/10,                  May
                    Reimbursement Overview"                        Ex. Leary 051
13796   11/2000     "Idaho's Medicaid Program: The Department of ID, P. Leary, 3/30/10,     ID038206-317   May
                    Health and Welfare Has Many Opportunities Ex. Leary 060
                    for Cost Savings" (as performed under contract
                    by The Lewin Group and Sjoberg Evashenk
                    Consulting, LLC)

13797   5/20/2005   Nevada Sample Claim Form                                                               May
13798   11/8/2007   Rhode Island Provider Manual                                                           May
13799   2/1/2004    Mississippi Pharmacy Provider Manual                                                   May
13800   Undated     Mississippi Provider Participation Agreement                                           May

13801   1/13/2009   MaineCare/Medicaid Provider Agreement                                                  May
13802   8/25/2009   MaineCare Instructions for Completing the                                              May
                    CMS/HCFA 1500 Claim Form
13803   1/1/2007    Wyoming Provider Agreement                                                             May
13804   1/1/2010    West Virginia Provider Manual, Ch. 518                                                 May
                    Pharmacy Services
13805   1/1/2006    West Virginia Provider Manual, Ch. 600                                                 May
                    Reimbursement Methodologies
13806   7/1/1993    West Virginia Provider Manual, Ch. 800                                                 May
                    Billing Instructions
13807   10/2008     Wisconsin Drug Claim Form                                                              May
13808   4/26/2010   Wisconsin Pharmacy Provider Handbook                                                   May
